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          Joint Exhibit List

       Redacted Version
     of Document Sought
         to be Sealed
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                                                                                                                 Joint Exhibit List


Prefix   Ex.          Begin Bates                         Description                      Sponsoring Witness     Expert Identification   Stipulation to       Google Objections               Plaintiffs' Objections        Injunction Phase        Date
         No.                                                                                                                                  Admit                                                                          of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                                   Only)
 PX      1     GOOG-BRWN-00806426     February 11, 2015 email from Palmer titled          Felt, Palmer, Tabriz, Admission                                  402, 403
                                      "Incognito-fest 2015"                               Keegan
 PX      2     GOOG-CABR-05287675     September 23, 2014 email from Palmer titled "I      Borsay, Palmer, Schuh Admission                                  402, 403, H
                                      promise this is my last rant about Incognito ;)"

 PX      3     GOOG-CABR-05905164     December 12, 2014 email from chrome-security on Palmer, Schuh, Borsay Admission                                      402, 403
                                      behalf of Chris Palmer.
 PX      4     GOOG-CABR-05905173     December 13, 2014 email from Parisa Tabriz.        Tabriz, Palmer, Schuh, Admission                                  402, 403, H
                                                                                         Borsay.
 JX      5     GOOG-BRWN-00477510     January 2015 Internal document titled "Perceptions Plaintiffs: Felt,      Plaintiffs: Admission                      402, 403                      Objections to Google's Use:
                                      of Google Incognito"                               Borsay, Keegan         Google: Identification                                                   Relevance; Foundation; 403
                                                                                         Google: Amir                                                                                    (extrinsic evidence, Google's MSJ
                                                                                                                                                                                         took position that contract was
                                                                                                                                                                                         unambiguous); 403, 704 (invades
                                                                                                                                                                                         province of the trier of fact);
                                                                                                                                                                                         subject to anticipated MIL.



 PX      6     GOOG-BRWN-00630517     February 11, 2015 email from Tabriz.               Tabriz, Palmer, Felt,   Admission                                 402, 403
                                                                                         Hochman
 PX      7     GOOG-BRWN-00806431     February 11, 2014 email from Tabriz.               Tabriz, Felt, Palmer.   Admission                                 402, 403
 PX      8     GOOG-BRWN-00051404     March 9, 2015 internal document titled "Incognito- Borsay                  Admission                                 402, 403
                                      fest Options"
 PX      9     GOOG-BRWN-00390420     April 26, 2016 email from Borsay.                  Borsay                  Admission                                 402, 403
 PX      10    GOOG-CABR-04971904     May 19, 2016 email from Palmer regarding Google Borsay, Felt, Palmer       Admission                                 402, 403
                                      Incognito precision
 PX      11    GOOG-BRWN-00140297     July 21, 2018 Internal presentation titled "The    Harris, Mardini, Palmer Admission                                 402, 403, H
                                      Incognito Problem"
 PX      12    GOOG-BRWN-00804212     August 22, 2018 email from Felt regarding 2018     Felt, Palmer            Admission                                 402, 403
                                      USAT Survey
 PX      13    GOOG-CABR-03827263     December 10, 2018 email chat regarding             Felt, Mardini, Tabriz, Admission                                  402, 403
                                      Synthesized themes for browser 6                   Hochman
 PX      14    GOOG-CABR-00085469     "Five ways people misunderstand Incognito and      Shelton, Borsay, Fair, Admission                                  402, 403, H
                                      private browsing" document.                        Mardini
 PX      15    GOOG-CABR-04991832     February 27, 2019 email regarding "Browser UI      Mardini, Tabriz         Admission                                 402, 403
                                      concepts aligned w/            "
 PX      16    GOOG-BRWN-00388293     April 30, 2019 email from Mardini regarding        Mardini, Adhya,         Admission                                 402, 403
                                      branding for Incognito                             Twohill, Tabriz
 PX      17    GOOG-CABR-04936594     December 17, 2019 email from Felt.                 Felt                    Admission                                 403, 402, H
 PX      18    GOOG-BRWN-00153850.C   March 25, 2020 Internal document titled "How do Fair                       Admission                                 403, 402, H, LF
                                      we talk about Incognito mode?"
 PX      19    GOOG-CABR-00094550     March 25, 2019 Internal document titled "One       Borsay, Fair, Harris,   Admission                                 402, 403
                                      Pager Incognito Everywhere, say what"              McClelland

 PX      20    GOOG-BRWN-00164056     January 27, 2020 Internal doccument titled "Chrome Adhya, Borsay,      Admission                                     402, 403, MIL, H, DRAFT,
                                      / Sin Rastro One Pager Recommended position for Halavati, Mardini,                                                   LF
                                      Chrome"                                            McClelland, Schuh
 PX      21    GOOG-BRWN-00406065     January 29, 2021 email from Twohill titled "Today Twohill              Admission                                     402, 403, H, MIL
                                      is Data Privacy Day so please read"
 PX      22    GOOG-CABR-05756666     March 4, 2021 internal presentation titled “The    Adhya, Fair,        Admission                                     402, 403
                                      Future of Incognito"                               McClelland, Hochman

 PX      23    GOOG-CABR-04739841     July 9, 2021 internal document regarding "Incognito Borsay, Halavati,     Admission                                  402, 403, H, DRAFT, LF
                                      NTP Revamp"                                          Mardini
 PX      24    GOOG-BRWN-00169228     January 6, 2020 email from Felt titled "operating in Felt                 Admission                                  403, 402, H
                                      today's 'sustained financial value' environment"

 PX      25    GOOG-CABR-04324934     May 7, 2019 Internal document titled "Ads Impact Bindra, Felt, Mardini,   Admission                                  402, 403, H, LF, Draft, MIL
                                      and Response from                   and SameSite & Liao, Lasinski
                                      Secure Launches"
 PX      26    GOOG-BRWN-00228597     June 12, 2008 email regarding interviews of Google Rakowski               Admission                                  402, 403
                                      employees about Chrome
 PX      27    GOOG-BRWN-00226894     July 11, 2008 email from Kasting regarding Chrome Rakowski, Hochman       Admission                                  402, 403, MIL
                                      redirection loop issue
 PX      28    GOOG-BRWN-00477487     July 10, 2008 email regarding summary of the       Rakowski               Admission                                  402, 403
                                      feedback from the UX study
 PX      29    GOOG-BRWN-00409986     July. 17, 2008 email from Rakowski regarding       Rakowski               Admission                                  402, 403
                                      Chrome team meeting notes
 PX      30    GOOG-BRWN-00225677     February 2, 2009 email from Harvey regarding       Rakowski               Admission                                  402, 403, H, MIL
                                      inprivate filtering
 PX      31    GOOG-BRWN-00224755     April 1, 2010 email from Rakowski regarding issue Rakowski                Admission                                  402, 403
                                      with content settings and Incognito mode

 PX      32    GOOG-BRWN-00812710     December 9, 2013 email from Felt titled "Simplify Felt, Palmer         Admission                                     402, 403
                                      the Incogito NTP"
 PX      33    GOOG-BRWN-00812091     March 25, 2014 email from Felt regarding a          Felt, Palmer       Admission                                     402, 403
                                      "cleaner and prettier Incognito"
 PX      34                           September 23, 2014 Public news article titled       Palmer             Admission                                     402, 403, H
                                      "Google's Eric Schmidt Calls Julian Assange
                                      'Paranoid' and Says Tim Cook Is Wrong"
 PX      35                           Video clip of Eric Schmidt interview with ABC       Palmer             Admission                                     402, 403
                                      News from September 23, 2014
 PX      36    GOOG-CABR-05477364     September 24, 2014 email on behalf of Shoemaker Borsay, Palmer, Schuh, Admission                                     402, 403, H, LF
                                      titled "Re [incognito-team] Re I promise this is my Keegan
                                      last rant about Incognito )"

 PX      37    GOOG-BRWN-00457255     September 25, 2014 email on behalf of Palmer titled Borsay, Palmer, Schuh Admission                                  402, 403
                                      "Re [incognito-team] Re I promise this is my last
                                      rant about Incognito ;)"

 PX      38    GOOG-BRWN-00847949     October 30, 2014 Internal memo titled "We need a    Twohill               Admission                                  402, 403, MIL
                                      Best of Mobile apps Stratergy"
 PX      39    GOOG-CABR-05907452     December 13, 2014 email from Tabiz regarding        Borsay, Palmer        Admission                                  402, 403, H
                                      Incognito
 PX      40                           December 12, 2014 Public news article titled        Palmer                Admission                                  402, 403, H, LF
                                      "Schmidt Google Now Best Way to Evade NSA"

 PX      41                           Video Clip of Eric Schmidt December 12, 2014        Palmer                Admission                                  402, 403, H, LF
                                      interview with Cato Institute,
                                      https //www.youtube.com/watch?v=BH3vjTz8OII




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         No.                                                                                                                                     Admit                                                         of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                     Only)
 PX      42    GOOG-CABR-05370279      January 8, 2015 email from Palmer titled "Browsing Borsay, Palmer, Schuh Admission                                     402, 403
                                       in privacy mode? Super Cookies can track you
                                       anyway"
 PX      43    GOOG-BRWN-00806482      Janyary 27, 2015 email from Palmer regarding       Palmer                Admission                                     402, 403
                                       HSTS in regular and Incognito mode

 PX      44    GOOG-CABR-04665867      February 2, 2015 Email from Palmer re Research       Borsay, Felt, Palmer,   Admission                                 402, 403
                                       Report Perceptions of Google Chrome Incognito        Tabriz

 PX      45    GOOG-BRWN-00393432      February 11, 2015 Email fromGarth Shoemaker re       Borsay, Felt, Tabriz    Admission                                 402, 403
                                       Incognito-fest 2015
 PX      46    GOOG-CABR-03750737      Incognito-fest Chrome internal presentation          Borsay, Felt            Admission                                 402, 403, MIL
 PX      47    GOOG-BRWN-00166653      April 16, 2015 Internal document titled " Research   Borsay, Felt, Palmer    Admission                                 402, 403
                                       Plan Google Chrome Incognito NTP"

 PX      48    GOOG-BRWN-00049146      August 2015 internal document titled, “Exploration Borsay, Fair, Harris,    Admission                                  402, 403, H
                                       of primary value proposition of Incognito to users - Mardini
                                       GCS”
 PX      49    GOOG-BRWN-00391231      May 3, 2016 email from Borsay regarding Chrome Borsay                       Admission                                  402, 403
                                       Incognito privacy question
 PX      50    GOOG-CABR-00353831      May 19, 2016 email from Borsay regarding             Borsay, Felt           Admission                                  402, 403
                                       Chrome's Incognito mode
 PX      51    GOOG-BRWN-00410884      June 21, 2016 email from Palmer regarding Google Borsay, Felt, Palmer       Admission                                  402, 403
                                       Incognito precision
 PX      52    GOOG-CABR-00393660      August 23, 2016 Internal presentation titled         Berntson, Fair, Liao,  Admission                                  402, 403
                                       "         Townhall"                                  Monsees
 PX      53    GOOG-BRWN-00183662      February 17, 2017 email from Anthonysamy             Borsay                 Admission                                  402, 403
                                       regarding strings and icon for Incognito
 PX      54    GOOG-CABR-04739070      February 19, 2018 Internal presentation slides       Adhya, Harris, Monsees Admission                                  402, 403, MIL
                                       regarding product personalization
 PX      55    GOOG-BRWN-00634444      July 26, 2018 email regarding the "Incognito         Felt, Palmer           Admission                                  402, 403, MIL
                                       Problem"
 PX      56    GOOG-CABR-03764749      August 15, 2018 email from Shealy regarding          Shelton, Harris        Admission                                  402, 403
                                       Incognito branding
 PX      57                            August 15, 2018 Google Chrome Data Collection Monsees, McClelland Admission                                            402, 403, H, LF, MIL
                                       by Prof. Schmidt
 PX      58    GOOG-BRWN-00061607      August 16, 2018 Internal document titled " Five      Borsay, Fair, Harris,  Admission                                  402, 403, H
                                       ways people misundertstand Incognito and private Mardini, Shelton,
                                       browsing"                                            Adhya, Halavati,
                                                                                            Monsees, Hochman
 PX      59                            August 21, 2018 NY Post article titled "Google       Schneier                Admission                                 402, 403, H, LF, 901
                                       tracking is even creepier than you thought, study
                                       finds"
 PX      60    GOOG-BRWN-00042339      August 2018 internal presentation titled, "How do    Harris, Schuh, Shelton Admission                                  402, 403, H
                                       users interrpret alternative incognito metaphors?"

 PX      61    GOOG-BRWN-00634608      September 19, 2018 email from Liu regarding          Palmer, Lemoine         Admission                                 402, 403, MIL
                                       Baidu and transparency
 PX      62    GOOG-BRWN-00047390      September 24, 2018 Internal document titled          Halavati, Harris        Admission                                 402, 403, DRAFT, H
                                       "Incognito Mode, Current and Possible Promises"

 PX      63    GOOG-CABR-04261880      September 24, 2018 email from Palmer regarding       Bindra, Felt, Halavati, Admission                                 402, 403, H
                                       "The Incognito problem," invitation to edit          Kleber, McClelland,
                                                                                            Palmer, Shelton, Tabriz

 PX      64    GOOG-CABR-03923580      November 6, 2018 email from Palmer regarding         Kleber, Palmer,       Admission                                   402, 403, H
                                       EEF article and Incognito misconceptions             Hochman, Bindra, Felt

 PX      65    GOOG-BRWN-00152199      February 2019 Internal presentation titled "       Fair, Mardini             Admission                                 403, 402, H, LF, MIL
                                       Campo Concept sprint"
 PX      66    GOOG-BRWN-00222016      February 14, 2019 email chat regarding Incognito Adhya, Halavati             Admission                                 402, 403, H, MIL
                                       mode confusion
 PX      67    GOOG-BRWN-00207876      February 20, 2019 Internal presentation titled "   Google document           Admission                                 402, 403, MIL, LF
                                       Zwieback, PDPO Eng Review"                         custodian
 PX      68    GOOG-CABR-04991831      February 27, 2019 email from Galbraith titled      Mardini, Tabriz           Admission                                 402, 403, MIL
                                       "Urgent Browser UI concepts aligned w/           "

 PX      69    GOOG-CABR-04511160      March 7, 2019 email from Meltzer regarding          Bindra, Kleber           Admission                                 402, 403, MIL
                                       "      "
 PX      70    GOOG-BRWN-00165706      March 2019 Internal presentaion titled " User Needs Borsay, Fair, Felt,      Admission                                 402, 403
                                       & Misconceptions, Incognito Mode (IM) Across        Mardini, Shelton,
                                       Google"                                             Schuh, McClelland,
                                                                                           Monsees, Hochman
 PX      71    GOOG-CABR-00142741      March 2021 internal document titled "What do we      Borsay, Halavati        Admission                                 402, 403, LF, Draft
                                       say about data in incognito (and Guest)?"

 PX      72    GOOG-CABR-05269357.RR   March 2019 Internal presentation titled "A Path      Bindra, Kleber,         Admission                                 402, 403, MIL
                                       forward for User Trust & Privacy"                    Mardini, Schuh,
                                                                                            Twohill
 PX      73    GOOG-CABR-05145513      April 3, 2019 Internal presentaion titled "Incognito Adhya, Borsay, Fair,    Admission                                 402, 403
                                       (Sin Rastro) NYC Design Sprint and Summit Recap Mardini
                                       & Overview"
 PX      74    GOOG-BRWN-00064145      April 16, 2019 Internal document titled "Five        Harris, Shelton         Admission                                 402, 403, H
                                       Things We Know to be True About Notifications"

 PX      75    GOOG-BRWN-00433503      April 23, 2019 Internal document titled "From        Fair                    Admission                                 403, 402, H, MIL, LF
                                       go/zwieback"
 PX      76    GOOG-BRWN-00457784      April 26, 2019 email from Borsay regarding           Borsay, Halavati,       Admission                                 402, 403, H, MIL
                                       Incognito problems, and proposal                     Mardini, McClelland,
                                                                                            Shelton
 PX      77                            May 7, 2019 public news article written by Sundar    Twohill, Bindra         Admission                                 402, 403, LF, 901, H
                                       Pichai titled "Privacy Should Not be a Luxury
                                       Good",
                                       https //www.nytimes.com/2019/05/07/opinion/goo
                                       gle-sundar-pichai-privacy.html
 PX      78    GOOG-BRWN-00157528      May 30, 2019 Internal document regarding data        Fair, Hochman           Admission                                 403, 402, H, LF
                                       collection, logs, and personalization
 PX      79    GOOG-BRWN-00699534      June 4, 2019 email chat regarding Incognito and      Halavati, McClelland    Admission                                 402, 403, LF, H
                                       UMA data




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         No.                                                                                                                                    Admit                                                                        of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                                   Only)
 JX      80                         July 18, 2019 Google blog post titled "Protecting     Plaintiffs: Mardini,     Plaintiffs: Admission                     402, 403, LF, 901, H, MIL     Objections to Google's Use:
                                    private browsing in Chrome"                           McClelland, Halavati     Google: Identification                                                  Foundation; 403 (extrinsic
                                                                                          Google: Psounis                                                                                  evidence, Google's MSJ took
                                                                                                                                                                                           position that contract was
                                                                                                                                                                                           unambiguous); 403, 704 (invades
                                                                                                                                                                                           province of the trier of fact).

 PX      81    GOOG-BRWN-00139180   July 23, 2019 Internal presentaion titled “Incognito Harris, Shelton           Admission                                 402, 403, H
                                    browsing – A Collection of Make Week Ideas"

 PX      82    GOOG-CABR-00501220   August 8, 2019 email from Halavati regarding Sin      Adhya, Borsay, Fair,     Admission                                 402, 403, H, MIL
                                    Rasto/Chrome                                          Halavati, McClelland

 PX      83    GOOG-CABR-04232343   August 13, 2019 email chat regarding Sin              Adhya, Halavati,         Admission                                 402, 403, H, MIL, LF
                                    Rastro/Chrome options                                 McClelland
 PX      84    GOOG-BRWN-00650016   August 20, 2019 Internal document titled "IP          Adhya, Palmer,           Admission                                 402, 403, MIL
                                    Privacy Projects"                                     Hochman
 PX      85    GOOG-CABR-05269678   August 21, 2019 Internal presentation titled "What    Borsay, Felt, Harris,    Admission                                 402, 403, H
                                    is this deck?"                                        Halavati, Mardini,
                                                                                          McClelland, Palmer,
                                                                                          Schuh
 PX      86    GOOG-CABR-00800579   September 12, 2019 email chat regarding user          Kleber                   Admission                                 402, 403 LF, MIL
                                    prompts
 PX      87    GOOG-CABR-00413861   September 13, 2019 Internal document titled           Mardini, Schuh           Admission                                 402, 403, MIL
                                    "Assessing Chrome/Ads Relationship (Draft)"

 PX      88    GOOG-BRWN-00067645   October 17, 2019 Internal presentation titled         Halavati                 Admission                                 402, 403, H, MIL, LF
                                    "Incognito Sprint One Google + Sin Rastro"
 PX      89    GOOG-CABR-04798344   October 23, 2019 Internal presentation titled         Borsay, Mardini,         Admission                                 402, 403, H, LF, MIL
                                    "Chrome Privacy Feature Roadmap"                      McClelland
 PX      90    GOOG-BRWN-00063505   October 29, 2019 Internal document regarding          Borsay                   Admission                                 402, 403, H, LF, Draft
                                    discussion on Incognito and privacy
 PX      91    GOOG-CABR-00413286   October 30, 2019 Internal document regarding          Borsay, Mardini          Admission                                 402, 403, H, LF, MIL, Draft
                                    expanding Incognito brand to other Google product

 PX      92    GOOG-BRWN-00182492   November 6, 2019 email from Mardini regarding         Borsay, Halavati,        Admission                                 402, 403, H, MIL
                                    Edge and InPrivate mode                               Mardini
 PX      93    GOOG-BRWN-00147864   November 8, 2019 Internal document titled "1P         Borsay, Fair, Mardini    Admission                                 402, 403
                                    Apps Consideration for Server-side vs Client-side
                                    Incognito handling"
 PX      94    GOOG-BRWN-00202175   November 22, 2019 Internal document titled            Google document          Admission                                 402, 403, DRAFT, LF
                                    "Identity Team Statergy Overview (Work-In-            custodian
                                    Progress)"
 PX      95    GOOG-BRWN-00047341   December 9, 2019 Internal presentation titled "Sin    Borsay                   Admission                                 402, 403
                                    Rastro & Chrome P.A.M review"
 PX      96    GOOG-BRWN-00437647   December 10, 2019 Internal document titled            Borsay                   Admission                                 402, 403
                                    "Chrome Incognito & Sin Rastro notes"
 PX      97    GOOG-CABR-00545997   January 2, 2020 email chat regarding Incognito        Halavati, Liao,          Admission                                 402, 403, H
                                    usage                                                 Hochman
 PX      98    GOOG-BRWN-00615433   January 9, 2020 email from Grey regarding not         Adhya                    Admission                                 402, 403, MIL
                                    logging data froom Incognito search sessions

 PX      99    GOOG-CABR-05148261   January 2020 internal presentation regarding "Sin     Adhya, Borsay, Fair,     Admission                                 402, 403
                                    Rastro Product Update[s]"/Incognito                   Mardini, McClelland

 PX      100 GOOG-BRWN-00701189     January 27, 2020 email chat regarding Chrome/ Sin     Borsay, Halavati,        Admission                                 402, 403, H, MIL
                                    Rastro - One Pager draft                              Mardini, McClelland
 PX      101 GOOG-BRWN-00782689     February 10, 2020 email chat regarding the            Halavati, McClelland     Admission                                 402, 403, H
                                    Incognito story
 PX      102 GOOG-CABR-04780837.R   February 10, 2020 Internal document titled            Adhya, Fair, Halavati,   Admission                                 402, 403, DRAFT, H, LF
                                    "Chrome Privacy The Incognito Story"                  McClelland

 PX      103 GOOG-BRWN-00441285     February 14, 2020 email chat on Incognito             Adhya, Fair              Admission                                 403, 402, H, LF
                                    perceptions
 JX      104 GOOG-CABR-00093167     March 23, 2020 Internal presentation titled           Plaintiffs: Borsay,      Plaintiffs: Admission                     402, 403, H
                                    "Incognito Mode UXR Review                            Halavati, Harris,        Google: Identification
                                                                                          McClelland
                                                                                          Google: Amir
 PX      105 GOOG-CABR-05741188     March 24, 2020 email from McClleland regarding        Halavati, McClelland,    Admission                                 402, 403, H, LF
                                    expected behavior in Incognito                        Hochman

 PX      106 GOOG-BRWN-00051239     March 24, 2020 Internal presentation titled "Chrome Borsay, Harris, Mardini Admission                                    402, 403, H
                                    Incognito Roadmap Workshop"
 PX      107 GOOG-CABR-04431207     April 2020 Internal presentation titled "Incognito  Borsay, Fair, Mardini, Admission                                     402, 403, H
                                    mode Awareness and Landscape go/sr-Incognito-       Lasinski
                                    survey"
 PX      108 GOOG-BRWN-00184517     April 14, 2020 email from McClelland regarding 7 Borsay, Halavati,          Admission                                    402, 403, H, LF
                                    Incognito Guidelines                                McClelland
 PX      109 GOOG-BRWN-00466897.R   May 5, 2020 Internal document titled Key            Adhya, Hochman          Admission                                    402, 403
                                    Takaways/Action Items"
 PX      110 GOOG-CABR-03635725     Spreadsheet titled               Impact             Bindra, Liao, Mardini Admission                                      402, 403, MIL

 PX      111 GOOG-BRWN-00439740     May 5, 2020 Email from Mardini re                     Bindra, Liao, Mardini, Admission                                   402, 403, MIL
                                    "            launch on desktop and Android"           McClelland, Schuh,
                                                                                          Tabriz, Lasinski


 JX      113 GOOG-BRWN-00428101     May 21, 2020 internal presentation titled "Ads        Plaintiffs: Berntson,    Plaintiffs: Admission                     402, 403, MIL
                                    Privacy Ecosystem"                                    Bhatnager, Lasinski      Google: Identification
                                                                                          Google: Strombom

 PX      114                        June 2, 2020 NY Times article titled "Suit Claims McClelland                   Admission                                 402, 403, 901, LF
                                    Google's Tracking Violates Federal Wiretap Law",
                                    https //www.nytimes.com/2020/06/02/technology/g
                                    oogle-sued-wiretap-privacy.html

 PX      115 GOOG-BRWN-00476718     June 3, 2020 email discussing an article about this   McClelland               Admission                                 402, 403, LF
                                    lawsuit
 PX      116 GOOG-BRWN-00845639     Email from Google forms re "PWG-Display               Leung, Liao, Google      Admission                                 402, 403, MIL
                                    Sellside Silo Office Hours Booking"                   document custodian
 PX      117 GOOG-BRWN-00176477     July 22, 2020 email chat discussing Incognito         Adhya, Fair              Admission                                 403, 402, H, LF, MIL
 PX      118 GOOG-CABR-05885871     July 31, 2020 Internal document titled                Fair, Monsees            Admission                                 403, 402, H, LF, MIL
                                    "               Converstions"




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         No.                                                                                                                                Admit                                                                       of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                              Only)
 PX      119 GOOG-BRWN-00555073     August 19, 2020 Internal Work Log Summary          Halavati                Admission                                 402, 403, H, LF

 PX      120 GOOG-CABR-00095681     August 27, 2020 Internal document titled "Incognito Borsay, Fair, Halavati, Admission                                402, 403, H, LF, MIL
                                    Mode"                                               Harris, Mardini

 PX      121 GOOG-BRWN-00845596     October 6, 2020 Email from Mandy Liu to Bert         Leung, Liu, Google    Admission                                 402, 403, MIL
                                    Leung re "Detect 3P Cookie"                          document custodian
 PX      122 GOOG-CABR-05150754     December 16, 2020 Internal excel spreadsheet -       Fair                  Admission                                 402, 403, H, LF
                                    Google's Word List
 PX      123 GOOG-BRWN-00027632     December 17, 2020 Internal document titled           Borsay                Admission                                 402, 403, LF
                                    "Google Incognito PRD Deprecated"
 PX      124 GOOG-BRWN-00845569     January 21, 2021 Chat between Mandy Liu and Bert Leung, Liu, Google        Admission                                 402, 403, MIL
                                    Leung                                                document custodian
 PX      125 GOOG-CABR-04738550     January 2021 Internal presentation titled "Incognito Adhya, Borsay,        Admission                                 402, 403, H
                                    Users and Use Cases"                                 Mardini, Keegan
 PX      126 GOOG-CABR-04508763     April 15, 2021 email regarding Incognito NTP         Borsay, Halavati      Admission                                 402, 403, H, LF
                                    revamp
 PX      127 GOOG-CABR-04746153     April 19, 2021 internal presentation regarding       Borsay, Halavati      Admission                                 402, 403, H, LF
                                    "Incognito NTP Revamp"
 PX      128 GOOG-BRWN-00686207     June 2021 internal presentation titled "KOF          Twohill               Admission                                 402, 403, H, LF
                                    Research Review Reputation Council Update"

 PX      129 GOOG-CABR-04668451     July 14, 2021 email regarding details of "Incognito Mardini                Admission                                 402, 403, H, LF
                                    NTP Revamp"
 PX      130 GOOG-BRWN-00845312     September 13, 2021 Chat message between Mandy Leung, Liu, Google           Admission                                 402, 403, MIL
                                    Liu and Bert Leung                                  document custodian
 PX      131 GOOG-BRWN-00857642     December 13, 2021 Email from Bert Leung Re          Leung, Liao            Admission                                 402, 403, MIL
                                    "Action Audit of Chrome X-Client Data Header -
                                    Deadline 06 Oct
 PX      132 GOOG-CABR-05766200.R   November 2021 internal document titled "Incognito Borsay, Halavati,        Admission                                 402, 403, DRAFT, H, LF
                                    NTP Revamp PRD"                                     Mardini
 PX      133 GOOG-BRWN-00846508     Sync Notes                                          Liu, Google document   Admission                                 402, 403, MIL
                                                                                        custodian
 PX      134                        April 1, 2022 Letter from Joseph Ansorge to Special Hochman                Admission                                 402, 403, H, LF, MIL
                                    Master Brush, Mr. Schmidt, and Counsel

 JX      135                        Google Help Center; "How Chrome Incognito keeps Plaintiffs: Fair,          Plaintiffs: Admission    Yes                                       Objections to Google's Use:
                                    your browsing private", McPhie Decl. Ex. 29     Google document            Google: Admission                                                  Relevance; Hearsay; Foundation;
                                                                                    custodian                                                                                     403 (extrinsic evidence, Google's
                                                                                    Google: Fair                                                                                  MSJ took position that contract was
                                                                                                                                                                                  unambiguous); Not produced

 PX      136 GOOG-BRWN-00184710     February 27, 2015 email from Parisa Tabriz re      Borsay, Felt, Tabriz    Admission                                 402, 403
                                    Update Incognito-fest
 PX      137 GOOG-BRWN-00048967.C   August 7, 2019 Internal documemt titled "Incognito Borsay, Fair, Mardini   Admission                                 402, 403
                                    Comms WIP"
 PX      138 GOOG-CABR-04195517     January 8, 2015 email from Felt regarding          Felt, Borsay            Admission                                 402, 403, H
                                    Incognitio aspirations
 PX      139 GOOG-BRWN-00390418     April 27, 2016 email from Chang Re Chrome          Borsay                  Admission                                 402, 403, H
                                    Incognito privacy question
 PX      140 GOOG-BRWN-00167337     June 22, 2016 email from Borsay regarding Google Borsay, Felt, Palmer      Admission                                 402, 403, H
                                    Incognito precision
 PX      141 GOOG-BRWN-00475063     July 11, 2018 email chat regarding improving       Palmer, Hochman,        Admission                                 402, 403, H
                                    Incognito                                          Keegan
 PX      142 GOOG-CABR-00552177     September 24, 2018 Internal document titled "What Halavati, Harris         Admission                                 402, 403, H, LF
                                    do we need to know about Chrome Incognito mode
                                    to improve it?"
 PX      143 GOOG-CABR-00084985     December 2018 Internal presentation titled "Chrome Shelton, Keegan         Admission                                 402, 403, H
                                    and the Shifting Privacy and Security Landscape"

 PX      144 GOOG-CABR-05905167     December 12, 2014 email from Holfelder regarding Borsay, Palmer, Schuh Admission                                     402, 403, H
                                    Incognito
 PX      145 GOOG-CABR-05836882     May 4, 2015 Internal excel sheet defining varions Borsay, Fair, Monsees, Admission                                   402, 403, PRIV, CLAWED
                                    terms including privacy                           Keegan                                                             BACK W/REDACTIONS
                                                                                                                                                         with .001.C Bates no.

 JX      146 GOOG-CABR-00002291     April 14, 2014 Google Terms of Service             Plaintiffs: Fair,       Plaintiffs: Admission    Yes
                                                                                       Google document         Google: Admission
                                                                                       custodian
                                                                                       Google: Fair
 JX      147 GOOG-CABR-00002303     October 25, 2017 Google Terms of Service           Plaintiffs: Fair,       Plaintiffs: Admission    Yes
                                                                                       Google document         Google: Admission
                                                                                       custodian
                                                                                       Google: Fair
 JX      148 GOOG-CABR-00002315     March 31, 2020 Google Terms of Service             Plaintiffs: Fair,       Plaintiffs: Admission    Yes
                                                                                       Google document         Google: Admission
                                                                                       custodian
                                                                                       Google: Fair
 JX      149                        January 5, 2022 Google Terms of Service            Plaintiffs: Fair,       Plaintiffs: Admission    Yes
                                                                                       Google document         Google: Admission
                                                                                       custodian
                                                                                       Google: Fair
 JX      150                        March 25, 2016 Google Privacy Policy               Plaintiffs: Fair,       Plaintiffs: Admission    Yes
                                                                                       Google document         Google: Admission
                                                                                       custodian
                                                                                       Google: Fair
 JX      151 GOOG-BRWN-00000001     June 28, 2016 Google Privacy Policy                Plaintiffs: Fair,       Plaintiffs: Admission    Yes
                                                                                       Google document         Google: Admission
                                                                                       custodian
                                                                                       Google: Fair
 JX      152 GOOG-BRWN-00000018     August 29, 2016 Google Privacy Policy              Plaintiffs: Fair,       Plaintiffs: Admission    Yes
                                                                                       Google document         Google: Admission
                                                                                       custodian
                                                                                       Google: Fair
 JX      153 GOOG-BRWN-00000035     March 1, 2017 Google Privacy Policy                Plaintiffs: Fair,       Plaintiffs: Admission    Yes
                                                                                       Google document         Google: Admission
                                                                                       custodian
                                                                                       Google: Fair
 JX      154 GOOG-BRWN-00000052     April 17, 2017 Google Privacy Policy               Plaintiffs: Fair,       Plaintiffs: Admission    Yes
                                                                                       Google document         Google: Admission
                                                                                       custodian
                                                                                       Google: Fair




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Prefix   Ex.        Begin Bates                      Description              Sponsoring Witness     Expert Identification   Stipulation to   Google Objections   Plaintiffs' Objections   Injunction Phase        Date
         No.                                                                                                                     Admit                                                     of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                 Only)
 JX      155 GOOG-BRWN-00000069   October 2, 2017 Google Privacy Policy      Plaintiffs: Fair,      Plaintiffs: Admission    Yes
                                                                             Google document        Google: Admission
                                                                             custodian
                                                                             Google: Fair
 JX      156 GOOG-BRWN-00000086   December 18, 2017 Google Privacy Policy    Plaintiffs: Fair,     Plaintiffs: Admission     Yes
                                                                             Google document       Google: Admission
                                                                             custodian
                                                                             Google: Fair
 JX      157 GOOG-BRWN-00000096   May 25, 2018 Google Privacy Policy         Fair, Google document Admission                 Yes
                                                                             custodian
 JX      158 GOOG-BRWN-00000124   January 22, 2019 Google Privacy Policy     Plaintiffs: Fair,     Plaintiffs: Admission     Yes
                                                                             Google document       Google: Admission
                                                                             custodian
                                                                             Google: Fair
 JX      159 GOOG-BRWN-00000152   October 15, 2019 Google Privacy Policy     Plaintiffs: Fair,      Plaintiffs: Admission    Yes
                                                                             Google document        Google: Admission
                                                                             custodian
                                                                             Google: Fair
 JX      160 GOOG-BRWN-00000180   December 19, 2019 Google Privacy Policy    Plaintiffs: Fair,      Plaintiffs: Admission    Yes
                                                                             Google document        Google: Admission
                                                                             custodian
                                                                             Google: Fair
 JX      161 GOOG-BRWN-00000209   March 31, 2020 Google Privacy Policy       Plaintiffs: Fair,      Plaintiffs: Admission    Yes
                                                                             Google document        Google: Admission
                                                                             custodian
                                                                             Google: Fair
 JX      162 GOOG-BRWN-00000239   July 1, 2020 Google Privacy Policy         Plaintiffs: Fair,      Plaintiffs: Admission    Yes
                                                                             Google document        Google: Admission
                                                                             custodian
                                                                             Google: Fair
 JX      163 GOOG-BRWN-00000270   August 28, 2020 Google Privacy Policy      Plaintiffs: Fair,      Plaintiffs: Admission    Yes
                                                                             Google document        Google: Admission
                                                                             custodian
                                                                             Google: Fair
 JX      164 GOOG-BRWN-00000302   September 30, 2020 Google Privacy Policy   Plaintiffs: Fair,      Plaintiffs: Admission    Yes
                                                                             Google document        Google: Admission
                                                                             custodian Google: Fair

 PX      165                      February 4, 2021 Google Privacy Policy     Plaintiffs: Fair,      Plaintiffs: Admission    Yes
                                                                             Google document        Google: Admission
                                                                             custodian
                                                                             Google: Fair
 PX      166                      July 1, 2021 Google Privacy Policy         Plaintiffs: Fair,      Plaintiffs: Admission    Yes
                                                                             Google document        Google: Admission
                                                                             custodian
                                                                             Google: Fair
 JX      167                      February 10, 2022 Google Privacy Policy    Plaintiffs: Fair,      Plaintiffs: Admission    Yes
                                                                             Google document        Google: Admission
                                                                             custodian
                                                                             Google: Fair
 JX      168                      October 4, 2022 Google Privacy Policy      Plaintiffs: Fair,      Plaintiffs: Admission    Yes
                                                                             Google document        Google: Admission
                                                                             custodian
                                                                             Google: Fair
 JX      169                      December 15, 2022 Google Privacy Policy    Plaintiffs: Fair,     Plaintiffs: Admission     Yes
                                                                             Google document       Google: Admission
                                                                             custodian
                                                                             Google: Fair
 PX      170                      July 1, 2023 Google Privacy Policy         Fair, Google document Admission                 Yes
                                                                             custodian
 JX      171                      September 1, 2015 Chrome Privacy Notice    Plaintiffs: Fair,     Plaintiffs: Admission     Yes
                                                                             Google document       Google: Admission
                                                                             custodian
                                                                             Google: Fair
 JX      172                      June 21, 2016 Chrome Privacy Notice        Plaintiffs: Fair,      Plaintiffs: Admission    Yes
                                                                             Google document        Google: Admission
                                                                             custodian
                                                                             Google: Fair
 JX      173                      August 30, 2016 Chrome Privacy Notice      Plaintiffs: Fair,      Plaintiffs: Admission    Yes
                                                                             Google document        Google: Admission
                                                                             custodian
                                                                             Google: Fair
 JX      174                      October 11, 2016 Chrome Privacy Notice     Plaintiffs: Fair,      Plaintiffs: Admission    Yes
                                                                             Google document        Google: Admission
                                                                             custodian
                                                                             Google: Fair
 JX      175                      November 30, 2016 Chrome Privacy Notice    Plaintiffs: Fair,      Plaintiffs: Admission    Yes
                                                                             Google document        Google: Admission
                                                                             custodian Google: Fair

 JX      176                      January 24, 2017 Chrome Privacy Notice     Plaintiffs: Fair,      Plaintiffs: Admission    Yes
                                                                             Google document        Google: Admission
                                                                             custodian
                                                                             Google: Fair
 JX      177                      March 7, 2017 Chrome Privacy Notice        Plaintiffs: Fair,      Plaintiffs: Admission    Yes
                                                                             Google document        Google: Admission
                                                                             custodian
                                                                             Google: Fair
 JX      178 GOOG-BRWN-00000771   April 25, 2017 Chrome Privacy Notice       Plaintiffs: Fair,      Plaintiffs: Admission    Yes
                                                                             Google document        Google: Admission
                                                                             custodian
                                                                             Google: Fair
 JX      179 GOOG-BRWN-00000784   March 6, 2018 Chrome Privacy Notice        Plaintiffs: Fair,      Plaintiffs: Admission    Yes
                                                                             Google document        Google: Admission
                                                                             custodian
                                                                             Google: Fair
 JX      180 GOOG-BRWN-00000800   September 24, 2018 Chrome Privacy Notice   Plaintiffs: Fair,      Plaintiffs: Admission    Yes
                                                                             Google document        Google: Admission
                                                                             custodian
                                                                             Google: Fair




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Prefix   Ex.        Begin Bates                      Description                     Sponsoring Witness      Expert Identification   Stipulation to       Google Objections         Plaintiffs' Objections          Injunction Phase        Date
         No.                                                                                                                             Admit                                                                      of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                          Only)
 JX      181 GOOG-BRWN-00000816   October 24, 2018 Chrome Privacy Notice            Plaintiffs: Fair,      Plaintiffs: Admission     Yes
                                                                                    Google document        Google: Admission
                                                                                    custodian
                                                                                    Google: Fair
 JX      182 GOOG-BRWN-00000832   December 4, 2018 Chrome Privacy Notice            Plaintiffs: Fair,      Plaintiffs: Admission     Yes
                                                                                    Google document        Google: Admission
                                                                                    custodian
                                                                                    Google: Fair
 JX      183 GOOG-BRWN-00000848   January 30, 2019 Chrome Privacy Notice            Plaintiffs: Fair,      Plaintiffs: Admission     Yes
                                                                                    Google document        Google: Admission
                                                                                    custodian
                                                                                    Google: Fair
 JX      184 GOOG-BRWN-00000864   March 12, 2019 Chrome Privacy Notice              Plaintiffs: Fair,      Plaintiffs: Admission     Yes
                                                                                    Google document        Google: Admission
                                                                                    custodian
                                                                                    Google: Fair
 JX      185 GOOG-BRWN-00000880   October 31, 2019 Chrome Privacy Notice            Plaintiffs: Fair,      Plaintiffs: Admission     Yes
                                                                                    Google document        Google: Admission
                                                                                    custodian Google: Fair

 JX      186 GOOG-BRWN-00000896   December 10, 2019 Chrome Privacy Notice           Plaintiffs: Fair,      Plaintiffs: Admission     Yes
                                                                                    Google document        Google: Admission
                                                                                    custodian
                                                                                    Google: Fair
 JX      187 GOOG-BRWN-00000913   March 17, 2020 Chrome Privacy Notice              Plaintiffs: Fair,      Plaintiffs: Admission     Yes
                                                                                    Google document        Google: Admission
                                                                                    custodian
                                                                                    Google: Fair
 JX      188 GOOG-BRWN-00000930   May 20, 2020 Chrome Privacy Notice                Plaintiffs: Fair,      Plaintiffs: Admission     Yes
                                                                                    Google document        Google: Admission
                                                                                    custodian
                                                                                    Google: Fair
 JX      189                      January 15, 2021 Chrome Privacy Notice            Plaintiffs: Fair,      Plaintiffs: Admission     Yes
                                                                                    Google document        Google: Admission
                                                                                    custodian
                                                                                    Google: Fair
 JX      190                      September 23, 2021 Chrome Privacy Notice          Plaintiffs: Fair,      Plaintiffs: Admission     Yes
                                                                                    Google document        Google: Admission
                                                                                    custodian
                                                                                    Google: Fair
 JX      191                      June 23, 2022 Chrome Privacy Notice               Plaintiffs: Fair,      Plaintiffs: Admission     Yes
                                                                                    Google document        Google: Admission
                                                                                    custodian
                                                                                    Google: Fair
 JX      192                      August 11, 2022 Chrome Privacy Notice             Plaintiffs: Fair,      Plaintiffs: Admission     Yes
                                                                                    Google document        Google: Admission
                                                                                    custodian
                                                                                    Google: Fair
 JX      193                      Google "Search & browse privately" webpage,       Plaintiffs: Fair,      Plaintiffs: Admission     Yes
                                  McPhie Decl. Ex. 30                               Google document        Google: Admission
                                                                                    custodian
                                                                                    Google: Fair
 PX      194 GOOG-BRWN-00555223   Incognito NTP Messages since 2016                 Halavati, McClelland   Admission                                  402, 403, INC, H

 JX      195 GOOG-CABR-04400003   February 18, 2016 - February 27, 2017 Incognito   Plaintiffs: Fair,      Plaintiffs: Admission     Yes
                                  Splash Screen                                     Google document        Google: Admission
                                                                                    custodian
                                                                                    Google: Fair
 JX      196 GOOG-CABR-04400005   April 20, 2017 - June 2020 Incognito Splash Screen Plaintiffs: Fair,     Plaintiffs: Admission     Yes
                                                                                     Keegan, Google        Google: Admission
                                                                                     document custodian
                                                                                     Google: Fair
 JX      197 GOOG-CABR-04400007   June 2020 - Present Incognito Splash Screen        Plaintiffs: Fair,     Plaintiffs: Admission     Yes
                                                                                     Google document       Google: Admission
                                                                                     custodian
                                                                                     Google: Fair
 PX      198                      Google Analytics Terms of Service                  Fair, Google document Admission                 Yes
                                                                                     custodian
 JX      199                      Google Analytics Privacy Disclosures Policy,       Plaintiffs: Fair,     Plaintiffs: Admission     Yes                                      Objections to Google's Use:
                                  McPhie Decl. 32                                    Google document       Google: Admission                                                  Relevance; Hearsay; Foundation;
                                                                                     custodian                                                                                403 (extrinsic evidence, Google's
                                                                                     Google: Ganem                                                                            MSJ took position that contract was
                                                                                                                                                                              unambiguous); Not produced

 JX      200                      Google Ad Manager Publisher Policies, McPhie      Plaintiffs Fair, Google Plaintiffs: Admission    Yes                                      Objections to Google's Use:
                                  Decl. Ex. 33                                      document custodian      Google: Admission                                                 Relevance; Hearsay; Foundation;
                                                                                    Google Berntson                                                                           403 (extrinsic evidence, Google's
                                                                                                                                                                              MSJ took position that contract was
                                                                                                                                                                              unambiguous); Not produced

 PX      201                      Google webpage titled "How Google Uses            Fair, Google document Admission                  Yes                                      Objections to Google's Use:
                                  Information from Sites and Apps that use Our      custodian                                                                                 Relevance; Hearsay; Foundation;
                                  Services", McPhie Decl. Ex. 1                                                                                                               403 (extrinsic evidence, Google's
                                                                                                                                                                              MSJ took position that contract was
                                                                                                                                                                              unambiguous); Not produced

 PX      202 GOOG-BRWN-00454633   April 29, 2020 email from Rory McClelland re      Bindra, Liao, Mardini, Admission                                  402, 403, MIL
                                  "              launch"                            McClelland, Tabriz

 PX      203 GOOG-BRWN-00474874   October 13, 2008 email from Rakowski re "Tin foil Rakowski               Admission                                  402, 403
                                  hat mode brainstorm"
 PX      204 GOOG-BRWN-00408322   December 16, 2009 email from Sengupta re          Rakowski               Admission                                  402, 403, H
                                  "Privacy in Chrome 4"
 PX      205 GOOG-CABR-03689232   December 22, 2018 email from Sammit Adhya Re Adhya                       Admission                                  402, 403, H
                                  "End of the Year Update"
 PX      206 GOOG-BRWN-00696751   April 22, 2019 Email from Lorraine Twohill Re     Twohill                Admission                                  402, 403, H, MIL, LF
                                  "Incognito Mode"
 PX      207 GOOG-CABR-05270014   April 24, 2019 document titled Incognito I/O Key Mardini                 Admission                                  402, 403
                                  Messages
 PX      208 GOOG-BRWN-00176481   July 22, 2020 Chat Between Adhya and Fair         Adhya, Fair, Hochman   Admission                                  402, 403, MIL




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         No.                                                                                                                                   Admit                                                               of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                         Only)
 PX      209 GOOG-BRWN-00418249     May 18, 2016 Email from Borsay Re "Google        Borsay, Felt            Admission                                      402, 403, MIL
                                    'Incognito' Precision"
 PX      210 GOOG-CABR-00391447     December 2019 Document titled "How to lead in a Berntson                 Admission                                      402, 403, H, LF
                                    privacy-first era"
 PX      211 GOOG-BRWN-00490767     November 2020 presentation titled "Google        Chung                   Admission                                      402, 403, H, LF
                                    Analytics Starting Conversation"
 PX      212 GOOG-CABR-00456088     January 11, 2018 email from Tim Schumann Re      Lemoine, Monsees        Admission                                      402, 403, MIL
                                    "Ways to protect Chrome data in logs"
 PX      213 GOOG-CABR-05287138     September 23, 2014 email from chrome-security on Palmer, Schuh, Borsay Admission                                        402, 403, H
                                    behalf of Jason Woloz
 PX      214 GOOG-CABR-05905169     December 12, 2014 email form chrome-security on Palmer, Schuh, Borsay Admission                                         402, 403, H
                                    behalf of Betsy Masiello.
 PX      215 GOOG-BRWN-00806429     February 11, 2014 email from Felt.               Felt, Tabriz, Palmer.   Admission                                      402, 403, MIL
 PX      216 GOOG-BRWN-00393425     February 12, 2014 email from Garth Shoemaker.    Tabriz, Palmer, Borsay, Admission                                      402, 403, MIL
                                                                                     Felt.
 PX      217 GOOG-BRWN-00391406     May 17, 2015 email from Borsay.                  Adhya, Borsay,          Admission                                      402, 403, H, MIL, LF
                                                                                     Halavati, McClelland,
                                                                                     Hochman

 PX      218   GOOG-CABR-00353933   June 21, 2016 email from Borsay.                  Borsay                  Admission                                     402, 403
 PX      219   GOOG-CABR-00711586   September 12, 2018 from Shelton.                  Shelton                 Admission                                     402, 403
 PX      220   GOOG-BRWN-00634520   August 22, 2018 email from Palmer.                Palmer, Felt            Admission                                     402, 403
 PX      221   GOOG-CABR-00799532   January 10, 2019 Chat                             Palmer                  Admission                                     402, 403
 PX      222   GOOG-CABR-00149931   September 14, 2018 email from Palmer re "Five     Palmer, Shelton,        Admission                                     402, 403, H
                                    ways people misunderstand Incognito and private   Halavati, Harris
                                    browsing"
 PX      223 GOOG-CABR-00191463     February 6, 2019 email from Sundar Pichai re "Our Borsay                  Admission                                     402, 403, MIL
                                    Priorities for 2019"
 PX      224 GOOG-CABR-05490919     October 30, 2015 email from Palmer re             Palmer                  Admission                                     402, 403
                                    "Permissions in Incognito"
 PX      225 GOOG-BRWN-00457161     December 13, 2014 email from Micah Laaker re      Tabriz, Schuh           Admission                                     402, 403
                                    "Incognito ("
 PX      226 GOOG-CABR-00358713     January 29, 2020 email from Borsay re "Chrome / Borsay, Halavati,         Admission                                     402, 403, H, MIL
                                    Sin Rast.."                                       McClelland, Adhya
 PX      227 GOOG-CABR-04734899     February 19. 2019 email from Rory McClelland re McClelland, Kleber,       Admission                                     402, 403, LF, MIL
                                    "The DNT header"                                  Bindra, Mardini, Tabriz

 PX      228 GOOG-CABR-04675770     July 9, 2016 Email from McClelland Re "Update        McClelland, Tabriz,      Admission                                 402, 403, H
                                    on Sundar            review"                         Kleber
 PX      229 GOOG-CABR-00125537     March 21, 2019 Document titled "One Pager            McClelland, Fair         Admission                                 402, 403, MIL

 PX      230 GOOG-CABR-04739271     February 8, 2021 Presentation Titled "Safer with     Twohill                  Admission                                 402, 403, H, MIL
                                    Google, I/O, Data Transparency"
 PX      231 GOOG-CABR-05364238     August 2018 Report titled "Google Data               Monsees                  Admission                                 402, 403, 901, LF
                                    Collection"
 PX      232 GOOG-CABR-04150069     Approval document for "Protecting private            Mardini, McClelland,     Admission                                 402, 403, H, DRAFT, LF
                                    browsing in Chrome"                                  Halavati

 PX      233 GOOG-BRWN-00707013     April 29, 2019 Internal document Re "Privacy that    Twohill                  Admission                                 402, 403, H, DRAFT, LF
                                    works for everyone"
 PX      234 GOOG-CABR-04682928     May 8, 2019 email from Struan Robertson              Bindra                   Admission                                 402, 403, H, LF
 PX      235 GOOG-BRWN-00696888     December 4, 2019 Email from Morgan re                Twohill                  Admission                                 402, 403
                                    "Incognito"
 PX      236 GOOG-BRWN-00848447     January 15, 2021 email from Morgan re "Privacy       Twohill                  Admission                                 402, 403, H
                                    and Security Ideas"
 PX      237                        Joint Discovery Letter Brief, Dkt. 411-1       Mardini, Borsay, Felt,         Admission                                 402, 403, LF, NE, MIL
                                                                                   Google document
                                                                                   custodian
 PX      238                        December 20, 2022 Letter from Quinn Emanuel re Mardini, Borsay, Felt,         Admission                                 402, 403, LF, NE, MIL
                                                                                   Google document
                                                                                   custodian
 PX      239 GOOG-CABR-04154790     "Chrome Incognito User Insights Summary"       Mardini, Borsay,               Admission                                 402, 403, LF, H, DRAFT
                                                                                   Halavati
 PX      240 GOOG-CABR-03646702     "T&S UXR State of the Union" presentation.     Felt                           Admission                                 403, 402, H, LF
 PX      241 GOOG-BRWN-00848427     May 15, 2020 Email from Twohill re "Chrome's   Twohill                        Admission                                 402, 403, LF
                                    next trust & safety announcement"

 PX      242 GOOG-BRWN-00696977     February 1, 2021 Email from Twohill re "Today is Twohill                      Admission                                 402, 403, H
                                    Data Privacy day"
 PX      243 GOOG-BRWN-00166507     June 5, 2014 Document Titled "Incognito Notes"   Borsay, Felt                 Admission                                 402, 403, MIL

 PX      244                        Excerpt from Mandy Liu Deposition Testimony at       Liu                      Admission                                 402, 403, LF, H, MIL
                                    41 25-42 12
 PX      245 GOOG-CABR-05405835     Presentation titled "The Changing Digital Ads        Google document          Admission                                 402, 403, LF
                                    Ecosystem"                                           custodian
 PX      246 GOOG-CABR-04093279     February 2017 Presentation Titled "Machine           Monsees                  Admission                                 402, 403, LF
                                    Learning"
 PX      247 GOOG-CABR-04344015     Presentation titled "External Messaging on AI"       Google document          Admission                                 402, 403, LF, MIL
                                                                                         custodian
 PX      248 GOOG-CABR-05315806     Document titled "Google Analytics Machine            Google document          Admission                                 402, 403, LF, MIL
                                    Learning/Intelligence"                               custodian
 PX      249                        Hochman Opening Report Appendix B                    Hochman                  Admission                                 402, 403, H, NE
 PX      250                        Hochman Rebuttal Report Appendix B                   Hochman                  Admission                                 402, 403, H, NE
 PX      251                        Rule 1006 Summary on list of logs, bits, xcdh,       Hochman                  Admission                                 402, 403, LF, NE,
                                    retention period                                                                                                        Description insufficient to
                                                                                                                                                            identify exhibit
 PX      252 GOOG-BRWN-00455551     September 5, 2019 email from McClelland              McClelland, Schuh        Admission                                 402, 403, LF
 PX      253 GOOG-BRWN-00147873     April 25, 2019 Presentation titled "Incognito Icon   Borsay, Fair, Mardini,   Admission                                 402, 403
                                    Redesign Update"                                     Hochman
 PX      254 GOOG-CABR-04724084     Presentation titled "Argoz DPR"                      Google document          Admission                                 402, 403, LF
                                                                                         custodian, Hochman
 PX      255                        Plaintiff data on flash drive                        Hochman                  Admission                                 402, 403, LF,
                                                                                                                                                            Description insufficient to
                                                                                                                                                            identify exhibit
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  PX   257 GOOG-CABR-04455284       August 2018 presentation titled "Make Week"          Borsay, Felt, Halavati, Admission                                  402, 403, H, LF
                                                                                         Harris, Mardini, Palmer

 PX      258 GOOG-CABR-00174832     February 27, 2019 email regarding Incognito          Berntson, Kleber, Liao Admission                                   402, 403, MIL
                                    window
 PX      259                        Hochman Opening Report Appendix H                    Hochman                  Admission                                 402, 403, LF, NE




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         No.                                                                                                                                 Admit                                                         of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                 Only)
 PX      260 GOOG-BRWN-00393423   February 12, 2015 email from Palmer titled          Borsay, Felt, Palmer,     Admission                                 402, 403, H
                                  "Incognito-fest 2015"                               Tabriz
 PX      261 GOOG-BRWN-00517607   March 3, 2020 email from M. Sramek on XCDH          Google Custodian          Admission                                 402, 403, LF
                                  being sent in Incognito Sessions
 PX      262 GOOG-BRWN-00418175   March 30, 2016 email regarding "Incognito           Borsay, Felt, Palmer      Admission                                 402, 403
                                  Imprecision"
 PX      263 GOOG-BRWN-00410878   June 22, 2016 email from Borsay regarding           Borsay, Felt, Palmer      Admission                                 402, 403, MIL
                                  "Incognito Precision"
 PX      264 GOOG-BRWN-00797584   July 21, 2018 email from Palmer with a link to edit Felt, Palmer, Tabriz      Admission                                 402, 403
                                  the "Incognito Problem" presentation
 PX      265 GOOG-CABR-04230142   July 21, 2018 email from Tabriz to edit the         Felt, Palmer, Tabriz      Admission                                 402, 403
                                  "Incognito Problem" presentation
 PX      266 GOOG-CABR-04230143   July 24, 2018 email from Nagel to edit the          Felt, Halavati, Palmer,   Admission                                 402, 403
                                  "Incognito Problem" presentation                    Tabriz
 PX      267 GOOG-BRWN-00475121   August 31, 2018 email chat regarding the "name" of Palmer, Schuh              Admission                                 402, 403
                                  Incognito mode
 PX      268 GOOG-BRWN-00634672   November 7, 2018 email regarding "Incognito         Palmer                    Admission                                 402, 403
                                  Deck"
 PX      269 GOOG-BRWN-00475202   February 6, 2019 email chat regarding incognito     Palmer                    Admission                                 402, 403, H
                                  mode
 PX      270 GOOG-CABR-00411167   April 24, 2019 internal presentation titled         Borsay, Harris,           Admission                                 402, 403, H
                                  "Incognito Icon Redesign Update"                    Mardini, Hochman
 PX      271 GOOG-CABR-04421250   May 16, 2019 internal presentation titled "PDPO     Adhya, Borsay, Fair,      Admission                                 402, 403, H, MIL, LF
                                  Operating Committee Meeting No. 37"                 Halavati, Mardini,
                                                                                      McClelland
 PX      272 GOOG-CABR-05126022   March 22, 2019 email regarding notes from Sundar Bindra, Kleber,              Admission                                 402, 403
                                  meeting                                             Mardini, McClelland,
                                                                                      Tabriz
 PX      273 GOOG-BRWN-00230425   July 15, 2020 email regarding updates on "Trust & Mardini, Schuh              Admission                                 402, 403
                                  Safety features in Chrome M83"
 PX      274 GOOG-BRWN-00047399   September 24, 2018 internal document titled "What Harris, Halavati            Admission                                 402, 403, H
                                  do we need to know about Chrome Incognito mode
                                  to improve it?"
 PX      275 GOOG-CABR-00410282    November 30, 2018 internal document titled         Borsay, Fair, Halavati,   Admission                                 402, 403, DRAFT
                                  "Incognito User Education PRD"                      Harris, Mardini

 PX      276 GOOG-CABR-00830718   July 30, 2019 email regarding notes from             Adhya, Borsay, Fair,     Admission                                 402, 403, H, MIL
                                  "SinRastro / Chrome" meeting                         Halavati, McClelland

 PX      277                      Transcript of video clip of Eric Schmidt interview   Palmer                   Admission                                 402, 403, H, LF
                                  with ABC News from September 23, 2014

 PX      278 GOOG-BRWN-00147870   May 22, 2019 internal document titled "Collecting    Borsay, Fair, Halavati, Admission                                  402, 403
                                  incognito usage stats"                               Mardini
 PX      279 GOOG-CABR-04967959   January 17, 2020 email regarding "               -   Bindra, Felt, Halavati, Admission                                  402, 403, H
                                          sync"                                        Leung, Liao, Mardini,
                                                                                       McClelland

 PX      280 GOOG-CABR-00352924   February 3, 2016 email regarding "Incognito mode Borsay                    Admission                                    402, 403
                                  NTP"
 PX      281 GOOG-CABR-05468324   January 2015 internal document titled "Perceptions Adhya, Borsay, Fair,    Admission                                    402, 403, H
                                  of Google Chrome Incognito"                        Felt, Halavati, Harris,
                                                                                     Mardini, Palmer, Schuh

 PX      282 GOOG-BRWN-00391825   September 1, 2015 email regarding "Incognito mode Borsay                 Admission                                      402, 403
                                  action plan"
 PX      283 GOOG-BRWN-00185344   April 25, 2019 email regarding "Incognito Icon    Adhya, Borsay          Admission                                      402, 403, MIL
                                  update for I/O"
 PX      284                      Letter 2022-03-01 Re Browser Intelligence         Hochman , Google       Admission                                      402, 403, LF, MIL, NE
                                  Monitoring Dashboard                              document custodian
 PX      285                      Hochman Opening Report Appendix E                 Hochman                Admission                                      402, 403, H, NE
 PX      286                      30(b)(6) Sadowski Reference Sheet                 Hochman                Admission                                      402, 403
 PX      287 GOOG-CABR-03611484   January 20, 2019 Document Re "            /       Bindra, Hochman        Admission                                      402, 403, LF
                                             "
 PX      288 GOOG-CABR-04616196   February 2020 Presentation titled "AViD Product Google document          Admission                                      402, 403, MIL, LF
                                  Review"                                           custodian, Hochman
 PX      289 GOOG-BRWN-00535100   Presentation titled "ML@Google for Noogler"       Google document        Admission                                      402, 403, LF
                                                                                    custodian, Hochman
 PX      290 GOOG-CABR-04626237   October 9, 2020 Document titled "Display Audience Google document        Admission                                      402, 403, LF
                                  Deep Retrieval Model"                             custodian, Hochman
 PX      291 GOOG-CABR-04786706   May 2019 Document titled "Expert Series Smart     Fair                   Admission                                      403, 402, H, LF
                                  Bidding & Creatives"
 PX      292 GOOG-BRWN-00529122   January 27, 2021 Email from Steve Hamilton        Google document        Admission                                      402, 403, H, MIL, LF
                                                                                    custodian, Lasinski
 PX      293 GOOG-CABR-04959606   May 2020 Presentation Titled "Conversion          Bindra, Liao, Hochman Admission                                       402, 403, MIL
                                  Modeling"
 PX      294 GOOG-CABR-03662975   June 4, 2020 Email from Chris Liao                Liao, Leung, Lasinski, Admission                                      402, 403, MIL
                                                                                    Google document
                                                                                    custodian
 PX      295 GOOG-CABR-00547295   September 17, 2020 email from Bert Leung          Leung, Liu, Liao,      Admission                                      402, 403, MIL
                                                                                    Bindra, Hochman
 PX      296                      Transcript of video clip of Eric Schmidt December Palmer                 Admission                                      402, 403, H, LF
                                  12, 2014 interview with Cato Institute,
                                  https //www.youtube.com/watch?v=BH3vjTz8OII



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  PX   298                        June 14, 2022 Sramek Declaration                     Google document          Admission                                 402, 403, MIL
                                                                                       custodian, Hochman
 PX      299                      August 18, 2022 Sramek Declaration                   Google document          Admission                                 402, 403, MIL
                                                                                       custodian, Hochman
 PX      300                      Kuzniar Declaration Re OSC                           Google document          Admission                                 402, 403, MIL
                                                                                       custodian, Hochman
 PX      301                      Lee Declaration Re OSC                               Google document          Admission                                 402, 403, MIL
                                                                                       custodian, Hochman
 PX      302                      Liu Declaration Re OSC                               Google document          Admission                                 402, 403, MIL
                                                                                       custodian, Hochman
 PX      303                      Maki Declaration Re Re OSC                           Google document          Admission                                 402, 403, MIL
                                                                                       custodian, Hochman
 PX      304                      Panferov Declaration Re OSC                          Google document          Admission                                 402, 403, MIL
                                                                                       custodian, Hochman




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         No.                                                                                                                                 Admit                                                         of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                 Only)
 PX      305                      Sramek Declaration Re OSC                            Google document          Admission                                 402, 403, MIL
                                                                                       custodian, Hochman
 PX      306                      Harren Declaration Re OSC                            Google document          Admission                                 402, 403, MIL
                                                                                       custodian, Hochman
 PX      307                      Kahlon Declaration Re OSC                            Google document          Admission                                 402, 403, MIL
                                                                                       custodian, Hochman
 PX      308                      Google's Response to OSC                             Google document          Admission                                 402, 403, MIL
                                                                                       custodian, Hochman
 PX      309                      Ellis Declaration Re OSC                             Google document          Admission                                 402, 403, MIL
                                                                                       custodian, Hochman
 PX      310                      Supplemental Lee Declaration Re OSC                  Google document          Admission                                 402, 403, MIL
                                                                                       custodian, Hochman
 PX      311                      March 25, 2022 Stipulation re Google's               Google document          Admission                                 402, 403, MIL
                                  maybe_chrome_incognito' field                        custodian, Hochman
 PX      312 GOOG-CABR-04524174   March 9, 2021 Email from Lin                         Google document          Admission                                 402, 403, LF, MIL
                                                                                       custodian
 PX      313 GOOG-CABR-05410568   December 16, 2020 Presentation Titled PKS            Google document          Admission                                 402, 403, LF, MIL
                                  Scalable Pub-Keyed Serving Infrastructure            custodian
 PX      314 GOOG-CABR-05880774   October 2026 Document Titled "               Linkage Berntson                 Admission                                 402, 403
                                  Design"
 JX      315 GOOG-CABR-00058557   August 12, 2016 Document Titled "Display Ads         Plaintiffs: Liao, Leung, Plaintiffs: Admission                     402, 403, H
                                                                "                      Google document          Google: Identification
                                                                                       custodian Google:
                                                                                       Psounis
 PX      316 GOOG-BRWN-00858557   Retention Periods for Logs at Issue in the OSC       Google document          Admission                                 402, 403, LF, MIL
                                                                                       custodian
 PX      317                      December 21, 2022 Google's Administrative            Google document          Admission                                 402, 403, LF, NE, MIL
                                  Motion Requesting Leave to Deprecate                 custodian, Hochman
 PX      318                      October 13, 2022 email from Tracy Gao to Ryan        Google document          Admission                                 402, 403, LF, NE
                                  McGee                                                custodian, Hochman
 PX      319 GOOG-CABR-00543864   Presentation Titled Q4 "Team Deep Dive"              Liao, Hochman            Admission                                 402, 403
 PX      320                      2022-10-25 Pothana Declaration                       Google document          Admission                                 402, 403
                                                                                       custodian, Hochman
 PX      321                      2023-01-26 Google's Letter to Brown & Calhoun Google document                 Admission                                 402, 403, LF, NE
                                  re     Mapping & Linking Tables                      custodian, Hochman
 PX      322 GOOG-CABR-00891788   Presentation titled "Zwieback in a nutshell"         Google document          Admission                                 402, 403, LF, MIL
                                                                                       custodian
 PX      323 GOOG-BRWN-00571408   Document Titled "The Zwieback One Pager"             Google document          Admission                                 402, 403, LF, MIL
                                                                                       custodian
 PX      324 GOOG-BRWN-00078322   Document Titled "What is Zwieback"                   Google document          Admission                                 402, 403, LF, MIL
                                                                                       custodian
 PX      325 GOOG-CABR-00892610   August 16, 2023 Presentation Titled "Shu's           Google document          Admission                                 402, 403, LF
                                  Braindump"                                           custodian
 PX      326 GOOG-BRWN-00436367   Document titled "Unified Cross-Device Conversion Google document              Admission                                 402, 403, MIL, LF
                                  Tracking"                                            custodian
 PX      327 GOOG-CABR-00394666   December 17, 2014 Presentation Titled "Display       Berntson                 Admission                                 402, 403, LF
                                  Ads Logging Overview"
 PX      328 GOOG-CABR-00391067   May 2018 Document Titled "Rasta Pipelines"           Berntson                 Admission                                 402, 403, LF
 PX      329 GOOG-BRWN-00029355   July 29, 220 Document titled "           Logs"       Google document          Admission                                 402, 403, LF
                                                                                       custodian
 PX      330 GOOG-CABR-04119782   July 22, 2019 Document titled           Logs"        Berntson                 Admission                                 402, 403, LF
 PX      331 GOOG-BRWN-00858554   August 30, 2022 Document titled                      Google document          Admission                                 402, 403, LF
                                                                                       custodian
 PX      332 GOOG-BRWN-00858520   August 3, 2022 Document titled "A Gentle             Google document          Admission                                 402, 403, LF
                                  Introduction to Evenflow Spam Pipelines"             custodian
 PX      333 GOOG-BRWN-00858530   November 2, 2022 Document titled "Deferred           Google document          Admission                                 402, 403, LF
                                  Counterfactuals (DCF) User Guide                     custodian

 PX      334 GOOG-CABR-04430230   December 16, 2020 Presentation titled "TurtleX   Google document             Admission                                  402, 403, LF
                                  Deepdive"                                        custodian
 PX      335 GOOG-CABR-04737037   Document titled "Turtledove Design Summary"      Google document             Admission                                  402, 403, LF
                                                                                   custodian
 PX      336                      2022-03-02 List of Preserved Data Sources        Google document             Admission                                  402, 403, NE
                                                                                   custodian, Hochman
 PX      337                      2021-12-15 Google's Letter to Special Master     Google document             Admission                                  402, 403, NE
                                  Brush                                            custodian, Hochman
 PX      338                      2021-11-18 Brown Omnibus Sheet                   Google document             Admission                                  402, 403
                                                                                   custodian, Hochman
 PX      339                      2021-12-02 log schemas reconciliation            Google document             Admission                                  402, 403, H, NE
                                                                                   custodian, Hochman
 PX      340                      2021-12-06 Brown - Special Master Submission     Google document             Admission                                  402, 403
                                                                                   custodian, Hochman
 PX      341                      2021-12-08 Google Letter to Special Master Brush Google document             Admission                                  402, 403
                                                                                   custodian, Hochman
 PX      342                      2021-12-08 Brown - Google Submission to Special Google document              Admission                                  402, 403
                                  Master                                           custodian, Hochman
 PX      343                                                                       Google document             Admission                                  402, 403
                                                   - Working.xlsx                  custodian, Hochman
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  PX   345                                              .xlsx                      Google document             Admission                                  402, 403
                                                                                   custodian, Hochman
 PX      346                      2022-03-04 Google Letter to Special Master along Google document             Admission                                  402, 403, H, NE
                                  with Top      fields for    logs                 custodian, Hochman
 PX      347                      2022-03-10 Brown v. Google – Fields for     Logs Google document             Admission                                  402, 403, MIL
                                                                                   custodian, Hochman
 PX      348                      2022-03-17 Letter to Mao re Chung Deposition     Google document             Admission                                  402, 403, H, NE
                                  Follow-up                                        custodian, Hochman
 PX      349                      2022-03-30 Brown v. Google - Google Letter re    Google document             Admission                                  402, 403, H, NE
                                          Logs                                     custodian, Hochman
 PX      350 GOOG-CABR-05323593   April 24, 2018 Presentation Titled "DRX GKS      Berntson                    Admission                                  402, 403
                                  Update"
 PX      351                      January 13, 2012 Letter from Jonathan Tse        Google document             Admission                                  402, 403, H, NE
                                                                                   custodian
 PX      352                      February 5, 2021 Letter from Joseph Ansorge      Google document             Admission                                  402, 403, H, NE, LF
                                                                                   custodian
 PX      353                      April 29, 2021 Hearing Tr at 16 16-20 2                                      Admission                                  402, 403, H, NE
 PX      354                      April 29, 2021 Hearing Tr at 24 11-13                                        Admission                                  402, 403, H, NE
 PX      355                      April 29, 2021 Hearing Tr at 25 20                                           Admission                                  402, 403, H, NE
 PX      356                      Dkt. 338 Golueke Declaration                     Hochman, Google             Admission                                  402, 403
                                                                                   document custodian
 PX      357                      Liao Tr. at 133 23-134 3                         Liao                        Admission                                  402, 403, H




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         No.                                                                                                                                Admit                                                                         of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                                Only)
 PX      358 GOOG-CABR-04207527     July 26, 2019 Internal Document Titled "Linking      Liao                                                            402, 403, MIL                                                    Yes
                                    Zwieback and ADID on Search on Android"

 PX      359 GOOG-CABR-05291653     Internal Document Titled         Overview"           Liao                  Admission                                 402, 403, MIL
 PX      360 GOOG-CABR-03662816     December 7, 2016 Internal document titled "Cross     Liao                                                            402, 403, MIL                                                    Yes
                                    Device"
 PX      361                        Spreadsheet Titled 2021-09-17 Brown v. Google        Hochman               Admission                                 402, 403
                                    Data Sets
 PX      362                        Hochman Opening Report Appendix F                    Hochman               Admission                                 402, 403, H, NE
 PX      363                        Rule 1006 Summary Re the amount of documents         Google document       Admission                                 402, 403, LF, NE,
                                    produced for each Google custodian that contain      custodian                                                       Description insufficient to
                                    "Incognito" and the same for "            "                                                                          identify exhibit

 JX      364 GOOG-BRWN-00027368     Presentation titled "DRX Identity"                   Plaintiffs Google     Google: Admission                         403, H                        Objections to Google's Use:         Yes
                                                                                         document custodian                                                                            Relevance; Hearsay; Foundation;
                                                                                         Google Berntson                                                                               403 (extrinsic evidence, Google's
                                                                                                                                                                                       MSJ took position that contract was
                                                                                                                                                                                       unambiguous); 403, 704 (invades
                                                                                                                                                                                       province of the trier of fact).



 PX      365 GOOG-CABR-00399988     Document titled              Linkage Service APIs" Liao, Hochman,          Admission                                 402, 403
                                                                                       Google document
                                                                                       custodian
 PX      366 GOOG-BRWN-00540053     7/6/21 Document titled "Sammit Adhya, PM           Adhya                   Admission                                 402, 403
                                    Transfer Candidate"
 PX      367 GOOG-BRWN-00176724     6/18/20 Messages between Greg Fair and Sammit Adhya; Greg Fair             Admission                                 403, 402, H
                                    Adhya
 PX      368 GOOG-BRWN-00176684     6/28/20 Email Thread titled "re reuters inacurate Adhya                    Admission                                 402, 403, H, MIL
                                    YouTube Incognito press"
 PX      369 GOOG-CABR-04678695.R   9/2020 Presentation Titled "AUID For Adwords"      Chung, Hochman,         Admission                                 402, 403, LF
                                                                                       Google document
                                                                                       custodian
 PX      370 GOOG-BRWN-00548804     3/2021 Internal Document Titled "GA4 Euid Web Chung                        Admission                                 402, 403, H
                                    Tagging Design"
 PX      371 GOOG-BRWN-00711561     2/2021 Internal Communications Document on         Chung, Hochman          Admission                                 402, 403, LF, H
                                    Remarketing re GA4
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  PX   373 GOOG-BRWN-00386192       5/12/2020 Email Thread titled "Inferring Incognito Chung                   Admission                                 402, 403, H, LF
                                    Traffic from server side"
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  PX   375 GOOG-BRWN-00397243       8/30/16 Email Thread Titled "HEIST is a good         Schuh, Hochman        Admission                                 402, 403
                                    reason to revisit third-party cookie handling?"

 PX      376 GOOG-BRWN-00230547     8/1/19 Email Thread Titled "Privacy-Focused          Schuh                 Admission                                 402, 403
                                    Chrome Next steps in August"
 PX      377 GOOG-BRWN-00476117     9/24/19 Messages between various Google              Schuh                 Admission                                 402, 403, H
                                    employees
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  JX   379 GOOG-CABR-X-00000467     Internal Screenwise Compensation Document            Plaintiffs: Walker    Plaintiffs: Admission                     402, 403
                                                                                         Google: Strombom      Google: Identification

 PX      380 GOOG-BRWN-00017195     Google AdManager document titled "Tools to help      Bhatnagar             Admission                                 402, 403, LF, MIL
                                    publishers comply with the GDPR"
 PX      381 GOOG-BRWN-00436240     6/12/19 internal document titled "Project            Bhatnagar             Admission                                 402, 403
                                                  "
 PX      382 GOOG-CABR-03821938     6/8/2020 Email Thread titled "OKR for       "        Bhatnagar             Admission                                 402, 403

 PX      383 GOOG-CABR-04889676     8/26/2020 Email Thread titled "[LAUNCHED]            Bhatnagar             Admission                                 402, 403
                                    Project Frogger - Frequency Management &
                                                           for GDA

 PX      384 GOOG-BRWN-00050971     4/26/20 Document titled "                - Rollout   An                    Admission                                 402, 403, MIL
                                    plan"
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  PX   386 GOOG-CABR-04625213       2020 Google document titled "Ads Impact and          McClelland            Admission                                 402, 403, MIL
                                    Response from                   and SameSite &
                                    Secure' Launches"
 PX      387 GOOG-CABR-01561549     7/30/20 email thread titled "Successful job          McClelland            Admission                                 402, 403

                                      ' started at Thu 15 11 PDT"
 PX      388                        Excerpt of Transcript from April 21, 2022 sanctions Leung                  Admission                                 402, 403, H, MIL
                                    hearing at 182 17-183 5
 PX      389                        Excerpt of Transcript from December 2, 2022 Liao Liao                      Admission                                 402, 403, H
                                    Deposition, 12 19–23, 13 4–6
 PX      390                        Excerpt of Transcript from December 2, 2022 Liao Liao                      Admission                                 402, 403, H
                                    Deposition, 31 25–32 4, 32 6–15, 32 17–20

 PX      391                        Excerpt of Transcript from December 2, 2022 Liao Liao                      Admission                                 402, 403, H
                                    Deposition, 62 16, 62 18–24
 PX      392                        Excerpt of Transcript from December 2, 2022 Liao Liao                      Admission                                 402, 403, H
                                    Deposition, 73 18–74 7, 74 12–25
 PX      393                        Excerpt of Transcript from December 2, 2022 Liao Liao                      Admission                                 402, 403, H
                                    Deposition, 77 8–13, 77 15–25
 PX      394                        Excerpt of Transcript from December 2, 2022 Liao Liao                      Admission                                 402, 403, H
                                    Deposition, 78 11–16, 78 18–79 2
 PX      395                        Excerpt of Transcript from December 2, 2022 Liao Liao                      Admission                                 402, 403, H
                                    Deposition, 99 4–12
 PX      396                        Excerpt of Transcript from December 2, 2022 Liao Liao                      Admission                                 402, 403, H
                                    Deposition, 161 6–11
 PX      397                        Rule 1006 Summary Re The data that Google            Hochman               Admission                                 402, 403, H, MIL
                                    collects on non-Google websites that were visited in
                                    a private browsing mode, as produced during the
                                    Special Master Process and reflected in the
                                    Hochman Opening Report, pp 68–69, pp. 106–107,
                                    Exhibit C, and Appendix I; and Hochman Rebuttal
                                    Report, pp. 17–35, 43.




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         No.                                                                                                                               Admit                                                                     of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                           Only)
 PX      398                      Rule 1006 Summary Re The logs that Google has Hochman                       Admission                                 402, 403, H, MIL
                                  implemented Incognito Detection Bits and
                                  associated field names, as identified during the
                                  Special Master Process and reflected in the
                                  Hochman Opening Report, pp. 120–128; as
                                  identified subsequent to the Court s first sanctions
                                  order and reflected in the Hochman Rebuttal Report,
                                  pp. 15–17, Appendix K; and as identified during the
                                  Court s second sanctions briefing and reflected in
                                  the Hochman Supplemental Report, pp. 5–13,
                                  13–16.


 PX      399                      Rule 1006 Summary Re The accuracy of Google s Hochman                       Admission                                 402, 403, H, MIL
                                  Incognito Detection Bits, as produced during the
                                  Special Master Process and reflected in the
                                  Hochman Rebuttal Report, pp. 13–14.

 PX      400                      Rule 1006 Summary Re The accuracy of using the Hochman                      Admission                                 402, 403, H, MIL
                                  X-Client-Data Header to detect Incognito mode, as
                                  produced during the Special Master Process and
                                  reflected in the Hochman Rebuttal Report, pp.
                                  14–15.
 PX      401                      Rule 1006 Summary Re The prevalence of            Hochman                   Admission                                 402, 403, H
                                  Google s tracking beacons on non-Google websites,
                                  as reflected in the Hochman Opening Report, pp.
                                  136–139.
 PX      402                      Rule 1006 Summary Re Summary of Google s             Lasinski               Admission                                 402, 403, H, LF, MIL, NE
                                  Unjust Enrichment, as reflected in the Lasinski
                                  Opening Report, Figure 56.
 PX      403                      Rule 1006 Summary Re Summary of Actual               Lasinski               Admission                                 402, 403, H, LF, MIL, NE
                                  Damages caused by Google s unlawful conduct, as
                                  reflected in the Lasinski Opening Report, Figure 71.

 PX      404                      Rule 1006 Summary Re Browser Market Share, as Lasinski                      Admission                                 402, 403, H, LF, MIL, NE
                                  reflected in the Lasinski Opening Report, Figure 1.

 PX      405                      Rule 1006 Summary Re The results of the survey,     Keegan                  Admission                                 403, 402, H, NE
                                  as reflected in the Keegan Rebuttal Report,
                                  Paragraph 8.
 PX      406                      2022-03-04 SM Letter Follow Up - Google edits       Hochman, Google         Admission                                 402, 403, H, NE, LF, MIL
                                                                                      document custodian
 PX      407 GOOG-BRWN-00023909   Document dated 2/1/2021 with columns of Name        Hochman, Google         Admission                                 402, 403, LF
                                  Organizational Division Name of Manager Title       document custodian

 PX      408 GOOG-BRWN-00026812   Document dated 11/03/2020 titled Life of a Visit  Hochman, Google           Admission                                 402, 403, LF
                                                                                    document custodian
 PX      409 GOOG-BRWN-00026913   11/17/2020 (created) Power Point presentation. Re Hochman, Google                                                     402, 403, LF                                                 Yes
                                  ITP & Site Wide Tagging GMS Training              document custodian

 JX      410 GOOG-BRWN-00026989   Document dated December 2019 titled How to lead Plaintiffs: Hochman,        Plaintiffs: Admission                     402, 403, H, LF            Objections to Google's Use:
                                  in a privacy-first era                          Google document             Google: Identification                                               Foundation; 403 (extrinsic
                                                                                  custodian                                                                                        evidence, Google's MSJ took
                                                                                  Google: Amir                                                                                     position that contract was
                                                                                                                                                                                   unambiguous); 403, 704 (invades
                                                                                                                                                                                   province of the trier of fact);
                                                                                                                                                                                   subject to anticipated MIL.


 PX      411 GOOG-BRWN-00027102   Document dated July 2020 titled Incognito Mode      Halavati, Hochman       Admission                                 402, 403, LF

 PX      412 GOOG-BRWN-00027314   Document dated 11/14/2019 titled Conversion         Hochman, Google         Admission                                 402, 403, MIL, LF
                                  Tracking in Firefox Private Browsing Mode           document custodian

 PX      413 GOOG-BRWN-00028052   Presentation dated 3/26/2019 "Incognito Summit"    Hochman, Google                                                    402, 403, LF                                                 Yes
                                                                                     document custodian
 PX      414 GOOG-BRWN-00029378   Spreadsheet dated 03/31/2021                       Hochman, Google          Admission                                 402, 403, LF
                                                                                     document custodian
 PX      415 GOOG-BRWN-00033024   Document dated 12/21/2020 with header labeled      Hochman, Google                                                    402, 403, LF                                                 Yes
                                                                                     document custodian
 PX      416 GOOG-BRWN-00035610   Document dated 09-17-14 titled Incognito Searches Hochman, Google           Admission                                 402, 403, LF
                                  and Logged In Incognito Searches                   document custodian
 PX      417 GOOG-BRWN-00060463   Document dated 10-31-16 with filename Prompts Fair, Hochman                 Admission                                 403, 402, H, LF
                                  to Use Incognito.
 PX      418 GOOG-BRWN-00072051   Document dated 05/14/2019 titled Incognito mode Hochman, Google             Admission                                 402, 403, LF
                                                                                     document custodian
 PX      419 GOOG-BRWN-00072055   Presentation dated 11-18-19              + Sin     Hochman, Google          Admission                                 402, 403, LF
                                  Rastro Sprint Outcomes                             document custodian
 PX      420 GOOG-BRWN-00144320   Presentation dated 2/3/2015 "AdWords               Bhatnagar, Hochman                                                 402, 403, MIL                                                Yes
                                  Conversions"
 PX      421 GOOG-BRWN-00148029   Presentation dated 06/25/2019 titled Giving Search Borsay, Fair, Mardini,                                             402, 403, MIL                                                Yes
                                  users more privacy choices                         Hochman
 PX      422 GOOG-BRWN-00148738   Presentation dated 03/19/2019 titled Sin Rastro    Borsay, Fair, Mardini,   Admission                                 402, 403
                                  Summit Slides to Print                             Hochman
 PX      423 GOOG-BRWN-00149515   Documents dated 08/24/2020 titled        Side      Berntson, Hochman                                                  402, 403, LF                                                 Yes
                                  Loading in Analytics.js
 PX      424 GOOG-BRWN-00149849   Document dated 04/21/2015 titled Publisher         Berntson, Hochman,       Admission                                 402, 403
                                  Provided ID (PPID) Serviceability                  Bindra
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  JX   426 GOOG-BRWN-00156752     Presentation dated 04/13/2020 titled Sin Rastro     Plaintiffs: Fair,       Plaintiffs: Admission                     403, 402, H, LF            Objections to Google's Use:
                                  Brand Research Overview (go/sinrastro-brand-        Hochman, Lasinski       Google: Identification                                               Foundation; 403 (extrinsic
                                  research)                                           Google: Amir                                                                                 evidence, Google's MSJ took
                                                                                                                                                                                   position that contract was
                                                                                                                                                                                   unambiguous); 403, 704 (invades
                                                                                                                                                                                   province of the trier of fact).

 PX      427 GOOG-BRWN-00161432   Dynamic Remarketing Notes for 2015 (from            Borsay, Mardini,                                                  402, 403                                                     Yes
                                  4/1/2015 through 10/4/2015).                        Hochman
 PX      428 GOOG-BRWN-00164509   Document dated 11-25-20 titled Incognito (and       Borsay, Fair, Mardini, Admission                                  402, 403
                                  Guest) Metrics                                      Hochman
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  PX   430 GOOG-BRWN-00166360     Presentation dated 12/18/14 titled Google Incognito Borsay, Hochman         Admission                                 402, 403, H




                                                                                                                   11
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Prefix   Ex.        Begin Bates                      Description                      Sponsoring Witness     Expert Identification   Stipulation to       Google Objections      Plaintiffs' Objections   Injunction Phase        Date
         No.                                                                                                                             Admit                                                            of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                Only)
 PX      431 GOOG-BRWN-00176433   7/22/2020 email from Othar Hansson re Metrics      Fair, Hochman         Admission                                  403, 402, H, LF, MIL
                                  PRD Meas... - FYI - for Chrome users, it's
                                  technica...

 PX      432 GOOG-BRWN-00183909   7/2/2020 Email from Ramin Halavati Re Use of       Borsay, Hochman       Admission                                  402, 403, MIL
                                  Incognito dropped       since the beginning of the
                                  year.
 PX      433 GOOG-BRWN-00186446   January 2019 presentation titled Incognito Success Harris, Hochman       Admission                                  402, 403, H
                                  & Misses A Few Recent Studies

 PX      434 GOOG-BRWN-00204684   Document dated 5/12/20 titled How to Detect        Leung, Hochman,         Admission                                402, 403, MIL
                                  Chrome Incognito Mode?                             Google document
                                                                                     custodian, Liao, Adhya,
                                                                                     Halavati
 PX      435 GOOG-BRWN-00207020   Presentation titled “Provably Private Networking   Adhya, McClelland,                                               402, 403, H, LF                                     Yes
                                  PRD                                                Halavati, Hochman
 PX      436 GOOG-BRWN-00229628   CSV document titled Affinity.csv                   Hochman, Google       Identification                             402, 403
                                                                                     document custodian
 PX      437 GOOG-BRWN-00229632   CSV document titled in-market_categories.csv       Hochman, Google       Identification                             402, 403
                                                                                     document custodian


 PX      438 GOOG-BRWN-00410076   Email dated 7/11/08 from Adam Barth re Re          Rakowski, Hochman     Admission                                  402, 403
                                  [Chrome-team] Re Chrome redirect loop issue --
                                  observation

 PX      439 GOOG-BRWN-00410821   Email dated 6/19/17 from Jochen Eisinger re Re     Schuh, Hochman        Admission                                  402, 403
                                  Opening Guest/Incognito mode directly from
                                  content area

 PX      440 GOOG-BRWN-00424253   Document dated 9/8/2017 DVAA (Display, Video Bhatnagar, Hochman                                                     402, 403, MIL                                       Yes
                                  Ads, Analytics and Apps) 2018 Strategy Book
                                  Version 2
 PX      441 GOOG-BRWN-00432838   Document dated 8/31/16              and            Berntson, Fair,                                                  402, 403, MIL                                       Yes
                                  Display GKS Integration                            Hochman
 PX      442 GOOG-BRWN-00433264   Document dated 2/14/17 titled Logging encrypted B- Berntson, Fair,                                                  402, 403                                            Yes
                                  ID in                           For                Hochman

 PX      443 GOOG-BRWN-00455104   Email dated 12/13/19 from Ramin Halavati re Re     Mardini, Hochman      Admission                                  402, 403, MIL
                                                -         sync

 PX      444 GOOG-BRWN-00466617   Document created 10/6/15 with filename Consent Hochman, Google           Admission                                  402, 403, LF
                                  Workflow - PRIVILEGED &                        document custodian
                                  CONFIDENT_1i8BCesOC8eXFGxdfOU7oAsSXJd
                                  Cqu-pp0dDc3FpRoqw.xlsx

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  PX   446 GOOG-BRWN-00467569     Document titled PPN on Chrome PRD                  Hochman, Google       Admission                                  402, 403, LF
                                                                                     document custodian
 PX      447 GOOG-BRWN-00471401   Email dated 10/5/17 from Emil Ochotta re Re %      Hochman, Google       Admission                                  402, 403, LF
                                  of users in signed-in *and* signed-out state?      document custodian


 PX      448 GOOG-BRWN-00475278   Email dated 6/21/19 from kaustubhag@google.com Kleber, Schuh,            Admission                                  402, 403, H
                                  re AAAA6sJ9i9E-qxpPdcRaNcI                     Hochman


 PX      449 GOOG-BRWN-00491711   Presentation titled Google Analytics Crash Course Hochman, Google        Identification                             402, 403, LF, MIL
                                  Copy (March, 2018)                                document custodian

 PX      450 GOOG-BRWN-00536949   Document created 5/4/2017 titled Chrome            Halavati, Hochman     Admission                                  402, 403, DRAFT, LF, MIL
                                  Incognito Logging for Location Attachment
                                  Analysis.
 PX      451 GOOG-BRWN-00549861   Presentation created 11/10/20 titled               Hochman, Google                                                  402, 403, LF                                        Yes
                                          (go          -privacy-slides)              document custodian


 PX      452 GOOG-BRWN-00561172   Presentation created 5-27-16 titled Privacy        Adhya, Hochman        Identification                             402, 403, H
                                  Consulting Onboarding - Part 3 - Deep Dives

 PX      453 GOOG-BRWN-00562313   Document created 11/19/2010 titled Cookie        Adhya, Hochman          Admission                                  402, 403, LF
                                  Overview-Supporting Anonymous Use, an overview
                                  of unauthenticated data used by Google services.

 PX      454 GOOG-BRWN-00571757   Presentation dated 2/10/21 titled xGA Incognito    Adhya, Hochman        Admission                                  402, 403, H, MIL
                                  Delightful Sign-postings & Animations


 PX      455 GOOG-BRWN-00572220   Presentation AGA Incognito MVP | xPUR Aug-       Hochman, Google         Admission                                  402, 403, MIL
                                  2020                                             document custodian
 PX      456 GOOG-BRWN-00601937   Email dated 5/25/20 from Ramin Halavati re Re    Halavati, McClelland,                                              402, 403, H, LF                                     Yes
                                  How much can we fingerprint incognito users now? Hochman


 PX      457 GOOG-BRWN-00605636   Email dated 12/9/20 from Peter Dijkgraaf re        Halavati, Hochman                                                402, 403, H, LF                                     Yes
                                  Chrome Incognito 2021 (go/incognito2021)

 PX      458 GOOG-BRWN-00613409   Email dated 9/13/19 from Tom Bergan re Re          Adhya, McClelland,    Admission                                  402, 403, MIL
                                  Willful IP Blindness                               Palmer, Hochman

 PX      459 GOOG-BRWN-00613801   Email dated 10/21/19 from Christian Dullweber re Adhya, Hochman                                                     402, 403, MIL                                       Yes
                                  Report | Incognito... - This is really interesting. I
                                  would s...

 PX      460 GOOG-BRWN-00663644   Presentation titled Chrome Incognito 2021+         Borsay, Halavati,                                                402, 403, H, LF                                     Yes
                                  (go/incognito2021)                                 Hochman

 PX      461 GOOG-BRWN-00699213   Email dated 4/28/19 from Sammit Adhya re           McClelland, Hochman Admission                                    402, 403
                                  Incognito I/O Com... - see my comments about the
                                  account abo...

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Prefix   Ex.        Begin Bates                      Description                       Sponsoring Witness     Expert Identification   Stipulation to       Google Objections   Plaintiffs' Objections   Injunction Phase        Date
         No.                                                                                                                              Admit                                                         of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                              Only)
 PX      463 GOOG-BRWN-00749001   Document created 4-12-18 titled Comm Doc            Hochman, Google        Admission                                 402, 403
                                  Analytics Cross-device Conversions Export to        document custodian
                                  Google Ads

 PX      464 GOOG-BRWN-00817563   Document titled GOOGLE SUBSCRIBER                   Plaintiffs: Hochman,   Plaintiffs: Admission    Yes
                                  INFORMATION Google Account ID                       Google document        Google: Admission
                                                                                      custodian
                                                                                      Google: Fair

 PX      465 GOOG-BRWN-00819269   12/20/2021 Export Summary                           Hochman, Google        Admission                Yes
                                                                                      document custodian
 PX      466 GOOG-BRWN-00819272   Document titled GOOGLE SUBSCRIBER                   Plaintiffs: Hochman,   Plaintiffs: Admission    Yes
                                  INFORMATION Google Account ID                       Google document        Google: Admission
                                                                                      custodian
                                                                                      Google: Fair

 PX      467 GOOG-BRWN-00819441   Document titled Google Subscriber Information       Plaintiffs: Hochman,   Plaintiffs: Admission    Yes
                                  Google Account ID                  Name Chris       Google document        Google: Admission
                                  Castillo                                            custodian
                                                                                      Google: Fair
 PX      468 GOOG-BRWN-00819830   Document titled Google Subscriber Information       Plaintiffs: Hochman,   Plaintiffs: Admission    Yes
                                  Google Account ID                       Name Jeremy Google document        Google: Admission
                                  Davis                                               custodian
                                                                                      Google: Fair
 PX      469 GOOG-BRWN-00820370   Document titled GOOGLE SUBSCRIBER                   Plaintiffs: Hochman,   Plaintiffs: Admission    Yes
                                  INFORMATION Google Account ID                       Google document        Google: Admission
                                                   Name Josh Byatt                    custodian
                                                                                      Google: Fair
 PX      470 GOOG-BRWN-00825708   Chart listing each of the plaintiffs and showing    Hochman, Google        Admission                                 402, 403, MIL, ID
                                  results of NIDs to Search.                          document custodian
 PX      471 GOOG-BRWN-00825709   Google generated report about Plaintiff Davis       Hochman, Google        Admission                                 402, 403, ID
                                                                                      document custodian
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  PX   479 GOOG-BRWN-00844093     Document created 9-21-21 titled DV3 mApp          Leung, Hochman,          Admission                                 402, 403, H, LF
                                  Measurement                                       Google document
                                                                                    custodian
 PX      480 GOOG-BRWN-00844165   Presentation titled Emerging Identity Initiatives Leung, Hochman,          Admission                                 402, 403, ID, LF, MIL
                                  (2019 Q4)                                         Google document
                                                                                    custodian
 PX      481 GOOG-BRWN-00845585   Email dated 12-2-20 from Yu Wang dated Detect     Leung, Hochman,          Admission                                 402, 403
                                  3P Cookie ... - @ywg@google.com Hi Yu, AFAIK Google document
                                  one of...                                         custodian

 PX      482 GOOG-BRWN-00846942   Document dated 12/22/21 titled WebView              Liu, Hochman, Google Admission                                   402, 403, LF
                                  Detection for                                       document custodian

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  PX   485 GOOG-BRWN-00848368     Spreadsheet with filename Top     Fields for        Hochman, Google        Admission                                 402, 403, LF, MIL
                                         Logs.xlsx                                    document custodian

 PX      486 GOOG-CABR-00000015   Document created 8-18-21 with filename Incognito Hochman, Google           Admission                                 402, 403, LF
                                  Metrics.pdf                                      document custodian

 PX      487 GOOG-CABR-00050450   January 22, 2020 document titled "Overview -     Hochman, Google       Admission                                     402, 403, LF, MIL
                                  Gaia"                                            document custodian
 PX      488 GOOG-CABR-00059481   December 21, 2020 presentation titled "Life of a Hochman, Google       Admission                                     402, 403, LF
                                  GPT Ad Request"                                  document custodian
 PX      489 GOOG-CABR-00059774   December 21, 2020 dated document titled          Hochman, Google       Admission                                     402, 403, LF
                                  "Measuring Identifiability of Web Platform       document custodian
                                  Procedures"
 PX      490 GOOG-CABR-00228748   March 6, 2020 email from Jochen Eisinger         Mardini, Hochman      Admission                                     402, 403
                                  regarding "Chrome Incognito Logging"
 PX      491 GOOG-CABR-00374449   Q3 2019 dated document titled "Chrome UMA        Felt, Kleber, Hochman Admission                                     402, 403
                                  Demographics V1"
 PX      492 GOOG-CABR-00377968   May 4, 2016, document titled "How GA             Hochman, Google       Admission                                     402, 403, LF
                                  Remarketing Works (go/remarketing-for-dummies)" document custodian

 PX      493 GOOG-CABR-00381312   November 2019 presentation titled "Google          Hochman, Google                                                   402, 403, LF                                     Yes
                                  Analytics Starting Conversation"                   document custodian
 PX      494 GOOG-CABR-00398813   August 11, 2020 document titled "PubTags plans on Hochman, Google                                                    402, 403, LF                                     Yes
                                  Chrome User Agent Freeze & UserAgent Client        document custodian
                                  Hints"
 PX      495 GOOG-CABR-00399412   April 27, 2017 document titled "GDN View-          Liao, Hochman,                                                    402, 403, MIL                                    Yes
                                  Through Conversions for GKS"                       Google document
                                                                                     custodian
 PX      496 GOOG-CABR-00399928   April 19, 2019 document titled "Future of Identity Liao, Hochman,          Admission                                 402, 403, LF
                                  Linking in Display Ads"                            Google document
                                                                                     custodian
 PX      497 GOOG-CABR-00421851   November 16, 2019 document titled                  Borsay, Hochman         Admission                                 402, 403, MIL
                                  "Marketing/Comms/PR Messaging with Various
                                  Chrome Options"
 PX      498 GOOG-CABR-00427432   March 4, 2010 document titled "Platforms and       Borsay, Hochman         Identification                            402, 403
                                  Ecosystems Team Munich Meeting Agendas"

 PX      499 GOOG-CABR-00429070   January 28, 2013 document titled "Chrome Security Borsay, Felt, Schuh,     Admission                                 402, 403, MIL
                                  Weekly Minutes"                                   Hochman
 PX      500 GOOG-CABR-00430662   June 19, 2014 document titled "go/finch-cross-id" Borsay, Hochman          Identification                            402, 403

 PX      501 GOOG-CABR-00484121   January 23, 2020 email from Alevei Svitkine Re      Hochman, Google        Admission                                 402, 403, LF
                                  UMA expiry & reset                                  document custodian
 PX      502 GOOG-CABR-00487012   May 7, 2020 email from Ramin Halavati Re            Borsay, Harris,        Admission                                 402, 403, H
                                  Measuring Searches in Incognito (for experiments)   Halavati, Mardini,
                                                                                      Hochman




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                                                                                                             Joint Exhibit List


Prefix   Ex.        Begin Bates                         Description                     Sponsoring Witness    Expert Identification   Stipulation to       Google Objections         Plaintiffs' Objections      Injunction Phase        Date
         No.                                                                                                                              Admit                                                                  of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                       Only)
 PX      503 GOOG-CABR-00546721   Email dated 5/28/20 from Bert Leung re Re Follow Bindra, Leung, Liao,      Admission                                 402, 403, MIL
                                  up on               impact mitigation            Hochman

 PX      504 GOOG-CABR-00800511   Email dated 7/31/19 from                            Hochman, Google        Admission                                 402, 403, LF
                                  jkarlin@google.com re AAAA6sJ9i9E-                  document custodian
                                  Nq3JiJxNa68

 PX      505 GOOG-CABR-00890415   Email dated 10/15/15 from Bryan McQuade re Re Kleber, Hochman                                                        402, 403                                                  Yes
                                  How to set up Finch experiment to report to google
                                  domains

 PX      506 GOOG-CABR-00892264   Document dated 4/14/14 titled ID (Biscotti) Cookie Hochman, Google         Admission                                 402, 403, LF
                                  v2 Design                                          document custodian

 PX      507 GOOG-CABR-00894548   August 9, 2020 presentation titled "AdWords Web Hochman, Google            Admission                                 402, 403, LF, MIL
                                  Conversion Tracking"                              document custodian
 PX      508 GOOG-CABR-00903677   September 28, 2017 document titled "First-Party   Kleber, Hochman          Admission                                 402, 403
                                  Conversion Tracking (1PCT)"
 PX      509 GOOG-CABR-03618860   Document dated 10/30/18 titled Comm Doc Cross- Hochman, Google                                                       402, 403, LF, MIL                                         Yes
                                  Device Conversions (Full Launch) - go/crossdevice document custodian


 PX      510 GOOG-CABR-03622146   Document dated 12/15/14 titled DRX cross-device Hochman, Google                                                      402, 403, LF                                              Yes
                                  & PPID update                                   document custodian

 PX      511 GOOG-CABR-03652549   Presentation titled Double-Double Logging and       Liao, Hochman,         Admission                                 402, 403
                                  Joinability                                         Google document
                                                                                      custodian
 PX      512 GOOG-CABR-03652751   January 2016 presentation titled                    Liao, Hochman,         Admission                                 402, 403, MIL
                                                                                      Google document
                                                                                      custodian
 PX      513 GOOG-CABR-03653330   Presentation titled Personal Logs for Display Ads   Liao, Hochman,         Admission                                 402, 403
                                                                                      Google document
                                                                                      custodian
 JX      514 GOOG-CABR-03662096   Presentation titled         Past, Present, and Future Plaintiffs: Liao,    Google: Identification                    402, 403                Objections to Google's Use:       Yes
                                                                                        Hochman, Google                                                                        Foundation; 403 (extrinsic
                                                                                        document custodian                                                                     evidence, Google's MSJ took
                                                                                        Google: Psounis                                                                        position that contract was
                                                                                                                                                                               unambiguous); 403, 704 (invades
                                                                                                                                                                               province of the trier of fact).

 PX      515 GOOG-CABR-03662990   Email dated 6/4/20 from Chris Liao re Re            Liao, Hochman,         Admission                                 402, 403
                                  Incognito Chrome 3P Blocking                        Google document
                                                                                      custodian
 PX      516 GOOG-CABR-03663606   Email dated 5/28/2020 from Jing Kong                Liao, Hochman,         Admission                                 402, 403, MIL
                                  Google.com Mail - Re Incognito Chrome 3P            Google document
                                  Blocking                                            custodian

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  PX   518 GOOG-CABR-03669893     Presentation dated 2/1/17 titled AQER - Project     Hochman, Google                                                  402, 403, LF                                              Yes
                                           - Model-based estimation of x-device       document custodian
                                  conversions

 PX      519 GOOG-CABR-03670580   Document titled            x-device conversion      Hochman, Google                                                  402, 403, LF                                              Yes
                                  estimation                                          document custodian

 PX      520 GOOG-CABR-03710192   Document dated 1/22/20 titled UMA Demographics Felt, Harris, Hochman Admission                                       402, 403
                                  Validation

 PX      521 GOOG-CABR-03710213   Document dated 05/26/2016 titled UMA opt-out        Hochman, Google        Admission                                 402, 403, LF
                                  FAQ                                                 document custodian


 PX      522 GOOG-CABR-03716577   Presentation titled PLogs and Privacy               Monsees, Hochman       Admission                                 402, 403

 PX      523 GOOG-CABR-03717199   Presentation from Fall 2014 titled UMA + Finch      Hochman, Google        Identification                            402, 403, LF
                                  Tech Talk                                           document custodian

 PX      524 GOOG-CABR-03717247   Presentation created 8/1/14 titled UMA Tutorial     Hochman, Google                                                  402, 403, LF                                              Yes
                                                                                      document custodian

 PX      525 GOOG-CABR-03719284   September 2018 document titled Project Plan         Hochman, Google                                                  402, 403, LF                                              Yes
                                  OGT/GTM dclid support                               document custodian

 PX      526 GOOG-CABR-03738741   January 2010 document titled Conversion Tracking Hochman, Google           Admission                                 402, 403, LF
                                  An Introduction                                  document custodian

 PX      527 GOOG-CABR-03742530   Document dated 10/13/17 titled Parent Targeting     Hochman, Google        Identification                            402, 403, LF
                                                                                      document custodian
 PX      528 GOOG-CABR-03841719   Document titled Safari ITP Impact History           Liao, Hochman,                                                   402, 403, LF, MIL                                         Yes
                                                                                      Google document
                                                                                      custodian
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  PX   530 GOOG-CABR-04006287     Document dated 9/18/19 titled State of              Kleber, Hochman        Admission                                 402, 403
                                  Fingerprinting Ecosystem

 PX      531 GOOG-CABR-04009739   Document dated 3/11/16 - Labrador Blowup            Hochman, Google                                                  402, 403, LF, MIL                                         Yes
                                  Factor Pipeline Optimization Design                 document custodian
 PX      532 GOOG-CABR-04073287   Document dated 10/13/19 titled [DEPRECATED]         Harris, Hochman                                                  402, 403, LF, MIL                                         Yes
                                  User Guide for Google Panels Data


 PX      533 GOOG-CABR-04076570   Document dated 12-1-20 titled AUID Conversion       Hochman, Google                                                  402, 403, LF                                              Yes
                                  Tracking for Google Ads                             document custodian

 PX      534 GOOG-CABR-04077431   Document dated 8-7-20 titled                        Hochman, Google                                                  402, 403, LF                                              Yes
                                                                                      document custodian

 PX      535 GOOG-CABR-04081967   Document titled PRD - Project       Google          Hochman, Google                                                  402, 403, LF                                              Yes
                                  Analytics Cross-Device Conversion Export to Ads     document custodian




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         No.                                                                                                                                  Admit                                                          of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                   Only)
 PX      536 GOOG-CABR-04092489   Document titled          blow-up factor estimation    Kleber, Liao, Monsees,                                             402, 403                                          Yes
                                  model                                                 Hochman

 PX      537 GOOG-CABR-04118321   Presentation titled Sellside Frogger Deck -           Bindra, Berntson,                                                  402, 403                                          Yes
                                  Overview and status (go/sellside-frogger-deck)        Bhatnagar, Liao,
                                                                                        Hochman
 PX      538 GOOG-CABR-04122554   Presentation titled Project Frogger Pub 1p Ids        Berntson, Hochman                                                  402, 403                                          Yes


 PX      539 GOOG-CABR-04126517   January 2017 document dated Identity Linkage          Berntson, Hochman                                                  402, 403                                          Yes
                                  Infrastructure Vision

 PX      540 GOOG-CABR-04141174   Document dated 3/5/14 titled Display Proto            Kleber, Liao, Hochman                                              402, 403                                          Yes
                                  Annotations

 PX      541 GOOG-CABR-04141705   Document dated 2/26/17 titled GKS Data Ingestion Liao, Hochman,                                                          402, 403, LF, MIL                                 Yes
                                  for Google Analytics                             Google document
                                                                                   custodian
 PX      542 GOOG-CABR-04147060   Presentation dated 4/8/2019 titled Pub Tags Deep Hochman, Google               Admission                                 402, 403, LF
                                  Dive.                                            document custodian
 PX      543 GOOG-CABR-04177585   Email dated 9/10/2019 from JK Kearns re          Monsees, Hochman              Admission                                 402, 403, MIL
                                  Incognito/search logs thought
 PX      544 GOOG-CABR-04204890   Document titled PCS v4 Click Manual Testing      Liao, Hochman,                                                          402, 403, LF                                      Yes
                                                                                   Google document
                                                                                   custodian
 JX      545 GOOG-CABR-04206179   Presentation dated Biscotti Cookie Deep Dive     Plaintiffs: Liao,             Plaintiffs: Admission                     403, H
                                                                                   Hochman, Google               Google: Identification
                                                                                   document custodian
                                                                                   Google: Psounis
 PX      546 GOOG-CABR-04207454   Presentation dated 4/29/20 titled Deep Dive in   Liao, Hochman,                                                          402, 403, LF, H                                   Yes
                                  Migration                                        Google document
                                                                                   custodian
 PX      547 GOOG-CABR-04215325   Document dated 1/28/19 titled IPv6 Address       Kleber, Hochman               Admission                                 402, 403, LF
                                  Privacy Brainstorm

 PX      548 GOOG-CABR-04293141   Email dated 4/22/21 from Alexei Svitkine re Re     Felt, Hochman               Admission                                 402, 403, LF
                                  UMA joinability/reidentification based on hardware
                                  configuration fingerprinting

 PX      549 GOOG-CABR-04294727   Email dated 1/7/16 from Tom Kershaw re Re             Kleber, Hochman                                                    402, 403, H, MIL                                  Yes
                                  Forbes publishes results of it's ad blocker thwarting
                                  experiment

 PX      550 GOOG-CABR-04408590   Document titled                       reimport list   Hochman, Google          Admission                                 402, 403, LF
                                  for b/25967339                                        document custodian

 PX      551 GOOG-CABR-04410117   Document titled Analytics Fields Tracked and          Hochman, Google                                                    402, 403, LF                                      Yes
                                  Resulting Effects                                     document custodian

 PX      552 GOOG-CABR-04413020   DCLID Launch Email                                 Hochman, Google             Admission                                 402, 403, LF
                                                                                     document custodian
 PX      553 GOOG-CABR-04417613   Presentation titled PWG Review IP-based Filters in Hochman, Google             Admission                                 402, 403, LF
                                                                                     document custodian

 PX      554 GOOG-CABR-04418137   Document dated 11/5/18 titled Cross-Domain            Hochman, Google                                                    402, 403, LF                                      Yes
                                  Linking 2.0                                           document custodian

 PX      555 GOOG-CABR-04419756   Document dated 11/16/17 titled Comm Doc               Hochman, Google                                                    402, 403, LF                                      Yes
                                  [gtag.js aka One Google Tag] [Launched] gtag.js       document custodian
                                  across Google platforms (go/gtag-commdoc)



 PX      556 GOOG-CABR-04423260   Presentation titled Cookies and Audience 101 - Nov Hochman, Google             Admission                                 402, 403, LF
                                  2016                                               document custodian
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  PX   558 GOOG-CABR-04477378     December 2019 Presentation titled UMA - User      Hochman, Google              Admission                                 402, 403, LF
                                  Metric Analysis                                   document custodian
 PX      559 GOOG-CABR-04483323   Document dated 2/11/2020 titled Incognito Metrics Adhya, Halavati,             Admission                                 402, 403, LF
                                                                                    Hochman, Borsay,
                                                                                    Mardini
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  PX   561 GOOG-CABR-04486185     Document dated 4/20/21 titled Sending last power- Halavati, Hochman                                                      402, 403, DRAFT, LF, H                            Yes
                                  wash date to UMA for Churn Analysis


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  PX   563 GOOG-CABR-04508088     Email dated 1/21/19 from Peter Dijkgraaf re           Hochman, Google          Admission                                 402, 403, LF
                                  Chrome Incognito ... - This might also lead to        document custodian
                                  confusion sin...

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  PX   565 GOOG-CABR-04618590     June 2017 document titled Unikitty A Unified          Hochman, Google                                                    402, 403, LF                                      Yes
                                  Incremental DDA                                       document custodian

 PX      566 GOOG-CABR-04622340   Document dated 5/11/21 titled Noisy Gclid             Hochman, Google          Admission                                 402, 403, LF
                                  (go/noisy-gclid)                                      document custodian

 PX      567 GOOG-CABR-04626120   January 12, 2017 document titled "         x-       Hochman, Google            Admission                                 402, 403, LF
                                  device conversion estimation"                       document custodian
 PX      568 GOOG-CABR-04635379   August 17, 2018 document titled "Browser API to Kleber, Hochman                                                          402, 403                                          Yes
                                  Support User Based Experiment"
 PX      569 GOOG-CABR-04639899   May 14, 2021 document titled "UA-CH Explainer Kleber, Hochman                                                            402, 403                                          Yes
                                  Edits"
 PX      570 GOOG-CABR-04641725   April 29, 2021 document titled "Display Ads Efforts Kleber, Hochman                                                      402, 403                                          Yes
                                  to Support Cross-Origin-Embedder-Policy (COEP)"

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  PX   572 GOOG-CABR-04678169     June 17, 2013 document titled "Analytics.js           Hochman, Google          Identification                            402, 403, LF
                                  DoubleClick Tracking Integration"                     document custodian
 PX      573 GOOG-CABR-04691939   April 11, 2013 document titled "Comm Doc User         Bindra, Hochman          Identification                            402, 403, H, LF
                                  ID Override (Universal Analytics) (Full Launch)"




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         No.                                                                                                                               Admit                                                                  of Trial (Plaintiffs   Admitted
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 PX      574 GOOG-CABR-04693821   February 27, 2018 presentation titled "DVAIS 2018 Liao, Hochman,         Admission                                    402, 403
                                         SSCT/VTC/ANID"                              Google document
                                                                                     custodian
 PX      575 GOOG-CABR-04695140   June 12, 2019 presentation titled "Firefox Private Liao, Hochman,        Admission                                    402, 403, MIL
                                  Browsing (go/ff-private-browsing-preso)"           Google document
                                                                                     custodian
 PX      576 GOOG-CABR-04695672   June 2, 2015 document titled "User Data Accessor Kleber, Liao, Monsees,                                               402, 403, MIL                                             Yes
                                  Design"                                            Hochman
 PX      577 GOOG-CABR-04696292   October 23, 2020 document titled "PPID Opt-out Liao, Hochman,                                                         402, 403                                                  Yes
                                  Processing"                                        Google document
                                                                                     custodian
 PX      578 GOOG-CABR-04697357   April 9, 2019 presentation titled        Long Term Bindra, Liao, Hochman                                              402, 403                                                  Yes
                                  Roadmap (go         -lt-roadmap)"
 PX      579 GOOG-CABR-04705124   March 5, 2020 document titled "Publisher 1P data Bindra, Hochman         Admission                                    402, 403, H, LF
                                  Primer (go/ppid-primer)"
 PX      580 GOOG-CABR-04706890   September 30, 2020 document titled "Building       Bindra, Hochman       Admission                                    402, 403, H, LF
                                  towards Complex yet Resilient Identity (go/id-
                                  combos)"
 PX      581 GOOG-CABR-04732430   July 24, 2019 presentation titled "Privacy - User  Hochman, Google       Admission                                    402, 403, LF
                                  Trust Graph and User ID Graph privacy review"      document custodian

 PX      582 GOOG-CABR-04737403   January 11, 2016 presentation titled "Logs &        Kleber, Hochman        Admission                                  402, 403
                                  Analysis"
 PX      583 GOOG-CABR-04743125   May 26, 2021 email from Alexei Svitkine Re          Borsay, Hochman                                                   402, 403                                                  Yes
                                  Metrics opt-out rate on Android
 PX      584 GOOG-CABR-04755930   July 20, 2017 document titled          Service &    Liao, Hochman,                                                    402, 403, LF                                              Yes
                                  Display Cross Device Conversion Tracking"           Google document
                                                                                      custodian
 PX      585 GOOG-CABR-04763333   May 5, 2020 document titled "Design Doc 1P          Hochman, Google                                                   402, 403, LF                                              Yes
                                  Advertiser ids AUID for Dynamic Ads Product         document custodian
                                  Recommendations"
 PX      586 GOOG-CABR-04763527   October 29, 2019 document titled "[PRD] Enhanced Hochman, Google                                                      402, 403, LF                                              Yes
                                  Conversions Metrics"                              document custodian
 PX      587 GOOG-CABR-04765137   June 7, 2017 document titled "Server-side         Bindra, Liao, Kleber,                                               402, 403                                                  Yes
                                  conversion-tracking"                              Hochman
 PX      588 GOOG-CABR-04766321   January 18, 2019 document titled "Staging -       Hochman, Google          Admission                                  402, 403, LF
                                  Measurement Sitewide Tagging Comm Doc -           document custodian
                                  go/sitewide"
 PX      589 GOOG-CABR-04772394   October 22, 2020 document titled "PPID Web        Berntson, Liao,          Admission                                  402, 403
                                  Expansion"                                        Hochman
 PX      590 GOOG-CABR-04773853   March 1, 2016 presentation titled         Logging Berntson, Bhatnagar,     Admission                                  402, 403
                                  Sridhar Deck"                                     Fair, Kleber, Liao,
                                                                                    Monsees, Hochman

 PX      591 GOOG-CABR-04782100   July 8, 2019 document titled "User Trust Graph      Hochman, Google        Admission                                  402, 403, LF
                                  Design V1"                                          document custodian
 PX      592 GOOG-CABR-04782308   July 10, 2019 document titled "User ID Relation     Liao, Hochman,         Admission                                  402, 403, LF
                                  Graph V1"                                           Google document
                                                                                      custodian
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  PX   594 GOOG-CABR-04795991     May 29, 2020 presentation titled "Ads Privacy       Bindra, Liao, Schuh,   Admission                                  402, 403
                                  Ecosystem Steering - 6/2/2020"                      Hochman
 PX      595 GOOG-CABR-04801490   November 29, 2017 email from Alexei Svitkine re     Schuh, Hochman         Admission                                  402, 403, LF
                                  [Chrome L-R] Changing Chrome UMA logs
                                  retention to
 PX      596 GOOG-CABR-04819485   January 9, 2018 document titled "DRX Rebranding     Bindra, Hochman        Admission                                  402, 403, H, LF
                                  PRD"
 PX      597 GOOG-CABR-04820567   June 10, 2020 presentation titled "Impact on        Bindra, Hochman,       Admission                                  402, 403, H, LF, MIL
                                  Privacy"                                            Lasinski
 PX      598 GOOG-CABR-04899841   June 16, 2017 email from Alexei Svitkine Re         Felt, Hochman                                                     402, 403                                                  Yes
                                  Chrome Staples Jun 14 2017
 PX      599 GOOG-CABR-04957994   October 10, 2018 document titled "         Master   Kleber, Hochman                                                   402, 403                                                  Yes
                                  Design Doc (go%2F         -design).pdf "

 PX      600 GOOG-CABR-04958035   October 10, 2018 document titled "Doubleclick Ads Kleber, Hochman                                                     402, 403                                                  Yes
                                  Targeting For       Solutions A & B
                                  (go%2F        -doubleclick-ads-targeting).pdf"

 PX      601 GOOG-CABR-04970427   January 24, 2012 document titled "Finch             Felt, Hochman                                                     402, 403                                                  Yes
                                  Architecture/Design Doc (Official Version)"
 PX      602 GOOG-CABR-04986312   June 19, 2020 document titled "PRD Bling            Felt, McClelland,      Admission                                  402, 403
                                                "                                     Hochman
 PX      603 GOOG-CABR-05136994   July 7, 2021 document titled                        Hochman, Google        Admission                                  402, 403, LF, MIL
                                  "             _Design.docx "                        document custodian
 PX      604 GOOG-CABR-05145417   April 22, 2019 document titled "[Sin Rastro] Core   Adhya, Borsay, Fair,   Admission                                  402, 403
                                  Team Summit Notes (go/sinrastro-summit-notes)"      Mardini, McClelland,
                                                                                      Hochman

 PX      605 GOOG-CABR-05149122   April 19, 2019 presentation titled "[CL Messaging Fair, Monsees,           Admission                                  402, 403
                                  Worksession] I/O UI Screen Reviews 4.24"          Hochman

 PX      606 GOOG-CABR-05163088   March 6, 2020 presentation titled "Driving to       Adhya, Borsay, Fair,   Admission                                  402, 403
                                  Coherence Incognito mode (March 2020)"              Mardini, McClelland,
                                                                                      Hochman

 PX      607 GOOG-CABR-05248101   January 21, 2019 presentation titled "B6P - TRUST Borsay, Mardini,    Admission                                       402, 403                Objections to Google's Use:
                                  (24 Jan 2019)"                                    McClelland, Hochman                                                                         Foundation; 403 (extrinsic
                                                                                                                                                                                evidence, Google's MSJ took
                                                                                                                                                                                position that contract was
                                                                                                                                                                                unambiguous); 403, 704 (invades
                                                                                                                                                                                province of the trier of fact);
                                                                                                                                                                                subject to anticipated MIL.


 PX      608 GOOG-CABR-05280050   May 28, 2020 spreadsheet titled "Publishers by      Liao, Hochman,                                                    402, 403, MIL                                             Yes
                                  Chrome Incognito % "                                Google document
                                                                                      custodian
 PX      609 GOOG-CABR-05280756   July 16, 2020 email from Chris Liao Re Ramp-up      Liao, Hochman,        Admission                                   402, 403, MIL
                                  Plan for                                            Google document
                                                                                      custodian
 PX      610 GOOG-CABR-05280966   September 27, 2019 presentation titled              Bindra, Liao, Hochman                                             402, 403                                                  Yes
                                  deep dive_1ZZnc5XHfsy9wA34l-wG-
                                  nmwWHFZYvSd4xILbio7cxzk.pptx"




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                                                                                                                                                                                                               Only)
 PX      611 GOOG-CABR-05305495   October 18, 2016 presentation titled "Site Tag -   Hochman, Google                                                   402, 403, LF                                      Yes
                                  Technical Overview"                                document custodian
 PX      612 GOOG-CABR-05362596   June 7, 2018 document titled "Comm Doc ITP2.0      McClelland, Hochman Admission                                     402, 403, MIL
                                  Apple's 2018 Intelligent Tracking Prevention 2.0
                                  update (Launched) [go/itp2pov]"

 PX      613 GOOG-CABR-05372789   November 7, 2018 email from Michael Kleber Re      Kleber, McClelland,     Admission                                 402, 403, H
                                  EFF "Google Chrome s Users Take a Back Seat to     Hochman
                                  Its Bottom Line"
 PX      614 GOOG-CABR-05404845   March 27, 2017 presentation titled "Google         Hochman, Google         Admission                                 402, 403, LF
                                  Analytics - Tracking and Collection Overview"      document custodian

 PX      615 GOOG-CABR-05405676   May 21, 2020 document titled "[INT] Enhanced       Hochman, Google                                                   402, 403, LF                                      Yes
                                  Conversion Implementation Guides MASTER"           document custodian

 PX      616 GOOG-CABR-05454633   November 3. 2020 document titled                   Hochman, Google         Admission                                 402, 403, LF
                                  "Analytics__Reports_vs_Fields_Tracked.docx"        document custodian

 PX      617 GOOG-CABR-05673102   October 3, 2017 document titled "UserId Targeting Kleber, Hochman          Admission                                 402, 403
                                  on Display_1-
                                  4rjGPvcKYHs8cQ1ZFAo4byptAAd9H8jzzpGt-
                                  _9KUs.docx "
 PX      618 GOOG-CABR-05737898   May 4, 2020 email from Ramin Halavati Re           Halavati, McClelland,   Admission                                 402, 403, H, LF, MIL
                                  Measuring Searches in Incognito (for experiments). Hochman

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  PX   620 GOOG-CABR-05876612     Feb 24, 2022 document titled                        Hochman, Google        Admission                                 402, 403, LF
                                  "Storage_Service_2.0.docx "                         document custodian
 PX      621 GOOG-CABR-05876933   Undated, untitled screenshot of browser categories. Hochman, Google                                                  402, 403, LF                                      Yes
                                                                                      document custodian
 PX      622 GOOG-CABR-05876937   September 9, 2021 untitled screenshot of a          Hochman, Google        Admission                                 402, 403, LF, MIL
                                  Histogram Dashboard displaying counts of Regular document custodian
                                  and Incognito Browser Profile Types

 PX      623 GOOG-CABR-05881692   August 29, 2019 document titled "Fortify Cookies Bindra, Kleber,           Admission                                 402, 403
                                  to Support User Privacy                          Hochman
                                  Req_195r_GbfbFqAJDTNKFIS6XxZcJfdELVfJonq
                                  6npN_riw.docx;Fortify Cookies to Support User
                                  Privacy
                                  Re_195r_GbfbFqAJDTNKFIS6XxZcJfdELVfJonq6
                                  npN_riw.docx "
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  PX   625 GOOG-CABR-00799341     July 16, 2020 chat from Rory McClelland regarding McClelland, Hochman      Admission                                 402, 403
                                  privacy questions
 PX      626                      Hochman Opening Report Exhibit B                  Hochman                  Identification                            402, 403, H, NE
 PX      627                      Hochman Opening Report Exhibit C                  Hochman                  Identification                            402, 403, H, NE
 PX      628                      Hochman Opening Report Exhibit D                  Hochman                  Identification                            LF
 PX      629                      Hochman Opening Report Exhibit E                  Hochman                  Identification                            402, 403
 PX      630                      Hochman Opening Report Exhibit F                  Hochman                  Identification                            402, 403, H, NE
 PX      631                      Hochman Rebuttal Report Exhibit A                 Hochman                  Identification                            402, 403, H, NE
 PX      632                      Hochman Rebuttal Report Exhibit B                 Hochman                  Identification                            402, 403, H, NE
 PX      633                      Hochman Rebuttal Report Exhibit C                 Hochman                  Identification                            402, 403, H, NE
 PX      634                      Hochman Opening Report Appendix C                 Hochman                  Identification                            402, 403, H, NE
 PX      635                      Hochman Opening Report Appendix E                 Hochman                  Identification                            402, 403, H, NE
 PX      636                      Hochman Opening Report Appendix I                 Hochman                  Identification                            402, 403, H, NE
 PX      637                      Hochman Rebuttal Report Appendix A                Hochman                  Identification                            402, 403, H, NE
 PX      638                      Hochman Rebuttal Report Appendix K                Hochman                  Identification                            402, 403, H, NE
 PX      639                      Hochman Rebuttal Report Appendix B                Hochman                  Identification                            402, 403, H, NE
 PX      640                      Hochman Rebuttal Report Appendix C                Hochman                  Identification                            402, 403, H, NE
 PX      641                      Hochman Rebuttal Report Appendix D                Hochman                  Identification                            402, 403, H, NE
 PX      642                      Hochman Rebuttal Report Appendix E                Hochman                  Identification                            402, 403, H, NE, MIL
 PX      643                      Hochman Rebuttal Report Appendix F                Hochman                  Identification                            402, 403, H, NE
 PX      644                      Hochman Rebuttal Report Appendix G                Hochman                  Identification                            402, 403, H, NE
 PX      645                      Hochman Rebuttal Report Appendix H                Hochman                  Identification                            402, 403, H, NE
 PX      646                      Hochman Rebuttal Report Appendix I                Hochman                  Identification                            402, 403, H, NE
 PX      647                      Hochman Rebuttal Report Appendix J                Hochman                  Identification                            402, 403, H, NE
 PX      648 GOOG-BRWN-00027028   November 17, 2020 presentation titled "Conversion Hochman, Google          Admission                                 402, 403, LF
                                  Excellence consent Mode for gTag/GTM"             document custodian

 PX      649 GOOG-BRWN-00032906   November 2, 2020 database page titled "Chrome      Hochman, Google         Admission                                 402, 403, LF
                                  Metrics Data Sources/Tables"                       document custodian
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  PX   651 GOOG-BRWN-00049022     September 26, 2019 presentation titled            Harris, McClelland,      Admission                                 402, 403, MIL
                                        "                                           Hochman
 PX      652 GOOG-BRWN-00157001   March 18, 2020 document titled "The Incognito     Fair, Halavati,          Admission                                 402, 403, DRAFT, H, LF
                                  Story"                                            Hochman
 PX      653 GOOG-BRWN-00181499   July 15, 2020 email from Mardini regarding "Ramp- Mardini, McClelland,     Admission                                 402, 403
                                  up Plan for              "                        Hochman

 PX      654 GOOG-BRWN-00184875   January 29, 2020 email from Rory McClelland        Adhya, Borsay,          Admission                                 402, 403, H, MIL, LF
                                  regarding "Chrome/Sin Rastro "We should keep in    Halavati, McClelland,
                                  mind that the value"                               Hochman

 PX      655 GOOG-BRWN-00487443   January 18, 2020 email from automatic reply        Hochman, Google                                                   402, 403, LF                                      Yes
                                  account regarding "Improve tagging controls for GA document custodian
                                  advertising features"
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  PX   657 GOOG-BRWN-00711633     November 7, 2018 internal document titled "Google Hochman, Google                                                    402, 403, LF                                      Yes
                                  Analytics Activating the Google signals setting"  document custodian

 PX      658 GOOG-BRWN-00858548   June 1, 2022 document titled              Logs"     Hochman, Google        Admission                                 402, 403, LF
                                                                                      document custodian
 PX      659 GOOG-CABR-00489377   June 30, 2020 email from Mathias Bynens regarding Halavati, McClelland,    Admission                                 402, 403, H, LF
                                  "Measuring Searches in Incognito (for experiments)" Hochman

 PX      660 GOOG-CABR-04824758   August 19, 2020 internal document titled "[Comms Bindra, Hochman                                                     402, 403, H, LF, MIL                              Yes
                                  Doc] - Limited ads (go/limitedadscomms)"

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  PX   662                        Appendix 3 to April 15, 2022 Expert Report of      Schneier                Admission                                 402, 403, H, NE
                                  Bruce Schneier




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         No.                                                                                                                                     Admit                                                                      of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                                  Only)
 JX      663                      Diamond, S. (2011). “Reference Guide On Survey       Plaintiffs: Keegan       Plaintiffs: Identification                    H, NE                     Objections to Google's Use:
                                  Research,” in Reference Manual on Scientific         Google: Amir             Google: Identification                                                  Relevance; Foundation; 403
                                  Evidence. Federal                                                                                                                                     (extrinsic evidence, Google's MSJ
                                  Judicial Center/National Academy of Sciences                                                                                                          took position that contract was
                                                                                                                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                                        province of the trier of fact);
                                                                                                                                                                                        subject to anticipated MIL.



 PX      664                      Global Market Research 2021 An ESOMAR                Keegan                   Identification                                H, NE
                                  Industry Report
 PX      665                      Jacoby, J. (2013). Trademark Surveys, Volume 1       Keegan                   Identification                                402, H, NE
                                  Designing, Implementing, and Evaluating Surveys,
                                  American Bar
                                  Association
 PX      666                      McCarthy, J.T. (2020). McCarthy on Trademarks       Keegan                    Identification                                402, H, NE
                                  and Unfair Competition, 5th Ed
 PX      667                      Visser, P. S., Krosnick, J. A., & Lavrakas, P. J.   Keegan                    Identification                                H, NE
                                  (2000). Survey research. In H. T. Reis & C. M. Judd
                                  (Eds.), Handbook
                                  of Research Methods in Social and Personality
                                  Psychology. Cambridge University Press

 PX      668                      Swann, J.B. (2005). “A ‘Reading Test Or A            Keegan                   Identification                                H, NE
                                  ‘Memory Test Which Survey Methodology Is
                                  Correct?” The Trademark Reporter , Vol. 95.

 JX      669 GOOG-BRWN-00028191   April 18, 2019 presentation titled "Incognito Icon   Plaintiffs: Keegan,      Plaintiffs: Admission                         403, 402, H, LF           Objections to Google's Use:
                                  Redesign"                                            Google document          Google: Identification                                                  Foundation; 403 (extrinsic
                                                                                       custodian                                                                                        evidence, Google's MSJ took
                                                                                       Google: Amir                                                                                     position that contract was
                                                                                                                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                                        province of the trier of fact).

 PX      670 GOOG-CABR-04400001   Incognito Splash Screen capture dated March 2017     Keegan, Fair, Google     Admission                    Yes
                                                                                       document custodian

 PX      671 GOOG-CABR-04400002   Incognito Splash Screen capture dated April 2017     Keegan, Fair, Google     Admission                    Yes
                                                                                       document custodian

 PX      672 GOOG-CABR-04400004   Incognito Splash Screen capture dated August 2017 Keegan, Fair, Google        Admission                    Yes
                                                                                    document custodian

 PX      673 GOOG-CABR-04400006   Incognito Splash screen capture dated August 2020 Keegan, Fair, Google        Admission                    Yes
                                                                                    document custodian

 PX      674 GOOG-CABR-04400021   Incognito Mobile Splash screen capture undated       Keegan, Fair, Google     Admission                    Yes
                                                                                       document custodian

 PX      675 GOOG-CABR-04400027   Incognito Mobile Splash screen capture undated       Keegan, Fair, Google     Admission                    Yes
                                                                                       document custodian

 PX      676 GOOG-CABR-04400029   Incognito splash Screen capture dated September      Keegan, Fair, Google     Admission                    Yes
                                  2008                                                 document custodian

 PX      677 GOOG-CABR-04400030   Incognito Splash Screen capture dated May 2010       Keegan, Fair, Google     Admission                    Yes
                                                                                       document custodian

 PX      678 GOOG-CABR-04400032   Incognito Splash Screen capture dated March 2013     Keegan, Fair, Google     Admission                    Yes
                                                                                       document custodian

 PX      679 GOOG-CABR-04400033   Incognito Splash Screen capture dated February       Keegan, Fair, Google     Admission                    Yes
                                  2014                                                 document custodian

 PX      680 GOOG-CABR-04400034   Incognito Splash Screen capture dated July 2014      Keegan, Fair, Google     Admission                    Yes
                                                                                       document custodian

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  PX   682 GOOG-BRWN-00027456     Q1 2020 internal presentation titled "Project        Berntson, Lasinski       Admission                                     402, 403
                                         Publisher's 1P Cookies/IDs Strategy"

 PX      683 GOOG-BRWN-00047631   July 15, 2020 internal document regarding "Notes  Borsay, Halavati,       Admission                                         402, 403, H, LF, DRAFT,
                                  on Incognito Misconceptions"                      Harris, McClelland,                                                       MIL
                                                                                    Lasinski
 PX      684 GOOG-BRWN-00139742   January 21, 2019 internal document titled "Chrome Borsay, Fair, Felt,                                                       402, 403                                                      Yes
                                  Browser 2019+ Strategy"                           Harris, Mardini, Schuh,
                                                                                    Tabriz, Lasinski

 PX      685 GOOG-BRWN-00146251   November 8, 2018 internal presentation titled "2019 Bhatnagar, Lasinski                                                     402, 403, MIL                                                 Yes
                                  DVAA Revenue Forecast Review"
 PX      686 GOOG-BRWN-00154008   March 2020 internal presentation titled "Google     Fair, Lasinski                                                          403, 402, H, LF                                               Yes
                                  Incognito Awareness and Landscape"

 PX      687 GOOG-BRWN-00154707   July 14, 2020 internal presentation titled "MEGA     Fair, Lasinski           Admission                                     403, 402, H, LF
                                  Core 2020 Q2 OKR Update"
 PX      688 GOOG-BRWN-00163550   March 11, 2019 internal presentation titled "The     Borsay, Fair, Mardini, Admission                                       402, 403
                                  Future of Incognito, Weekly Check-in"                Lasinski
 PX      689 GOOG-BRWN-00203888   September 30, 2019 internal presentation titled      Lasinski, Google                                                       402, 403, H, MIL, LF                                          Yes
                                  "How to lead in a data-centric era? Marketing in a   document custodian
                                  privacy-first world"
 PX      690 GOOG-BRWN-00406281   May 9, 2018 email regarding "Clank Leads" agenda     Lasinski, Google                                                       402, 403, H, MIL, LF                                          Yes
                                                                                       document custodian
 PX      691 GOOG-BRWN-00422777   February 5, 2020 email regarding comments to         Lasinski, Google                                                       402, 403, H, MIL, LF                                          Yes
                                  "PDPO Flamingo Summit Keynote"                       document custodian
 PX      692 GOOG-BRWN-00478023   March 20, 2014 internal document regarding           Borsay, Fair, Lasinski   Admission                                     402, 403, MIL
                                  "Incognito Notes" for various dates
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  PX   694 GOOG-BRWN-00653907     July 8, 2021 excel spreadsheet titled "Browser       Palmer, Lasinski         Admission                                     402, 403, LF
                                  Competitive Analysis 2021"
 PX      695 GOOG-BRWN-00792629   May 2021 internal presentation titled "Chrome        Adhya, Lasinski          Admission                                     402, 403
                                  Browser US Competitor Analysis"




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         No.                                                                                                                                    Admit                                                             of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                        Only)
 PX      696 GOOG-CABR-00141714     May 18, 2020 internal document regarding "Privacy Borsay, Mardini,             Admission                                 402, 403
                                    & Security Controls in Chrome" update             Lasinski

 PX      697 GOOG-CABR-00391340     May 28, 2020 internal document titled                 Berntson, Bhatnagar,     Admission                                 402, 403, MIL
                                    "             (No 3P cookies in Incognito)"           Liao, McClelland,
                                                                                          Lasinski

 PX      698 GOOG-CABR-03611277     December 2018 internal document titled "Chrome's Bindra, Lasinski                                                        402, 403, H, LF, MIL                                 Yes
                                    Future in a Cookieless World (Display)"

 PX      699 GOOG-CABR-03695549     February 9, 2021 internal presentation titled "Like Lasinski, Google           Admission                                 402, 403, H, LF
                                    of a Cookie / Ads Identifier"                       document custodian,
                                                                                        Hochman
 PX      700 GOOG-CABR-03842057     June 26, 2020 internal document titled "iOS Traffic Bindra, Felt, Leung,       Admission                                 402, 403, LF
                                    Fraction in Ads (Search/Display/YouTube)"           Liao, Lasinski

 PX      701 GOOG-CABR-03956603     May 13, 2020 email regarding "Ads Privacy             Bindra, Liao, Schuh,     Admission                                 402, 403, LF
                                    Ecosystem Steering Notes"                             Tabriz, Lasinski
 PX      702 GOOG-CABR-03958888     October 29, 2018 regarding notes on updating "the Bindra, Lasinski             Admission                                 402, 403, H, MIL
                                    chrome impact model"
 PX      703 GOOG-CABR-04072530     February 4, 2020 internal document titled "Chrome Lasinski, Google                                                       402, 403, H, MIL                                     Yes
                                    Monetization Deck Outline"                            document custodian
 PX      704 GOOG-CABR-04120396     May 2, 2019 internal presentation titled "Publisher's Berntson, Lasinski                                                 402, 403                                             Yes
                                    1P ID Strategy Update Beyond ITP"

 PX      705 GOOG-CABR-04404345     February 2020 internal presentation titled "Why       Lasinski, Google         Admission                                 402, 403, H, MIL
                                    Chrome Matters to Google"                             document custodian
 JX      706 GOOG-CABR-04406227     February 4, 2020 internal document titled "Chrome     Plaintiffs: Lasinski,    Plaintiffs: Admission                     402, 403, H, MIL
                                    Monetization Deck Outline"                            Google document          Google: Identification
                                                                                          custodian
                                                                                          Google: Strombom
 JX      707 GOOG-CABR-04486714     February 10, 2021 excel spreadsheet regarding         Plaintiffs: Halavati, Google: Admission                            402, 403                                             Yes
                                    "Incognito Metrics Fact Sheet"                        Lasinski, Hochman
                                                                                          Google: Felt/Sadowski

 PX      708 GOOG-CABR-04588763     February 4, 2021 email regarding a "Guide to the      Kleber, Lasinski                                                   901, 402, 403, H, LF, MIL                            Yes
                                    Post-Third-Party Cookie Era"
 PX      709 GOOG-CABR-04596471     April 2017 internal presentation titled "Publisher    Bindra, Lasinski                                                   402, 403, H, LF                                      Yes
                                    User and Revenue Data & Insights"

 PX      710 GOOG-CABR-04611594     June 5, 2015 internal presentation titled "Mobile     Lasinski, Google                                                   402, 403, H, LF                                      Yes
                                    Web"                                                  document custodian
 PX      711 GOOG-CABR-04613495     August 31, 2017 internal presentation titled "2018    Bindra, Lasinski                                                   402, 403, H, LF, MIL                                 Yes
                                    DVAA ex YT Prelim Revenue Forecast"

 PX      712 GOOG-CABR-04703695     September 12, 2019 internal presentation titled       Lasinski, Google                                                   402, 403, H, LF, MIL                                 Yes
                                    "2020 DVAA Revenue Forecast Review"                   document custodian

 PX      713 GOOG-CABR-04705413     April 22, 2021 internal presentation titled           Walker, Lasinski         Admission                                 402, 403, H, LF, MIL
                                    "Conversion Panel Proposal, BAM review"
 PX      714 GOOG-CABR-04729089     July 21, 2021 internal presentation titled "Google    Lasinski, Google                                                   402, 403, H, LF, MIL                                 Yes
                                    Display Revenue 101"                                  document custodian
 PX      715 GOOG-CABR-04787255     July 16, 2019 internal document regarding "Digital    Bhatnagar, Bindra,       Admission                                 402, 403
                                    Advertising RFI", Policy & Trust Review               Fair, Lasinski

 PX      716 GOOG-CABR-04867499     Internal document regarding       WG Leads            Bindra, Liao, Lasinski                                             402, 403                                             Yes
                                    meeting notes from May 2019 to December 2020

 PX      717 GOOG-CABR-05150938     August 3, 2020 internal presentation titled "From   Adhya, Bhatnagar, Fair, Admission                                    402, 403
                                    consent to pleasant surprise"                       Liao, Monsees,
                                                                                        Lasinski
 PX      718 GOOG-CABR-05263826     March 25, 2021 internal presentation titled "Search Monsees, Lasinski       Admission                                    402, 403, H, LF
                                    Privacy Digest"
 PX      719 GOOG-CABR-05279618     May 11, 2020 email regarding                  ads   Bindra, Liao, Lasinski Admission                                     402, 403, MIL
                                    impact
 PX      720 GOOG-CABR-05420346     May 13, 2020 email regarding deprecation of 3P      Lasinski, Google        Admission                                    402, 403, H, LF, MIL
                                    cookies in incognito mode                           document custodian
 PX      721 GOOG-CABR-05886428     April 15, 2022 excel spreadsheet showing Incognito Lasinski, Google         Admission                                    402, 403, LF, MIL
                                    usage metrics (Android)                             document custodian
 PX      722 GOOG-CABR-05886429     April 15, 2022 excel spreadsheet showing Incognito Lasinski, Google         Admission                                    402, 403, LF, MIL
                                    usage metrics (ChromeOS)                            document custodian
 PX      723 GOOG-CABR-05886430     April 15, 2022 excel spreadsheet showing Incognito Lasinski, Google         Admission                                    402, 403, LF, MIL
                                    usage metrics (iOS)                                 document custodian
 PX      724 GOOG-CABR-05886431     April 15, 2022 excel spreadsheet showing Incognito Lasinski, Google         Admission                                    402, 403, LF, MIL
                                    usage metrics (Linux)                               document custodian
 PX      725 GOOG-CABR-05886432     April 15, 2022 excel spreadsheet showing Incognito Lasinski, Google         Admission                                    402, 403, LF, MIL
                                    usage metrics (MacOS)                               document custodian
 PX      726 GOOG-CABR-05886433     April 15, 2022 excel spreadsheet showing Incognito Lasinski, Google         Admission                                    402, 403, LF, MIL
                                    usage metrics (Windows)                             document custodian
 JX      727 GOOG-CABR-X-00000421   March 5, 2022 internal document regarding           Plaintiffs: Lasinski,   Plaintiffs: Admission                        402, 403
                                    "Screenwise Panel Recruitment Survey"               Google document         Google: Identification
                                                                                        custodian
                                                                                        Google: Strombom
 PX      728 GOOG-CABR-X-00000468   March 5, 2022 internal document regarding           Lasinski, Google        Admission                                    402, 403, LF
                                    "Screenwise Brochure"                               document custodian
 PX      729 GOOG-CABR-X-00001225   April 14, 2022 internal document regarding          Lasinski, Google        Admission                                    402, 403, LF, MIL
                                    "Display Ads PL"                                    document custodian
 PX      730                        April 5, 2022 Email from T. Gao re Brown v.         Lasinski, Google        Admission                                    402, 403, LF, H, NE
                                    Google – UMA data                                   document custodian
 PX      731                        April 14, 2022 Letter from T. Fani re Google        Lasinski, Google        Admission                                    402, 403, LF, H, NE
                                    production Volume X-011                             document custodian
 PX      732                        Alphabet Form 10-K for the fiscal year ended        Plaintiffs: Lasinski,   Plaintiffs: Admission                        402, 403, LF, MIL
                                    December 31, 2021.                                  Google document         Google: Identification
                                                                                        custodian
                                                                                        Google: Strombom
 JX      733                        Alphabet Form 10-K for the fiscal year ended        Plaintiffs: Lasinski,   Plaintiffs: Admission                        402, 403, LF, MIL
                                    December 31, 2019.                                  Google document         Google: Identification
                                                                                        custodian
                                                                                        Google: Strombom




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         No.                                                                                                                                Admit                                                             of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                    Only)
 JX      734                      Alphabet Form 10-K for the fiscal year ended      Plaintiffs: Lasinski,     Plaintiffs: Admission                      402, 403, LF, MIL
                                  December 31, 2018.                                Google document           Google: Identification
                                                                                    custodian
                                                                                    Google: Strombom
 PX      735                      “About the Ipsos Screenwise Panel” per Ipsos at   Lasinski, Google          Admission                                  402, 403, LF, H, 901
                                  https //screenwisepanel.com/home (accessed March document custodian
                                  15, 2022)
 PX      736                      “Google Panel Privacy Policy” at                  Plaintiffs: Lasinski,     Plaintiffs: Admission                      402, 403, LF, H, 901
                                  https //screenwisepanel.com/google-panel-privacy- Google document           Google: Identification
                                  policy (accessed April 7, 2022)                   custodian
                                                                                    Google: Strombom
 JX      737                      “Google paying users to track 100% of their Web Plaintiffs: Lasinski,       Plaintiffs: Admission                      402, 403, LF, H, 901
                                  usage via little black box” at                    Google document           Google: Identification
                                  https //arstechnica.com/gadgets/2012/02/google-   custodian
                                  paying-users-to-track-100-of-their-web-usage-via- Google: Strombom
                                  little-black-box/ (accessed March 14, 2022)

 JX      738                      “Google Screenwise pays opt-in users for expanded Plaintiffs: Lasinski,     Plaintiffs: Admission                      402, 403, LF, H, 901
                                  web tracking” at                                  Google document           Google: Identification
                                  https //www.theverge.com/2012/2/8/2785751/goog custodian
                                  le-screenwise-panel-web-monitoring-knowledge-     Google: Strombom
                                  networks (accessed March 14, 2022)

 JX      739                      “Ipsos Screenwise Panel Cookie Policy” at           Plaintiffs: Lasinski,   Plaintiffs: Admission                      402, 403, LF, H, 901
                                  https //screenwisepanel.com/cookie-policy (accessed Google document         Google: Identification
                                  March 17, 2022)                                     custodian
                                                                                      Google: Strombom
 PX      740                      “Ipsos Screenwise Panel Privacy Policy” at          Plaintiffs: Lasinski,   Plaintiffs: Admission                      402, 403, LF, H, 901
                                  https //screenwisepanel.com/ipsos-Sow-privacy-      Google document         Google: Identification
                                  policy (accessed March 14, 2022)                    custodian
                                                                                      Google: Strombom
 PX      741                      “Key Figures” per Ipsos at                          Lasinski, Google        Admission                                  402, 403, LF, H, 901
                                  https //www.ipsos.com/en/key-figures (accessed      document custodian
                                  March 17, 2022)
 PX      742                      “Nielsen Computer & Mobile Panel” per               Lasinski                Admission                                  402, 403, LF, H, 901
                                  https //computermobilepanel.nielsen.com/ui/US/en/
                                  sdp/landing (accessed March 13, 2022)
 PX      743                      “Number of internet users in the United States from Lasinski                Admission                                  402, 403, LF, H, MIL, 901
                                  2010 to 2025" per Statista at
                                  https //www.statista.com/statistics/325645/usa-
                                  number-of-internet-users/#professional (accessed
                                  April 18, 2022)
 PX      744                      https //gs.statcounter.com/browser-market-share      Lasinski               Admission                                  402, 403, LF, H, MIL, 901
                                  (accessed March 15, 2022)
 PX      745                      https //gs.statcounter.com/browser-market-           Plaintiffs: Lasinski   Plaintiffs: Admission                      402, 403, LF, H, MIL, 901
                                  share/all/united-states-of-america (accessed January Google: Amir           Google: Identification
                                  13, 2022).
 PX      746                      https //gs.statcounter.com/browser-market-           Plaintiffs: Lasinski   Plaintiffs: Admission                      402, 403, LF, H, MIL, 901
                                  share/all/united-states-of-america/#monthly-201606 Google: Amir             Google: Identification
                                  202201 (accessed April 8, 2022)
 PX      747                      https //gs.statcounter.com/browser-market-           Lasinski               Admission                                  402, 403, LF, H, MIL, 901
                                  share/desktop/united-states-of-america#monthly-
                                  201601-202112 (accessed April 8, 2022)

 PX      748                      https //gs.statcounter.com/browser-market-           Lasinski               Admission                                  402, 403, LF, H, MIL, 901
                                  share/mobile/united-states-of-america#monthly-
                                  201601-202112 (accessed April 8, 2022)

 PX      749                      https //gs.statcounter.com/faq (accessed April 8,   Lasinski                Admission                                  402, 403, LF, H, MIL
                                  2022)
 PX      750 GOOG-BRWN-00026161   November 3, 2020 internal document titled           Google Custodian                                                   402, 403, LF, MIL                                    Yes
                                  "http //go              -coverage-ratio_Old Design,
                                  Launched"
 PX      751 GOOG-BRWN-00026213   March 13, 2017 internal document titled "Design     Google Custodian                                                   402, 403, LF                                         Yes
                                  Doc GA Remarketing Lists for GDN X-Device"

 PX      752 GOOG-BRWN-00026485   February 26, 2018 internal document titled           Google Custodian                                                  402, 403, LF, MIL                                    Yes
                                      _Batch_Remarketing_Design"
 PX      753 GOOG-BRWN-00026591   November 3, 2020 internal document titled            Google Custodian                                                  402, 403, LF                                         Yes
                                  "Product Integration General Design"
 PX      754 GOOG-BRWN-00026632   February 10, 2020 internal presentation titled       Google Custodian                                                  402, 403, LF                                         Yes
                                  Integrations Template"
 PX      755 GOOG-BRWN-00026788   November 3, 2020 internal document titled            Google Custodian       Admission                                  402, 403, LF, MIL
                                  "Differential Privacy for O2O Store Visits in GA"

 PX      756 GOOG-BRWN-00026831   November 3, 2020 internal document titled "Life of Google Custodian                                                    402, 403, LF                                         Yes
                                  a Visitor in GA+RLSA"
 PX      757 GOOG-BRWN-00026874   November 3, 2020 internal document diagram titled Google Custodian          Admission                                  402, 403, LF
                                  "Feeder Diagram"
 PX      758 GOOG-BRWN-00026878   November 1, 2018 external document titled "Private Google Custodian         Admission                                  901, DRAFT, LF
                                  Mode Browsing"
 PX      759 GOOG-BRWN-00027079   November 17, 2020 internal webpage titled "Site    Google Custodian                                                    402, 403, LF                                         Yes
                                  Wide Tagging"
 PX      760 GOOG-BRWN-00027100   May 27, 2019 internal document titled              Google Custodian         Admission                                  402, 403, LF
                                  "Implementation difference between Chrome regular
                                  and incognito mode"
 PX      761 GOOG-BRWN-00027227   August 21, 2020 internal webpage titled "Chrome Google Custodian                                                       402, 403, LF                                         Yes
                                  Metrics"
 PX      762 GOOG-BRWN-00029445   September 24, 2020 internal webpage titled "Logs Google Custodian                                                      402, 403, LF                                         Yes
                                  Sources and Access Types"
 PX      763 GOOG-BRWN-00031631   September 15, 2014 internal document titled "GA Google Custodian                                                       402, 403, LF, MIL                                    Yes
                                  InApp Remarketing Backend Design Doc"

 PX      764 GOOG-BRWN-00032186   March 2, 2015 internal document titled            Google Custodian                                                     402, 403, LF, MIL                                    Yes
                                  "Probabilistic Thresholding in Stardust"
 PX      765 GOOG-BRWN-00032789   November 16, 2020 internal document titled        Google Custodian          Admission                                  402, 403, LF
                                  "Chrome Incognito PRD"
 PX      766 GOOG-BRWN-00047367   May 14, 2020 internal document titled "M83 -      Google Custodian                                                     402, 403, LF                                         Yes
                                                 rollout messaging"
 PX      767 GOOG-BRWN-00047429   May 8, 2018 internal document titled "Chrome Data Google Custodian                                                     402, 403, LF                                         Yes
                                  Collection for User Research Studies"




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                                                                                                                                                                                                                          Only)
 PX      768 GOOG-BRWN-00048078     January 15, 2021 internal document titled "Cookies Google Custodian                                                   402, 403, LF, MIL                                         Yes
                                    vs. FLoC Side-by-Side comparison"

 PX      769 GOOG-BRWN-00048474     October 5, 2018 internal presentation titled       Google Custodian                                                   402, 403, LF                                              Yes
                                    "Chrome Metrics An Overview, 2018"
 PX      770 GOOG-BRWN-00054491     September 29, 2017 internal document titled        Google Custodian        Admission                                  402, 403, LF
                                    "Domain for           "
 PX      771 GOOG-BRWN-00054985     November 8, 2016 internal presentation titled      Google Custodian                                                   402, 403, LF, MIL                                         Yes
                                    "         Gaia conversions in display"
 PX      772 GOOG-BRWN-00055093     August 17, 2017 internal document titled "Safari   Google Custodian                                                   402, 403, LF                                              Yes
                                    ITP - Open Research Questions"
 PX      773 GOOG-BRWN-00057338     October 22, 2019 internal document titled "Migrate Google Custodian                                                   402, 403, LF, MIL                                         Yes
                                                 into    "
 PX      774 GOOG-BRWN-00057404     March 12, 2018 internal document titled            Google Custodian                                                   402, 403, LF, MIL                                         Yes
                                    "               Coverage Ratio"
 PX      775 GOOG-BRWN-00057878     February 15, 2018 internal document                Google Custodian                                                   402, 403, LF, MIL                                         Yes
                                    Fixes"
 PX      776 GOOG-BRWN-00057885     March 21, 2019 internal document                   Google Custodian                                                   402, 403, LF, MIL                                         Yes
                                    Investigation"
 PX      777 GOOG-BRWN-00061068     August 6, 2019 internal presentation "             Google Custodian        Admission                                  402, 403, LF
                                    deepdive"
 PX      778 GOOG-BRWN-00062876     November 2013 internal presentation titled         Google Custodian        Admission                                  402, 403, LF
                                    "Inspector Gadget Eng Review Nov 2013"
 PX      779 GOOG-BRWN-00063218     November 19, 2020 internal presentation titled     Google Custodian                                                   402, 403, LF                                              Yes
                                    "Chrome Trust &Safety 2021 Roadmap"

 PX      780 GOOG-BRWN-00070268     September 30, 2020 internal presentation titled "PPI Google Custodian      Admission                                  402, 403, LF, MIL
                                    Program Review Zwieback"
 PX      781 GOOG-BRWN-00071887     February 10, 2020 internal webpage titled            Google Custodian      Admission                                  402, 403, LF
                                    "Incognitio Metrics"
 PX      782 GOOG-BRWN-00078286     June 1, 2021 internal presentation titled "User      Google Custodian      Admission                                  402, 403, LF
                                    Identifiers Brand University overview"
 PX      783 GOOG-BRWN-00078324     November 11, 2019 internal webpage "Getting          Google Custodian                                                 402, 403, LF, MIL                                         Yes
                                    Started"
 PX      784 GOOG-BRWN-00078334     May 31, 2021 internal webpage titled "Zwieback" Google Custodian                                                      402, 403, LF, MIL                                         Yes

 PX      785 GOOG-BRWN-00078336     April 28, 2020 internal webpage "Zwieback Cookie Google Custodian                                                     402, 403, LF, MIL                                         Yes
                                    Coding Details"
 JX      786 GOOG-BRWN-00078348     November 11, 2019 internal webpage "Zwieback        Plaintiffs: Google     Plaintiffs: Admission                      LF
                                    Overview"                                           Custodian              Google: Identification
                                                                                        Google: Psounis
 PX      787 GOOG-BRWN-00078361     April 23, 2020 internal webpage "Biscotti           Google Custodian       Admission                                  402, 403, LF
                                    Identifiers"
 PX      788 GOOG-BRWN-00078366     September 5, 2018 internal webpage "Device          Google Custodian       Admission                                  402, 403, LF
                                    Identifiers"
 PX      789 GOOG-BRWN-00078378     May 7, 2021 internal webpage "Fantastic Identifiers Google Custodian       Admission                                  402, 403, LF
                                    and Where to Find Them"
 PX      790 GOOG-BRWN-00078386     March 11, 2019 internal webpage "Unified Display Google Custodian          Admission                                  402, 403, LF, MIL
                                    Signed In"
 PX      791 GOOG-BRWN-00078435     June 10, 2021 spreadsheet titled "Fact sheet of Log Google Custodian       Admission                                  402, 403, LF
                                    Names &Retention Period - Analytics & Display
                                    Ads Logs"
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  PX   795 GOOG-BRWN-00078439       June 10, 2021 internal presentation titled "Google   Google Custodian      Admission                                  402, 403, LF
                                    Analytics Backend Core Processing Pipelines"

 PX      796 GOOG-BRWN-00078849     Presentation                                       Google Custodian        Admission                                  402, 403, LF
 PX      797 GOOG-BRWN-00139771     April 27, 2020 internal presentation titled        Google Custodian                                                   402, 403, LF                                              Yes
                                    "Introduction to UMA"
 PX      798 GOOG-BRWN-00140197     August 14, 2020 internal presentation titled "PRD Google Custodian         Admission                                  402, 403, LF
                                                  -Desktop"
 PX      799 GOOG-BRWN-00140565     September 12, 2017 internal document titled        Google Custodian                                                   402, 403, LF                                              Yes
                                    "Evaluating Estimated and Observed reporting used
                                        data in Google Analytics"
 PX      800 GOOG-BRWN-00144643     August 31, 2020 internal presentation titled       Google Custodian                                                   402, 403, LF                                              Yes
                                    "Conversion Modeling in DV360"
 PX      801 GOOG-BRWN-00147812     April 2019 internal document titled "Chrome        Google Custodian        Admission                                  402, 403, LF
                                    Privacy Comms Planning"
 PX      802 GOOG-BRWN-00149196     September 20, 2019 internal document titled        Google Custodian                                                   402, 403, LF                                              Yes
                                    "Allowed Features under Disable personalization in
                                    DBL"
 PX      803 GOOG-BRWN-00150450     May 3, 2017 internal meeting notes document titled Google Custodian                                                   402, 403, LF                                              Yes
                                    "         Privacy Office Hour"
 PX      804 GOOG-BRWN-00150771     May 4, 2018 internal document titled "Supporting Google Custodian                                                     402, 403, LF, MIL                                         Yes
                                    linked cookies in AdX RTB in GKS"

 PX      805 GOOG-BRWN-00153831     April 4, 2019 document titled "Fledge High Level     Google Custodian                                                 402, 403, LF                                              Yes
                                    Design For 6th           GKS Launch"
 PX      806 GOOG-BRWN-00157519     February 27, 2020 document titled "Zwieback The      Google Custodian                                                 402, 403, LF, MIL                                         Yes
                                    Story So Far"
 JX      807 GOOG-BRWN-00160342     April 19, 2016 internal presentation titled          Plaintiffs Chris Liao, Google: Admission                         403, H                   Objections to Google's Use:       Yes
                                                         "                               Google Custodian                                                                          Hearsay; Foundation; 403 (subject
                                                                                         Google: Berntson                                                                          of preclusionary sanctions (Dkt.
                                                                                                                                                                                   588))
 PX      808 GOOG-BRWN-00165695     October 1, 2019 internal document titled "Privacy Google Custodian         Admission                                  402, 403, LF, MIL
                                    Team Roadmap Planning Session"
 PX      809 GOOG-BRWN-00167899     March 28, 2019 email from Andrey Aredakov          Google Custodian        Admission                                  402, 403, LF
                                    regarding "      of page loads are incognito mode"

 PX      810 GOOG-BRWN-00168232     October 2, 2020 email from Filip Gorski regarding Caitlin Sadowski                                                    402, 403                                                  Yes
                                    "Long-term Clank Omaha count adjustments"

 PX      811 GOOG-BRWN-00168623.C   July 22, 2020 email from Ilya Sherman regarding      Caitlin Sadowski;     Admission                                  402, 403, LF, H
                                    "Measuring Searches in Incognito"                    Ramin Halavati
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  PX   813 GOOG-BRWN-00168788       May 19, 2020 email from Krishna Govind regarding Google Custodian          Admission                                  402, 403, LF
                                    "Measuring Searches in Incognito (for experiments)"




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         No.                                                                                                                                Admit                                                         of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                Only)
 PX      814 GOOG-BRWN-00168820     May 18, 2020 email from Florian Uunk regarding     Google Custodian        Admission                                 402, 403, LF
                                    "Reasons for not sending X-Client-Data header"

 PX      815 GOOG-BRWN-00168891     May 7, 2020 email from Sam Burch regarding         Google Custodian                                                  402, 403, LF                                     Yes
                                    "Incognito Analysis Question"
 PX      816 GOOG-BRWN-00168913     May 7, 2020 email from Florian Uunk regarding      Google Custodian                                                  402, 403, LF                                     Yes
                                    "Measuring Searches in Incognio (for experiments)"

 PX      817 GOOG-BRWN-00169278     November 19, 2019 email from Ramin Halavati        Ramin Halavati                                                    402, 403, H, LF                                  Yes
                                    regarding "Estimating Incognito Usage"             ;Google Custodian

 PX      818 GOOG-BRWN-00171653     June 22, 2020 email from Mardini regarding "Ramp- Chris Liao;Google                                                  402, 403, LF                                     Yes
                                    up Plan for               "                       Custodian
 PX      819 GOOG-BRWN-00172242     December 2, 2016 email from Luke Hedrick          Deepti Bhatnager                                                   402, 403, LF                                     Yes
                                    regarding "For custom bidding, how do we
                                    match/join DT IDs with Customer's data?"
 PX      820 GOOG-BRWN-00173139     July 23, 2015 email from Leo Chen regarding       Deepti Bhatnager                                                   402, 403, LF                                     Yes
                                    "Brand Life Newsletter - June 2015"
 PX      821 GOOG-BRWN-00173162     July 24, 2015 email from Deepti Bhatnagar         Deepti Bhatnager                                                   402, 403, LF                                     Yes
                                    regarding "Brand Life Newsletter - June 2015"

 PX      822 GOOG-BRWN-00173280     May 5, 2020 email from Mardini regarding           AbdelKarim Mardini,     Admission                                 402, 403, ID
                                    "             launch on Desktop and Android"       Chetna Bindra, Chris
                                                                                       Liao
 PX      823 GOOG-BRWN-00175346     June 17, 2020 email from Sonali Perera regarding   Google Custodian                                                  402, 403, LF                                     Yes
                                    "PM Support needed - Walmart Server Side
                                    migration"
 PX      824 GOOG-BRWN-00178120     March 22, 2019 email from Sammit Adhya             Chetna Bindra; Greg                                               403, 402, H, LF                                  Yes
                                    regarding "       Weekly Update w/o March          Fair
                                    21st"
 PX      825 GOOG-BRWN-00181672     July 16, 2020 email from Rory McClelland           AbdelKarim Mardini;     Admission                                 402, 403, LF
                                    regarding "Ramp-up Plan for               "        Bert Leung; Chetna
                                                                                       Bindra; Chris Liao;
                                                                                       Rory McClelland

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  PX   827 GOOG-BRWN-00181859       May 4, 2020 email from Jochen Eisinger regarding AbdelKarim Mardini        Admission                                 402, 403
                                    "Measuring Searches in Incognito (for experiments)"

 PX      828 GOOG-BRWN-00181901     April 28, 2020 email from Rory McClelland          AbdelKarim Mardini;                                               402, 403                                         Yes
                                    regarding "Rollout plan for            "           Rory McClelland

 PX      829 GOOG-BRWN-00181940     May 5, 2020 email from Mardini regarding           AbdelKarim Mardini;                                               402, 403                                         Yes
                                    "             launch readiness"                    Chetna Bindra

 PX      830 GOOG-BRWN-00182023     April 22, 2020 email from Mardini regarding        AbdelKarim Mardini;     Admission                                 402, 403, MIL
                                    "Rollout plan for             "                    Rory McClelland

 PX      831 GOOG-BRWN-00182034     May 13, 2020 email from Chris Liao regarding       Chris Liao; Ramin       Admission                                 402, 403, H, LF
                                    "Inferring Incognito traffic from server side"     Halavati; Bert Leung;
                                                                                       AbdelKarim Mardini;
                                                                                       Chetna Bindra; Rory
                                                                                       McClelland

 PX      832 GOOG-BRWN-00182073     May 6, 2020 email from Florian Uunk regarding      AbdelKarim Mardini;     Admission                                 402, 403, MIL
                                    "             launch on Desktop and Android"       Rory McClelland

 PX      833 GOOG-BRWN-00182199     March 9, 2020 email from Rory McClelland           AbdelKarim Mardini;                                               402, 403                                         Yes
                                    regarding "Chrome Incognito Logging"               Ramin Halavati; Rory
                                                                                       McClelland

 PX      834 GOOG-BRWN-00182298     February 20, 2020 email from Christian Dullweber Rory McClelland;                                                    402, 403                                         Yes
                                    regarding "              - Mobile"               AbdelKarim Mardini

 PX      835 GOOG-BRWN-00182686     October 10, 2019 email from James Croom          Rory McClelland;                                                    402, 403                                         Yes
                                    regarding "status of 3P blocking in Incognito    AbdelKarim Mardini
                                    mode?"
 PX      836 GOOG-BRWN-00184772     February 28, 2020 email from "chrome-privacy-    Google Custodian          Admission                                 402, 403, LF
                                    core@google.com" regarding "Digest for chrome-
                                    privacy-core@google.com-21 updates in 11 topics"

 PX      837 GOOG-BRWN-00184947     August 21, 2014 email from Ellen Siegel regarding Google Custodian                                                   402, 403, MIL, LF                                Yes
                                    "Security Center launch with Incognito impact"

 PX      838 GOOG-BRWN-00185091     June 2, 2014 email from Ryan Hamilton regarding    Google Custodian        Admission                                 402, 403, LF
                                    "Recording use of incognito in UMA"

 PX      839 GOOG-BRWN-00185327     May 6, 2019 email from Jochen Eisinger regarding AbdelKarim Mardini;                                                 402, 403                                         Yes
                                    "Meeting on Apr 25th on retention control"       Rory McClelland

 PX      840 GOOG-BRWN-00186871     July 2019 internal document titled "Research Plan Google Custodian                                                   402, 403, LF                                     Yes
                                                   (2nd iteration)"
 PX      841 GOOG-BRWN-00204424     January 22, 2021 internal document titled "Data    Google Custodian        Admission                                 402, 403, MIL, LF
                                    Transparency I/O Moment draft"
 PX      842 GOOG-BRWN-00229578     August 10, 2016 internal document titled "X-device Google Custodian                                                  402, 403, LF                                     Yes
                                    Remarketing"
 PX      843 GOOG-BRWN-00278282     July 8, 2020 email from Christian Dullweber        AbdelKarim Mardini;                                               402, 403, LF                                     Yes
                                    regarding "M83 launch metrics so far"              Rory McClelland

 PX      844 GOOG-BRWN-00417704     August 1, 2019 email from Florian Uunk regarding AbdelKarim Mardini                                                  402, 403, LF                                     Yes
                                    "Privacy-Focused Chrome"
 PX      845 GOOG-BRWN-00425303     8/19 Presentation 2019 presentation titled "Multi v. Google Custodian                                                402, 403, H, LF                                  Yes
                                    Single Session Incognito Lab Study"
 PX      846 GOOG-BRWN-00425682.R   June 3, 2020 internal document titled "Measuring Google Custodian          Admission                                 402, 403, MIL, LF
                                    Searches in Incognito (for experiments)"

 PX      847 GOOG-BRWN-00426819     May 2020 presentation titled "Overview of          Google Custodian                                                  402, 403, LF                                     Yes
                                    Conversion Leaks"
 PX      848 GOOG-BRWN-00432247     April 13, 2018 internal document titled "goto/ono- Google Custodian        Admission                                 402, 403, LF, MIL
                                    zwieback"




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         No.                                                                                                                              Admit                                                         of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                              Only)
 PX      849 GOOG-BRWN-00432577   October 23, 2016 internal document titled "Argoz Google Custodian                                                    402, 403, LF, MIL                                Yes
                                  High Level Design For First         GKS Launch"

 PX      850 GOOG-BRWN-00437142   October 7, 2015 document titled "Incognito mode     Google Custodian                                                 402, 403, LF                                     Yes
                                  stats"
 PX      851 GOOG-BRWN-00461603   September 17, 2018 document of a spreadsheet        Google Custodian                                                 402, 403, LF                                     Yes
                                  titled "Account Central Launches since 2015"

 PX      852 GOOG-BRWN-00477439   April 23, 2021 email from "rainhard@google.com" Google Custodian          Admission                                  402, 403, LF
                                  regarding "iOS Tab Context Menus - bug"

 PX      853 GOOG-BRWN-00477710   May 7, 2019 internal document titled "Ads Impact    Chris Liao;Google     Admission                                  402, 403, MIL
                                  Response from"                 " and "SameSite &    Custodian
                                  Secure" Launches
 PX      854 GOOG-BRWN-00538280   November 10, 2017 presentation titled "Alphabet's   Google Custodian      Admission                                  402, 403, H, LF
                                  Atomic Adolescence Geranium Privacy
                                  Engineering Summit"
 PX      855 GOOG-BRWN-00539810   June 2021 presentation titled "Omega Privacy        Google Custodian                                                 402, 403, LF                                     Yes
                                  Clustering, Anonymization, Robust Learning and
                                  Differential Privacy"
 PX      856 GOOG-BRWN-00542100   April 2017 internal document "Pisces Pairwise       Google Custodian      Admission                                  402, 403, LF
                                  Cookie Link Sampling for X-Device Attribution"

 PX      857 GOOG-BRWN-00547081   May 2017 internal document "Addressing           Google Custodian      Admission                                     402, 403, LF, MIL
                                  Joinability Risks for Double-logging in DCLK
                                  GKS"
 PX      858 GOOG-BRWN-00609007   June 15, 2016 email chain from Sammit Adhya      Google Custodian                                                    402, 403, LF, MIL                                Yes
                                  regarding "          OKR; Uniqueness of User
                                  Agent String"
 PX      859 GOOG-BRWN-00620969   July 27, 2021 email from "aadc-unauth-           Google Custodian                                                    402, 403, LF, MIL                                Yes
                                  eng@google.com" regarding "Topic Digest - 25
                                  updates in 7 topics"
 PX      860 GOOG-BRWN-00764614   August 20, 2019 email from Connie Choi regarding Google Custodian                                                    402, 403, LF, MIL                                Yes
                                  "Understanding display ads revenue for signed
                                  out/Incognito users
 PX      861 GOOG-BRWN-00844941   December 22, 2021 internal document titled       Bert Leung; Mandy                                                   402, 403                                         Yes
                                  "WebView Detection for                  "        Liu; Google Custodian

 PX      862 GOOG-BRWN-00845277   October 28, 2021 email from Ankur Lahoti            Chris Liao; Bert Leung; Admission                                402, 403, MIL
                                  regarding "FF PB modeling"                          Google Custodian

 PX      863 GOOG-BRWN-00845423   May 18, 2021 email from "mdb.logs-front-             Mandy Liu; Bert      Admission                                  402, 403
                                  door@google.com" regarding proposal "to keep up Leung; Google
                                  with the status quo of the latest 3p-cookie-blocking Custodian
                                  browsers"
 PX      864 GOOG-BRWN-00845496   April 13, 2021 email from "mdb.logs-front-           Mandy Liu; Bert      Admission                                  402, 403
                                  door@google.com" regarding proposal "to keep up Leung; Google
                                  with the status quo of the latest 3p-cookie-blocking Custodian
                                  browsers"
 PX      865 GOOG-BRWN-00846274   May 18, 2021 email from Ary Young regarding        Mandy Liu; Google      Admission                                  402, 403, LF
                                  comments to document "Detect 3P-Cookie-            Custodian
                                  Blocking Browsers Logging-Design"
 PX      866 GOOG-BRWN-00846532   February 3, 2022 internal document titled "Browser Mandy Liu; Google      Admission                                  402, 403
                                  Intelligence Dashboard Verification"               Custodian

 PX      867 GOOG-BRWN-00846838   January 2020 - February 2022 internal document      Mandy Liu; Google                                                402, 403                                         Yes
                                  with notes from weekly Team Meetings                Custodian

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  PX   869 GOOG-CABR-00058829     June 6, 2016 internal document titled "Next         Google Custodian      Admission                                  402, 403, LF
                                  Generation User Id Accessor"
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  PX   872 GOOG-CABR-00130845     July 2020 internal document titled "GKS (Gaia     Google Custodian                                                   402, 403, LF, MIL                                Yes
                                  Keyed Serving) Overview (for perf)"
 PX      873 GOOG-CABR-00226978   November 1, 2019 email from Bill Halpin regarding Rory McClelland;                                                   402, 403                                         Yes
                                  "               -       sync"                     Chris Liao; Mardini;
                                                                                    Chetna Bindra; Google
                                                                                    Custodian
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  PX   875 GOOG-CABR-00378096     March 2016 internal presentation titled "Crash     Google Custodian                                                  402, 403, LF, MIL                                Yes
                                  Course on        "
 PX      876 GOOG-CABR-00399866   February 2020 internal document titled "xGA        Google Custodian       Admission                                  402, 403, LF, MIL
                                  Incognito Logging Proposal"
 PX      877 GOOG-CABR-00400309   March 2016 internal document titled "Sources of    Google Custodian                                                  402, 403, LF                                     Yes
                                  Biscotti IDs"
 PX      878 GOOG-CABR-00484130   January 23, 2020 email from Alexei Svitkine        Google Custodian       Admission                                  402, 403, LF
                                  regarding "UMA expiry & reset"
 PX      879 GOOG-CABR-00543132   March 2016 internal document titled                Bert Leung; Google                                                402, 403                                         Yes
                                                 Technical Design"                   Custodian
 PX      880 GOOG-CABR-00544408   December 28, 2020 internal document titled "Detect Mandy Liu; Google                                                 402, 403, MIL                                    Yes
                                  3P Cookie Blocking Browsers Technical Design"      Custodian

 PX      881 GOOG-CABR-00546609   May 27, 2020 email from Ankur Lahoti regarding      Bert Leung; Chris Liao; Admission                                402, 403, MIL
                                  "Follow-up on              impact mitigation"       Chetna Bindra

 PX      882 GOOG-CABR-00546737   May 28, 2020 email from Nitish Korula regarding     Bert Leung; Google    Admission                                  402, 403, MIL
                                  "Understanding publisher impact from                Custodian
                                               "
 PX      883 GOOG-CABR-00547292   September 17, 2020 email from Chris Liao            Chris Liao; Bert Leung; Admission                                402, 403, MIL
                                  regarding "             "                           Chetna Bindra

 PX      884 GOOG-CABR-00547526   August 1, 2020 email thread regarding "Follow-up Chris Liao; Chetna       Admission                                  402, 403, MIL
                                  on               impact mitigation"              Bindra ; Google
                                                                                   Custodian
 PX      885 GOOG-CABR-00550150   June 2018 internal document titled "AGSA Feature Google Custodian                                                    402, 403, LF, MIL                                Yes
                                  Design Sketch; AGSA Incognito Search"

 PX      886 GOOG-CABR-00799195   April 23, 2021 email from "rainhard@google.com" Ramin Halavati;           Admission                                  402, 403, LF, MIL
                                  regarding "Incognito using the UMA ID as regular Google Custodian
                                  mode"




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         No.                                                                                                                               Admit                                                                     of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                           Only)
 PX      887 GOOG-CABR-00891766   June 17, 2021 document/webpage of "Zwieback         Google Custodian                                                  402, 403, LF, MIL                                            Yes
                                  Client Quick Start"
 PX      888 GOOG-CABR-00891932   April 6, 2018 document/webpage of "Ads Privacy - Google Custodian                                                     402, 403, LF                                                 Yes
                                  AKAR"
 PX      889 GOOG-CABR-00892355   July 2021 internal presentation titled "Life of Ads Google Custodian                                                  402, 403, LF                                                 Yes
                                  Identifier"
 PX      890 GOOG-CABR-03644400   January 28, 2019 internal document titled           Google Custodian                                                  402, 403, LF                                                 Yes
                                  "Including Chrome Metrics in               "
 PX      891 GOOG-CABR-03650185   November 19, 2019 internal document titled          Google Custodian                                                  402, 403, LF, MIL                                            Yes
                                  "Android WebLayer UMA Metrics"
 PX      892 GOOG-CABR-03650896   March 30, 2019 internal document titled "DeepNow Google Custodian          Admission                                  402, 403, LF
                                  Training From Server Logs go             "

 PX      893 GOOG-CABR-03652862   June 30, 2016 internal document titled      v2   Google Custodian                                                     402, 403, LF                                                 Yes
                                  Detailed API Design"
 PX      894 GOOG-CABR-03653108   July 31, 2016 internal document titled "AdX      Google Custodian                                                     402, 403, LF                                                 Yes
                                                     "
 PX      895 GOOG-CABR-03653580   September 2015 internal document titled "Mapping Google Custodian                                                     402, 403, LF                                                 Yes
                                  from Native Identifiers to Biscotti"

 PX      896 GOOG-CABR-03654277   March 2016 internal document titled "GKS 'Single'    Google Custodian                                                 402, 403, LF, MIL                                            Yes
                                  (or 'Double Identifier') Logging"
 PX      897 GOOG-CABR-03655476   January 5, 2018 internal document titled "Moving     Google Custodian                                                 402, 403, LF, MIL                                            Yes
                                                  (Linked Cookie) Lookup from IBA
                                  Server to      "
 PX      898 GOOG-CABR-03655615   January 22, 2019 internal document titled       v2   Google Custodian                                                 402, 403, LF                                                 Yes
                                  Migration in        "
 PX      899 GOOG-CABR-03660070   January 9, 2020 internal document titled "Unifying   Google Custodian                                                 402, 403, LF                                                 Yes
                                  Storage Updates in        Design"
 PX      900 GOOG-CABR-03660852   March 6, 2020 email from Hua Liu regarding "Fill     Google Custodian                                                 402, 403, LF, MIL                                            Yes
                                  in Biscotti fingerprint for             -linked
                                  Biscotti IDs"
 PX      901 GOOG-CABR-03662314   March 2020 internal presentation titled "            Google Custodian                                                 402, 403, LF                                                 Yes
                                  Infrastructure Deep Dive"
 PX      902 GOOG-CABR-03663124   August 30, 2019 internal document titled "Identity   Google Custodian                                                 402, 403, LF                                                 Yes
                                  Infra Overview"
 PX      903 GOOG-CABR-03664108   September 24, 2019 internal document titled          Google Custodian      Admission                                  402, 403, LF, MIL
                                  "Zwieback                  "
 PX      904 GOOG-CABR-03665215   December 9, 2020 internal document titled            Google Custodian                                                 402, 403, LF, MIL                                            Yes
                                  "                     Updates"
 PX      905 GOOG-CABR-03665840   November 2019 internal presentation titled "         Google Custodian      Admission                                  402, 403, LF
                                                    Deep Dive - 2019"
 PX      906 GOOG-CABR-03666135   August 2020 internal document titled "               Google Custodian                                                 402, 403, LF, H                                              Yes
                                          go             -design"
 PX      907 GOOG-CABR-03667863   September 16, 2020 internal document titled "User    Google Custodian                                                 402, 403, DRAFT, LF, H                                       Yes
                                  Identifier Attributes for Display Ads Quality"

 PX      908 GOOG-CABR-03667885   December 2, 2019 internal document titled            Google Custodian                                                 402, 403, LF, H                                              Yes
                                  "                        Migration Design"
 PX      909 GOOG-CABR-03668216   May 4, 2021 internal document titled "Detect 3P-     Google Custodian      Admission                                  402, 403, LF, H, MIL
                                  Cookie-Blocking Browsers Technical Design"

 PX      910 GOOG-CABR-03741379   June 23, 2016 internal document titled "PBS 2017     Google Custodian                                                 402, 403, LF, H, MIL                                         Yes
                                  Business Planning - Programmatic"
 PX      911 GOOG-CABR-03841886   March 30, 2020 internal document titled              Google Custodian                                                 402, 403, LF, H                                              Yes
                                  Infrastructure Overview"
 PX      912 GOOG-CABR-04087253   March 24, 2020 internal document titled "Search      Google Custodian      Admission                                  402, 403, DRAFT, LF, MIL
                                  Incognito IP Address Logging Proposal"

 PX      913 GOOG-CABR-04094733   June 2013 internal presentation titled "Cross-Device Google Custodian                                                 402, 403, LF                                                 Yes
                                  Conversion Tracking Display            )"


 PX      914 GOOG-CABR-04139362   August 31, 2012 internal document titled "DFP        Google Custodian                                                 402, 403, LF                                                 Yes
                                  Premium Audience add-on troubleshooting"

 PX      915 GOOG-CABR-04143124   July 2017 internal document titled "Biscotti Cookie Google Custodian                                                  402, 403, LF                                                 Yes
                                  Attributes Collection in GKS for
                                  Privacy Launch Doc"
 PX      916 GOOG-CABR-04207444   March 29, 2019 internal document titled             Google Custodian                                                  402, 403, LF                                                 Yes
                                  to      migration"
 PX      917 GOOG-CABR-04207799   June 8, 2016 internal document titled "UIS          Google Custodian                                                  402, 403, LF                                                 Yes
                                  Integration with PrivacyRuleEngine"
 PX      918 GOOG-CABR-04409355   January 30, 2017 internal document titled "'One     Google Custodian                                                  402, 403, LF                                                 Yes
                                  Google Tag' options for Cross
                                  Platform/GA               "
 PX      919 GOOG-CABR-04469657   July 13, 2017 internal document titled "GKS         Google Custodian                                                  402, 403, LF, MIL                                            Yes
                                  Biscotti Cookie Attributes"
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  JX   921 GOOG-CABR-04470006     July 16, 2020 internal document titled "Detect 3P    Plaintiffs: Google    Plaintiffs: Admission                      402, 403, Draft, LF, MIL
                                  Cookies Blocking Browsers"                           Custodian             Google: Identification
                                                                                       Google: Psounis
 PX      922 GOOG-CABR-04610209   May 24, 2021 internal document titled "IP + User     Google Custodian                                                 402, 403, LF                                                 Yes
                                  Agent Diversion in Admixer (go/ads-ip-diversion)"

 PX      923 GOOG-CABR-04611027   August 11, 2021 internal presentation titled "Ads    Google Custodian                                                 402, 403, LF                                                 Yes
                                  Privacy - 2022 Strat Plan"
  PX   924 GOOG-CABR-04663978     2021 spreadsheet of Google Products OKRs             Google Custodian                                                 402, 403, LF                                                 Yes
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  PX   926 GOOG-CABR-04696440     June 7, 2021 internal document titled "Building      Google Custodian;                                                402, 403, LF                                                 Yes
                                  towards Complex yet Resilient Identity (go/id-       Chris Liao
                                  combos)"
 JX      927 GOOG-CABR-04704939   April 22, 2021 internal presentation titled          Plaintiffs: Google    Google: Identification                     402, 403, LF               Objections to Google's Use:       Yes
                                  "Conversion Panel Proposal, BAM review"              document custodian                                                                          Foundation; 403 (extrinsic
                                                                                       Google: Strombom                                                                            evidence, Google's MSJ took
                                                                                                                                                                                   position that contract was
                                                                                                                                                                                   unambiguous); 403, 704 (invades
                                                                                                                                                                                   province of the trier of fact);
                                                                                                                                                                                   subject to anticipated MIL.




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         No.                                                                                                                              Admit                                                                 of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                      Only)
 PX      928 GOOG-CABR-04719378   March 25, 2018 internal document titled "Zwieback Google Custodian                                                   402, 403, LF, MIL                                        Yes
                                  Linked ID (formerly Zwieback Global ID)"

 PX      929 GOOG-CABR-04724955   July 9, 2015 internal presentation titled "Exec Google Custodian                                                     402, 403, LF, MIL                                        Yes
                                  Update on Display Measurement OKR (UBM User
                                  Based Measurement)"
 PX      930 GOOG-CABR-04742852   May 7, 2021 email from Linzi Wu regarding       Google Custodian                                                     402, 403, LF                                             Yes
                                  comments to "[Chrome Identity] Proposal Quick
                                  Profile Switch"
 PX      931 GOOG-CABR-04767620   June 8, 2020 internal document titled "Android  Google Custodian                                                     402, 403, LF, MIL                                        Yes
                                  Metrics - Consents & User Data Handling"

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  PX   933 GOOG-CABR-04781974     August 1, 2019 internal document titled "Display     Google Custodian      Admission                                 402, 403, LF, MIL
                                  Ads        Service Integration Experiment"

 PX      934 GOOG-CABR-04795930   March 18, 2020 internal document titled "Thoughts Chris Liao; Chetna                                                 402, 403, LF                                             Yes
                                  on a 'Plan B' for 3P Cookie Deprecation"          Bindra; Google
                                                                                    Custodian
 PX      935 GOOG-CABR-04803103   March 28, 2019 email from Chetna Bindra           Chetna Bindra; Google Admission                                    402, 403, LF, H
                                  regarding "Sundar Debrief Notes"                  Custodian
 PX      936 GOOG-CABR-05296460   February 3, 2021 document/webpage titled          Google Custodian                                                   402, 403, LF, MIL                                        Yes
                                  "Zwieback Privacy and Data Storage Policy"
 PX      937 GOOG-CABR-05757329   May 5, 2021 internal document titled "Detect 3P-  Mandy Liu; Google     Admission                                    402, 403, MIL
                                  Cookie-Blocking Browsers Logging Design"          Custodian

 PX      938 GOOG-CABR-05757346   June 29, 2021 internal document titled "3P-Cookie Mandy Liu; Google        Admission                                 402, 403
                                  Blocking Browsers Monitoring Dashboard"           Custodian

 PX      939 GOOG-CABR-05786200   May 7, 2019 email from Martin Sramek regarding       Rory McClelland;      Admission                                 402, 403, LF, MIL
                                  feedback on a Chrome extension                       Google Custodian
 PX      940 GOOG-CABR-05864771   October 20, 2020 internal presentation "Identity     Google Custodian                                                402, 403, LF                                             Yes
                                  2022 DV3+CM Product Plan"
 PX      941 GOOG-CABR-05865867   March 2015 internal document titled                  Google Custodian                                                402, 403, LF, MIL                                        Yes
                                  + User Sign-in Id for Measurement Design Doc"

 PX      942 GOOG-CABR-05878845   March 2022 internal presentation titled "Biding in   Google Custodian                                                402, 403, LF                                             Yes
                                  Adversarial Auctions (gTrade)"
 PX      943 GOOG-CABR-05886950   March 22, 2019 email from Joshua K. regarding        Chetna Bindra; Google Admission                                 402, 403, H, LF
                                  comments to "         Weekly"                        Custodian
 PX      944 GOOG-CABR-05895730   May 2020 internal presentation titled "Sin Rastro    Google Custodian      Admission                                 402, 403, LF
                                  Product Update"
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  PX   946 GOOG-CALH-00062072     April 22, 2021 document/webpage titled "Zwieback Google Custodian                                                    402, 403, LF, MIL                                        Yes
                                  Storage Service"
 PX      947 GOOG-BRWN-00812712   December 9, 2013 email from Tabriz regarding     Palmer, Tabriz            Admission                                 402, 403, LF, H
                                  interpretations of incognito mode
 PX      948 GOOG-BRWN-00806379   January 28, 2015 email from Tabriz regarding     Palmer, Tabriz            Admission                                 402, 403, LF, H
                                  "HSTS in regular and incognito mode"
 PX      949 GOOG-CABR-04920112   August 25, 2018 email from Tabriz regarding      Felt, Tabriz              Admission                                 402, 403, LF, H
                                  "Chrome Security Offsite" event
 PX      950 GOOG-CABR-05271057   January 29, 2019 email from Tabriz regarding     Adhya, Fair,              Admission                                 402, 403, LF, H, MIL
                                  "Incognito discoverability effort"               McClelland, Mardini,
                                                                                   Shelton, Tabriz

 PX      951                      Excerpt from March 10, 2022 Deposition Chung Tr. Chung                     Admission                                 402, 403, H, LF, MIL,
                                  at 55 19-24                                                                                                          improper exhibit (should have
                                                                                                                                                       included as deposition
                                                                                                                                                       designation)
 PX      952                      Excerpt from March 10, 2022 Deposition Chung Tr. Chung                     Admission                                 402, 403, H, LF, improper
                                  at 142 16-143 3                                                                                                      exhibit (should have included
                                                                                                                                                       as deposition designation)

 PX      953                      Excerpt from March 10, 2022 Deposition Chung Tr. Chung                     Admission                                 402, 403, H, improper exhibit
                                  at 143 8-144 9                                                                                                       (should have included as
                                                                                                                                                       deposition designation)

 PX      954 GOOG-BRWN-00078372   June 1, 2021 internal document titled "Identifiers Google Custodian        Admission                                 402, 403, LF
                                  Handled in     "
 PX      955 GOOG-CABR-04086314   March 26, 2020 internal document titled "Assistant Monsees                 Admission                                 402, 403, LF, Draft
                                  Location          Service Integration"

 PX      956                      February 17, 2023 Google's Letter to Brown &       Google Custodian        Admission                                 402, 403, H, NE, MIL
                                  Calhoun re     Mapping & Linking Tables
 PX      957 GOOG-CABR-03669606   May 18, 2021 internal document titled "AADC Ads Leung, Liao, Google        Admission                                 402, 403, MIL, Draft
                                  State Mapping"                                     Custodian
 PX      958 GOOG-CABR-04761793   May 19, 2021 internal document titled "Field Guide Google Custodian                                                  402, 403, LF                                             Yes
                                  to Display Ads"
 PX      959 GOOG-BRWN-00162235   November 20, 2019 internal presentation titled     Berntson                                                          402, 403, MIL                                            Yes
                                  "Project        Publisher 1P Cookies/IDs
                                  Strategy"
 PX      960 GOOG-BRWN-00727617   November 25, 2019 email from Jensen regarding      Adhya, McClelland,      Admission                                 402, 403, H, LF
                                  “Envoy and Willful IP Blindness”                   Palmer
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  PX   967 GOOG-BRWN-00232201     February 20, 2019 email from Pearson regarding    Google Custodian         Admission                                 402, 403, H, LF
                                  “Privacy Contact Recording Omnibox User Actions
                                  in Incognito”
 PX      968 GOOG-CABR-04420253   October 13, 2020 internal presentation titled     Google Custodian                                                   402, 403, LF                                             Yes
                                  "Adobe Tip Sheet"
 PX      969 GOOG-CABR-04080249   October 20, 2016 internal presentation titled     Google Custodian         Admission                                 402, 403, LF
                                  “Tracking & Collection Overview”
 PX      970 GOOG-CABR-03718295   February 16, 2018 internal presentation titled “A Google Custodian         Admission                                 402, 403, H, LF, draft
                                  Brief History of GTM”
 PX      971 GOOG-CABR-03626440   August 8, 2011 internal document titled “         Google Custodian                                                   402, 403, H, LF, draft                                   Yes
                                            Design”
 PX      972 GOOG-CABR-04082275   December 6, 2017 internal presentation titled “GA Google Custodian                                                   402, 403, LF                                             Yes
                                  for Attribution Lab”




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         No.                                                                                                                                   Admit                                                                         of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                                   Only)
 PX      973 GOOG-BRWN-00043738    February 5, 2021 internal document regarding         Google Custodian         Admission                                  402, 403, LF
                                   "Sending Data to Google Analytics"
 PX      974 GOOG-BRWN-00543304    July 11, 2018 internal presentation titled “User ID- Google Custodian         Admission                                  402, 403, LF
                                   X-Platform”
 PX      975 GOOG-BRWN-00547856    June 20, 2012 internal document titled               Google Custodian         Admission                                  402, 403, H, LF, MIL
                                            Design Document”
 PX      976 GOOG-BRWN-00426704    October 30, 2020 internal document titled            Google Custodian                                                    402, 403, H, LF, MIL                                             Yes
                                   “Remarketing Lists for Search Ads”
 PX      977 GOOG-CABR-04129758    December 8, 2015 internal presentation titled “DRX Berntson                                                              402, 403, LF                                                     Yes
                                   Overview for Nooglers”
 PX      978 GOOG-CABR-04142717    January 16, 2018 internal presentation titled “DRX Google Custodian                                                      402, 403, LF                                                     Yes
                                   Overview”
 PX      979 GOOG-CABR-00400183    September 15, 2017 internal document titled “Mini- Bhatnagar                                                             402, 403, H, LF, Draft                                           Yes
                                   PRD                        for Video Frequency
                                   Capping When 3P Cookies Are Missing"

 PX      980 GOOG-CABR-04774064    March 10, 2020 internal presentation titled “Pub 1P Berntson, Bhatnagar,      Admission                                  402, 403, LF, Draft
                                   Identity + Data (PPID)”                             Liao
 PX      981 GOOG-CABR-03678409    March 1, 2019 internal document titled “Active      Google Custodian                                                     402, 403, H, LF, Draft                                           Yes
                                   View Signals”
 PX      982 GOOG-CABR-00399513    November 12, 2015 internal document titled “Actie Bhatnagar                                                              402, 403, H, LF, Draft                                           Yes
                                   View System”
 PX      983 GOOG-CABR-04782411    October 10, 2014 internal document titled “Comms Google Custodian                                                        402, 403, H, LF, Draft                                           Yes
                                   Active View & Viewability – 2014”

 PX      984 GOOG-CABR-04795482    April 15, 2016 internal presentation titled “Viral   Liao, Google             Admission                                  402, 403, LF, MIL
                                   Signed Out Logging Infra”                            Custodian
 PX      985 GOOG-CABR-03718357    February 25, 2019 internal document titled “AUID     Google Custodian                                                    402, 403, H, LF, Draft                                           Yes
                                   Cookie Proposals”
 PX      986 GOOG-BRWN-00143334    April 16, 2020 internal document titled              Google Custodian         Admission                                  402, 403, H, LF, Draft
                                   “Whitepaper Conversion Modeling”
 PX      987 GOOG-BRWN-00438510    January 17, 2020 email thread regarding             Bindra, Halavati,         Admission                                  402, 403, H, MIL
                                                    sync”                              Leung, Liao,
                                                                                       McClelland
 PX      988 GOOG-CABR-04665148    December 17, 2015 academic article titled “Analysis Google Custodian          Admission                                  402, 403, H, LF
                                   of Privacy of Private Browsing Mode through
                                   Memory Forensics”
 PX      989 GOOG-CABR-04696662    September 5, 2019 internal document titled          Halavati, McClelland,     Admission                                  402, 403, H, Draft
                                   “Encrypted On-Disk Web Platform Storage for         Palmer
                                   Incognito Profiles”
 PX      990 GOOG-CABR-04605197    June 24, 2020 internal document titled “Exploration Bindra                    Admission                                  402, 403, H, LF, Draft
                                   of signals for cookie theft indications”

 PX      991 GOOG-CABR-05270219    July 22, 2019 internal presentation titled “Sin      Adhya, Borsay, Fair,                                                402, 403, LF, H, MIL                                             Yes
                                   Rastro Overview 1P App Giants Coalition”             Mardini, McClelland

 PX      992                       Sarah Perez, “Google s CEO Thinks Android Users Google Custodian              Admission                                  402, 403, H, LF
                                   Know How Much Their Phones Are Tracking
                                   Them,” TechCrunch,
                                   https //techcrunch.com/2018/12/11/google-ceo-
                                   sundar-pichai-thinks-android-users-know-how-
                                   much-their-phones-are-tracking-them
 PX      993                       CBS News, "Google CEO Sundar Pichai questioned Google Custodian               Admission                                  402, 403, H, LF
                                   on tracking of users' locations" YouTube,
                                   https //www.youtube.com/watch?v=iv2BeDqxTEA



 PX      994 GOOG-CABR-00422906    February 23, 2015 internal presentation titled       Borsay, Harris           Admission                                  402, 403, H, LF
                                   "Perceptions of Chrome Incognito"
 PX      995 GOOG-BRWN-00165756    October 28, 2019 internal presentation titled "Sin   Borsay, Halavati,        Admission                                  402, 403, LF, MIL, Draft
                                   Rastro / Chrome (Interaction with Google)"           Mardini

 PX      996 GOOG-CABR-03665962    November 13, 2019 internal presentation titled       Liao, Google             Admission                                  402, 403, LF
                                   "          Linkage Deep Dive"                        Custodian
 PX      997                       Issie Lapowsky, Apple Takes a Swipe at Google in     Google Custodian         Admission                                  402, 403, H, LF
                                   Open Letter on Privacy, Wired (Sept. 10, 2014),
                                   https //www.wired.com/2014/09/apple-privacy-
                                   policy/

 PX      998                       James Cook Google denies tracking of users of    Google Custodian             Admission                                  402, 403, H, LF, MIL
                                   'incognito' private web browsers, The Telegraph
                                   (August 22,2018),
                                   https //www.telegraph.co.uk/technology/2018/08/2
                                   2/google-denies-tracking-people-use-incognito-
                                   private-browsers/
 PX      999 GOOG-BRWN-00641709    May 1, 2019 Presentation Titled                  Google Custodian             Admission                                  402, 403, LF
                                             Tables
 DX      1000 GOOG-CABR-04067825   Google, Internal Presentation, "Consent Bump 2.0 Fair                         Admission                                                             Relevance; Hearsay; Foundation;
                                   for            Launched UX," by Puja Verman and                                                                                                     403 (Narnia discovery previously
                                   Cat Nguyen, updated Jan. 19, 2017                                                                                                                   claimed as privileged); 403
                                                                                                                                                                                       (extrinsic evidence, Google's MSJ
                                                                                                                                                                                       took position that contract was
                                                                                                                                                                                       unambiguous)


 DX      1001 GOOG-CABR-00000505   Google, Chrome Privacy Whitepaper, last modified Felt                         Admission                                                             Relevance; Hearsay; Foundation;
                                   Mar. 6, 2018                                                                                                                                        403 (extrinsic evidence, Google's
                                                                                                                                                                                       MSJ took position that contract was
                                                                                                                                                                                       unambiguous).

 DX      1002 GOOG-CABR-00000430   Google, Chrome Privacy Whitepaper, last modified Felt                         Admission                                                             Relevance; Hearsay; Foundation;
                                   Apr. 17, 2018                                                                                                                                       403 (extrinsic evidence, Google's
                                                                                                                                                                                       MSJ took position that contract was
                                                                                                                                                                                       unambiguous).

 DX      1003 GOOG-CABR-00000455   Google, Chrome Privacy Whitepaper, last modified Felt                         Admission                                                             Relevance; Hearsay; Foundation;
                                   July 19, 2018                                                                                                                                       403 (extrinsic evidence, Google's
                                                                                                                                                                                       MSJ took position that contract was
                                                                                                                                                                                       unambiguous).




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         No.                                                                                                                                Admit                                                                  of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                         Only)
 DX      1004 GOOG-CABR-00000262   Google, Chrome Privacy Whitepaper, last modified Felt                      Admission                                                      Relevance; Hearsay; Foundation;
                                   Sept. 4, 2018                                                                                                                             403 (extrinsic evidence, Google's
                                                                                                                                                                             MSJ took position that contract was
                                                                                                                                                                             unambiguous).

 DX      1005 GOOG-CABR-00057918   Google, Internal Memo, "Joining other data sources Felt/Sadowski           Admission                                                      Relevance; Hearsay; Foundation;
                                   with Chrome UMA," authored by @supertri, dated                                                                                            403 (extrinsic evidence, Google's
                                   Nov. 2018                                                                                                                                 MSJ took position that contract was
                                                                                                                                                                             unambiguous); 403, 704 (invades
                                                                                                                                                                             province of the trier of fact).



 DX      1006 GOOG-CABR-00000290   Google, Chrome Privacy Whitepaper, last modified Felt                      Admission                                                      Relevance; Hearsay; Foundation;
                                   Nov. 11, 2018                                                                                                                             403 (extrinsic evidence, Google's
                                                                                                                                                                             MSJ took position that contract was
                                                                                                                                                                             unambiguous).

 DX      1007 GOOG-CABR-00000150   Google, Chrome Privacy Whitepaper, last modified Felt                      Admission                                                      Relevance; Hearsay; Foundation;
                                   Dec. 5, 2018                                                                                                                              403 (extrinsic evidence, Google's
                                                                                                                                                                             MSJ took position that contract was
                                                                                                                                                                             unambiguous).

 DX      1008 GOOG-CABR-00000122   Google, Chrome Privacy Whitepaper, last modified Felt                      Admission                                                      Relevance; Hearsay; Foundation;
                                   Jan. 19, 2019                                                                                                                             403 (extrinsic evidence, Google's
                                                                                                                                                                             MSJ took position that contract was
                                                                                                                                                                             unambiguous).

 DX      1009 GOOG-CABR-00000066   Google, Chrome Privacy Whitepaper, last modified Felt                      Admission                                                      Relevance; Hearsay; Foundation;
                                   Mar. 12, 2019                                                                                                                             403 (extrinsic evidence, Google's
                                                                                                                                                                             MSJ took position that contract was
                                                                                                                                                                             unambiguous).

 DX      1010 GOOG-CABR-00073875   Google, Internal Policy, "User Data Access Policy" Berntson                Admission                                                      Relevance; Hearsay; Foundation;
                                                                                                                                                                             403 (extrinsic evidence, Google's
                                                                                                                                                                             MSJ took position that contract was
                                                                                                                                                                             unambiguous); 403, 704 (invades
                                                                                                                                                                             province of the trier of fact).



 DX      1011 GOOG-BRWN-00029002   Google, Internal Policy, "Scrubbing Policies for Log Berntson              Admission                                                      Relevance; Hearsay; Foundation;
                                   Data," last edited Nov. 9, 2020                                                                                                           403 (extrinsic evidence, Google's
                                                                                                                                                                             MSJ took position that contract was
                                                                                                                                                                             unambiguous); 403, 704 (invades
                                                                                                                                                                             province of the trier of fact).



 DX      1012                      Redfin, Redfin Privacy Notice, effective Jan. 1,     Brown/Fair            Admission                                                      Relevance; Hearsay; Foundation;
                                   2020 (Exhibit GO -00001 to Chasom Brown                                                                                                   403 (extrinsic evidence, Google's
                                   deposition)                                                                                                                               MSJ took position that contract was
                                                                                                                                                                             unambiguous); Not produced

 DX      1013 GOOG-BRWN-00029326   Google, Internal Policy, "Device/App/Browser         Berntson              Admission                                                      Relevance; Hearsay; Foundation;
                                   Fingerprinting and Immutable Identifiers Policy,"                                                                                         403 (extrinsic evidence, Google's
                                   Jan. 9, 2020, available at go/fingerprintingpolicy                                                                                        MSJ took position that contract was
                                                                                                                                                                             unambiguous); 403, 704 (invades
                                                                                                                                                                             province of the trier of fact).



 DX      1014 GOOG-CALH-00027147   Google, Internal Policy, "Device/App/Browser         Berntson              Admission                                                      Relevance; Hearsay; Foundation;
                                   Fingerprinting and Immutable Identifiers Policy,"                                                                                         403 (extrinsic evidence, Google's
                                   last reviewed Jan. 9, 2020                                                                                                                MSJ took position that contract was
                                                                                                                                                                             unambiguous); 403, 704 (invades
                                                                                                                                                                             province of the trier of fact).



 DX      1015                      Google Chrome and Chrome OS Additional Terms         Fair                  Admission                                                      Relevance; Hearsay; Foundation;
                                   of Service, updated on Mar. 31, 2020                                                                                                      403 (extrinsic evidence, Google's
                                                                                                                                                                             MSJ took position that contract was
                                                                                                                                                                             unambiguous); Not produced

 DX      1016 GOOG-CABR-00087981   Google, Chrome Privacy Whitepaper, last modified Felt                      Admission                                                      Relevance; Hearsay; Foundation;
                                   Apr. 7, 2020                                                                                                                              403 (extrinsic evidence, Google's
                                                                                                                                                                             MSJ took position that contract was
                                                                                                                                                                             unambiguous).

 DX      1017                      Williams Sonoma, Legal Statement Privacy Policy, Trujillo/Fair             Admission                                                      Relevance; Hearsay; Foundation;
                                   last updated June 2020 (Exhibit GO -0001 to                                                                                               403 (extrinsic evidence, Google's
                                   Monique Trujillo deposition)                                                                                                              MSJ took position that contract was
                                                                                                                                                                             unambiguous); Not produced

 DX      1018 GOOG-BRWN-00029004   Google, Internal Policy, "Log Data Usage Rules,"     Berntson              Admission                                                      Relevance; Hearsay; Foundation;
                                   available at go/logs/usage-rules                                                                                                          403 (extrinsic evidence, Google's
                                                                                                                                                                             MSJ took position that contract was
                                                                                                                                                                             unambiguous); 403, 704 (invades
                                                                                                                                                                             province of the trier of fact).



 DX      1019 GOOG-CABR-05424608   Google, Analytics Site showing number of pages       Fair                  Admission                                                      Relevance; Hearsay; Foundation;
                                   views of Google's privacy policy                                                                                                          403 (extrinsic evidence, Google's
                                                                                                                                                                             MSJ took position that contract was
                                                                                                                                                                             unambiguous); 403, 704 (invades
                                                                                                                                                                             province of the trier of fact).



 DX      1020 GOOG-CABR-00048617   Google, Chrome Privacy Whitepaper, last modified Felt                      Admission                                                      Relevance; Hearsay; Foundation;
                                   Sept. 30, 2020                                                                                                                            403 (extrinsic evidence, Google's
                                                                                                                                                                             MSJ took position that contract was
                                                                                                                                                                             unambiguous).




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         No.                                                                                                                                  Admit                                                                  of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                           Only)
 DX      1021 GOOG-CABR-00073880   Google, Internal Privacy Policy, "User Data          Berntson                Admission                                                      Relevance; Hearsay; Foundation;
                                   Retention and Deletion Guidelines" Last reviewed                                                                                            403 (extrinsic evidence, Google's
                                   October 6, 2020                                                                                                                             MSJ took position that contract was
                                                                                                                                                                               unambiguous); 403, 704 (invades
                                                                                                                                                                               province of the trier of fact).



 DX      1022 GOOG-CABR-00073922   Google, Internal Policy, "User Data Retention and    Berntson                Admission                                                      Relevance; Hearsay; Foundation;
                                   Deletion Policy"                                                                                                                            403 (extrinsic evidence, Google's
                                                                                                                                                                               MSJ took position that contract was
                                                                                                                                                                               unambiguous); 403, 704 (invades
                                                                                                                                                                               province of the trier of fact).



 DX      1023 GOOG-CABR-04717190   Google, Internal Guidelines User Data Retention      Berntson                Admission                                                      Relevance; Hearsay; Foundation;
                                   and Deletion Guidelines                                                                                                                     403 (extrinsic evidence, Google's
                                                                                                                                                                               MSJ took position that contract was
                                                                                                                                                                               unambiguous); 403, 704 (invades
                                                                                                                                                                               province of the trier of fact).



 DX      1024 GOOG-CABR-00051478   Google, Internal Policy, "User Data Retention and    Berntson                Admission                                                      Relevance; Hearsay; Foundation;
                                   Deletion Policy," last reviewed Oct. 16, 2020                                                                                               403 (extrinsic evidence, Google's
                                                                                                                                                                               MSJ took position that contract was
                                                                                                                                                                               unambiguous); 403, 704 (invades
                                                                                                                                                                               province of the trier of fact).



 DX      1025 GOOG-BRWN-00008988   Google, Analytics Help Center, "About the User-ID Ganem                      Admission                                                      Relevance; Hearsay; Foundation;
                                   feature,” accessed Nov. 4, 2020                                                                                                             403 (extrinsic evidence, Google's
                                                                                                                                                                               MSJ took position that contract was
                                                                                                                                                                               unambiguous).

 DX      1026 GOOG-CABR-00043362   Google, Chrome Help Center, "How Private             Fair                    Admission                                                      Relevance; Hearsay; Foundation;
                                   Browsing Works in Chrome," accessed Nov. 4,                                                                                                 403 (extrinsic evidence, Google's
                                   2020                                                                                                                                        MSJ took position that contract was
                                                                                                                                                                               unambiguous).

 DX      1027 GOOG-CABR-00040979   Google, Chrome Help Center, "Browse in Private," Fair                        Admission                                                      Relevance; Hearsay; Foundation;
                                   accessed Nov. 4, 2020                                                                                                                       403 (extrinsic evidence, Google's
                                                                                                                                                                               MSJ took position that contract was
                                                                                                                                                                               unambiguous).

 DX      1028 GOOG-CALH-00027152   Google, Internal Webpage, "Scrubbing Policies for    Berntson                Admission                                                      Relevance; Hearsay; Foundation;
                                   Log Data," last edited Nov. 9, 2020                                                                                                         403 (extrinsic evidence, Google's
                                                                                                                                                                               MSJ took position that contract was
                                                                                                                                                                               unambiguous); 403, 704 (invades
                                                                                                                                                                               province of the trier of fact).



 DX      1029 GOOG-CABR-00057779   Google, Internal Webpage, "Chrome Metrics -          Felt/Sadowski           Admission                                                      Relevance; Hearsay; Foundation;
                                   Common Assumption for Analyzing UMA Data"                                                                                                   403 (extrinsic evidence, Google's
                                   Last edited December 16, 2019                                                                                                               MSJ took position that contract was
                                                                                                                                                                               unambiguous); 403, 704 (invades
                                                                                                                                                                               province of the trier of fact).



 DX      1030 GOOG-CABR-00057895   Google, Internal Webpage, "Chrome Metrics -          Felt/Sadowski           Admission                                                      Relevance; Hearsay; Foundation;
                                   Generalizing to the Whole Population" Last edited                                                                                           403 (extrinsic evidence, Google's
                                   December 9, 2020                                                                                                                            MSJ took position that contract was
                                                                                                                                                                               unambiguous); 403, 704 (invades
                                                                                                                                                                               province of the trier of fact).



 DX      1031 GOOG-CABR-00059431   Google, Internal Webpage, "Ads Log Types" Last       Berntson                Admission                                                      Relevance; Hearsay; Foundation;
                                   edited December 14, 2020                                                                                                                    403 (extrinsic evidence, Google's
                                                                                                                                                                               MSJ took position that contract was
                                                                                                                                                                               unambiguous); 403, 704 (invades
                                                                                                                                                                               province of the trier of fact).



 DX      1032 GOOG-CABR-00058926   Google, Internal Presentation, "DRX Identity         Berntson                Admission                                                      Relevance; Hearsay; Foundation;
                                   Knowledge Share"                                                                                                                            403 (extrinsic evidence, Google's
                                                                                                                                                                               MSJ took position that contract was
                                                                                                                                                                               unambiguous); 403, 704 (invades
                                                                                                                                                                               province of the trier of fact).



 DX      1033                      Google Chrome and Chrome OS Additional Terms         Fair                    Admission                                                      Relevance; Hearsay; Foundation;
                                   of Service, last modified Jan. 1, 2021                                                                                                      403 (extrinsic evidence, Google's
                                                                                                                                                                               MSJ took position that contract was
                                                                                                                                                                               unambiguous); Not produced

 DX      1034 GOOG-CABR-00078808   Google, Privacy Policy, last modified Feb. 4, 2021   Fair                    Admission                 Yes                                  None

 DX      1035                      Google, Chrome Privacy Whitepaper, last modified Felt                        Admission                                                      Relevance; Hearsay; Foundation;
                                   Feb. 4, 2021                                                                                                                                403 (extrinsic evidence, Google's
                                                                                                                                                                               MSJ took position that contract was
                                                                                                                                                                               unambiguous); Not produced

 DX      1036 GOOG-CABR-05466323   Google, Internal Presentation, "Team Deep Dive Q4 Berntson                   Admission                                                      Relevance; Hearsay; Foundation;
                                   2020 - Ads Identity & Infrastructure"                                                                                                       403 (extrinsic evidence, Google's
                                                                                                                                                                               MSJ took position that contract was
                                                                                                                                                                               unambiguous); 403, 704 (invades
                                                                                                                                                                               province of the trier of fact).



 DX      1037 GOOG-BRWN-00030964   Google Subscriber Information - Account              Fair                    Admission                 Yes                                  None

 DX      1038 GOOG-BRWN-00030104   Google Subscriber Information - Account              Fair                    Admission                 Yes                                  None




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         No.                                                                                                                                  Admit                                                                  of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                           Only)
 DX      1039 GOOG-BRWN-00029466   Google Subscriber Information - Account              Fair                    Admission                 Yes                                  None

 DX      1040 GOOG-CABR-04720562   Google, Internal Policy, "Digital Fingerprinting and Berntson                Admission                                                      Relevance; Hearsay; Foundation;
                                   Immutable Identifiers Policy" Last Review May 19,                                                                                           403 (extrinsic evidence, Google's
                                   2021                                                                                                                                        MSJ took position that contract was
                                                                                                                                                                               unambiguous); 403, 704 (invades
                                                                                                                                                                               province of the trier of fact).



 DX      1041 GOOG-BRWN-00229529   Google Subscriber Information - Account              Fair                    Admission                 Yes                                  None

 DX      1042 GOOG-BRWN-00229514   Google Subscriber Information - Account              Fair                    Admission                 Yes                                  None

 DX      1043                      The New York Times, Company Privacy Policy, last Byatt/Fair                  Admission                                                      Relevance; Hearsay; Foundation;
                                   updated July 1, 2021 (Exhibit GO-0002 to William                                                                                            403 (extrinsic evidence, Google's
                                   Byatt deposition)                                                                                                                           MSJ took position that contract was
                                                                                                                                                                               unambiguous); Not produced

 DX      1044 GOOG-CABR-04989768   Google, Privacy Policy, last modified July 1, 2021   Fair                    Admission                 Yes                                  None

 DX      1045 GOOG-CABR-05435660   Google, Identity Campaign, "Campaign Overview"       Fair                    Admission                                                      Relevance; Hearsay; Foundation;
                                   showing CB2 "agree" and "sign-up" decisions in                                                                                              403 (extrinsic evidence, Google's
                                   United States                                                                                                                               MSJ took position that contract was
                                                                                                                                                                               unambiguous); 403, 704 (invades
                                                                                                                                                                               province of the trier of fact).



 DX      1046 GOOG-CABR-05424629   Google, Identity Campaign, "Campaign Overview"       Fair                    Admission                                                      Relevance; Hearsay; Foundation;
                                   showing CB2 impressions sliced by decision                                                                                                  403 (extrinsic evidence, Google's
                                                                                                                                                                               MSJ took position that contract was
                                                                                                                                                                               unambiguous); 403, 704 (invades
                                                                                                                                                                               province of the trier of fact).



 DX      1047 GOOG-CABR-05876957   Google, Measurement of Views of Google Help          Fair/Sadowski           Admission                                                      Relevance; Hearsay; Foundation;
                                   Pages between July 1, 2017 and Jan. 1, 2022                                                                                                 403 (extrinsic evidence, Google's
                                                                                                                                                                               MSJ took position that contract was
                                                                                                                                                                               unambiguous); 403, 704 (invades
                                                                                                                                                                               province of the trier of fact).



 DX      1048                      CoinMarketCap, Privacy and Cookie Policy,            Davis/Fair              Admission                                                      Relevance; Hearsay; Foundation;
                                   accessed on Jan. 5, 2022 (Exhibit GO- 0004 to                                                                                               403 (extrinsic evidence, Google's
                                   Jeremy Davis disposition)                                                                                                                   MSJ took position that contract was
                                                                                                                                                                               unambiguous); Not produced

 DX      1049                      Google, Support Center, "Browse in Private,”         Fair                    Admission                                                      Relevance; Hearsay; Foundation;
                                   available at                                                                                                                                403 (extrinsic evidence, Google's
                                   https //support.google.com/chrome/answer/95464                                                                                              MSJ took position that contract was
                                                                                                                                                                               unambiguous); Not produced

 DX      1050                      Google, Chrome Help Center, "How private        Fair                         Admission                                                      Relevance; Hearsay; Foundation;
                                   browsing works in Chrome,” available at                                                                                                     403 (extrinsic evidence, Google's
                                   https //support.google.com/chrome/answer/744030                                                                                             MSJ took position that contract was
                                   1                                                                                                                                           unambiguous); Not produced

 DX      1051 GOOG-CABR-04981576   New Account Creation Agreement for Google      Fair                          Admission                                                      None
                                   Accountholders
 DX      1052 GOOG-CABR-05435660   Google, "Identity Campaign Campaign Overview," Fair/Sadowski                 Admission                                                      None
                                   Statistics representing users who selected "I
                                   AGREE" to the New Account Creation Agreement
                                   for Google Accountholders

 DX      1053                      Google, Analytics Help Center, “About the User-ID Ganem                      Admission                                                      Relevance; Hearsay; Foundation;
                                   feature,” available at                                                                                                                      403 (extrinsic evidence, Google's
                                   https //support.google.com/analytics/answer/31236                                                                                           MSJ took position that contract was
                                   62?hl=en&ref_topic=3123660                                                                                                                  unambiguous); Not produced

 DX      1054                      Google, Help Center, "Find & Control Your Web & Fair                         Admission                                                      Relevance; Hearsay; Foundation;
                                   App Activity,” available at                                                                                                                 403 (extrinsic evidence, Google's
                                   https //support.google.com/websearch/answer/5406                                                                                            MSJ took position that contract was
                                   8?hl=en&co=GENIE.Platform%3DDesktop                                                                                                         unambiguous); 403 (WAA not at
                                                                                                                                                                               issue in this case); Not produced



 DX      1055                      Google, Help Center, "How Private Browsing        Fair                       Admission                                                      Relevance; Hearsay; Foundation;
                                   Works in Chrome” (Mobile), accessed July 6, 2020,                                                                                           403 (extrinsic evidence, Google's
                                   available at                                                                                                                                MSJ took position that contract was
                                   https //web.archive.org/web/20200706003245/https                                                                                            unambiguous); Not produced
                                    /support.google.com/chrome/answer/7440301?co=
                                   GENIE.Platform%3DiOS&oco=1
 DX      1056                      Steinmetz, Katy, “These Companies Have the Best Fair                         Admission                                                      Relevance; Hearsay; Foundation;
                                   (And Worst) Privacy Policies,” Aug. 6, 2015, Time,                                                                                          403 (extrinsic evidence, Google's
                                   available at https //perma.cc/9QEY-EZG2                                                                                                     MSJ took position that contract was
                                                                                                                                                                               unambiguous); Not produced

 DX      1057                      Google, Ads Help Center, “Why you re seeing an       Berntson                Admission                                                      Relevance; Hearsay; Foundation;
                                   ad,” available at https //perma.cc/M4YC-J5QK                                                                                                403 (extrinsic evidence, Google's
                                                                                                                                                                               MSJ took position that contract was
                                                                                                                                                                               unambiguous); Not produced

 DX      1058                      Google, "Settings for Ads Personalization,"          Berntson                Admission                                                      Relevance; Hearsay; Foundation;
                                   available at                                                                                                                                403 (extrinsic evidence, Google's
                                   https //perma.cc/PZ2N-GGQN                                                                                                                  MSJ took position that contract was
                                                                                                                                                                               unambiguous); Not produced

 DX      1059                      Google, Ad Manager Help Center, "About publisher Berntson                    Admission                                                      Relevance; Hearsay; Foundation;
                                   provided identifiers,” available at                                                                                                         403 (extrinsic evidence, Google's
                                   https //perma.cc/H8L4-FYTM, (last visited June 6,                                                                                           MSJ took position that contract was
                                   2022)                                                                                                                                       unambiguous); Not produced




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         No.                                                                                                                         Admit                                                                  of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                  Only)
 DX      1060                 Google Ads Help Center, "Manual CPC bidding,"       Fair                  Admission                                                     Relevance; Hearsay; Foundation;
                              available at https //perma.cc/6SHE-ZHHE                                                                                                 403 (extrinsic evidence, Google's
                                                                                                                                                                      MSJ took position that contract was
                                                                                                                                                                      unambiguous); Not produced

 DX      1061                 Google, Chrome Help Center, "How private            Fair                  Admission                                                     Relevance; Hearsay; Foundation;
                              browsing works in Chrome, available at                                                                                                  403 (extrinsic evidence, Google's
                              https //perma.cc/Q5JW-H45J                                                                                                              MSJ took position that contract was
                                                                                                                                                                      unambiguous); Not produced

 DX      1062                 Google Ad Manager Help Page, AdChoices for the      Berntson              Admission                                                     Relevance; Hearsay; Foundation;
                              Google Display Network, available at                                                                                                    403 (extrinsic evidence, Google's
                              https //perma.cc/XX3X-M6N9                                                                                                              MSJ took position that contract was
                                                                                                                                                                      unambiguous); Not produced

 DX      1063                 Google, Analytics Help Center, "Universal Analytics Fair                  Admission                                                     Relevance; Hearsay; Foundation;
                              will be going away,” available at                                                                                                       403 (extrinsic evidence, Google's
                              https //support.google.com/analytics/answer/11583                                                                                       MSJ took position that contract was
                              528?hl=en                                                                                                                               unambiguous); Not produced

 DX      1064                 Google, Analytics Help Center, "[GA4] Activate     Ganem                  Admission                                                     Relevance; Hearsay; Foundation;
                              Google signals for Google Analytics 4 properties,”                                                                                      403 (extrinsic evidence, Google's
                              available at                                                                                                                            MSJ took position that contract was
                              https //support.google.com/analytics/answer/94453                                                                                       unambiguous); Not produced
                              45?hl=en
 DX      1065                 Google, Analytics Help Center, "[GA4] Link Google Ganem                   Admission                                                     Relevance; Hearsay; Foundation;
                              Ads and Analytics,” available at                                                                                                        403 (extrinsic evidence, Google's
                              https //support.google.com/analytics/answer/93794                                                                                       MSJ took position that contract was
                              20?hl=en                                                                                                                                unambiguous); Not produced

 DX      1066                 Google, Analytics Help Center, "[GA4] Measure     Ganem                   Admission                                                     Relevance; Hearsay; Foundation;
                              activity across platforms,” available at                                                                                                403 (extrinsic evidence, Google's
                              https //support.google.com/analytics/answer/92133                                                                                       MSJ took position that contract was
                              90?hl=en                                                                                                                                unambiguous); Not produced

 DX      1067                 Google, Analytics Help Center, "About Advertising Ganem                   Admission                                                     Relevance; Hearsay; Foundation;
                              Features,” available at                                                                                                                 403 (extrinsic evidence, Google's
                              https //support.google.com/analytics/answer/34504                                                                                       MSJ took position that contract was
                              82                                                                                                                                      unambiguous); Not produced

 DX      1068                 Google, Ads Help Center, “About enhanced            Ganem                 Admission                                                     Relevance; Hearsay; Foundation;
                              conversions,” available at https //perma.cc/6UH8-                                                                                       403 (extrinsic evidence, Google's
                              9Q7X                                                                                                                                    MSJ took position that contract was
                                                                                                                                                                      unambiguous); Not produced

 DX      1069                 CookiePro Knowledgebase, "What is a First-Party     Berntson              Admission                                                     Relevance; Hearsay; Foundation;
                              Cookie?” Sept. 17, 2021, available at                                                                                                   403 (extrinsic evidence, Google's
                              https //www.cookiepro.com/knowledge/what-is-a-                                                                                          MSJ took position that contract was
                              first-party-cookie/                                                                                                                     unambiguous); Not produced

 DX      1070                 Google, Ad Manager Help Center, “About publisher Berntson                 Admission                                                     Relevance; Hearsay; Foundation;
                              provided identifiers,” available at                                                                                                     403 (extrinsic evidence, Google's
                              https //perma.cc/P6WG-YX4S                                                                                                              MSJ took position that contract was
                                                                                                                                                                      unambiguous); Not produced

 DX      1071                 Google, Analytics Help Center, "About the User-ID Ganem                   Admission                                                     Relevance; Hearsay; Foundation;
                              feature,” available at                                                                                                                  403 (extrinsic evidence, Google's
                              https //support.google.com/analytics/answer/31236                                                                                       MSJ took position that contract was
                              62#zippy=%2Cin-this-article                                                                                                             unambiguous).

 DX      1072                 Google, Analytics Help Center, "Activate Google   Ganem                   Admission                                                     Relevance; Hearsay; Foundation;
                              signals,” available at                                                                                                                  403 (extrinsic evidence, Google's
                              https //support.google.com/analytics/answer/75329                                                                                       MSJ took position that contract was
                              85                                                                                                                                      unambiguous); Not produced

 DX      1073                 Google, Ad Manager Help Center, "Ad Choices for Berntson                  Admission                                                     Relevance; Hearsay; Foundation;
                              the Google Display Network,” available at                                                                                               403 (extrinsic evidence, Google's
                              https //support.google.com/admanager/answer/2695                                                                                        MSJ took position that contract was
                              279?hl=en                                                                                                                               unambiguous); Not produced

 DX      1074                 Google, Ad Manager Help Center, "Ad               Berntson                Admission                                                     Relevance; Hearsay; Foundation;
                              personalization settings in Google s publisher ad                                                                                       403 (extrinsic evidence, Google's
                              tags,” available at                                                                                                                     MSJ took position that contract was
                              https //support.google.com/admanager/answer/7678                                                                                        unambiguous); Not produced
                              538.
 DX      1075                 Google, Ad Manager Help Center, "Ad selection    Berntson                 Admission                                                     Relevance; Hearsay; Foundation;
                              white paper,” available at                                                                                                              403 (extrinsic evidence, Google's
                              https //support.google.com/admanager/answer/1143                                                                                        MSJ took position that contract was
                              651#zippy=%2Csummary-of-data-typestable                                                                                                 unambiguous); Not produced

 DX      1076                 Google, Publisher Tag Guide, "Ad sizes,” available Berntson               Admission                                                     Relevance; Hearsay; Foundation;
                              at https //developers.google.com/publisher-                                                                                             403 (extrinsic evidence, Google's
                              tag/guides/ad-sizes                                                                                                                     MSJ took position that contract was
                                                                                                                                                                      unambiguous); Not produced

 DX      1077                 Google, Analytics Developer Guide, "Add gtag.js to Ganem                  Admission                                                     Relevance; Hearsay; Foundation;
                              your site,” available at                                                                                                                403 (extrinsic evidence, Google's
                              https //developers.google.com/analytics/devguides/c                                                                                     MSJ took position that contract was
                              ollection/gtagjs                                                                                                                        unambiguous); Not produced

 DX      1078                 Google, Ad Manager Help Center, "Advertising with Berntson                Admission                                                     Relevance; Hearsay; Foundation;
                              Google Ad Manager,” available at                                                                                                        403 (extrinsic evidence, Google's
                              https //support.google.com/admanager/answer/6022                                                                                        MSJ took position that contract was
                              000?hl=en                                                                                                                               unambiguous); Not produced

 DX      1079                 Google, Chrome Enterprise and Education Help     Fair                     Admission                                                     Relevance; Hearsay; Foundation;
                              Center, "Allow private browsing,” available at                                                                                          403 (extrinsic evidence, Google's
                              https //support.google.com/chrome/a/answer/93028                                                                                        MSJ took position that contract was
                              96?hl=en                                                                                                                                unambiguous); Not produced




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         No.                                                                                                                         Admit                                                                  of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                  Only)
 DX      1080                 Google, My Ad Center Help Center, "Block certain Berntson                 Admission                                                     Relevance; Hearsay; Foundation;
                              ads,” available at                                                                                                                      403 (extrinsic evidence, Google's
                              https //support.google.com/ads/answer/2662922?hl                                                                                        MSJ took position that contract was
                              =en                                                                                                                                     unambiguous); Not produced

 DX      1081                 Google, Chrome Help Center, “Choose your privacy Fair                     Admission                                                     Relevance; Hearsay; Foundation;
                              settings,” available at                                                                                                                 403 (extrinsic evidence, Google's
                              https //support.google.com/chrome/answer/114836                                                                                         MSJ took position that contract was
                              ?hl=en&co=GENIE.Platform%3DDesktop                                                                                                      unambiguous); Not produced

 DX      1082                 Google, Analytics Developer Guide, "Cookies and Ganem                     Admission                                                     Relevance; Hearsay; Foundation;
                              user identification with gtag.js,” available at                                                                                         403 (extrinsic evidence, Google's
                              https //developers.google.com/analytics/devguides/c                                                                                     MSJ took position that contract was
                              ollection/gtagjs/cookies-user-id                                                                                                        unambiguous); Not produced

 DX      1083                 Google, Analytics Developer Guide, "Cookies and Ganem                     Admission                                                     Relevance; Hearsay; Foundation;
                              User Identification,” available at                                                                                                      403 (extrinsic evidence, Google's
                              https //developers.google.com/analytics/devguides/c                                                                                     MSJ took position that contract was
                              ollection/analyticsjs/cookies-user-id                                                                                                   unambiguous); Not produced

 DX      1084                 Google, Analytics Developer Guide, "Disable         Ganem                 Admission                                                     Relevance; Hearsay; Foundation;
                              Google Analytics measurement,” available at                                                                                             403 (extrinsic evidence, Google's
                              https //developers.google.com/analytics/devguides/c                                                                                     MSJ took position that contract was
                              ollection/gtagjs/user-opt-out                                                                                                           unambiguous); Not produced

 DX      1085                 Google, Analytics Help Center, "Enable            Ganem                   Admission                                                     Relevance; Hearsay; Foundation;
                              Remarketing and Advertising Reporting Features in                                                                                       403 (extrinsic evidence, Google's
                              Analytics,” available at                                                                                                                MSJ took position that contract was
                              https //support.google.com/analytics/answer/24448                                                                                       unambiguous); Not produced
                              72
 DX      1086                 Google, Ad Manager Help Center, "Get started with Berntson                Admission                                                     Relevance; Hearsay; Foundation;
                              ads in Google, Ad Manager,” available at                                                                                                403 (extrinsic evidence, Google's
                              https //support.google.com/admanager/answer/6027                                                                                        MSJ took position that contract was
                              116?hl=en&ref_topic=7506292                                                                                                             unambiguous); Not produced

 DX      1087                 Google, Publisher Tag Developer Guide, “Get         Berntson              Admission                                                     Relevance; Hearsay; Foundation;
                              Started with Google Publisher Tags,” available at                                                                                       403 (extrinsic evidence, Google's
                              https //developers.google.com/publisher-                                                                                                MSJ took position that contract was
                              tag/guides/get-started                                                                                                                  unambiguous); Not produced

 DX      1088                 Google, Analytics Developer Guide, "Google          Ganem                 Admission                                                     Relevance; Hearsay; Foundation;
                              Analytics 4 SDK, and User ID Feature Policy,”                                                                                           403 (extrinsic evidence, Google's
                              available at                                                                                                                            MSJ took position that contract was
                              https //developers.google.com/analytics/devguides/c                                                                                     unambiguous); Not produced
                              ollection/ga4/policy
 DX      1089                 Google, Tag Manager Help Center, “Google         Ganem                    Admission                                                     Relevance; Hearsay; Foundation;
                              Analytics 4 tags,” available at                                                                                                         403 (extrinsic evidence, Google's
                              https //support.google.com/tagmanager/answer/944                                                                                        MSJ took position that contract was
                              2095                                                                                                                                    unambiguous); Not produced

 DX      1090                 Google, Analytics Developer Guide, "Google          Ganem                 Admission                                                     Relevance; Hearsay; Foundation;
                              Analytics Cookie Usage on Websites,” available at                                                                                       403 (extrinsic evidence, Google's
                              https //developers.google.com/analytics/devguides/c                                                                                     MSJ took position that contract was
                              ollection/gtagjs/cookie-usage                                                                                                           unambiguous); Not produced

 DX      1091                 Google, Chrome Web Store, "Google Analytics Opt- Ganem                    Admission                                                     Relevance; Hearsay; Foundation;
                              out Add-on (by Google),” available at                                                                                                   403 (extrinsic evidence, Google's
                              https //chrome.google.com/webstore/detail/google-                                                                                       MSJ took position that contract was
                              analytics-                                                                                                                              unambiguous); Not produced
                              optout/fllaojicojecljbmefodhfapmkghcbnh?hl=en



 DX      1092                 Google, Tools, "Google Analytics Opt-out Browser Ganem                    Admission                                                     Relevance; Hearsay; Foundation;
                              Add-on,” available at                                                                                                                   403 (extrinsic evidence, Google's
                              https //tools.google.com/dlpage/gaoptout/                                                                                               MSJ took position that contract was
                                                                                                                                                                      unambiguous); Not produced

 DX      1093                 AdGuard, “AdGuard,” available at                    Ganem, Zervas         Admission                                                     Relevance; Hearsay; Foundation;
                              https //adguard.com/en/welcome.html                                                                                                     403 (extrinsic evidence, Google's
                                                                                                                                                                      MSJ took position that contract was
                                                                                                                                                                      unambiguous); Not produced

 DX      1094                 Google, Ad Manager Help Center, "Google          Berntson                 Admission                                                     Relevance; Hearsay; Foundation;
                              Publisher Policies,” available at                                                                                                       403 (extrinsic evidence, Google's
                              https //support.google.com/admanager/answer/1050                                                                                        MSJ took position that contract was
                              2938?                                                                                                                                   unambiguous); Not produced

 DX      1095                 Google, Ad Manager Help Center, "Google             Berntson              Admission                                                     Relevance; Hearsay; Foundation;
                              Publisher Policies Privacy-related policies Privacy                                                                                     403 (extrinsic evidence, Google's
                              disclosures,” available at https //perma.cc/G2FU-                                                                                       MSJ took position that contract was
                              Z7PK                                                                                                                                    unambiguous); Not produced

 DX      1096                 Google, Analytics Developer Guide, "Hello           Ganem                 Admission                                                     Relevance; Hearsay; Foundation;
                              Analytics API JavaScript quickstart for web                                                                                             403 (extrinsic evidence, Google's
                              applications,” available at                                                                                                             MSJ took position that contract was
                              https //developers.google.com/analytics/devguides/c                                                                                     unambiguous); Not produced
                              onfig/mgmt/v3/quickstart/web-js
 DX      1097                 Google Privacy & Terms, "How Google uses            Fair                  Admission                Yes                                  Relevance; Hearsay; Foundation;
                              information from sites or apps that use our                                                                                             403 (extrinsic evidence, Google's
                              services,” available at                                                                                                                 MSJ took position that contract was
                              https //policies.google.com/technologies/partner-                                                                                       unambiguous); Not produced
                              sites
 DX      1098                 Google, Chrome Help Center, “How private        Fair                      Admission                                                     Relevance; Hearsay; Foundation;
                              browsing works in Chrome,” available at                                                                                                 403 (extrinsic evidence, Google's
                              https //support.google.com/chrome/answer/744030                                                                                         MSJ took position that contract was
                              1?hl=en&ref_topic=9845306                                                                                                               unambiguous); Not produced




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         No.                                                                                                                         Admit                                                                  of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                  Only)
 DX      1099                 Google, Chrome Help Center, "How private         Fair                     Admission                                                     Relevance; Hearsay; Foundation;
                              browsing works,” archived by the Wayback                                                                                                Authenticity; 403 (extrinsic
                              Machine, May 3, 2020, available at                                                                                                      evidence, Google's MSJ took
                              https //web.archive.org/web/20200503180118/https                                                                                        position that contract was
                               //support.google.com/chrome/?p=incognito                                                                                               unambiguous); Not produced

 DX      1100                 Google, Chrome Web Store, "IBA Opt-out (by         Fair                   Admission                                                     Relevance; Hearsay; Foundation;
                              Google),” available at                                                                                                                  403 (extrinsic evidence, Google's
                              https //chrome.google.com/webstore/detail/iba-opt-                                                                                      MSJ took position that contract was
                              out-                                                                                                                                    unambiguous); Not produced
                              bygoogle/gbiekjoijknlhijdjbaadobpkdhmoebb?hl=en

 DX      1101                 Google Chrome Developer Guide, "Inspect network Fair                      Admission                                                     Relevance; Hearsay; Foundation;
                              activity,” Feb. 8, 2019, available at                                                                                                   403 (extrinsic evidence, Google's
                              https //perma.cc/96JX-HTQF                                                                                                              MSJ took position that contract was
                                                                                                                                                                      unambiguous); Not produced

 DX      1102                 Google, Analytics Help Center, "IP Anonymization Ganem                    Admission                                                     Relevance; Hearsay; Foundation;
                              (or IP masking) in Google Analytics,” available at                                                                                      403 (extrinsic evidence, Google's
                              https //support.google.com/analytics/answer/27630                                                                                       MSJ took position that contract was
                              52                                                                                                                                      unambiguous); Not produced

 DX      1103                 Google, Analytics Developer Guide, "Learn about Ganem                     Admission                                                     Relevance; Hearsay; Foundation;
                              Google Analytics,” available at                                                                                                         403 (extrinsic evidence, Google's
                              https //developers.google.com/analytics/devguides/p                                                                                     MSJ took position that contract was
                              latform                                                                                                                                 unambiguous); Not produced

 DX      1104                 Google, Ad Manager Help Center, "Limited Ads,”      Berntson              Admission                                                     Relevance; Hearsay; Foundation;
                              available at https //perma.cc/MT25-D2C3                                                                                                 403 (extrinsic evidence, Google's
                                                                                                                                                                      MSJ took position that contract was
                                                                                                                                                                      unambiguous); Not produced

 DX      1105                 Google, Analytics Help Center, "Limits of User-ID   Ganem                 Admission                                                     Relevance; Hearsay; Foundation;
                              view & Cross Device reports,” available at                                                                                              403 (extrinsic evidence, Google's
                              https //perma.cc/BAM5-AYUB                                                                                                              MSJ took position that contract was
                                                                                                                                                                      unambiguous); Not produced

 DX      1106                 Google, Analytics Developer Guide, "Manage user Ganem                     Admission                                                     Relevance; Hearsay; Foundation;
                              privacy,” available at https //perma.cc/PVW7-EBB2                                                                                       403 (extrinsic evidence, Google's
                                                                                                                                                                      MSJ took position that contract was
                                                                                                                                                                      unambiguous); Not produced

 DX      1107                 Google, Tag Platform Developer Guide, "Manage Berntson                    Admission                                                     Relevance; Hearsay; Foundation;
                              user privacy,” available at                                                                                                             403 (extrinsic evidence, Google's
                              https //developers.google.com/tagplatform/devguide                                                                                      MSJ took position that contract was
                              s/privacy                                                                                                                               unambiguous); Not produced

 DX      1108                 Google, Analytics Developer Guide, "Measurement Ganem                     Admission                                                     Relevance; Hearsay; Foundation;
                              Protocol, SDK, and User ID Feature Policy,”                                                                                             403 (extrinsic evidence, Google's
                              available at                                                                                                                            MSJ took position that contract was
                              https //developers.google.com/analytics/devguides/c                                                                                     unambiguous); Not produced
                              ollection/protocol/ga4/policy
 DX      1109                 Google, Analytics Developer Guide, "Migrate from Ganem                    Admission                                                     Relevance; Hearsay; Foundation;
                              analytics.js to gtag.js (Universal Analytics),”                                                                                         403 (extrinsic evidence, Google's
                              available at                                                                                                                            MSJ took position that contract was
                              https //developers.google.com/analytics/devguides/                                                                                      unambiguous); Not produced
                              migration/ua/analyticsjs-to-gtagjs
 DX      1110                 Google, Ad Manager Help Center, "Personalized and Berntson                Admission                                                     Relevance; Hearsay; Foundation;
                              non-personalized Ads,” available at                                                                                                     403 (extrinsic evidence, Google's
                              https //support.google.com/admanager/answer/9005                                                                                        MSJ took position that contract was
                              435                                                                                                                                     unambiguous); Not produced

 DX      1111                 Google, Analytics Help Center, “Policy            Ganem                   Admission                                                     Relevance; Hearsay; Foundation;
                              requirements for Google Analytics Advertising                                                                                           403 (extrinsic evidence, Google's
                              Features,” available at                                                                                                                 MSJ took position that contract was
                              https //support.google.com/analytics/answer/27004                                                                                       unambiguous); Not produced
                              09
 DX      1112                 Google, Ad Manager Help Center, "Restricted data Berntson                 Admission                                                     Relevance; Hearsay; Foundation;
                              processing (CCPA) settings in Google s publisher                                                                                        403 (extrinsic evidence, Google's
                              ad tags,” available at                                                                                                                  MSJ took position that contract was
                              https //support.google.com/admanager/answer/9598                                                                                        unambiguous); Not produced
                              414#other-tags.
 DX      1113                 Google, Analytics Help Center, "Safeguarding your Ganem                   Admission                                                     Relevance; Hearsay; Foundation;
                              data,” available at                                                                                                                     403 (extrinsic evidence, Google's
                              https //support.google.com/analytics/answer/60042                                                                                       MSJ took position that contract was
                              45                                                                                                                                      unambiguous); Not produced

 DX      1114                 Google, Ads Help Center “Set up enhanced            Berntson              Admission                                                     Relevance; Hearsay; Foundation;
                              conversions for web manually with Google Tag                                                                                            403 (extrinsic evidence, Google's
                              Manager,” available at https //perma.cc/CR99-                                                                                           MSJ took position that contract was
                              8WUE                                                                                                                                    unambiguous); Not produced

 DX      1115                 Google, Tag Manager Help Center “Tag Manager Berntson                     Admission                                                     Relevance; Hearsay; Foundation;
                              overview,” available at                                                                                                                 403 (extrinsic evidence, Google's
                              https //support.google.com/tagmanager/answer/610                                                                                        MSJ took position that contract was
                              2821?hl=en                                                                                                                              unambiguous); Not produced

 DX      1116                 Google, “Protecting your privacy online,” The       Berntson              Admission                                                     Relevance; Hearsay; Foundation;
                              Privacy Sandbox, available at                                                                                                           403 (extrinsic evidence, Google's
                              https //perma.cc/C2TM-927B                                                                                                              MSJ took position that contract was
                                                                                                                                                                      unambiguous); Not produced

 DX      1117                 Google, Analytics Help Center “User-ID limits,”     Ganem                 Admission                                                     Relevance; Hearsay; Foundation;
                              available at https //perma.cc/V6BT-9A8X                                                                                                 403 (extrinsic evidence, Google's
                                                                                                                                                                      MSJ took position that contract was
                                                                                                                                                                      unambiguous); Not produced

 DX      1118                 Google, Ad Manager Help Center, "About privacy & Ganem                    Admission                                                     Relevance; Hearsay; Foundation;
                              messaging,” available at                                                                                                                403 (extrinsic evidence, Google's
                              https //support.google.com/admanager/answer/1007                                                                                        MSJ took position that contract was
                              5997?hl=en                                                                                                                              unambiguous); Not produced




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         No.                                                                                                                               Admit                                                                  of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                        Only)
 DX      1119                      Scott Herman, “Measure conversions while           Fair                    Admission                                                     Relevance; Hearsay; Foundation;
                                   respecting user consent choices,” Google Marketing                                                                                       403 (extrinsic evidence, Google's
                                   Platform, Sept. 3, 2020, available at                                                                                                    MSJ took position that contract was
                                   https //blog.google/products/marketingplatform/360                                                                                       unambiguous); Not produced
                                   /measureconversions-while-respecting-user-consent-
                                   choices/


 DX      1120                      Google, Analytics Developer Guide, "Manage user Ganem                      Admission                                                     Relevance; Hearsay; Foundation;
                                   privacy," available at https //perma.cc/PVW7-EBB2                                                                                        403 (extrinsic evidence, Google's
                                                                                                                                                                            MSJ took position that contract was
                                                                                                                                                                            unambiguous); Not produced

 DX      1121                      Google Chrome The Keyword Blog Post by              Ganem                  Admission                                                     Relevance; Hearsay; Foundation;
                                   AbdelKarim Mardini “More intuitive privacy and                                                                                           403 (extrinsic evidence, Google's
                                   security controls in Chrome,” May 19, 2020,                                                                                              MSJ took position that contract was
                                   available at                                                                                                                             unambiguous); Not produced
                                   https //blog.google/products/chrome/more-intuitive-
                                   privacy-and-security-controls-chrome/


 DX      1122                      Google, Analytics Help Center, "Best Practices to   Ganem                  Admission                                                     Relevance; Hearsay; Foundation;
                                   Avoid Sending Personally Identifiable Information                                                                                        403 (extrinsic evidence, Google's
                                   (PII)," 2021, available at https //perma.cc/L7LG-                                                                                        MSJ took position that contract was
                                   CG7W                                                                                                                                     unambiguous); Not produced

 DX      1123                      Google, "Platforms Program Policies," available at Berntson                Admission                                                     Relevance; Hearsay; Foundation;
                                   https //perma.cc/7D86-XR54                                                                                                               403 (extrinsic evidence, Google's
                                                                                                                                                                            MSJ took position that contract was
                                                                                                                                                                            unambiguous); Not produced

 DX      1124                      Google, Analytics Help Center, "Policy Against      Ganem                  Admission                                                     Relevance; Hearsay; Foundation;
                                   Fingerprints and Locally Shared Objects," 2022,                                                                                          403 (extrinsic evidence, Google's
                                   available at https //perma.cc/V44X-GEZK                                                                                                  MSJ took position that contract was
                                                                                                                                                                            unambiguous); Not produced

 DX      1125 GOOG-CABR-04067873   New Account Creation Screen (May 2020)          Fair                       Admission                                                     None
 DX      1126 GOOG-CABR-04067875   New Account Creation Screen More Options (Sept. Fair                       Admission                                                     None
                                   2019)
 DX      1127 GOOG-BRWN-00708085   Plaintiff Jeremy Davis Consent Record           Fair                       Admission                                                     Relevance; 403 (extrinsic evidence,
                                                                                                                                                                            Google's MSJ took position that
                                                                                                                                                                            contract was unambiguous); 403,
                                                                                                                                                                            704 (invades province of the trier
                                                                                                                                                                            of fact).

 DX      1128 GOOG-BRWN-00708167   Plaintiff Jeremy Davis New Account Creation Text Fair                      Admission                                                     Relevance; 403 (extrinsic evidence,
                                                                                                                                                                            Google's MSJ took position that
                                                                                                                                                                            contract was unambiguous); 403,
                                                                                                                                                                            704 (invades province of the trier
                                                                                                                                                                            of fact).

 DX      1129 GOOG-BRWN-00708058   Plaintiff Chasom Brown Consent Record               Fair                   Admission                                                     Relevance; 403 (extrinsic evidence,
                                                                                                                                                                            Google's MSJ took position that
                                                                                                                                                                            contract was unambiguous); 403,
                                                                                                                                                                            704 (invades province of the trier
                                                                                                                                                                            of fact).

 DX      1130 GOOG-BRWN-00708165   Plaintiff Chasom Brown New Account Creation         Fair                   Admission                                                     Relevance; 403 (extrinsic evidence,
                                   Text                                                                                                                                     Google's MSJ took position that
                                                                                                                                                                            contract was unambiguous); 403,
                                                                                                                                                                            704 (invades province of the trier
                                                                                                                                                                            of fact).

 DX      1131                      Drudge Report Website Cookie Policy, available at Castillo/Fair            Admission                                                     Relevance; Hearsay; Foundation;
                                   https //www.drudgereport.com/privacy/cookie-                                                                                             403 (extrinsic evidence, Google's
                                   policy/                                                                                                                                  MSJ took position that contract was
                                                                                                                                                                            unambiguous); Not produced

 DX      1132                      Boies Schiller Flexner LLP Privacy and Cookie        Fair                  Admission                                                     Relevance; Hearsay; Foundation;
                                   Policy, available at https //www.bsfllp.com/privacy-                                                                                     403 (extrinsic evidence, Google's
                                   policy.html                                                                                                                              MSJ took position that contract was
                                                                                                                                                                            unambiguous); Subject to
                                                                                                                                                                            anticipated MIL

 DX      1133                      Morgan & Morgan Privacy Policy, available at        Fair                   Admission                                                     Relevance; Hearsay; Foundation;
                                   https //www.forthepeople.com/privacy-policy/                                                                                             403 (extrinsic evidence, Google's
                                                                                                                                                                            MSJ took position that contract was
                                                                                                                                                                            unambiguous); Subject to
                                                                                                                                                                            anticipated MIL

 DX      1134                      Firefox, "Common Myths about Private Browsing," Fair                       Admission                                                     Relevance; Hearsay; Foundation;
                                   available at https //support.mozilla.org/en-                                                                                             403 (extrinsic evidence, Google's
                                   US/kb/common-myths-about-private-                                                                                                        MSJ took position that contract was
                                   browsing?as=u&utm_source=inproduct                                                                                                       unambiguous); Not produced

 DX      1135                      Microsoft, “Microsoft Edge, browsing data, and Fair                        Admission                                                     Relevance; Hearsay; Foundation;
                                   privacy,” available at                                                                                                                   403 (extrinsic evidence, Google's
                                   https //support.microsoft.com/en-                                                                                                        MSJ took position that contract was
                                   us/windows/microsoft-edgebrowsing-data-and-                                                                                              unambiguous); Not produced
                                   privacy-bb8174ba-9d73-dcf2-9b4a-c582b4e640dd

 DX      1136                      Microsoft, “Browse InPrivate in Microsoft Edge,”    Fair                   Admission                                                     Relevance; Hearsay; Foundation;
                                   available at https //support.microsoft.com/en-                                                                                           403 (extrinsic evidence, Google's
                                   us/microsoft-edge/browse-inprivate-in-microsoft-                                                                                         MSJ took position that contract was
                                   edgecd2c9a48-                                                                                                                            unambiguous); Not produced
                                   0bc4-b98e-5e46-ac40c84e27e2

 DX      1137 GOOG-CABR-00007657   Google, Analytics Help Center, "Limits of User-ID Ganem                    Admission                                                     Relevance; Hearsay; Foundation;
                                   views & Cross Device reports," available at                                                                                              403 (extrinsic evidence, Google's
                                   https //support.google.com/analytics/answer/32231                                                                                        MSJ took position that contract was
                                   94?hl=en#zippy=%2Cin-this-article                                                                                                        unambiguous).




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         No.                                                                                                                             Admit                                                                  of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                      Only)
 DX      1138 GOOG-CABR-00008365   Google, Analytics Help Center, "User ID Limits,"  Ganem                 Admission                                                      Relevance; Hearsay; Foundation;
                                   available at                                                                                                                           403 (extrinsic evidence, Google's
                                   https //support.google.com/analytics/answer/31236                                                                                      MSJ took position that contract was
                                   68                                                                                                                                     unambiguous).

 DX      1139 GOOG-CABR-00006041   Google, Analytics Help Center, "About the User-ID Ganem                 Admission                                                      Relevance; Hearsay; Foundation;
                                   feature,” available at                                                                                                                 403 (extrinsic evidence, Google's
                                   https //support.google.com/analytics/answer/31236                                                                                      MSJ took position that contract was
                                   62                                                                                                                                     unambiguous).

 DX      1140 GOOG-CABR-00004459   Google, Analytics Help Center, "[GA4] Policy      Ganem                 Admission                                                      Relevance; Hearsay; Foundation;
                                   Requirements for Google Analytics Advertising                                                                                          403 (extrinsic evidence, Google's
                                   Features," available at                                                                                                                MSJ took position that contract was
                                   https //support.google.com/analytics/answer/27004                                                                                      unambiguous).
                                   09
 DX      1141 GOOG-CABR-00894408   Google, Marketing Platform, "Google Analytics      Ganem                Admission                                                      Relevance; Hearsay; Foundation;
                                   Terms of Service," available at                                                                                                        403 (extrinsic evidence, Google's
                                   https //marketingplatform.google.com/about/analyti                                                                                     MSJ took position that contract was
                                   cs/terms/us/, last updated May 15, 2023                                                                                                unambiguous).

 DX      1142 GOOG-CABR-00004757   Google, Analytics Help Center, "Privacy Controls in Ganem               Admission                                                      Relevance; Hearsay; Foundation;
                                   Google Analytics," available at                                                                                                        403 (extrinsic evidence, Google's
                                   https //support.google.com/analytics/answer/90191                                                                                      MSJ took position that contract was
                                   85#zippy=%2Cin-this-article                                                                                                            unambiguous).

 DX      1143 GOOG-CABR-05558144   Google, Analytics Developers, "User Opt-Out,"       Ganem               Admission                                                      Relevance; Hearsay; Foundation;
                                   available at                                                                                                                           403 (extrinsic evidence, Google's
                                   https //developers.google.com/analytics/devguides/c                                                                                    MSJ took position that contract was
                                   ollection/analyticsjs/user-opt-out                                                                                                     unambiguous).

 DX      1144 GOOG-CABR-00005790   Google, Analytics Help Center, "IP Anonymization Ganem                  Admission                                                      Relevance; Hearsay; Foundation;
                                   (or IP masking) in Analytics," accessed 2020.                                                                                          403 (extrinsic evidence, Google's
                                                                                                                                                                          MSJ took position that contract was
                                                                                                                                                                          unambiguous).

 DX      1145 GOOG-CABR-00055916   Google, Analytics Developers, "Analytics.js Field   Ganem               Admission                                                      Relevance; Hearsay; Foundation;
                                   Reference," available at                                                                                                               403 (extrinsic evidence, Google's
                                   https //developers.google.com/analytics/devguides/c                                                                                    MSJ took position that contract was
                                   ollection/analyticsjs/field-reference#anonymizeIp                                                                                      unambiguous).

 DX      1146 GOOG-CABR-00073994   Google, Analytics Developers, "Cookies and User Ganem                   Admission                                                      Relevance; Hearsay; Foundation;
                                   Identification," available at                                                                                                          403 (extrinsic evidence, Google's
                                   https //developers.google.com/analytics/devguides/c                                                                                    MSJ took position that contract was
                                   ollection/analyticsjs/cookies-user-                                                                                                    unambiguous).
                                   id#disabling_cookies
 DX      1147 GOOG-CABR-00002870   Google, Analytics Help Center, "About Advertising Ganem                 Admission                                                      Relevance; Hearsay; Foundation;
                                   Features," available at                                                                                                                403 (extrinsic evidence, Google's
                                   https //support.google.com/analytics/answer/34504                                                                                      MSJ took position that contract was
                                   82                                                                                                                                     unambiguous).

 DX      1148 GOOG-CABR-00005544   Google, Analytics Help Center, "Enable            Ganem                 Admission                                                      Relevance; Hearsay; Foundation;
                                   Remarketing and Advertising Reporting Features in                                                                                      403 (extrinsic evidence, Google's
                                   Analytics," available at                                                                                                               MSJ took position that contract was
                                   https //support.google.com/analytics/answer/24448                                                                                      unambiguous).
                                   72
 DX      1149 GOOG-CABR-00007709   Google, Analytics Help Center, "[GA4] Advanced Ganem                    Admission                                                      Relevance; Hearsay; Foundation;
                                   Settings to Allow for Ads Personalization,"                                                                                            403 (extrinsic evidence, Google's
                                   available at                                                                                                                           MSJ took position that contract was
                                   https //support.google.com/analytics/answer/96261                                                                                      unambiguous).
                                   62
 DX      1150 GOOG-CABR-00007815   Google, Analytics Help Center, "Safeguarding Your Ganem                 Admission                                                      Relevance; Hearsay; Foundation;
                                   Data," available at                                                                                                                    403 (extrinsic evidence, Google's
                                   https //support.google.com/analytics/answer/60042                                                                                      MSJ took position that contract was
                                   45#zippy=%2Cadvertising-personalization                                                                                                unambiguous).

 DX      1151 GOOG-CABR-00051336   Google Analytics Opt-out Browser Add-on,          Ganem                 Admission                                                      Relevance; 403 (extrinsic evidence,
                                   available at                                                                                                                           Google's MSJ took position that
                                   https //tools.google.com/dlpage/gaoptout                                                                                               contract was unambiguous); 403,
                                                                                                                                                                          704 (invades province of the trier
                                                                                                                                                                          of fact).

 DX      1152 GOOG-CABR-00073998   Google Chrome Web Store, Google Analytics Opt- Ganem                    Admission                                                      Relevance; 403 (extrinsic evidence,
                                   out Add-on, available at                                                                                                               Google's MSJ took position that
                                   https //chrome.google.com/webstore/detail/google-                                                                                      contract was unambiguous); 403,
                                   analytics-opt-                                                                                                                         704 (invades province of the trier
                                   out/fllaojicojecljbmefodhfapmkghcbnh?hl=en                                                                                             of fact).

 DX      1153 GOOG-CABR-00011290   Google, Analytics Help Center, "Google Analytics Ganem                  Admission                                                      Relevance; 403 (extrinsic evidence,
                                   Opt-out Browser Add-on," available at                                                                                                  Google's MSJ took position that
                                   https //support.google.com/analytics/answer/18188                                                                                      contract was unambiguous); 403,
                                   1                                                                                                                                      704 (invades province of the trier
                                                                                                                                                                          of fact).

 DX      1154                      Google, Analytics Developer, "Advertising           Ganem               Admission                                                      Relevance; Hearsay; Foundation;
                                   Features," available at                                                                                                                403 (extrinsic evidence, Google's
                                   https //developers.google.com/analytics/devguides/c                                                                                    MSJ took position that contract was
                                   ollection/analyticsjs/display-features#disable-                                                                                        unambiguous); Not produced
                                   advertising-features
 DX      1155                      Google, Analytics Help Center, "IP Masking in     Ganem                 Admission                                                      Relevance; Hearsay; Foundation;
                                   Universal Analytics,” available at                                                                                                     403 (extrinsic evidence, Google's
                                   https //support.google.com/analytics/answer/27630                                                                                      MSJ took position that contract was
                                   52                                                                                                                                     unambiguous); Not produced

 DX      1156                      “Google Chrome s Incognito Mode is Way Less       Strombom, Brown,        Admission                                                    Foundation; Hearsay; 403 (extrinsic
                                   Private Than You Think,” July 20, 2019, Wired,    Byatt, Castillo, Davis,                                                              evidence, Google's MSJ took
                                   available at https //perma.cc/2HGJ-GWHN.          Trujillo                                                                             position that contract was
                                                                                                                                                                          unambiguous); 403, 704 (invades
                                                                                                                                                                          province of the trier of fact);
                                                                                                                                                                          subject to anticipated MIL.




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         No.                                                                                                                            Admit                                                                  of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                     Only)
 DX      1157                 “The Best Privacy Online,” Brave, available at      Amir, Brown, Byatt,      Admission                                                     Relevance; Hearsay; Foundation;
                              https //perma.cc/TC6U-EHCJ                          Castillo, Davis,                                                                       403 (extrinsic evidence, Google's
                                                                                  Trujillo                                                                               MSJ took position that contract was
                                                                                                                                                                         unambiguous); 403, 704 (invades
                                                                                                                                                                         province of the trier of fact);
                                                                                                                                                                         subject to anticipated MIL.



 DX      1158                 “A Study on Private Browsing Consumer Usage,    Amir, Brown, Byatt,          Admission                                                     Relevance; Hearsay; Foundation;
                              Knowledge, and Thoughts,” Jan., 2017,           Castillo, Davis,                                                                           403 (extrinsic evidence, Google's
                              DuckDuckGo, available at https //perma.cc/7UNX- Trujillo                                                                                   MSJ took position that contract was
                              Q8SQ                                                                                                                                       unambiguous); 403, 704 (invades
                                                                                                                                                                         province of the trier of fact);
                                                                                                                                                                         subject to anticipated MIL.



 DX      1159                 Clarke, Laurie, “Google Chrome s Incognito Mode Amir, Brown, Byatt,          Admission                                                     Relevance; Hearsay; Foundation;
                              is Way Less Private Than You Think,” July 20,    Castillo, Davis,                                                                          403 (extrinsic evidence, Google's
                              2019, Wired, available at https //perma.cc/2HGJ- Trujillo                                                                                  MSJ took position that contract was
                              GWHN                                                                                                                                       unambiguous); 403, 704 (invades
                                                                                                                                                                         province of the trier of fact);
                                                                                                                                                                         subject to anticipated MIL.



 DX      1160                 “Understanding how people use private browsing,”    Strombom, Brown,        Admission                                                      Relevance; Hearsay; Foundation;
                              Elie blog, published July 2017, available at        Byatt, Castillo, Davis,                                                                403 (extrinsic evidence, Google's
                              https //perma.cc/8E7L-FLZ8                          Trujillo                                                                               MSJ took position that contract was
                                                                                                                                                                         unambiguous); 403, 704 (invades
                                                                                                                                                                         province of the trier of fact);
                                                                                                                                                                         subject to anticipated MIL.



 DX      1161                 “Ask the Decoder How private is private browsing, Strombom, Brown,        Admission                                                        Relevance; Hearsay; Foundation;
                              really?” Al Jazeera America, Sept. 24, 2014,      Byatt, Castillo, Davis,                                                                  403 (extrinsic evidence, Google's
                              available at https //perma.cc/88KC-BHDK           Trujillo                                                                                 MSJ took position that contract was
                                                                                                                                                                         unambiguous); 403, 704 (invades
                                                                                                                                                                         province of the trier of fact);
                                                                                                                                                                         subject to anticipated MIL.



 DX      1162                 “Google s incognito mode isn t as private as you    Strombom, Brown,        Admission                                                      Relevance; Hearsay; Foundation;
                              thought,” The Sun, Aug. 22, 2018, available at      Byatt, Castillo, Davis,                                                                403 (extrinsic evidence, Google's
                              https //perma.cc/UWU4-MHHE                          Trujillo                                                                               MSJ took position that contract was
                                                                                                                                                                         unambiguous); 403, 704 (invades
                                                                                                                                                                         province of the trier of fact);
                                                                                                                                                                         subject to anticipated MIL.



 DX      1163                 “Gannett Privacy Policy,” USA Today, available at   Strombom                 Admission                                                     Relevance; Hearsay; Foundation;
                              https //cm.usatoday.com/privacy                                                                                                            403 (extrinsic evidence, Google's
                                                                                                                                                                         MSJ took position that contract was
                                                                                                                                                                         unambiguous); 403, 704 (invades
                                                                                                                                                                         province of the trier of fact).



 DX      1164                 Mozilla, Support Center, "Common Myths about        Zervas, Brown, Byatt,    Admission                                                     Relevance; Hearsay; Foundation;
                              Private Browsing,” available at                     Castillo, Davis,                                                                       403 (extrinsic evidence, Google's
                              https //support.mozilla.org/en-US/kb/common-        Trujillo                                                                               MSJ took position that contract was
                              myths-about-                                                                                                                               unambiguous); 403, 704 (invades
                              privatebrowsing?as=u&utm_source=inproduct                                                                                                  province of the trier of fact);
                                                                                                                                                                         subject to anticipated MIL.



 DX      1165                 Apple, Support Center, "cookies and website data,” Zervas, Brown, Byatt,     Admission                                                     Relevance; Hearsay; Foundation;
                              available at                                        Castillo, Davis,                                                                       403 (extrinsic evidence, Google's
                              https //support.apple.com/guide/safari/aside/glos01 Trujillo                                                                               MSJ took position that contract was
                              26d795/15.1/mac/12.0                                                                                                                       unambiguous); 403, 704 (invades
                                                                                                                                                                         province of the trier of fact);
                                                                                                                                                                         subject to anticipated MIL.



 DX      1166                 Insider Inc., “Cookies Policy,” Sept. 4, 2019,      Zervas, Brown, Byatt,    Admission                                                     Relevance; Hearsay; Foundation;
                              available at https //perma.cc/MH9H-5V3Z             Castillo, Davis,                                                                       403 (extrinsic evidence, Google's
                                                                                  Trujillo                                                                               MSJ took position that contract was
                                                                                                                                                                         unambiguous); 403, 704 (invades
                                                                                                                                                                         province of the trier of fact);
                                                                                                                                                                         subject to anticipated MIL.



 DX      1167                 Mozilla, Support Center, “Does firefox prevent sites Zervas, Brown, Byatt,   Admission                                                     Relevance; Hearsay; Foundation;
                              and javascript code from accessing existing cookies Castillo, Davis,                                                                       403 (extrinsic evidence, Google's
                              and web sites data when browsing in Private          Trujillo                                                                              MSJ took position that contract was
                              Browsing mode?” Feb. 24, 2019, available at                                                                                                unambiguous); 403, 704 (invades
                              https //support.mozilla.org/en-                                                                                                            province of the trier of fact);
                              US/questions/1251227                                                                                                                       subject to anticipated MIL.



 DX      1168                 NordVPN, “Download NordVPN app for Windows Zervas, Brown, Byatt,             Admission                                                     Relevance; Hearsay; Foundation;
                              PC,”available at                           Castillo, Davis,                                                                                403 (extrinsic evidence, Google's
                              https //nordvpn.com/download/windows/      Trujillo                                                                                        MSJ took position that contract was
                                                                                                                                                                         unambiguous); 403, 704 (invades
                                                                                                                                                                         province of the trier of fact);
                                                                                                                                                                         subject to anticipated MIL.




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         No.                                                                                                                           Admit                                                                  of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                    Only)
 DX      1169                 Mozilla, "Incognito browser What it really means,” Zervas, Brown, Byatt,    Admission                                                     Relevance; Hearsay; Foundation;
                              available at https //www.mozilla.org/en-           Castillo, Davis,                                                                       403 (extrinsic evidence, Google's
                              US/firefox/browsers/incognito-browser/             Trujillo                                                                               MSJ took position that contract was
                                                                                                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact);
                                                                                                                                                                        subject to anticipated MIL.



 DX      1170                 Cranor, Lorrie & Habib, Hana, “Private browsing     Zervas, Brown, Byatt,   Admission                                                     Relevance; Hearsay; Foundation;
                              What it does - and doesn t do - to shield you from Castillo, Davis,                                                                       403 (extrinsic evidence, Google's
                              prying eyes on the web,” The Conversation, July 30, Trujillo                                                                              MSJ took position that contract was
                              2020, available at                                                                                                                        unambiguous); 403, 704 (invades
                              https //theconversation.com/private-browsing-what-                                                                                        province of the trier of fact);
                              it-does-and-doesnt-do-to-shield-youfrom-prying-                                                                                           subject to anticipated MIL.
                              eyes-on-the-web-142445


 DX      1171                 Schneier, Bruce, “Data and Goliath The Hidden       Zervas, Schneier,       Admission                                                     Relevance; Hearsay; 403 (extrinsic
                              Battles to Collect Your Data and Control Your       Brown, Byatt, Castillo,                                                               evidence, Google's MSJ took
                              World,” W.W. Norton & Company, 2015                 Davis, Trujillo                                                                       position that contract was
                                                                                                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact);
                                                                                                                                                                        subject to anticipated MIL


 DX      1172                 Is Chrome's Incognito Really Private? 4 Things      Strombom, Brown,        Admission                                                     Relevance; Hearsay; Foundation;
                              About It (Guiding Tech)                             Byatt, Castillo, Davis,                                                               403 (extrinsic evidence, Google's
                                                                                  Trujillo                                                                              MSJ took position that contract was
                                                                                                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact); not
                                                                                                                                                                        produced during discovery; subject
                                                                                                                                                                        to anticipated MIL.



 DX      1173                 These Are all Good Reasons to Use Incognito Mode Strombom, Brown,        Admission                                                        Relevance; Hearsay; Foundation;
                              (Bustle)                                         Byatt, Castillo, Davis,                                                                  403 (extrinsic evidence, Google's
                                                                               Trujillo                                                                                 MSJ took position that contract was
                                                                                                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact); not
                                                                                                                                                                        produced during discovery; subject
                                                                                                                                                                        to anticipated MIL.



 DX      1174                 Tracking in 'Incognito' or Private Browsing Mode?   Strombom, Brown,        Admission                                                     Relevance; Hearsay; Foundation;
                              (Spread Privacy)                                    Byatt, Castillo, Davis,                                                               403 (extrinsic evidence, Google's
                                                                                  Trujillo                                                                              MSJ took position that contract was
                                                                                                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact); not
                                                                                                                                                                        produced during discovery; subject
                                                                                                                                                                        to anticipated MIL.



 DX      1175                 You are not very incognito in incognito mode        Strombom, Brown,        Admission                                                     Relevance; Hearsay; Foundation;
                              (Computerworld)                                     Byatt, Castillo, Davis,                                                               403 (extrinsic evidence, Google's
                                                                                  Trujillo                                                                              MSJ took position that contract was
                                                                                                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact); not
                                                                                                                                                                        produced during discovery; subject
                                                                                                                                                                        to anticipated MIL.



 DX      1176                 How Private Browsing Works, and Why It Doesn t      Strombom, Brown,        Admission                                                     Relevance; Hearsay; Foundation;
                              Offer Complete Privacy (How to Geek)                Byatt, Castillo, Davis,                                                               403 (extrinsic evidence, Google's
                                                                                  Trujillo                                                                              MSJ took position that contract was
                                                                                                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact); not
                                                                                                                                                                        produced during discovery; subject
                                                                                                                                                                        to anticipated MIL.



 DX      1177                 What Chrome's Incognito Mode Is Actually For,       Strombom, Brown,        Admission                                                     Relevance; Hearsay; Foundation;
                              Explained By a Google Exec (Thrillist)              Byatt, Castillo, Davis,                                                               403 (extrinsic evidence, Google's
                                                                                  Trujillo                                                                              MSJ took position that contract was
                                                                                                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact); not
                                                                                                                                                                        produced during discovery; subject
                                                                                                                                                                        to anticipated MIL.



 DX      1178                 Explained What Does Google Chrome's Incognito       Strombom, Brown,        Admission                                                     Relevance; Hearsay; Foundation;
                              Mode Actually Mean? (Trusted Reviews)               Byatt, Castillo, Davis,                                                               403 (extrinsic evidence, Google's
                                                                                  Trujillo                                                                              MSJ took position that contract was
                                                                                                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact); not
                                                                                                                                                                        produced during discovery; subject
                                                                                                                                                                        to anticipated MIL.



 DX      1179                 If You Use Incognito Mode, You Should Read This Strombom, Brown,        Admission                                                         Relevance; Hearsay; Foundation;
                              (The Independent)                               Byatt, Castillo, Davis,                                                                   403 (extrinsic evidence, Google's
                                                                              Trujillo                                                                                  MSJ took position that contract was
                                                                                                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact); not
                                                                                                                                                                        produced during discovery; subject
                                                                                                                                                                        to anticipated MIL.




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         No.                                                                                                                          Admit                                                                  of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                   Only)
 DX      1180                 Google Chrome's Incognito Mode Isn't That          Strombom, Brown,        Admission                                                     Relevance; Hearsay; Foundation;
                              Incognito (The HuffPost)                           Byatt, Castillo, Davis,                                                               403 (extrinsic evidence, Google's
                                                                                 Trujillo                                                                              MSJ took position that contract was
                                                                                                                                                                       unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact); not
                                                                                                                                                                       produced during discovery; subject
                                                                                                                                                                       to anticipated MIL.



 DX      1181                 What Your Web Browser's Incognito Mode Really      Strombom, Brown,        Admission                                                     Relevance; Hearsay; Foundation;
                              Does (Consumer Reports)                            Byatt, Castillo, Davis,                                                               403 (extrinsic evidence, Google's
                                                                                 Trujillo                                                                              MSJ took position that contract was
                                                                                                                                                                       unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact); not
                                                                                                                                                                       produced during discovery; subject
                                                                                                                                                                       to anticipated MIL.



 DX      1182                 Does Google Chrome Have Its Own VPN? (Tech         Strombom, Brown,        Admission                                                     Relevance; Hearsay; Foundation;
                              Radar)                                             Byatt, Castillo, Davis,                                                               403 (extrinsic evidence, Google's
                                                                                 Trujillo                                                                              MSJ took position that contract was
                                                                                                                                                                       unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact); not
                                                                                                                                                                       produced during discovery; subject
                                                                                                                                                                       to anticipated MIL.



 DX      1183                 Incognito Mode Won t Keep Your Browsing            Strombom, Brown,        Admission                                                     Relevance; Hearsay; Foundation;
                              Private. Do This Instead (Fast Company)            Byatt, Castillo, Davis,                                                               403 (extrinsic evidence, Google's
                                                                                 Trujillo                                                                              MSJ took position that contract was
                                                                                                                                                                       unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact); not
                                                                                                                                                                       produced during discovery; subject
                                                                                                                                                                       to anticipated MIL.



 DX      1184                 Google Chrome Incognito Mode Isn t As Private As Strombom, Brown,        Admission                                                       Relevance; Hearsay; Foundation;
                              You Think It Is, Here s What You Should Be Doing Byatt, Castillo, Davis,                                                                 403 (extrinsic evidence, Google's
                              (Indy 100)                                       Trujillo                                                                                MSJ took position that contract was
                                                                                                                                                                       unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact); not
                                                                                                                                                                       produced during discovery; subject
                                                                                                                                                                       to anticipated MIL.



 DX      1185                 Sorry, But Google Chrome Incognito Isn't As        Strombom, Brown,        Admission                                                     Relevance; Hearsay; Foundation;
                              Private As You Think (Cosmopolitan UK)             Byatt, Castillo, Davis,                                                               403 (extrinsic evidence, Google's
                                                                                 Trujillo                                                                              MSJ took position that contract was
                                                                                                                                                                       unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact); not
                                                                                                                                                                       produced during discovery; subject
                                                                                                                                                                       to anticipated MIL.



 DX      1186                 How to Fight the Spies in Your Chrome Browser       Strombom, Brown,        Admission                                                    Relevance; Hearsay; Foundation;
                              (The Washington Post;The Birmingham News;           Byatt, Castillo, Davis,                                                              403 (extrinsic evidence, Google's
                              Huntsville Times; Press-Register; The Plain Dealer) Trujillo                                                                             MSJ took position that contract was
                                                                                                                                                                       unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact); not
                                                                                                                                                                       produced during discovery; subject
                                                                                                                                                                       to anticipated MIL.



 DX      1187                 No, Incognito Mode Won't Keep Your Porn Habits Strombom, Brown,        Admission                                                         Relevance; Hearsay; Foundation;
                              Private. This Will. (Mashable)                 Byatt, Castillo, Davis,                                                                   403 (extrinsic evidence, Google's
                                                                             Trujillo                                                                                  MSJ took position that contract was
                                                                                                                                                                       unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact); not
                                                                                                                                                                       produced during discovery; subject
                                                                                                                                                                       to anticipated MIL.



 DX      1188                 Incognito Mode Are You Really Incognito? (US       Strombom, Brown,        Admission                                                     Relevance; Hearsay; Foundation;
                              Cyber Security Magazine)                           Byatt, Castillo, Davis,                                                               403 (extrinsic evidence, Google's
                                                                                 Trujillo                                                                              MSJ took position that contract was
                                                                                                                                                                       unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact); not
                                                                                                                                                                       produced during discovery; subject
                                                                                                                                                                       to anticipated MIL.



 DX      1189                 Private Browsing Won't Protect You From            Strombom, Brown,        Admission                                                     Relevance; Hearsay; Foundation;
                              Everything (PCMag)                                 Byatt, Castillo, Davis,                                                               403 (extrinsic evidence, Google's
                                                                                 Trujillo                                                                              MSJ took position that contract was
                                                                                                                                                                       unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact); not
                                                                                                                                                                       produced during discovery; subject
                                                                                                                                                                       to anticipated MIL.



 DX      1190                 Google Chrome Privacy Can You Trust the            Strombom, Brown,        Admission                                                     Relevance; Hearsay; Foundation;
                              Incognito Window?; Don't Trust Google Chrome's     Byatt, Castillo, Davis,                                                               403 (extrinsic evidence, Google's
                              Incognito Mode (TechTalks; TheNextWeb)             Trujillo                                                                              MSJ took position that contract was
                                                                                                                                                                       unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact); not
                                                                                                                                                                       produced during discovery; subject
                                                                                                                                                                       to anticipated MIL.




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         No.                                                                                                                                Admit                                                                   of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                          Only)
 DX      1191                      Google Calls It Private Browsing. Oh, No It Isn't    Strombom, Brown,        Admission                                                    Relevance; Hearsay; Foundation;
                                   (Inc.)                                               Byatt, Castillo, Davis,                                                              403 (extrinsic evidence, Google's
                                                                                        Trujillo                                                                             MSJ took position that contract was
                                                                                                                                                                             unambiguous); 403, 704 (invades
                                                                                                                                                                             province of the trier of fact); not
                                                                                                                                                                             produced during discovery; subject
                                                                                                                                                                             to anticipated MIL.



 DX      1192                      Incognito Mode May Not Work the Way You Think Strombom, Brown,        Admission                                                           Relevance; Hearsay; Foundation;
                                   It Does (Wired)                               Byatt, Castillo, Davis,                                                                     403 (extrinsic evidence, Google's
                                                                                 Trujillo                                                                                    MSJ took position that contract was
                                                                                                                                                                             unambiguous); 403 (post-dates
                                                                                                                                                                             lawsuit); 403, 704 (invades
                                                                                                                                                                             province of the trier of fact); not
                                                                                                                                                                             produced during discovery; subject
                                                                                                                                                                             to anticipated MIL.


 DX      1193                      Complaint in Brown, et al. v. Google, 20-cv-3664     Brown, Byatt, Castillo, Admission                                                    Hearsay; 403
                                   Dkt. 1                                               Davis, Trujillo

 DX      1194                      First Amended Complaint in Brown, et al. v.          Brown, Byatt, Castillo, Admission                                                    Hearsay; 403
                                   Google, 20-cv-3664 Dkt. 68                           Davis, Trujillo

 DX      1195                      Second Amended Complaint in Brown, et al. v.         Brown, Byatt, Castillo, Admission                                                    Hearsay; 403
                                   Google, 20-cv-3664 Dkt. 136-1                        Davis, Trujillo

 DX      1196                      Third Amended Complaint in Brown, et al. v.          Brown, Byatt, Castillo, Admission                                                    Hearsay; 403
                                   Google, 20-cv-3664 Dkt. 395-2                        Davis, Trujillo

 DX      1197                      Fourth Amended Complaint in Brown, et al. v.         Brown, Byatt, Castillo, Admission                                                    Hearsay; 403
                                   Google, 20-cv-3664 Dkt. 886                          Davis, Trujillo

 DX      1198                      Schneier, Bruce; "Click Here to Kill Everybody,"     Schneier              Admission                                                      Relevance; Hearsay; 403 (extrinsic
                                   W.W. Norton & Company, September, 2018.                                                                                                   evidence, Google's MSJ took
                                                                                                                                                                             position that contract was
                                                                                                                                                                             unambiguous); 403, 704 (invades
                                                                                                                                                                             province of the trier of fact);
                                                                                                                                                                             subject to anticipated MIL


 DX      1199                      “Google Chrome Privacy Issues Prompts Plea to        Strombom              Identification                                                 Relevance; Foundation; 403
                                   Google Execs,” CMP TechWeb, Nov. 4, 2008,                                                                                                 (extrinsic evidence, Google's MSJ
                                   available at https //perma.cc/HJ3T-Z8ER                                                                                                   took position that contract was
                                                                                                                                                                             unambiguous); 403, 704 (invades
                                                                                                                                                                             province of the trier of fact).

 DX      1200                      “Google Screenwise panel will pay you to track your Strombom               Identification                                                 None
                                   every move online,” Engadget, dated February 8,
                                   2012, available at https //perma.cc/D27D-X5CC

 DX      1201                      “Google Will Pay You For Tracking Your Every         Strombom              Identification                                                 None
                                   Move,” Tom's Guide, dated February 14, 2012,
                                   available at https //perma.cc/XMX4-XYHU

 DX      1202 GOOG-BRWN-00526782   PricewaterhouseCoopers LLP, "Independent           Psounis                 Identification                                                 Relevance; Foundation; 403
                                   Assessor's Report on Google's Privacy Program" for                                                                                        (extrinsic evidence, Google's MSJ
                                   the Period April 26, 2012 to April 25, 2014, dated                                                                                        took position that contract was
                                   June 23, 2014                                                                                                                             unambiguous); 403, 704 (invades
                                                                                                                                                                             province of the trier of fact).

 DX      1203 GOOG-CABR-04750983   Google, Internal Presentation,         —             Psounis               Identification                                                 Relevance; Foundation; 403
                                   Google Leads Review" Dated February 29, 2016                                                                                              (Narnia discovery previously
                                                                                                                                                                             claimed as privileged); 403
                                                                                                                                                                             (extrinsic evidence, Google's MSJ
                                                                                                                                                                             took position that contract was
                                                                                                                                                                             unambiguous)
 DX      1204 GOOG-CABR-00422093   Google, Internal Presentation, "Google Brand         Amir                  Identification                                                 Relevance; Foundation; 403
                                   Studio - Today's User on Privacy, Ads, and                                                                                                (extrinsic evidence, Google's MSJ
                                   Consent," by Shepherd Pittman, dated Spring 2016                                                                                          took position that contract was
                                                                                                                                                                             unambiguous); 403, 704 (invades
                                                                                                                                                                             province of the trier of fact);
                                                                                                                                                                             subject to anticipated MIL.


 DX      1205 GOOG-CABR-05468204   Google, Internal Presentation, "Privacy & security   Psounis               Identification                                                 Relevance; Foundation; 403
                                   strategies for combating intimate partner abuse                                                                                           (extrinsic evidence, Google's MSJ
                                   Stories from survivors" dated April 2016                                                                                                  took position that contract was
                                                                                                                                                                             unambiguous); 403, 704 (invades
                                                                                                                                                                             province of the trier of fact);
                                                                                                                                                                             subject to anticipated MIL.


 DX      1206 GOOG-CABR-03627280   Email from Jason Spero to pstaff@google.com -        Strombom              Identification                                                 Relevance; Foundation; 403
                                   Subject ACM Weekly Summary 6/10, dated June                                                                                               (extrinsic evidence, Google's MSJ
                                   13, 2016                                                                                                                                  took position that contract was
                                                                                                                                                                             unambiguous); 403, 704 (invades
                                                                                                                                                                             province of the trier of fact).

 DX      1207 GOOG-BRWN-00468598   Biennial Assessment Report for the Period April 26, Psounis                Identification                                                 Relevance; Foundation; 403
                                   2014 through April 25, 2016, by Promontory                                                                                                (extrinsic evidence, Google's MSJ
                                   Financial Group LLC, dated Jun. 24, 2016                                                                                                  took position that contract was
                                                                                                                                                                             unambiguous); 403, 704 (invades
                                                                                                                                                                             province of the trier of fact).

 DX      1208 GOOG-CABR-04715843   Google, Internal Presentation Google                 Psounis               Identification                                                 Foundation; 403 (subject of
                                                        , by Chris Liao, dated Apr. 19,                                                                                      preclusionary sanctions (Dkt. 588)).
                                   2016
 DX      1209 GOOG-CABR-04716372   Google, Internal Document DRX P-Logs Design, Psounis                       Identification                                                 Foundation; 403 (extrinsic
                                   Last Updated November 07, 2016                                                                                                            evidence, Google's MSJ took
                                                                                                                                                                             position that contract was
                                                                                                                                                                             unambiguous); 403, 704 (invades
                                                                                                                                                                             province of the trier of fact).




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                                                                                                                                                                                                                          Only)
 DX      1210 GOOG-CABR-05321478     Google, Internal Document, "Counting VTCs in          Strombom             Identification                                                Foundation; 403 (extrinsic
                                     Conversions," last edited Feb. 13, 2017, available at                                                                                    evidence, Google's MSJ took
                                     go/vtcs-in-conversions-prd                                                                                                               position that contract was
                                                                                                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                              province of the trier of fact).

 DX      1211 GOOG-BRWN-00426550     Google, Internal Memo, "Analytics Collection +       Psounis               Identification                                                Relevance; Foundation; 403
                                           ," by Avi Mehta, btownsend@, and                                                                                                   (Narnia discovery previously
                                     timofeev@, last updated Jul. 14, 2017                                                                                                    claimed as privileged); 403
                                                                                                                                                                              (extrinsic evidence, Google's MSJ
                                                                                                                                                                              took position that contract was
                                                                                                                                                                              unambiguous)
 DX      1212                        “Brave Browser Offers to Boost Your Online         Strombom                Identification                                                Relevance; Hearsay; Foundation;
                                     Search Privacy,” CNET, Dec. 14, 2017, available at                                                                                       403 (extrinsic evidence, Google's
                                     https //perma.cc/AM7Y-QTN5                                                                                                               MSJ took position that contract was
                                                                                                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                              province of the trier of fact);
                                                                                                                                                                              subject to anticipated MIL.



 DX      1213 GOOG-BRWN-00480203     Google, Internal Presentation,              Google   Strombom              Identification                                                None
                                     Staples," 26th Edition, dated Apr. 2018

 DX      1214 GOOG-CABR-00790093     Email from Matt Welsh to Lakshmi Kumar Dabbiru Strombom                    Identification                                                Foundation; 403 (extrinsic
                                     Subject Re [uma-users] Re Large number of one-                                                                                           evidence, Google's MSJ took
                                     day-only UMA client IDs, dated June 8, 2018                                                                                              position that contract was
                                                                                                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                              province of the trier of fact).

 DX      1215 GOOG-BRWN-00041778     Ernst & Young LLP, Independent Assessor's            Psounis               Identification                                                Relevance; Foundation; 403
                                     Transmittal Letter on Google LLC's Privacy                                                                                               (extrinsic evidence, Google's MSJ
                                     Program for the Period of April 26, 2016 to April                                                                                        took position that contract was
                                     25, 2018 with Report of Independent Accountants,                                                                                         unambiguous); 403, 704 (invades
                                     dated Jun. 25, 2018                                                                                                                      province of the trier of fact).

 DX      1216 GOOG-BRWN-00147709     Google, Internal Presentation, "B6P Trust Check-     Amir                  Identification                                                Relevance; Foundation; 403
                                     In," dated Jan. 24                                                                                                                       (extrinsic evidence, Google's MSJ
                                                                                                                                                                              took position that contract was
                                                                                                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                              province of the trier of fact).

 DX      1217 GOOG-CABR-00086797     Google, "Ads Privacy Noogler," last edited Feb. 7,   Psounis               Identification                                                Foundation; 403 (extrinsic
                                     2019                                                                                                                                     evidence, Google's MSJ took
                                                                                                                                                                              position that contract was
                                                                                                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                              province of the trier of fact).

 DX      1218 GOOG-CABR-X-00000512   Google, Internal Document, "Internal Knowledge    Strombom                 Identification                                                Foundation; 403 (extrinsic
                                     Base - Common Questions, Procedures, Tools and                                                                                           evidence, Google's MSJ took
                                     Case Management regarding Screenwise Panel," last                                                                                        position that contract was
                                     updated April 4, 2019                                                                                                                    unambiguous); 403, 704 (invades
                                                                                                                                                                              province of the trier of fact).

 DX      1219                        World Wide Web Consortium “W3C TAG                Psounis                  Identification                                                Foundation; 403 (extrinsic
                                     Observations on Private Browsing Modes,”                                                                                                 evidence, Google's MSJ took
                                     available at                                                                                                                             position that contract was
                                     https //www.w3.org/2001/tag/doc/private-browsing-                                                                                        unambiguous); 403, 704 (invades
                                     modes/                                                                                                                                   province of the trier of fact).

 DX      1220 GOOG-CABR-00058751     Google, Internal Memo, "1p Identifier Type Design" Psounis                 Identification                                                Relevance; Foundation; 403
                                     Last updated August 19, 2019                                                                                                             (extrinsic evidence, Google's MSJ
                                                                                                                                                                              took position that contract was
                                                                                                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                              province of the trier of fact).

 DX      1221 GOOG-CABR-03841628     Google, Internal Memo, "Offline          Consent Psounis                   Identification                                                Foundation; 403 (extrinsic
                                     Lookup and Privacy Decision Library," last updated                                                                                       evidence, Google's MSJ took
                                     Sept. 12, 2019                                                                                                                           position that contract was
                                                                                                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                              province of the trier of fact);
                                                                                                                                                                              subject to anticipated MIL.


 DX      1222 GOOG-CABR-03731716     Google, Internal Document, "The Impact of            Strombom              Identification                                                Foundation; 403 (extrinsic
                                     ITP/ETP to AM Publishers," by hjun@ and                                                                                                  evidence, Google's MSJ took
                                     davidgoodman@, last updated Dec. 31, 2019                                                                                                position that contract was
                                                                                                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                              province of the trier of fact);
                                                                                                                                                                              subject to anticipated MIL.


 DX      1223 GOOG-BRWN-00200355     Google, Internal Presentation,            ," dated   Psounis               Identification                                                Foundation; 403 (extrinsic
                                     Feb. 2020                                                                                                                                evidence, Google's MSJ took
                                                                                                                                                                              position that contract was
                                                                                                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                              province of the trier of fact);
                                                                                                                                                                              subject to anticipated MIL.


 DX      1224 GOOG-BRWN-00617282     Email from Sammit Adhya to Micha Segeritz -          Strombom              Identification                                                Relevance; Foundation; 403
                                     Subject Fwd Incognito Usage Rate Comparison,                                                                                             (extrinsic evidence, Google's MSJ
                                     dated Feb. 4, 2020                                                                                                                       took position that contract was
                                                                                                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                              province of the trier of fact).

 DX      1225 GOOG-BRWN-00477546     Google, Internal Presentation, "Incognito mode       Amir                  Identification                                                Foundation; 403 (extrinsic
                                     Awareness and Landscape," by @sthamilton and                                                                                             evidence, Google's MSJ took
                                     Ellen Kim, dated March 2020                                                                                                              position that contract was
                                                                                                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                              province of the trier of fact);
                                                                                                                                                                              subject to anticipated MIL.




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 DX      1226 GOOG-CABR-04721001   Google, Internal Document, "Instantiate PrivacyInfo Psounis                  Identification                                                Foundation; 403 (extrinsic
                                   from Log" Last Updated March 02, 2020                                                                                                      evidence, Google's MSJ took
                                                                                                                                                                              position that contract was
                                                                                                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                              province of the trier of fact).

 DX      1227 GOOG-CABR-00101695   Google, Internal Memo, "Analytics Collection +         Psounis               Identification                                                Relevance; Foundation; 403
                                        " Last updated July 14, 2017                                                                                                          (Narnia discovery previously
                                                                                                                                                                              claimed as privileged); 403
                                                                                                                                                                              (extrinsic evidence, Google's MSJ
                                                                                                                                                                              took position that contract was
                                                                                                                                                                              unambiguous)
 DX      1228                      World Wide Web Consortium “W3C TAG                     Psounis               Identification                                                Foundation; 403 (extrinsic
                                   Observations on Private Browsing Modes,”                                                                                                   evidence, Google's MSJ took
                                   available at https //w3ctag.github.io/private-                                                                                             position that contract was
                                   browsing-modes/#features-supporting-private-                                                                                               unambiguous); 403, 704 (invades
                                   browsing                                                                                                                                   province of the trier of fact).

 DX      1229 GOOG-CABR-03709454   Google, Internal Document, "Neutrino History and       Strombom              Identification                                                Foundation; 403 (extrinsic
                                   Thoughts," by Benj Azose, dated Apr. 15, 2020                                                                                              evidence, Google's MSJ took
                                                                                                                                                                              position that contract was
                                                                                                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                              province of the trier of fact).

 DX      1230 GOOG-BRWN-00468530   Independent Assessor's Transmittal Letter on Google Psounis                  Identification                                                Relevance; Foundation; 403
                                   LLC's Privacy Program for the Period of April 26,                                                                                          (extrinsic evidence, Google's MSJ
                                   2018 to April 25, 2020 with Report of Independent                                                                                          took position that contract was
                                   Accountants, by Ernst & Young LLP, dated Jun. 24,                                                                                          unambiguous); 403, 704 (invades
                                   2020                                                                                                                                       province of the trier of fact).

 DX      1231 GOOG-BRWN-00847297   Google, Internal Document, "                           Psounis               Identification                                                Foundation; 403 (subject of
                                           Experiment 3-Pager," authored by Bert                                                                                              preclusionary sanctions (Dkt. 588)).
                                   Leung, last updated May 11, 2020, available at
                                   go                     -exp
 DX      1232 GOOG-CABR-05161563   Google, Internal Presentation, "Ads Privacy            Strombom              Identification                                                Foundation; 403 (extrinsic
                                   Ecosystem Steering (APES)," dated May 11, 2020                                                                                             evidence, Google's MSJ took
                                                                                                                                                                              position that contract was
                                                                                                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                              province of the trier of fact).

 DX      1233 GOOG-CABR-05156497   Google, Internal Presentation, "User Perspective,"     Amir                  Identification                                                Foundation; 403 (extrinsic
                                   by Gretchen Gelke, Jenn Marlow, Sarah Hammon,                                                                                              evidence, Google's MSJ took
                                   and Tal Herman, dated May 12, 2020                                                                                                         position that contract was
                                                                                                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                              province of the trier of fact);
                                                                                                                                                                              subject to anticipated MIL.


 DX      1234 GOOG-BRWN-00845673   Email from Florian Uunk to Bert Leung, Subject  Psounis                      Identification                                                Foundation; 403 (extrinsic
                                   How to Detect Chrome Incognito Mode?, dated May                                                                                            evidence, Google's MSJ took
                                   14, 2020                                                                                                                                   position that contract was
                                                                                                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                              province of the trier of fact);
                                                                                                                                                                              subject to anticipated MIL.


 DX      1235 GOOG-CABR-04766037   Google, Internal Document, "2020 Insights Panel Strombom                     Identification                                                Foundation; 403 (extrinsic
                                   Product Requirements Document," authored by Joe                                                                                            evidence, Google's MSJ took
                                   Michiels, last updated May 28, 2020                                                                                                        position that contract was
                                                                                                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                              province of the trier of fact);
                                                                                                                                                                              subject to anticipated MIL.


 DX      1236 GOOG-CABR-04604487   Google, Internal Document, "Google Factbase Ads Schwartz                     Identification                                                Foundation; 403 (extrinsic
                                   Data Policies and Statements" updated July 2020                                                                                            evidence, Google's MSJ took
                                                                                                                                                                              position that contract was
                                                                                                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                              province of the trier of fact);
                                                                                                                                                                              subject to anticipated MIL.


 DX      1237 GOOG-CALH-01020091   Google, Internal Presentation, "Google Staples -       Strombom              Identification                                                None
                                              ," 45th edition, dated July 2020, data as
                                   of July 26, 2020
 DX      1238 GOOG-CABR-04310004   Google, Internal Document, "Global Business            Schwartz              Identification                                                Foundation; 403 (extrinsic
                                   Organization Reactive FAQs"                                                                                                                evidence, Google's MSJ took
                                                                                                                                                                              position that contract was
                                                                                                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                              province of the trier of fact);
                                                                                                                                                                              subject to anticipated MIL.


 DX      1239 GOOG-CABR-00057420   Google, Internal Webpage, "Retention - Classifying Psounis                   Identification                                                Foundation; 403 (extrinsic
                                   Product Data," available at go/classify-product-data                                                                                       evidence, Google's MSJ took
                                   Last edited November 20, 2020                                                                                                              position that contract was
                                                                                                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                              province of the trier of fact);
                                                                                                                                                                              subject to anticipated MIL.


 DX      1240 GOOG-CALH-01020283   Google, Internal Presentation, "Google Staples -       Strombom              Identification                                                None
                                              ," 48th edition, dated December 2020,
                                   data as of November 29, 2020

 DX      1241 GOOG-CABR-00056264   Google, Internal Webpage Zwieback Overview, last Psounis                     Identification                                                None
                                   edited Nov. 11, 2019
 DX      1242 GOOG-CABR-04696282   Google, Internal Document Ads Cookies Summary - Schwartz                     Identification                                                Foundation; 403 (extrinsic
                                   An Overview of Cookies Covered by PWG-Display                                                                                              evidence, Google's MSJ took
                                   and How to Treat Them, last updated Dec. 28, 2020                                                                                          position that contract was
                                                                                                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                              province of the trier of fact);
                                                                                                                                                                              subject to anticipated MIL.




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                                                                                                                                                                                                                            Only)
 DX      1243 GOOG-BRWN-00067136     Google, Internal Presentation, "Google Ads Trust     Amir                  Identification                                                Foundation; 403 (extrinsic
                                     Segments," by Amy Yamashiro and Kevin Corti,                                                                                             evidence, Google's MSJ took
                                     dated Jan. 2021                                                                                                                          position that contract was
                                                                                                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                              province of the trier of fact);
                                                                                                                                                                              subject to anticipated MIL.


 DX      1244 GOOG-CABR-00063770     Google, Internal Webpage, "Personal Logs,"          Psounis                Identification                                                None
                                     available at go          -plogs Last edited January
                                     6, 2021
 DX      1245 GOOG-CABR-04400013     Google, Internal Guidelines, "Data Categorization Schwartz                 Identification                                                Foundation; 403 (extrinsic
                                     Guidelines" last reviewed 01/07/2021                                                                                                     evidence, Google's MSJ took
                                                                                                                                                                              position that contract was
                                                                                                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                              province of the trier of fact);
                                                                                                                                                                              subject to anticipated MIL.


 DX      1246 GOOG-CABR-04717111     Google, Internal Presentation, "Life of a Cookie /   Psounis               Identification                                                Foundation; 403 (extrinsic
                                     Ads Identifier"                                                                                                                          evidence, Google's MSJ took
                                                                                                                                                                              position that contract was
                                                                                                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                              province of the trier of fact);
                                                                                                                                                                              subject to anticipated MIL.


 DX      1247                        "Mobile vs. Desktop Usage in 2020,” Perficient,      Strombom              Identification                                                None
                                     dated March 23, 2021, available at
                                     https //perma.cc/Z5ZF-839C
 DX      1248 GOOG-CABR-00086881     Google, Internal Webpage, "Fantastic Identifiers and Psounis               Identification                                                None
                                     Where to Find Them" Last edited May 7, 2021

 DX      1249 GOOG-BRWN-00683201     Google, Internal Presentation, "UXR Trust Review," Amir                    Identification                                                Relevance; Foundation; 403
                                     by @adinhopl, Gretchen Gelke, Lauren Palmer, and                                                                                         (extrinsic evidence, Google's MSJ
                                     Sarah Hammond, dated Aug. 3, 2021                                                                                                        took position that contract was
                                                                                                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                              province of the trier of fact);
                                                                                                                                                                              subject to anticipated MIL.


 DX      1250                        Non-Party Mozilla Corporation's Objections and       Psounis               Identification                                                Relevance; Foundation; 403
                                     Response to Subpoena to Produce Document,                                                                                                (extrinsic evidence, Google's MSJ
                                     Information or Objects, dated 8/7/2021                                                                                                   took position that contract was
                                                                                                                                                                              unambiguous); 403 (no
                                                                                                                                                                              knowledgeable person to explain or
                                                                                                                                                                              be subject to cross examination);
                                                                                                                                                                              403 (Google still collects, saves,
                                                                                                                                                                              and uses data regardless of non-
                                                                                                                                                                              party's practice); 403 (Firefox
                                                                                                                                                                              private browsing not at issue in this
                                                                                                                                                                              litigation)


 DX      1251                        Third-Party Respondent Microsoft Corporation's       Psounis               Identification                                                Relevance; Foundation; 403
                                     Objections and Responses to Plaintiffs' Subpoena,                                                                                        (extrinsic evidence, Google's MSJ
                                     dated 8/27/2021                                                                                                                          took position that contract was
                                                                                                                                                                              unambiguous); 403 (no
                                                                                                                                                                              knowledgeable person to explain or
                                                                                                                                                                              be subject to cross examination);
                                                                                                                                                                              403 (Google still collects, saves,
                                                                                                                                                                              and uses data regardless of non-
                                                                                                                                                                              party's practice)


 DX      1252                        Letter from Sean Pinner, Apple Inc., to Ryan J.      Psounis               Identification                                                Relevance; Foundation; 403
                                     McGee, Morgan & Morgan, dated 9/20/2021                                                                                                  (extrinsic evidence, Google's MSJ
                                                                                                                                                                              took position that contract was
                                                                                                                                                                              unambiguous); 403 (no
                                                                                                                                                                              knowledgeable person to explain or
                                                                                                                                                                              be subject to cross examination);
                                                                                                                                                                              403 (Google still collects, saves,
                                                                                                                                                                              and uses data regardless of non-
                                                                                                                                                                              party's practice)


 DX      1253                        “Gross Domestic Product, Fourth Quarter and Year Strombom                  Identification                                                Relevance; Foundation; 403
                                     2021 (Second Estimate),” Bureau of Economic                                                                                              (extrinsic evidence, Google's MSJ
                                     Analysis, Feb. 24, 2022, available at                                                                                                    took position that contract was
                                     https //perma.cc/2SYV-EUYM                                                                                                               unambiguous); 403 (no
                                                                                                                                                                              knowledgeable person to explain or
                                                                                                                                                                              be subject to cross examination);
                                                                                                                                                                              403 (Google still collects, saves,
                                                                                                                                                                              and uses data regardless of non-
                                                                                                                                                                              party's practice)


 DX      1254                        “Number of active Gmail users worldwide from Jan. Strombom                 Identification                                                None
                                     2012 to Oct. 2018,” Statista, published April 28,
                                     2022, available at https //perma.cc/GH8X-S6DJ

 DX      1255 GOOG-CABR-03630076     Google, Internal Document, "Ads UI, Formats, and     Strombom              Identification                                                Foundation; 403 (extrinsic
                                     Creatives Strategy"                                                                                                                      evidence, Google's MSJ took
                                                                                                                                                                              position that contract was
                                                                                                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                              province of the trier of fact).

 DX      1256 GOOG-CABR-X-00000418   Google, Internal Document, "IPSOS Incentive          Strombom              Identification                                                None
                                     Structure History"
 DX      1257 GOOG-CABR-X-00000466   Google, Internal Document, "Screenwise Panel         Strombom              Identification                                                None
                                     Spreadsheet showing descriptions and data types"

 DX      1258                        Pauzer, Holly, “71% of Consumers Prefer              Amir                  Identification                                                Foundation; 403 (extrinsic
                                     Personalized Ads,” Adlucent, available at                                                                                                evidence, Google's MSJ took
                                     https //www.adlucent.com/resources/blog/71-of-                                                                                           position that contract was
                                     consumers-prefer-personalized-ads/                                                                                                       unambiguous); 403, 704 (invades
                                                                                                                                                                              province of the trier of fact);
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         No.                                                                                                                          Admit                                                                of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                 Only)
 DX      1259                 Acquisti, Alessandro and Jens Grossklags, “Privacy Amir                    Identification                                                Foundation; 403 (extrinsic
                              and Rationality in Individual Decision Making,”                                                                                          evidence, Google's MSJ took
                              IEEE Security & Privacy, Vol. 3, No. 1, 2005                                                                                             position that contract was
                                                                                                                                                                       unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact);
                                                                                                                                                                       subject to anticipated MIL.


 DX      1260                 “Tip 6. Use Caution With Readability Formulas for Amir                     Identification                                                Relevance; Foundation; 403
                              Quality Reports,” May 2015, Agency for Healthcare                                                                                        (extrinsic evidence, Google's MSJ
                              Research and Quality, available at                                                                                                       took position that contract was
                              https //perma.cc/TM5Q-3MBJ                                                                                                               unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact).

 DX      1261                 Amsteus, Martin, et al., “Colors in Marketing A    Amir                    Identification                                                Foundation; 403 (extrinsic
                              Study of Color Association and Context (in)                                                                                              evidence, Google's MSJ took
                              Dependence,” International Journal of Business and                                                                                       position that contract was
                              Social Science, Vol. 6, No. 3, Mar. 2015                                                                                                 unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact);
                                                                                                                                                                       subject to anticipated MIL.


 DX      1262                 Sheng, Hong, et al., “An Experimental Study on       Amir                  Identification                                                Foundation; 403 (extrinsic
                              Ubiquitous Commerce Adoption Impact of                                                                                                   evidence, Google's MSJ took
                              Personalization and Privacy Concerns,” Journal of                                                                                        position that contract was
                              the Association for Information Systems, 2008                                                                                            unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact);
                                                                                                                                                                       subject to anticipated MIL.


 DX      1263                 Athey, Susan, et al., “The Digital Privacy Paradox   Amir                  Identification                                                Foundation; 403 (extrinsic
                              Small Money, Small Costs, Small Talk,” NBER                                                                                              evidence, Google's MSJ took
                              Working Paper Series, 2017                                                                                                               position that contract was
                                                                                                                                                                       unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact);
                                                                                                                                                                       subject to anticipated MIL.


 DX      1264                 Bagchi, Rajesh and Amar Cheema, “The Effect of    Amir                     Identification                                                Foundation; 403 (extrinsic
                              Red Background Color on Willingness-to-Pay The                                                                                           evidence, Google's MSJ took
                              Moderating Role of Selling Mechanism,” Journal of                                                                                        position that contract was
                              Consumer Research, Vol. 35, No. 5, Feb. 2013                                                                                             unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact);
                                                                                                                                                                       subject to anticipated MIL.


 DX      1265                 Bahrainizad, Manijeh and Azadeh Rajabi,              Amir                  Identification                                                Foundation; 403 (extrinsic
                              “Consumers Perception of Usability of Product                                                                                            evidence, Google's MSJ took
                              Packaging and Impulse Buying Considering                                                                                                 position that contract was
                              Consumers Mood and Time Pressure as                                                                                                      unambiguous); 403, 704 (invades
                              Moderating Variables,” Journal of Islamic                                                                                                province of the trier of fact);
                              Marketing, Vol. 9, No. 2, 2018                                                                                                           subject to anticipated MIL.


 DX      1266                 Ben-Shahar, Omri and Lior J. Strahilevitz,           Amir                  Identification                                                Foundation; 403 (extrinsic
                              “Interpreting Contracts Via Surveys and                                                                                                  evidence, Google's MSJ took
                              Experiments,” New York University Law Review,                                                                                            position that contract was
                              Vol. 92, 2017                                                                                                                            unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact);
                                                                                                                                                                       subject to anticipated MIL.


 DX      1267                 Brandimarte, Laura, et al., “Misplaced Confidences Amir                    Identification                                                Foundation; 403 (extrinsic
                              Privacy and the Control Paradox,” Social                                                                                                 evidence, Google's MSJ took
                              Psychological and Personality Science, Vol. 4, No.                                                                                       position that contract was
                              3, 2012                                                                                                                                  unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact);
                                                                                                                                                                       subject to anticipated MIL.


 DX      1268                 Braun, Kathryn A., et al., “Make My Memory How Amir                        Identification                                                Foundation; 403 (extrinsic
                              Advertising Can Change Our Memories of the Past,”                                                                                        evidence, Google's MSJ took
                              Psychology & Marketing, Vol. 19, No. 1, 2002                                                                                             position that contract was
                                                                                                                                                                       unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact);
                                                                                                                                                                       subject to anticipated MIL.


 DX      1269                 “Browser Market Share United States of America,      Amir                  Identification                                                None
                              2016-2022,” StatCounter, accessed March 18,
                              2022, available at https //perma.cc/K3WT-VFQM

 DX      1270                 Browser Market Share United States of America,     Amir                    Identification                                                None
                              2009-2022,” StatCounter, accessed Aug. 15, 2023,
                              available at https //gs.statcounter.com/browser-
                              market-share/all/united-states-of-america/#yearly-
                              2009-2022

 DX      1271                 “Browser Market Share Worldwide,” StatCounter,       Amir                  Identification                                                None
                              accessed March 18, 2022, available at
                              https //gs.statcounter.com/browser-marketshare#
                              yearly-2009-2022

 DX      1272                 Muchmore, Michael, “Chrome, Edge, Firefox,       Amir                      Identification                                                Relevance; Foundation; 403
                              Opera, or Safari Which Browser is Best?” May 20,                                                                                         (extrinsic evidence, Google's MSJ
                              2021, PCMag, available at                                                                                                                took position that contract was
                              https //www.pcmag.com/picks/chrome-edge-firefox-                                                                                         unambiguous); 403, 704 (invades
                              opera-or-safari-which-browser-is-best                                                                                                    province of the trier of fact);
                                                                                                                                                                       subject to anticipated MIL.


 DX      1273                 Oppmann, Patrick, “In Digital World, We Trade Amir                         Identification                                                Relevance; Foundation; 403
                              Privacy for Convenience,” Apr. 14, 2010, CNN,                                                                                            (extrinsic evidence, Google's MSJ
                              available at                                                                                                                             took position that contract was
                              http //www.cnn.com/2010/TECH/04/14/oppmann.o                                                                                             unambiguous); 403, 704 (invades
                              ff.the.grid/index.html                                                                                                                   province of the trier of fact).




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 DX      1274                 Crowley, Aye E., “The Two-Dimensional Impact of Amir                      Identification                                                Relevance; Foundation; 403
                              Color on Shopping,” Marketing Letters, 1993                                                                                             (extrinsic evidence, Google's MSJ
                                                                                                                                                                      took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact).

 DX      1275                 “Desktop Browser Market Share United States of      Amir                  Identification                                                None
                              America, 2016-2022,” StatCounter, available at
                              https //gs.statcounter.com/browser-market-
                              share/desktop/united-states-of-america/#yearly-
                              2016-2022

 DX      1276                 “Desktop Browser Market Share Worldwide, 2009- Amir                       Identification                                                None
                              2022,” StatCounter, available at
                              https //gs.statcounter.com/browser-market-
                              share/desktop/worldwide/#yearly-2009-2022
 DX      1277                 “Desktop Operating System Market Share              Amir                  Identification                                                None
                              Worldwide, 2009-2022,” StatCounter, available at
                              https //gs.statcounter.com/os-market-
                              share/desktop/worldwide/#yearly-2009-2022

 DX      1278                 Egelman, Serge, et al., “Timing is Everything? The Amir                   Identification                                                Foundation; 403 (extrinsic
                              Effects of Timing and Placement of Online Privacy                                                                                       evidence, Google's MSJ took
                              Indicators,” Proceedings of the SIGCHI Conference                                                                                       position that contract was
                              on Human Factors in Computing Systems, 2009                                                                                             unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact).

 DX      1279                 Manual for Complex Litigation, Fourth Edition,      Amir                  Identification                                                Relevance; Foundation; 403
                              Federal Judicial Center, 2004                                                                                                           (extrinsic evidence, Google's MSJ
                                                                                                                                                                      took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact).

 DX      1280                 Sullivan, Gail M, and Anthony R. Artino Jr., “How   Amir                  Identification                                                Relevance; Foundation; 403
                              to Create a Bad Survey Instrument,” Journal of                                                                                          (extrinsic evidence, Google's MSJ
                              Graduate Medical Education, Vol. 9, No. 4, 2017                                                                                         took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1281                 Klein, Matt, “How to Enable Private Browsing on Amir                      Identification                                                Relevance; Foundation; 403
                              Any Web Browser,” July 5, 2017, How-To Geek,                                                                                            (extrinsic evidence, Google's MSJ
                              available at                                                                                                                            took position that contract was
                              https //www.howtogeek.com/269265/how-to-                                                                                                unambiguous); 403, 704 (invades
                              enable-private-browsing-on-any-                                                                                                         province of the trier of fact).
                              webbrowser/# ~ text=To%20open%20a%20new%
                              20InPrivate,return%20to%20regular%20browsing
                              %20mode
 DX      1282                 C., Suresh, “How to Start Secret Mode and Add    Amir                     Identification                                                Relevance; Foundation; 403
                              New Tab in Samsung Internet?,” Mar. 17, 2022,                                                                                           (extrinsic evidence, Google's MSJ
                              BrowserHow, available at                                                                                                                took position that contract was
                              https //browserhow.com/how-to-start-secret-mode-                                                                                        unambiguous); 403, 704 (invades
                              and-add-newtab-in-samsung-internet/                                                                                                     province of the trier of fact).

 DX      1283                 Consumers Driving the Digital Uptake - The       Amir                     Identification                                                Relevance; Foundation; 403
                              Economic Value of Online Advertising-based                                                                                              (extrinsic evidence, Google's MSJ
                              Services for Consumers,” IAB Europe, Sept. 2010,                                                                                        took position that contract was
                              available at https //perma.cc/49BE-CT4P                                                                                                 unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact).

 DX      1284                 Smith, Jeff H., et al., “Information Privacy      Amir                    Identification                                                Relevance; Foundation; 403
                              Measuring Individuals Concerns About                                                                                                    (extrinsic evidence, Google's MSJ
                              Organizational Practices,” Management Information                                                                                       took position that contract was
                              Systems Research Center of the University of                                                                                            unambiguous); 403, 704 (invades
                              Minnesota, 1996                                                                                                                         province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1285                 Tversky, Amos and Daniel Kahneman, “Judgment       Amir                   Identification                                                Relevance; Foundation; 403
                              under Uncertainty Heuristics and Biases,” Science,                                                                                      (extrinsic evidence, Google's MSJ
                              Vol. 185, No. 4157, 1974                                                                                                                took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1286                 Khan, Romana, et al., “Dynamic Customer             Amir                  Identification                                                Relevance; Foundation; 403
                              Management and the Value of One-to-One                                                                                                  (extrinsic evidence, Google's MSJ
                              Marketing,” Marketing Science, Vol. 28, No. 6,                                                                                          took position that contract was
                              2009                                                                                                                                    unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact).

 DX      1287                 Kimes, Sheyrl E., “How Product Quality Drives       Amir                  Identification                                                Relevance; Foundation; 403
                              Profitability The Experience at Holiday Inn,”                                                                                           (extrinsic evidence, Google's MSJ
                              Cornell Hotel and Restaurant Administration                                                                                             took position that contract was
                              Quarterly, Vol. 42, No. 3, 2001                                                                                                         unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1288                 Kjellson, Gustav, et al., “Forgetting to Remember or Amir                 Identification                                                Relevance; Foundation; 403
                              Remembering to Forget A Study of the Recall                                                                                             (extrinsic evidence, Google's MSJ
                              Period Length in Health Care Survey Questions,”                                                                                         took position that contract was
                              Journal of Health Economics, Vol. 35, 2014                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact).

 DX      1289                 Kotler, Philip and Gary Armstrong, Principles of    Amir                  Identification                                                Relevance; Foundation; 403
                              Marketing, Seventeenth Edition, Pearson, 2018                                                                                           (extrinsic evidence, Google's MSJ
                                                                                                                                                                      took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
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 DX      1290                 Kotler, Philip and Kevin L. Keller, Marketing       Amir                  Identification                                                Relevance; Foundation; 403
                              Management, Fifteenth Edition, Pearson, 2016                                                                                            (extrinsic evidence, Google's MSJ
                                                                                                                                                                      took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1291                 Krosnick, J.A. and Stanley Presser. “Question and   Amir                  Identification                                                Relevance; Foundation; 403
                              Questionnaire Design,” in Handbook of Survey                                                                                            (extrinsic evidence, Google's MSJ
                              Research, J.D. Wright and P.V. Marsden, Second                                                                                          took position that contract was
                              Edition, 2010, Elsevier                                                                                                                 unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1292                 Kumaraguru, Ponnurangam and Lorrie. F. Cranor,      Amir                  Identification                                                Relevance; Foundation; 403
                              “Privacy Indexes A Survey of Westin s Studies,”                                                                                         (extrinsic evidence, Google's MSJ
                              Carnegie Mellon University, School of Computer                                                                                          took position that contract was
                              Science, Institute for Software Research                                                                                                unambiguous); 403, 704 (invades
                              International, 2005                                                                                                                     province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1293                 Last, John M., A Dictionary of Epidemiology,        Amir                  Identification                                                Relevance; Foundation; 403
                              Fourth Edition, 2001, Oxford University Press                                                                                           (extrinsic evidence, Google's MSJ
                                                                                                                                                                      took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
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 DX      1294                 Lau, Josephine, et al., “Alexa, Are You Listening? Amir                   Identification                                                Relevance; Foundation; 403
                              Privacy Perceptions, Concerns and Privacyseeking                                                                                        (extrinsic evidence, Google's MSJ
                              Behaviors with Smart Speakers,” Proceedings of the                                                                                      took position that contract was
                              ACM on Human-Computer Interaction, Vol. 2,                                                                                              unambiguous); 403, 704 (invades
                              Issue CSCW, 2018                                                                                                                        province of the trier of fact).

 DX      1295                 Lavrakas, Paul J., Encyclopedia of Survey Research Amir                   Identification                                                Relevance; Foundation; 403
                              Methods, SAGE Publications, Inc., 2008                                                                                                  (extrinsic evidence, Google's MSJ
                                                                                                                                                                      took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact).

 DX      1296                 "2021 Consumer Experience Sentiment Report,”        Amir                  Identification                                                Relevance; Foundation; 403
                              2021, Merkle, available at https //perma.cc/3CN5-                                                                                       (extrinsic evidence, Google's MSJ
                              XQ8G                                                                                                                                    took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1297                 “Mobile Browser Market Share United States of       Amir                  Identification                                                None
                              America, 2016-2022,” StatCounter, accessed
                              August 15, 2023, available at
                              https //gs.statcounter.com/browser-market-
                              share/mobile/united-states-of-america/#yearly-2016-
                              2022
 DX      1298                 Morales, Andrea C., et al., “Keeping it Real in     Amir                  Identification                                                Relevance; Foundation; 403
                              Experimental Research —Understanding When,                                                                                              (extrinsic evidence, Google's MSJ
                              Where, and How to Enhance Realism and Measure                                                                                           took position that contract was
                              Consumer Behavior,” Journal of Consumer                                                                                                 unambiguous); 403, 704 (invades
                              Research, Vol. 44, No. 2, 2017                                                                                                          province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1299                 Morando, Federico, et al., “Privacy Evaluation      Amir                  Identification                                                Relevance; Foundation; 403
                              What Empirical Research on Users Valuation of                                                                                           (extrinsic evidence, Google's MSJ
                              Personal Data Tells Us,” Internet Policy Review,                                                                                        took position that contract was
                              Vol. 3, No. 2, 2014                                                                                                                     unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1300                 Nisbett, Richard E. and Timothy Wilson, “Telling  Amir                    Identification                                                Relevance; Foundation; 403
                              More than We Can Know Verbal Reports on                                                                                                 (extrinsic evidence, Google's MSJ
                              Mental Processes,” Psychological Review, Vol. 84,                                                                                       took position that contract was
                              No. 3, 1977                                                                                                                             unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1301                 Krosnick, J.A. and Stanley Presser, “Question and   Amir                  Identification                                                Relevance; Foundation; 403
                              Questionnaire Design,” in Handbook of Survey                                                                                            (extrinsic evidence, Google's MSJ
                              Research, J.D. Wright and P.V. Marsden, Second                                                                                          took position that contract was
                              Edition, 2010                                                                                                                           unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1302                 Raine, Lee and Maeve Duggan, “Privacy and         Amir                    Identification                                                Relevance; Foundation; 403
                              Information Sharing,” Jan. 14, 2016, Pew Research                                                                                       (extrinsic evidence, Google's MSJ
                              Center, available at https //perma.cc/MEG2-UVUY                                                                                         took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1303                 Spencer E.A., et al., “Recall Bias,” 2017, Catalogue Amir                 Identification                                                Relevance; Foundation; 403
                              of Bias, available at https //perma.cc/VUE6-2FJU                                                                                        (extrinsic evidence, Google's MSJ
                                                                                                                                                                      took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact).

 DX      1304                 Bearden, William O. and Michael J. Etzel,           Amir                  Identification                                                Relevance; Foundation; 403
                              “Reference Group Influence on Product and Brand                                                                                         (extrinsic evidence, Google's MSJ
                              Purchase Decisions,” Journal of Consumer                                                                                                took position that contract was
                              Research, 1982                                                                                                                          unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
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 DX      1305                 Sawyer, A.G., “Demand Artifacts in Laboratory       Amir                  Identification                                                Relevance; Foundation; 403
                              Experiments in Consumer Research,” Journal of                                                                                           (extrinsic evidence, Google's MSJ
                              Consumer Research, Vol. 1, No. 4, Mar. 1975                                                                                             took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1306                 “Is Tor Browser Safe?” Secure Thoughts, available Amir                    Identification                                                Relevance; Foundation; 403
                              at https //perma.cc/44T7-SU2Y                                                                                                           (extrinsic evidence, Google's MSJ
                                                                                                                                                                      took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact).

 DX      1307                 Sliburyte, Laimona and Ilona Skeryte, “What We      Amir                  Identification                                                Relevance; Foundation; 403
                              Know about Consumers Color Perception,”                                                                                                 (extrinsic evidence, Google's MSJ
                              Procedia - Social and Behavioral Sciences, 2014                                                                                         took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1308                 Tan, Seref, “Misuses of KR-20 and Cronbach s        Amir                  Identification                                                Relevance; Foundation; 403
                              Alpha Reliability Coefficients,” Education and                                                                                          (extrinsic evidence, Google's MSJ
                              Science, Vol. 34, No. 152, 2009                                                                                                         took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1309                 “10 Things We Know to Be True,” Google,             Amir                  Identification                                                Relevance; Foundation; 403
                              available at https //perma.cc/2ATA-372V                                                                                                 (extrinsic evidence, Google's MSJ
                                                                                                                                                                      took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1310                 Thomadsen, Raphael, et al., “How Context Affects    Amir                  Identification                                                Relevance; Foundation; 403
                              Choice,” Customer Needs and Solutions, 5(1-2),                                                                                          (extrinsic evidence, Google's MSJ
                              2018                                                                                                                                    took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1311                 “Protect Yourself Against Tracking, Surveillance,   Amir                  Identification                                                Relevance; Foundation; 403
                              and Censorship,” Tor Browser, available at                                                                                              (extrinsic evidence, Google's MSJ
                              https //perma.cc/9ZM2-NHFU                                                                                                              took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1312                 Tucker, Catherine E., “Social Networks,             Amir                  Identification                                                Relevance; Foundation; 403
                              Personalized Advertising, and Privacy Controls,”                                                                                        (extrinsic evidence, Google's MSJ
                              Journal of Marketing Research, Vol. LI, 2014                                                                                            took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1313                 Godden-Payne, Craig, “How Google s Homepage         Amir                  Identification                                                Relevance; Foundation; 403
                              Has Changed Over the Last 20 Years,” Mar. 14,                                                                                           (extrinsic evidence, Google's MSJ
                              2020, UX Collective, available at                                                                                                       took position that contract was
                              https //perma.cc/7RFV-BEPK                                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact).

 DX      1314                 Jarret, Caroline and Janice Redish, “Readability    Amir                  Identification                                                Relevance; Foundation; 403
                              Formulas 7 Reasons to Avoid Them and What to                                                                                            (extrinsic evidence, Google's MSJ
                              Do Instead,” July 29, 2019, UXmatters, available at                                                                                     took position that contract was
                              https //perma.cc/FU9A-JV9L                                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact).

 DX      1315                 Velasco, Carlos, et al., “The Context of Colour-  Amir                    Identification                                                Relevance; Foundation; 403
                              Flavour Associations in Crisps Packaging A Cross-                                                                                       (extrinsic evidence, Google's MSJ
                              Cultural Study Comparing Chinese, Colombian, and                                                                                        took position that contract was
                              British Consumers”, Food Quality and Preference,                                                                                        unambiguous); 403, 704 (invades
                              2014                                                                                                                                    province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1316                 Pilon, Anne, “Web Browser Survey Firefox Still      Amir                  Identification                                                Relevance; Foundation; 403
                              Ahead of Chrome,” Jan. 6, 2012, AYTM, available                                                                                         (extrinsic evidence, Google's MSJ
                              at https //aytm.com/blog/web-browser-survey/                                                                                            took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1317                 Grosso, Monica, et al., “What Information Do        Amir                  Identification                                                Relevance; Foundation; 403
                              Shoppers Share? The Effect of Personnel-, Retailer,                                                                                     (extrinsic evidence, Google's MSJ
                              and Country-Trust on Willingness to Share                                                                                               took position that contract was
                              Information,” Journal of Retailing, 2020                                                                                                unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1318                 Wu, Jinnan, et al., “Effect of Online Product      Amir                   Identification                                                Relevance; Foundation; 403
                              Presentation on the Purchase Intention of Wearable                                                                                      (extrinsic evidence, Google's MSJ
                              Devices The Role of Mental Imagery and                                                                                                  took position that contract was
                              Individualism-Collectivism,” Frontiers in                                                                                               unambiguous); 403, 704 (invades
                              Psychology, 2020                                                                                                                        province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1319                 DeVellis, Robert F., and Carolyn T. Thorpe, “Scale Amir                   Identification                                                Relevance; Foundation; 403
                              Reliability” in Scale Development Theory and                                                                                            (extrinsic evidence, Google's MSJ
                              Applications, 5th Edition, 2021, Sage Publications                                                                                      took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
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 DX      1320                 National Research Council, "Cognitive Aspects of    Amir                  Identification                                                Relevance; Foundation; 403
                              Survey Methodology Building a Bridge Between                                                                                            (extrinsic evidence, Google's MSJ
                              Disciplines," Washington, DC The National                                                                                               took position that contract was
                              Academies Press, 1984                                                                                                                   unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
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 DX      1321                 Turow, Joseph, et al., “Consumers Understanding     Amir                  Identification                                                Relevance; Foundation; 403
                              of Privacy Rules in the Marketplace,” Journal of                                                                                        (extrinsic evidence, Google's MSJ
                              Consumer Affairs, Vol. 42, No. 3, 2008                                                                                                  took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1322                 Miller, Jeff, “Online Marketing Research,” in The   Amir                  Identification                                                Relevance; Foundation; 403
                              Handbook of Marketing Research, Grover, Rajiv                                                                                           (extrinsic evidence, Google's MSJ
                              and Marco Vriens, eds., Sage Publications, 2006                                                                                         took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
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 DX      1323                 Malhotra, Naresh K., “Questionnaire Design and   Amir                     Identification                                                Relevance; Foundation; 403
                              Scale Development,” in The Handbook of Marketing                                                                                        (extrinsic evidence, Google's MSJ
                              Research, Grover, Rajiv and Marco Vriens, eds.,                                                                                         took position that contract was
                              2006, Sage Publications                                                                                                                 unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
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 DX      1324                 Lee, Chan J., “The Test Taker s Fallacy How       Amir                    Identification                                                Relevance; Foundation; 403
                              Students Guess Answers on Multiple-Choice Tests,”                                                                                       (extrinsic evidence, Google's MSJ
                              Journal of Behavioral Decision Making, 2018                                                                                             took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
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 DX      1325                 Simonson, Itamar and Ran Kivetz, “Demand Effects Amir                     Identification                                                Relevance; Foundation; 403
                              in Likelihood of Confusion Surveys The                                                                                                  (extrinsic evidence, Google's MSJ
                              Importance of Marketplace Conditions,” Trademark                                                                                        took position that contract was
                              and Deceptive Advertising Surveys Law, Science                                                                                          unambiguous); 403, 704 (invades
                              and Design, eds. Shari Seidman Diamond and Jerre                                                                                        province of the trier of fact);
                              B. Swann, American Bar Association, 2012                                                                                                subject to anticipated MIL.


 DX      1326                 Google Ads Help Center, "Why you re seeing an       Strombom              Identification                                                Relevance; Foundation; 403
                              ad,” available at https //perma.cc/M4YC-J5QK                                                                                            (extrinsic evidence, Google's MSJ
                                                                                                                                                                      took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact).

 DX      1327                 “Kids Counter Data Center,” The Anne E. Casey       Strombom              Identification                                                Relevance; Foundation; 403
                              Foundation, updated September 2021, available at                                                                                        (extrinsic evidence, Google's MSJ
                              https //perma.cc/5SGA-LN6A                                                                                                              took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact).

 DX      1328                 “Number of Active Gmail Users 2022/2023             Strombom              Identification                                                None
                              Statistics, Demographics, & Usage,”
                              FinancesOnline, available at https //perma.cc/83ZR-
                              NXB7
 DX      1329                 “Stretching Device Life; Exploring When Americans Strombom                Identification                                                Relevance; Foundation; 403
                              Update Their Electronics,” Office Depot, available                                                                                      (extrinsic evidence, Google's MSJ
                              at https //perma.cc/X3TT-Y7YY                                                                                                           took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1330                 “USA Today Latest World and USNews –                Strombom              Identification                                                Relevance; Foundation; 403
                              USATODAY.com,” available at                                                                                                             (extrinsic evidence, Google's MSJ
                              https //perma.cc/ZZ72-T3P6                                                                                                              took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1331                 A. Abbott, “Measures of Discount for Lack of        Strombom              Identification                                                Relevance; Foundation; 403
                              Marketability and Liquidity,” The Valuation                                                                                             (extrinsic evidence, Google's MSJ
                              Handbook, Wiley, 2010, pp. 474–507 at p. 474                                                                                            took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1332                 Alphabet Inc., SEC Forms 10-K for the periods      Strombom               Identification                                                None
                              ended Dec. 31, 2016 - 2021
 DX      1333                 Alphabet, Inc., SEC Form 10-K for the period ended Strombom               Identification                                                None
                              Dec. 31, 2017
 DX      1334                 Alphabet, Inc., SEC Form 10-K for the period ended Strombom               Identification                                                None
                              Dec. 31, 2020, p. 38
 DX      1335                 "Apple and Privacy," Apple Insider, available at   Strombom               Identification                                                Relevance; Foundation; 403
                              https //perma.cc/95B9-4KXC                                                                                                              (extrinsic evidence, Google's MSJ
                                                                                                                                                                      took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact).

 DX      1336                 U.S. Bureau of Labor Statistics, Occupational       Strombom              Identification                                                Relevance; Foundation; 403
                              Employment and Wage Statistics, May 2020 data,                                                                                          (extrinsic evidence, Google's MSJ
                              available at https //perma.cc/H9G2-XGZ3                                                                                                 took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact).




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 DX      1337                 “Privacy Is Becoming a Premium Service,” Slate,    Strombom               Identification                                                Relevance; Foundation; 403
                              Mar. 31, 2015, available at https //perma.cc/Z9ME-                                                                                      (extrinsic evidence, Google's MSJ
                              W6X7                                                                                                                                    took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1338                 “People Don t Want to Trade Privacy for Targeted    Strombom              Identification                                                Relevance; Foundation; 403
                              Ads,” Poynter, Jan. 14, 2016, available at                                                                                              (extrinsic evidence, Google's MSJ
                              https //perma.cc/D4RN-5Y3H                                                                                                              took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1339                 “AT&T to halt gathering customers' web-browsing     Strombom              Identification                                                Relevance; Foundation; 403
                              data, stop charging for an opt-out,” The Business                                                                                       (extrinsic evidence, Google's MSJ
                              Journals, Oct 3, 2016, available at                                                                                                     took position that contract was
                              https //perma.cc/2Z6M-2PGJ                                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact).

 DX      1340                 Google Ads & Commerce Blog, "Get more               Strombom              Identification                                                Relevance; Foundation; 403
                              powerful bid automation with new AdWords Smart                                                                                          (extrinsic evidence, Google's MSJ
                              Bidding," July 25, 2016, available at                                                                                                   took position that contract was
                              https //blog.google/products/ads/more-powerful-bid-                                                                                     unambiguous); 403, 704 (invades
                              automation-with-smart-bidding/                                                                                                          province of the trier of fact).

 DX      1341                 Google, Ads Help Center, "Automated bid strategy    Strombom              Identification                                                Relevance; Foundation; 403
                              Definition," available at https //perma.cc/ZZ2S-                                                                                        (extrinsic evidence, Google's MSJ
                              34M6                                                                                                                                    took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact).

 DX      1342                 Google Inside AdWords Blog, "Target CPA             Strombom              Identification                                                Relevance; Foundation; 403
                              Bidding A new way to meet your ROI goals with                                                                                           (extrinsic evidence, Google's MSJ
                              Conversion Optimizer," May 3, 2010, available at                                                                                        took position that contract was
                              https //perma.cc/H7FX-N3C5                                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact).

 DX      1343                 Google Ipsos Screenwise Panel, Google Panel          Strombom             Identification                                                None
                              Privacy Policy, available at https //perma.cc/UEG5-
                              239H
 DX      1344                 Google Ipsos Screenwise Panel, Terms &               Strombom             Identification                                                None
                              Conditions, available at https //perma.cc/JPK3-
                              T65S
 DX      1345                 “Rethinking Retail. Insights from consumers and      Strombom             Identification                                                Relevance; Foundation; 403
                              retailers into an omni-channel shopping experience,”                                                                                    (extrinsic evidence, Google's MSJ
                              Infosys, available at https //perma.cc/8WSQ-VAFA                                                                                        took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1346                 Google Ipsos Screenwise Panel, Cookie Policy Pop- Strombom                Identification                                                None
                              Up, available at https //perma.cc/L4MN-35RF

 DX      1347                 Google, Ipsos Screenwise Panel Privacy Policy,      Strombom              Identification                                                None
                              available at https //screenwisepanel.com/ipsos-Sow-
                              privacy-policy

 DX      1348                 “Google s rocky path to email domination,” CNBC, Strombom                 Identification                                                Relevance; Foundation; 403
                              Oct. 26, 2019, available at https //perma.cc/QG2J-                                                                                      (extrinsic evidence, Google's MSJ
                              GSWB                                                                                                                                    took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact).

 DX      1349                 “Apple Killed The IDFA. What Else Dies?,” Forbes, Strombom                Identification                                                Relevance; Foundation; 403
                              June 29, 2020, available at https //perma.cc/66CR-                                                                                      (extrinsic evidence, Google's MSJ
                              6RGB                                                                                                                                    took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact).

 DX      1350                 Jon Brodkin, “AT&T s Plan to Watch Your Web         Strombom              Identification                                                None
                              Browsing--and What You Can Do About It?,”
                              ArsTechnica, Mar. 27, 2015, available at
                              https //perma.cc/RCQ9-56G4
 DX      1351                 Mankiw, N.G. “Principles of Economics,” 6th Ed., Strombom                 Identification                                                None
                              2011, pp. 379-380
 DX      1352                 “Please Take My Data Why Consumers Want More Strombom                     Identification                                                Relevance; Foundation; 403
                              Personalized Marketing,” Salesforce, Dec. 2, 2016,                                                                                      (extrinsic evidence, Google's MSJ
                              available at https //perma.cc/Z2Z9-ZGZN                                                                                                 took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1353                 Microsoft Support, Microsoft Edge, browsing data, Strombom                Identification                                                None
                              and privacy," available at https //perma.cc/NPA2-
                              N523
 DX      1354                 “Student Access to Digital Learning Resources       Strombom              Identification                                                Relevance; Foundation; 403
                              Outside the Classroom,” National Center for                                                                                             (extrinsic evidence, Google's MSJ
                              Education Statistics, U.S. Department of Education,                                                                                     took position that contract was
                              Apr. 2018, available at https //perma.cc/9RZE-                                                                                          unambiguous); 403, 704 (invades
                              GTLP                                                                                                                                    province of the trier of fact).

 DX      1355                 Nielsen Computer and Mobile Panel, available at      Strombom             Identification                                                None
                              https //perma.cc/TEL6-RCK3
 DX      1356                 “A third of Americans live in a household with three Strombom             Identification                                                None
                              or more smartphones,” Pew Research Center, May
                              25, 2017, available at https //perma.cc/7Q73-Q48U




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                                                                                                                                                                                                               Only)
 DX      1357                 “Topline questionnaire,” Pew Research Center,      Strombom              Identification                                                Relevance; Foundation; 403
                              available at https //perma.cc/NG6V-GAZV                                                                                                (extrinsic evidence, Google's MSJ
                                                                                                                                                                     took position that contract was
                                                                                                                                                                     unambiguous); 403, 704 (invades
                                                                                                                                                                     province of the trier of fact);
                                                                                                                                                                     subject to anticipated MIL.


 DX      1358                 Pindyck and Rubinfeld, “Microeconomics,” 8th Ed., Strombom               Identification                                                None
                              2013, pp. 530-533
 DX      1359                 “Trends in Customer Trust,” Research Brief,       Strombom               Identification                                                Relevance; Foundation; 403
                              Salesforce Research, available at                                                                                                      (extrinsic evidence, Google's MSJ
                              https //perma.cc/YJ8U-YT55                                                                                                             took position that contract was
                                                                                                                                                                     unambiguous); 403, 704 (invades
                                                                                                                                                                     province of the trier of fact);
                                                                                                                                                                     subject to anticipated MIL.


 DX      1360                 Nielsen Computer & Mobile Panel, “Nielsen U.S. Strombom                  Identification                                                None
                              Panel Privacy Notice Summary,” available at
                              https //perma.cc/4UE6-ZB9C
 DX      1361                 “The 2017 State of Personalization Report,”      Strombom                Identification                                                Relevance; Foundation; 403
                              Segment, available at https //perma.cc/2456-8EW6                                                                                       (extrinsic evidence, Google's MSJ
                                                                                                                                                                     took position that contract was
                                                                                                                                                                     unambiguous); 403, 704 (invades
                                                                                                                                                                     province of the trier of fact);
                                                                                                                                                                     subject to anticipated MIL.


 DX      1362                 “How it Works,” Survey Savvy, available at         Strombom              Identification                                                Relevance; Foundation; 403
                              https //perma.cc/CDD5-CVWA                                                                                                             (extrinsic evidence, Google's MSJ
                                                                                                                                                                     took position that contract was
                                                                                                                                                                     unambiguous); 403, 704 (invades
                                                                                                                                                                     province of the trier of fact);
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 DX      1363                 “How can we help you,” UpVoice FAQ, available at Strombom                Identification                                                Relevance; Foundation; 403
                              https //perma.cc/6CLT-NXT7                                                                                                             (extrinsic evidence, Google's MSJ
                                                                                                                                                                     took position that contract was
                                                                                                                                                                     unambiguous); 403, 704 (invades
                                                                                                                                                                     province of the trier of fact);
                                                                                                                                                                     subject to anticipated MIL.


 DX      1364                 Wooldridge, Jeffrey M., Introductory Econometrics Strombom               Identification                                                None
                              A Modern Approach. 5th ed. Mason South-Western
                              Cengate Learning, 2013, pp. 22-26

 DX      1365                 Amazon Ads, “A beginner s guide to programmatic Zervas                   Identification                                                Relevance; Foundation; 403
                              advertising,” Mar. 11, 2021, available at                                                                                              (extrinsic evidence, Google's MSJ
                              https //advertising.amazon.com/blog/programmatic-                                                                                      took position that contract was
                              advertising                                                                                                                            unambiguous); 403, 704 (invades
                                                                                                                                                                     province of the trier of fact).

 DX      1366                 Internet Society, "About the IETF”, available at   Zervas                Identification                                                Relevance; Foundation; 403
                              https //www.internetsociety.org/about-theietf/                                                                                         (extrinsic evidence, Google's MSJ
                                                                                                                                                                     took position that contract was
                                                                                                                                                                     unambiguous); 403, 704 (invades
                                                                                                                                                                     province of the trier of fact).

 DX      1367                 Hochman Consultants, "About Us Helping your        Zervas                Identification                                                Relevance; Foundation; 403
                              business leverage the Internet,” available at                                                                                          (extrinsic evidence, Google's MSJ
                              https //perma.cc/86E7-A39K                                                                                                             took position that contract was
                                                                                                                                                                     unambiguous); 403, 704 (invades
                                                                                                                                                                     province of the trier of fact);
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 DX      1368                 Google, Chrome Web Store, "AdBlock –- best ad      Zervas                Identification                                                Relevance; Foundation; 403
                              blocker,” available at                                                                                                                 (extrinsic evidence, Google's MSJ
                              https //chrome.google.com/webstore/detail/adblock-                                                                                     took position that contract was
                              %E2%80%94-best-ad-                                                                                                                     unambiguous); 403, 704 (invades
                              blocker/gighmmpiobklfepjocnamgkkbiglidom?hl=e                                                                                          province of the trier of fact);
                              n-US                                                                                                                                   subject to anticipated MIL.


 DX      1369                 AdButler, “AdButler,” available at                 Zervas                Identification                                                Relevance; Foundation; 403
                              https //www.adbutler.com/                                                                                                              (extrinsic evidence, Google's MSJ
                                                                                                                                                                     took position that contract was
                                                                                                                                                                     unambiguous); 403, 704 (invades
                                                                                                                                                                     province of the trier of fact);
                                                                                                                                                                     subject to anticipated MIL.


 DX      1370                 “Ad-Supported Internet Brings over $1 Trillion to Zervas                 Identification                                                Relevance; Foundation; 403
                              the U.S. Economy, Representing 6 Percent of                                                                                            (extrinsic evidence, Google's MSJ
                              Country's Total GDP, According to IAB Study Led                                                                                        took position that contract was
                              by Harvard Business School Professor,” Interactive                                                                                     unambiguous); 403, 704 (invades
                              Advertising Bureau, Mar. 15, 2017, available at                                                                                        province of the trier of fact);
                              https //perma.cc/G9BS-85MJ                                                                                                             subject to anticipated MIL.


 DX      1371                 Adobe Analytics, "Analytics Anywhere in the        Zervas                Identification                                                Relevance; Foundation; 403
                              Customer Journey,” available at                                                                                                        (extrinsic evidence, Google's MSJ
                              https //perma.cc/6DYL-5AH4                                                                                                             took position that contract was
                                                                                                                                                                     unambiguous); 403, 704 (invades
                                                                                                                                                                     province of the trier of fact);
                                                                                                                                                                     subject to anticipated MIL.


 DX      1372                 PIWIK PRO, “Analyze the customer journey across Zervas                   Identification                                                Relevance; Foundation; 403
                              websites and apps,” available at                                                                                                       (extrinsic evidence, Google's MSJ
                              https //perma.cc/7MRA-9CBF                                                                                                             took position that contract was
                                                                                                                                                                     unambiguous); 403, 704 (invades
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 DX      1373                 Axos Bank, "APIs The Proven Tool for Efficient Zervas                     Identification                                                Relevance; Foundation; 403
                              Business Growth,” July 1, 2020, available at                                                                                            (extrinsic evidence, Google's MSJ
                              https //www.axosbank.com/blog/APIs-The-Proven-                                                                                          took position that contract was
                              Tool-for-Efficient-Business-Growth#                                                                                                     unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1374                 Microsoft Support, "Browse In Private in Microsoft Zervas                 Identification                                                None
                              Edge,”
                              https //support.microsoft.com/enus/microsoft-
                              edge/browse-inprivate-in-microsoft-edge-cd2c9a48-
                              0bc4-b98e-5e46-ac40c84e27e2
 DX      1375                 Mixpanel, "Build Better Products,” available at    Zervas                 Identification                                                Relevance; Foundation; 403
                              https //mixpanel.com/                                                                                                                   (extrinsic evidence, Google's MSJ
                                                                                                                                                                      took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1376                 Google, Chrome Developer Guide, "Chrome           Zervas                  Identification                                                None
                              DevTools,” available at https //perma.cc/9T24-
                              5L9C
 DX      1377                 HP Tech Takes, “Computer Cookies What They        Zervas                  Identification                                                Relevance; Foundation; 403
                              Are and How They Work,” Nov. 26, 2018, available                                                                                        (extrinsic evidence, Google's MSJ
                              at https //www.hp.com/us-en/shop/tech-takes/what-                                                                                       took position that contract was
                              are-computer-cookies                                                                                                                    unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1378                 Grammarly, "Cookie Policy,” Dec. 30, 2019,         Zervas                 Identification                                                Relevance; Foundation; 403
                              available at https //perma.cc/V5MQ-G8B9                                                                                                 (extrinsic evidence, Google's MSJ
                                                                                                                                                                      took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1379                 Flashtalking, "Cookie Rejection Report 2020,”       Zervas                Identification                                                Relevance; Foundation; 403
                              available at                                                                                                                            (extrinsic evidence, Google's MSJ
                              https //static1.squarespace.com/static/5c17fee58ab7                                                                                     took position that contract was
                              22e19b765b9d/t/5ebb2cad66d47b4c5c9f21a9/158                                                                                             unambiguous); 403, 704 (invades
                              9324990858/Flashtalking_Cookie_Rejection_Repo                                                                                           province of the trier of fact);
                              rt_2020.pdf                                                                                                                             subject to anticipated MIL.


 DX      1380                 GeeksforGeeks, “cp command in Linux with           Zervas                 Identification                                                None
                              examples,” Feb. 19, 2021, available at
                              https //perma.cc/2TV6-H3DY
 DX      1381                 World Wide Web Consortium, “Definition of User Zervas                     Identification                                                None
                              Agent,” June 16, 2011, available at
                              https //perma.cc/5FCX-K45N
 DX      1382                 The Windows Club, "Disable JavaScript in Chrome, Zervas                   Identification                                                None
                              Edge, Firefox, Opera, Internet Explorer on Windows
                              11/10,” available at
                              https //www.thewindowsclub.com/disable-
                              javascriptchrome-ie-firefox-opera
 DX      1383                 Apple, Developer Forums Thread, “Does Safari Web Zervas                   Identification                                                Relevance; Foundation; 403
                              Extensions include Private Browsing?” available at                                                                                      (extrinsic evidence, Google's MSJ
                              https //developer.apple.com/forums/thread/650294                                                                                        took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1384                 Mozilla, Support Center, “Extensions in Private    Zervas                 Identification                                                Relevance; Foundation; 403
                              Browsing,” available at                                                                                                                 (extrinsic evidence, Google's MSJ
                              https //support.mozilla.org/en-US/kb/extensions-                                                                                        took position that contract was
                              private-browsing                                                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1385                 MediaRadar, "Facebook Advertisers Direct vs        Zervas                 Identification                                                Relevance; Foundation; 403
                              Programmatic Buying Trends,” May 27, 2021,                                                                                              (extrinsic evidence, Google's MSJ
                              available at https //mediaradar.com/blog/facebook-                                                                                      took position that contract was
                              advertisers-direct-vs-programmatic/                                                                                                     unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1386                 Matomo, "Google Analytics alternative that protects Zervas                Identification                                                Relevance; Foundation; 403
                              your data and your customers privacy,” available at                                                                                     (extrinsic evidence, Google's MSJ
                              https //matomo.org/                                                                                                                     took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1387                 Firefox, Browser Add-Ons, "Google Analytics      Zervas                   Identification                                                Relevance; Foundation; 403
                              Blocker,” available at https //perma.cc/L3RXX2A6                                                                                        (extrinsic evidence, Google's MSJ
                                                                                                                                                                      took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1388                 iubenda, “Google and TCF 2.0 how to collect       Zervas                  Identification                                                Relevance; Foundation; 403
                              consent for personalized ads,” available at                                                                                             (extrinsic evidence, Google's MSJ
                              https //www.iubenda.com/en/help/16041-google-tcf-                                                                                       took position that contract was
                              consent-personalized-ads                                                                                                                unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1389                 Google, The Keyword Blog Post, “Google             Zervas                 Identification                                                Relevance; Foundation; 403
                              Chrome,” available at https //perma.cc/5QFA-CBF                                                                                         (extrinsic evidence, Google's MSJ
                                                                                                                                                                      took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
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 DX      1390                 Visa, “Growing your business with APIs,” available Zervas                 Identification                                                Relevance; Foundation; 403
                              at                                                                                                                                      (extrinsic evidence, Google's MSJ
                              https //usa.visa.com/content/dam/VCOM/download/                                                                                         took position that contract was
                              partner-with-us/growingbusiness-api-whitepaper.pdf                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact).

 DX      1391                 CookieYes, "Guide to Third-party Cookies,” Mar.     Zervas                Identification                                                Relevance; Foundation; 403
                              24, 2022, available at                                                                                                                  (extrinsic evidence, Google's MSJ
                              https //www.cookieyes.com/blog/third-party-                                                                                             took position that contract was
                              cookies/                                                                                                                                unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1392                 Mozilla, Support Center, "How do I turn on the Do Zervas                  Identification                                                Relevance; Foundation; 403
                              Not Track feature,” available at                                                                                                        (extrinsic evidence, Google's MSJ
                              https //support.mozilla.org/en-US/kb/howdo-i-turn-                                                                                      took position that contract was
                              do-not-track-feature                                                                                                                    unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact).

 DX      1393                 GeeksforGeeks, "HTTP headers | User-Agent,” Oct. Zervas                   Identification                                                None
                              11, 2019, available at https //perma.cc/QAA8-S428

 DX      1394                 W3 Schools, "HTTP Request Methods,” available at Zervas                   Identification                                                None
                              https //www.w3schools.com/tags/ref_httpmethods.a
                              sp

 DX      1395                 IBM, “IPv4 and IPv6 address formats,” Mar. 2,       Zervas                Identification                                                None
                              2021, available at
                              https //www.ibm.com/docs/en/ts3500-tape-
                              library?topic=functionality-ipv4-ipv6-
                              addressformats
 DX      1396                 NAI, "Manage my Browser s Opt Outs,” available at Zervas                  Identification                                                Relevance; Foundation; 403
                              https //thenai.org/opt-out/                                                                                                             (extrinsic evidence, Google's MSJ
                                                                                                                                                                      took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact).

 DX      1397                 OpenX, “OpenX,” available at                        Zervas                Identification                                                Relevance; Foundation; 403
                              https //www.openx.com/                                                                                                                  (extrinsic evidence, Google's MSJ
                                                                                                                                                                      took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact).

 DX      1398                 Mozilla, “POST,” available at                       Zervas                Identification                                                Relevance; Foundation; 403
                              https //developer.mozilla.org/en-                                                                                                       (extrinsic evidence, Google's MSJ
                              US/docs/Web/HTTP/Methods/POST                                                                                                           took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1399                 Accuweather, "Privacy Policy,” Aug. 21, 2020,       Zervas                Identification                                                Relevance; Foundation; 403
                              available at https //perma.cc/4NT5-WCHW                                                                                                 (extrinsic evidence, Google's MSJ
                                                                                                                                                                      took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1400                 Change.org, "Privacy Policy,” Mar. 25, 2022,        Zervas                Identification                                                Relevance; Foundation; 403
                              available at https //perma.cc/G2HG-5AEV                                                                                                 (extrinsic evidence, Google's MSJ
                                                                                                                                                                      took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1401                 LinkedIn, "Privacy Policy,” Aug. 11, 2020, available Zervas               Identification                                                Relevance; Foundation; 403
                              at https //perma.cc/2TT8-37Q2                                                                                                           (extrinsic evidence, Google's MSJ
                                                                                                                                                                      took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1402                 Privy, "Privacy Policy,” Dec. 20, 2019, available at Zervas               Identification                                                Relevance; Foundation; 403
                              https //perma.cc/A8HS-5M6E                                                                                                              (extrinsic evidence, Google's MSJ
                                                                                                                                                                      took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1403                 The Washington Post, "Privacy Policy,” Oct. 5,      Zervas                Identification                                                Relevance; Foundation; 403
                              2021, available at https //perma.cc/5WVW-YRQV                                                                                           (extrinsic evidence, Google's MSJ
                                                                                                                                                                      took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1404                 Mozilla Support Center, "Private Browsing - Use     Zervas                Identification                                                Relevance; Foundation; 403
                              Firefox without saving history,” available at                                                                                           (extrinsic evidence, Google's MSJ
                              https //perma.cc/X9NG-QCB8                                                                                                              took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1405                 Google, Fiber Help Center “Static vs. dynamic IP Zervas                   Identification                                                None
                              addresses,” available at
                              https //support.google.com/fiber/answer/3547208?h
                              l=en




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 DX      1406                 MDN Web Docs “Strategies for carrying out         Zervas                 Identification                                                Relevance; Foundation; 403
                              testing,” available at https //perma.cc/F5G6-KN2C                                                                                      (extrinsic evidence, Google's MSJ
                                                                                                                                                                     took position that contract was
                                                                                                                                                                     unambiguous); 403, 704 (invades
                                                                                                                                                                     province of the trier of fact);
                                                                                                                                                                     subject to anticipated MIL.


 DX      1407                 Google, Chrome Web Store “Sybu JavaScript         Zervas                 Identification                                                Relevance; Foundation; 403
                              Blocker,” available at                                                                                                                 (extrinsic evidence, Google's MSJ
                              https //chrome.google.com/webstore/detail/sybu-                                                                                        took position that contract was
                              javascriptblocker/ceicidjdokcfbnkdenbhmnonehglgil                                                                                      unambiguous); 403, 704 (invades
                              k                                                                                                                                      province of the trier of fact);
                                                                                                                                                                     subject to anticipated MIL.


 DX      1408                 At Internet “Tag,” available at                    Zervas                Identification                                                None
                              https //www.atinternet.com/en/glossary/tag-3/

 DX      1409                 Microsoft Edge, Support Center, “Temporarily       Zervas                Identification                                                Relevance; Foundation; 403
                              allow cookies and site data in Microsoft Edge,”                                                                                        (extrinsic evidence, Google's MSJ
                              available at                                                                                                                           took position that contract was
                              https //support.microsoft.com/enus/microsoft-                                                                                          unambiguous); 403, 704 (invades
                              edge/temporarily-allow-cookies-and-site-data-in-                                                                                       province of the trier of fact);
                              microsoft-edge-597f04f2-c0ce-f08c-7c2b-                                                                                                subject to anticipated MIL.
                              541086362bd2
 DX      1410                 Hochman Consultants, “The Internet Marketing      Zervas                 Identification                                                Relevance; Foundation; 403
                              Process,” available at https //perma.cc/Y354-MANZ                                                                                      (extrinsic evidence, Google's MSJ
                                                                                                                                                                     took position that contract was
                                                                                                                                                                     unambiguous); 403, 704 (invades
                                                                                                                                                                     province of the trier of fact);
                                                                                                                                                                     subject to anticipated MIL.


 DX      1411                 The New York Times “The New York Times           Zervas                  Identification                                                Relevance; Foundation; 403
                              Company Reports First-Quarter 2022 Results,” May                                                                                       (extrinsic evidence, Google's MSJ
                              4, 2022, available at https //perma.cc/QR4R-EHP6                                                                                       took position that contract was
                                                                                                                                                                     unambiguous); 403, 704 (invades
                                                                                                                                                                     province of the trier of fact);
                                                                                                                                                                     subject to anticipated MIL.


 DX      1412                 Wistia “The Video Host with the Most,” available   Zervas                Identification                                                Relevance; Foundation; 403
                              at https //perma.cc/BR2B-UZ9W                                                                                                          (extrinsic evidence, Google's MSJ
                                                                                                                                                                     took position that contract was
                                                                                                                                                                     unambiguous); 403, 704 (invades
                                                                                                                                                                     province of the trier of fact);
                                                                                                                                                                     subject to anticipated MIL.


 DX      1413                 Small Business Trends “Three Ways APIs Are          Zervas               Identification                                                Relevance; Foundation; 403
                              Keeping Small Businesses Digitally Competitive,”                                                                                       (extrinsic evidence, Google's MSJ
                              Feb. 10, 2022, available at                                                                                                            took position that contract was
                              https //smallbiztrends.com/2022/02/api-and-digital-                                                                                    unambiguous); 403, 704 (invades
                              transformation.html                                                                                                                    province of the trier of fact);
                                                                                                                                                                     subject to anticipated MIL.


 DX      1414                 Microsoft Edge “Tracking prevention in Microsoft Zervas                  Identification                                                Relevance; Foundation; 403
                              Edge,” available at https //docs.microsoft.com/en-                                                                                     (extrinsic evidence, Google's MSJ
                              us/microsoft-edge/web-platform/trackingprevention                                                                                      took position that contract was
                                                                                                                                                                     unambiguous); 403, 704 (invades
                                                                                                                                                                     province of the trier of fact);
                                                                                                                                                                     subject to anticipated MIL.


 DX      1415                 CDW Research Hub “Types of Network Protocols, Zervas                     Identification                                                None
                              Explained,” available at
                              https //www.cdw.com/content/cdw/en/articles/netw
                              orking/types-of-network-protocols.html

 DX      1416                 Hotjar “Understand how users behave on your site, Zervas                 Identification                                                Relevance; Foundation; 403
                              what they need, and how they feel, fast,” available at                                                                                 (extrinsic evidence, Google's MSJ
                              https //www.hotjar.com/                                                                                                                took position that contract was
                                                                                                                                                                     unambiguous); 403, 704 (invades
                                                                                                                                                                     province of the trier of fact);
                                                                                                                                                                     subject to anticipated MIL.


 DX      1417                 World Wide Web Consortium “URIs,               Zervas                    Identification                                                Relevance; Foundation; 403
                              Addressability, and the use of HTTP GET and                                                                                            (extrinsic evidence, Google's MSJ
                              POST,” Mar. 21, 2004, available at                                                                                                     took position that contract was
                              https //www.w3.org/2001/tag/doc/whenToUseGet.h                                                                                         unambiguous); 403, 704 (invades
                              tml#checklist                                                                                                                          province of the trier of fact).

 DX      1418                 Apple Support “Use Private Browsing in Safari on Zervas                  Identification                                                None
                              Mac,” available at
                              https //support.apple.com/guide/safari/browse-
                              privately-ibrw1069/mac
 DX      1419                 Mozilla MDN Web Doc “Using HTTP cookies,”          Zervas                Identification                                                Relevance; Foundation; 403
                              available at https //developer.mozilla.org/en-                                                                                         (extrinsic evidence, Google's MSJ
                              US/docs/Web/HTTP/Cookies                                                                                                               took position that contract was
                                                                                                                                                                     unambiguous); 403, 704 (invades
                                                                                                                                                                     province of the trier of fact);
                                                                                                                                                                     subject to anticipated MIL.


 DX      1420                 World Wide Web Consortium Article “W3C TAG Zervas                        Identification                                                Relevance; Foundation; 403
                              Observations on Private Browsing Modes,” July 5,                                                                                       (extrinsic evidence, Google's MSJ
                              2019, available at https //perma.cc/5CHW-LNER                                                                                          took position that contract was
                                                                                                                                                                     unambiguous); 403, 704 (invades
                                                                                                                                                                     province of the trier of fact).

 DX      1421                 MDN Web Doc “What are browser developer            Zervas                Identification                                                Relevance; Foundation; 403
                              tools?”, available at https //perma.cc/SL8Y-WSFP                                                                                       (extrinsic evidence, Google's MSJ
                                                                                                                                                                     took position that contract was
                                                                                                                                                                     unambiguous); 403, 704 (invades
                                                                                                                                                                     province of the trier of fact);
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 DX      1422                 Cloudflare “What are cookies | Cookies definition,” Zervas                Identification                                                None
                              available at
                              https //www.cloudflare.com/learning/privacy/what-
                              are-cookies/
 DX      1423                 Amazon, “What is Amazon DSP?”, available at         Zervas                Identification                                                Relevance; Foundation; 403
                              https //advertising.amazon.com/solutions/products/a                                                                                     (extrinsic evidence, Google's MSJ
                              mazon-dsp                                                                                                                               took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1424                 Mozilla MDN Web Doc “What is JavaScript?”,        Zervas                  Identification                                                Relevance; Foundation; 403
                              available at https //developer.mozilla.org/en-                                                                                          (extrinsic evidence, Google's MSJ
                              US/docs/Learn/JavaScript/First_steps/What_is_Java                                                                                       took position that contract was
                              Script                                                                                                                                  unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1425                 How-To Geek “Which Tracking Prevention Setting Zervas                     Identification                                                Relevance; Foundation; 403
                              Should You Use in Microsoft Edge,” Feb. 11, 2020,                                                                                       (extrinsic evidence, Google's MSJ
                              available at                                                                                                                            took position that contract was
                              https //www.howtogeek.com/569951/which-                                                                                                 unambiguous); 403, 704 (invades
                              trackingprevention-setting-should-you-use-in-                                                                                           province of the trier of fact);
                              microsoft-edge/                                                                                                                         subject to anticipated MIL.


 DX      1426                 W3 Schools “XML HttpRequest,” available at          Zervas                Identification                                                None
                              https //www.w3schools.com/xml/xml_http.asp


 DX      1427                 Mozilla MDN Web Doc “XMLHttpRequest,”               Zervas                Identification                                                Relevance; Foundation; 403
                              available at https //developer.mozilla.org/en-                                                                                          (extrinsic evidence, Google's MSJ
                              US/docs/Web/API/XMLHttpRequest                                                                                                          took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact).

 DX      1428                 Ahmad, Nadim, and Paul Schreyer, “Measuring         Zervas                Identification                                                Relevance; Foundation; 403
                              GDP in a Digitalized Economy,” OECD Statistics                                                                                          (extrinsic evidence, Google's MSJ
                              Working Papers, No. 2016/07, 2016, available at                                                                                         took position that contract was
                              https //perma.cc/GNV6-GHRX                                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact).

 DX      1429                 Bacinger, Tomislav, “What is Bootstrap? A Short      Zervas               Identification                                                Relevance; Foundation; 403
                              Bootstrap Tutorial on the What, Why, and How,”                                                                                          (extrinsic evidence, Google's MSJ
                              TopTotal, available at https //www.toptal.com/front-                                                                                    took position that contract was
                              end/what-is-bootstrap-a-short-tutorial-on-the-what-                                                                                     unambiguous); 403, 704 (invades
                              why-andhow                                                                                                                              province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1430                 Bekh, Alona, “Advertising-based Revenue Model in Zervas                   Identification                                                Relevance; Foundation; 403
                              Digital Media Market,” Ekonomski                                                                                                        (extrinsic evidence, Google's MSJ
                              vjesnik/Econviews - Review of Contemporary                                                                                              took position that contract was
                              Business, Entrepreneurship and Economic Issues,                                                                                         unambiguous); 403, 704 (invades
                              Vol. 33, No. 2, 2020, available at                                                                                                      province of the trier of fact);
                              https //perma.cc/W7QP-YTPM                                                                                                              subject to anticipated MIL.


 DX      1431                 Benton, Joshua, “Your favorite way to get around Zervas                   Identification                                                Relevance; Foundation; 403
                              The New York Times paywall might be about to go                                                                                         (extrinsic evidence, Google's MSJ
                              away,” NiemanLab, Feb. 28, 2019, available at                                                                                           took position that contract was
                              https //perma.cc/F5ED-BV3H                                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1432                 Benzell, Seth G., Guillermo Lagarda, and Marshall   Zervas                Identification                                                Relevance; Foundation; 403
                              Van Alstyne, “The Impact of APIs on Firm                                                                                                (extrinsic evidence, Google's MSJ
                              Performance,” Boston University Questrom                                                                                                took position that contract was
                              School of Business Research Paper, available at                                                                                         unambiguous); 403, 704 (invades
                              https //perma.cc/5FRY-WTSF                                                                                                              province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1433                 Berman, Ron, and Ayelet Israeli, “The Value of      Zervas                Identification                                                Relevance; Foundation; 403
                              Descriptive Analytics Evidence from Online                                                                                              (extrinsic evidence, Google's MSJ
                              Retailers,” Harvard Business School, Working                                                                                            took position that contract was
                              Paper 21-067, 2021, available at                                                                                                        unambiguous); 403, 704 (invades
                              https //perma.cc/B7JY-V3UX                                                                                                              province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1434                 Blumenthal, Eli, “Apple updates Safari on iOS to   Zervas                 Identification                                                Relevance; Foundation; 403
                              block third-party cookies,” CNET, Mar. 25, 2020,                                                                                        (extrinsic evidence, Google's MSJ
                              available at                                                                                                                            took position that contract was
                              https //www.cnet.com/tech/computing/apple-                                                                                              unambiguous); 403, 704 (invades
                              updates-safari-on-ios-and-mac-to-block-thirdparty-                                                                                      province of the trier of fact);
                              cookies/                                                                                                                                subject to anticipated MIL.


 DX      1435                 Bradshaw, Kyle, “Google wants to make it harder     Zervas                Identification                                                Relevance; Foundation; 403
                              for sites to detect that you re using Chrome s                                                                                          (extrinsic evidence, Google's MSJ
                              Incognito Mode,” 9to5Google, Feb. 15, 2019,                                                                                             took position that contract was
                              available at https //perma.cc/QSX5-J6RV                                                                                                 unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1436                 Brynjolfsson, Erik and Joo Hee Oh, “The Attention Zervas                  Identification                                                Relevance; Foundation; 403
                              Economy Measuring the Value of Free Digital                                                                                             (extrinsic evidence, Google's MSJ
                              Services on the Internet,” Thirty Third International                                                                                   took position that contract was
                              Conference on Information Systems, Orlando                                                                                              unambiguous); 403, 704 (invades
                              2012, available at https //perma.cc/E2TZ-A6J9                                                                                           province of the trier of fact).




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 DX      1437                 Peacock, "Choose a Plan,” available at              Zervas                Identification                                                Relevance; Foundation; 403
                              https //perma.cc/MLK5-GX59                                                                                                              (extrinsic evidence, Google's MSJ
                                                                                                                                                                      took position that contract was
                                                                                                                                                                      unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1438                 Deighton, John, A., and Leora D. Kornfeld,           Zervas               Identification                                                Relevance; Foundation; 403
                              “Economic Value of the Advertising-Supported                                                                                            (extrinsic evidence, Google's MSJ
                              Internet Ecosystem,” Interactive Advertising Bureau,                                                                                    took position that contract was
                              Sept. 2012, available at https //perma.cc/2SS5-                                                                                         unambiguous); 403, 704 (invades
                              CGJK                                                                                                                                    province of the trier of fact).

 DX      1439                 Edelstein, Arthur, “Firefox 89 blocks cross-site    Zervas                Identification                                                Relevance; Foundation; 403
                              cookie tracking by default in private browsing,”                                                                                        (extrinsic evidence, Google's MSJ
                              Mozilla Security Blog, Mozilla Corporation, June 1,                                                                                     took position that contract was
                              2021, available at                                                                                                                      unambiguous); 403, 704 (invades
                              https //blog.mozilla.org/security/2021/06/01/total-                                                                                     province of the trier of fact).
                              cookie-protection-in-private-browsing/
 DX      1440                 Finley, Klint, “I Turned Off JavaScript for a Whole Zervas                Identification                                                Relevance; Foundation; 403
                              Week and It Was Glorious,” Wired, Nov. 18, 2015,                                                                                        (extrinsic evidence, Google's MSJ
                              available at https //www.wired.com/2015/11/i-                                                                                           took position that contract was
                              turned-off-javascript-fora-whole-week-and-it-was-                                                                                       unambiguous); 403, 704 (invades
                              glorious/                                                                                                                               province of the trier of fact).

 DX      1441                 Garett, Renee et al., “A Literature Review Website Zervas                 Identification                                                Relevance; Foundation; 403
                              Design and User Engagement,” Online Journal of                                                                                          (extrinsic evidence, Google's MSJ
                              Communication and Media Technologies, Vol. 6,3                                                                                          took position that contract was
                              (2016), available at                                                                                                                    unambiguous); 403, 704 (invades
                              https //www.ncbi.nlm.nih.gov/pmc/articles/PMC49                                                                                         province of the trier of fact).
                              74011/
 DX      1442                 Greenwood, Jeremy et al., “‘You Will A              Zervas                Identification                                                Relevance; Foundation; 403
                              Macroeconomic Analysis of Digital Advertising,”                                                                                         (extrinsic evidence, Google's MSJ
                              Economics of Digital Services @ Penn, 2021,                                                                                             took position that contract was
                              available at https //perma.cc/ZX8P-9LC2                                                                                                 unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact).

 DX      1443                 Hodge, Rae, “If You Care About Your Privacy, You Zervas                   Identification                                                Relevance; Foundation; 403
                              Need to Change These Browser Settings Right                                                                                             (extrinsic evidence, Google's MSJ
                              Now,” CNET, Feb. 26, 2022, available at                                                                                                 took position that contract was
                              https //www.cnet.com/tech/services-and-software/if-                                                                                     unambiguous); 403 (post-dates
                              you-care-about-your-privacy-you-needto-change-                                                                                          lawsuit); 403, 704 (invades
                              these-browser-settings-right-now/                                                                                                       province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1444                 Hodge, Rae, Holly, Russell, & David Gewirtz, “Best Zervas                 Identification                                                Relevance; Foundation; 403
                              VPN Service of 2022,” CNET, Mar. 26, 2022,                                                                                              (extrinsic evidence, Google's MSJ
                              available at https //www.cnet.com/tech/services-and-                                                                                    took position that contract was
                              software/best-vpn/                                                                                                                      unambiguous); 403 (post-dates
                                                                                                                                                                      lawsuit); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1445                 Hoffman, Chris, “What Is NoScript, and Should   Zervas                    Identification                                                Relevance; Foundation; 403
                              You Use It to Disable JavaScript?” How-To Geek,                                                                                         (extrinsic evidence, Google's MSJ
                              Nov. 21, 2017, available at                                                                                                             took position that contract was
                              https //www.howtogeek.com/138865/htg-explains-                                                                                          unambiguous); 403, 704 (invades
                              shouldyou-disable-javascript/                                                                                                           province of the trier of fact).

 DX      1446                 Klym, Natalie and David Clark, “The Future of the   Zervas                Identification                                                Relevance; Foundation; 403
                              Ad-Supported Internet Ecosystem,” MIT Internet                                                                                          (extrinsic evidence, Google's MSJ
                              Policy Research Initiative, 2019, available at                                                                                          took position that contract was
                              https //perma.cc/S6LC-KHPJ                                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact).

 DX      1447                 Kopachovets, Oleg, “3rd Party API [Benefits, Our    Zervas                Identification                                                Relevance; Foundation; 403
                              Experience, How-To],” PRCoders, Oct. 6, 2021,                                                                                           (extrinsic evidence, Google's MSJ
                              available at https //procoders.tech/blog/how-to-                                                                                        took position that contract was
                              integrate-third-party-api/                                                                                                              unambiguous); 403 (post-dates
                                                                                                                                                                      lawsuit); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1448                 Kurose, James F. & Ross, Keith W., “Computer  Zervas                      Identification                                                Relevance; Foundation; 403
                              Networking A Top-Down Approach,” 8th Edition,                                                                                           (extrinsic evidence, Google's MSJ
                              Pearson, 2021                                                                                                                           took position that contract was
                                                                                                                                                                      unambiguous); 403 (post-dates
                                                                                                                                                                      lawsuit); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1449                 Kyrnin, Jennifer, “Splash Pages Pros and Cons,”   Zervas                  Identification                                                Relevance; Foundation; 403
                              ThoughtCo., Feb. 25, 2021, available at                                                                                                 (extrinsic evidence, Google's MSJ
                              https //www.thoughtco.com/splash-pages-pros-cons-                                                                                       took position that contract was
                              3469116                                                                                                                                 unambiguous); 403 (post-dates
                                                                                                                                                                      lawsuit); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact);
                                                                                                                                                                      subject to anticipated MIL.


 DX      1450                 Nakamura, Leonard, Jon Samuels, and Rachel          Zervas                Identification                                                Relevance; Foundation; 403
                              Soloveichik “Valuing ‘Free Media in GDP An                                                                                              (extrinsic evidence, Google's MSJ
                              Experiment Approach,” Federal Reserve Board of                                                                                          took position that contract was
                              Philadelphia Working Paper, No. 16-24, 2016,                                                                                            unambiguous); 403, 704 (invades
                              available at https //perma.cc/4HMJ-7D3R                                                                                                 province of the trier of fact).

 DX      1451                 Patwegar, Waseem “How to Enable or Disable         Zervas                 Identification                                                Relevance; Foundation; 403
                              JavaScript In Chrome Browser,” Techbout, available                                                                                      (extrinsic evidence, Google's MSJ
                              at https //www.techbout.com/enable-disable-                                                                                             took position that contract was
                              javascript-chrome-36943/                                                                                                                unambiguous); 403, 704 (invades
                                                                                                                                                                      province of the trier of fact).




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 DX      1452                 Pearce, Joshua, M., “Energy Conservation with        Zervas                Identification                                                Relevance; Foundation; 403
                              Open Source Ad Blockers,” MDPI, Vol. 8, No. 2,                                                                                           (extrinsic evidence, Google's MSJ
                              2020, available at https //perma.cc/USH9-AQ8F                                                                                            took position that contract was
                                                                                                                                                                       unambiguous); 403 (post-dates
                                                                                                                                                                       lawsuit); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact);
                                                                                                                                                                       subject to anticipated MIL.


 DX      1453                 Prime, Joshua, “What is a Dynamic IP Address?”     Zervas                  Identification                                                None
                              OpenDNS, available at
                              https //support.opendns.com/hc/enus/articles/22798
                              7827-What-is-a-Dynamic-IP-Address-
 DX      1454                 Protalinski, Emil, “Chrome 83 arrives with        Zervas                   Identification                                                Relevance; Foundation; 403
                              redesigned security settings, thirdparty cookies                                                                                         (extrinsic evidence, Google's MSJ
                              blocked in Incognito” VentureBeat, May 19, 2020,                                                                                         took position that contract was
                              available at                                                                                                                             unambiguous); 403, 704 (invades
                              https //venturebeat.com/2020/05/19/google-chrome-                                                                                        province of the trier of fact).
                              83/
 DX      1455                 Rodden, Kerry et al., “Measuring the User            Zervas                Identification                                                Relevance; Foundation; 403
                              Experience on a Large Scale User-Centered Metrics                                                                                        (extrinsic evidence, Google's MSJ
                              for Web Applications,” ACM Press, Apr. 2010,                                                                                             took position that contract was
                              available at                                                                                                                             unambiguous); 403, 704 (invades
                              https //static.googleusercontent.com/media/research.                                                                                     province of the trier of fact);
                              google.com/en//pubs/archive/36299.pdf                                                                                                    subject to anticipated MIL.


 DX      1456                 Sabanovic, Edin, “How to Use Google Analytics to Zervas                    Identification                                                Relevance; Foundation; 403
                              Improve Your Web                                                                                                                         (extrinsic evidence, Google's MSJ
                              Design Projects,” Shopify Partners, Shopify, June                                                                                        took position that contract was
                              13, 2017, available at https //perma.cc/QG8Y-JYD8                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact).

 DX      1457                 TechRadar, "New chrome build will allow you to   Zervas                    Identification                                                None
                              block all cookies," Mar. 17, 2020, available at
                              https //www.techradar.com/news/new-chrome-build-
                              will-allow-you-to-block-all-cookies



 DX      1458                 Small Business Trends, "Three Ways APIs Are        Zervas                  Identification                                                Relevance; Foundation; 403
                              Keeping Small Businesses Digitally Competitive,”                                                                                         (extrinsic evidence, Google's MSJ
                              Feb. 10, 2022, available at https //perma.cc/6W7V-                                                                                       took position that contract was
                              ZR5N                                                                                                                                     unambiguous); 403 (post-dates
                                                                                                                                                                       lawsuit); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact);
                                                                                                                                                                       subject to anticipated MIL.


 DX      1459                 Tidal, Junior R., “Using Web Analytics for Mobile Zervas                   Identification                                                Relevance; Foundation; 403
                              Interface Development,” New York City College of                                                                                         (extrinsic evidence, Google's MSJ
                              Technology, 2013, available at                                                                                                           took position that contract was
                              https //perma.cc/Z6Z8-U5MW                                                                                                               unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact).

 DX      1460                 Vrountas, Ted, “What is Meta Pixel & What Does it Zervas                   Identification                                                Relevance; Foundation; 403
                              Do?” Instapage by Postclick, Feb. 14, 2022,                                                                                              (extrinsic evidence, Google's MSJ
                              available at https //instapage.com/blog/meta-pixel                                                                                       took position that contract was
                                                                                                                                                                       unambiguous); 403 (post-dates
                                                                                                                                                                       lawsuit); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact);
                                                                                                                                                                       subject to anticipated MIL.


 DX      1461                 Zacks' Equity Research, “Subscription Revenues a Zervas                    Identification                                                Relevance; Foundation; 403
                              Key Driver for NY Times (NYT) in 2022,” Yahoo,                                                                                           (extrinsic evidence, Google's MSJ
                              Dec. 21, 2021, available at https //perma.cc/BGY8-                                                                                       took position that contract was
                              EHW7                                                                                                                                     unambiguous); 403 (post-dates
                                                                                                                                                                       lawsuit); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact);
                                                                                                                                                                       subject to anticipated MIL.


 DX      1462                 TechTarget Article by Zola, Andrew, & Gillis       Zervas                  Identification                                                Relevance; Foundation; 403
                              “network packet,” available at                                                                                                           (extrinsic evidence, Google's MSJ
                              https //www.techtarget.com/searchnetworking/defini                                                                                       took position that contract was
                              tion/packet                                                                                                                              unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact).

 DX      1463                 Low Entropy “Entropy and Privacy Analysis,”          Psounis               Identification                                                Relevance; Foundation; 403
                              available at https //lowentropy.net/posts/entropy-                                                                                       (extrinsic evidence, Google's MSJ
                              privacy/                                                                                                                                 took position that contract was
                                                                                                                                                                       unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact).

 DX      1464                 Merriam-Websters.com Dictionary “Unique,”     Psounis                      Identification                                                Relevance; Foundation; 403
                              available at https //www.merriam-                                                                                                        (extrinsic evidence, Google's MSJ
                              webster.com/dictionary/unique# ~ text=1%20%3A                                                                                            took position that contract was
                              %20being%20the%20only%20one%20of%20its%                                                                                                  unambiguous); 403, 704 (invades
                              20kind%20Every%20snowflake,from%20Merriam                                                                                                province of the trier of fact).
                              %2DWebster%20on%20unique


 DX      1465                 A. Brush and K. Inkpen, “Yours, Mine and Ours?      Psounis                Identification                                                Relevance; Foundation; 403
                              Sharing and Use of Technology in Domestic                                                                                                (extrinsic evidence, Google's MSJ
                              Environments,” Proceedings of the 9th International                                                                                      took position that contract was
                              Conference on Ubiquitous Computing, 2007,                                                                                                unambiguous); 403, 704 (invades
                              available at https //www.microsoft.com/en-                                                                                               province of the trier of fact);
                              us/research/wp-                                                                                                                          subject to anticipated MIL.
                              content/uploads/2007/09/brushinkpenyoursmineour
                              s.pdf




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 DX      1466                 Aleksandar Kochovski, “The Top 25 VPN Statistics, Psounis                    Identification                                                Relevance; Foundation; 403
                              Facts & Trends for 2022,” Mar. 18, 2022, available                                                                                         (extrinsic evidence, Google's MSJ
                              at https //www.cloudwards.net/vpn-statistics/                                                                                              took position that contract was
                                                                                                                                                                         unambiguous); 403 (post-dates
                                                                                                                                                                         lawsuit); 403, 704 (invades
                                                                                                                                                                         province of the trier of fact);
                                                                                                                                                                         subject to anticipated MIL.


 DX      1467                 Alex Sherman, “Netflix estimates 100 million           Psounis               Identification                                                Relevance; Foundation; 403
                              households are sharing passwords and suggests a                                                                                            (extrinsic evidence, Google's MSJ
                              global crackdown is coming,” CNBC, Apr. 19,                                                                                                took position that contract was
                              2022, available at                                                                                                                         unambiguous); 403 (post-dates
                              https //www.cnbc.com/2022/04/19/netflix-warns-                                                                                             lawsuit); 403, 704 (invades
                              password-sharing-crackdown-is-coming.html                                                                                                  province of the trier of fact);
                                                                                                                                                                         subject to anticipated MIL.


 DX      1468                 Arjun Ruparelia, “Best DraftKings Sportsbook VPN Psounis                     Identification                                                Relevance; Foundation; 403
                              in 2022 Unblock DraftKings From Anywhere With                                                                                              (extrinsic evidence, Google's MSJ
                              a VPN,” Cloudwards, Apr. 27, 2022, available at                                                                                            took position that contract was
                              https //www.cloudwards.net/draftkings-sportsbook-                                                                                          unambiguous); 403 (post-dates
                              vpn/                                                                                                                                       lawsuit); 403, 704 (invades
                                                                                                                                                                         province of the trier of fact);
                                                                                                                                                                         subject to anticipated MIL.


 DX      1469                 B. Busse and M. Fuchs, “Prevalence of Cell Phone       Psounis               Identification                                                Relevance; Foundation; 403
                              Sharing,” Survey Methods Insights from the Field,                                                                                          (extrinsic evidence, Google's MSJ
                              2013, available at                                                                                                                         took position that contract was
                              https //surveyinsights.org/?p=1019                                                                                                         unambiguous); 403, 704 (invades
                                                                                                                                                                         province of the trier of fact).

 DX      1470                 Betty Griffin Center, “Safe Browsing,” available at    Psounis               Identification                                                Relevance; Foundation; 403
                              https //bettygriffincenter.org/help/                                                                                                       (extrinsic evidence, Google's MSJ
                                                                                                                                                                         took position that contract was
                                                                                                                                                                         unambiguous); 403, 704 (invades
                                                                                                                                                                         province of the trier of fact).

 DX      1471                 C. Park, et al., “Share and share alike? An       Psounis                    Identification                                                Relevance; Foundation; 403
                              exploration of secure behaviors in romantic                                                                                                (extrinsic evidence, Google's MSJ
                              relationships,” Fourteenth Symposium on Usable                                                                                             took position that contract was
                              Privacy and Security (SOUPS), 2018, available at                                                                                           unambiguous); 403, 704 (invades
                              https //www.researchgate.net/publication/32560853                                                                                          province of the trier of fact).
                              0_Share_and_Share_Alike_An_Exploration_of_Sec
                              ure_Behaviors_in_Romantic_Relationships



 DX      1472                 Center for Internet Security, “CIS Critical Security Psounis                 Identification                                                Relevance; Foundation; 403
                              Controls FAQ," available at                                                                                                                (extrinsic evidence, Google's MSJ
                              https //www.cisecurity.org/controls/cis-controls-faq                                                                                       took position that contract was
                                                                                                                                                                         unambiguous); 403, 704 (invades
                                                                                                                                                                         province of the trier of fact).

 DX      1473                 Center for Internet Security, “CIS Critical Security   Psounis               Identification                                                Relevance; Foundation; 403
                              Controls Version 8,” available at                                                                                                          (extrinsic evidence, Google's MSJ
                              https //www.cisecurity.org/controls/v8                                                                                                     took position that contract was
                                                                                                                                                                         unambiguous); 403, 704 (invades
                                                                                                                                                                         province of the trier of fact).

 DX      1474                 Chrome Developers, “User-Agent Strings,” available Psounis                   Identification                                                None
                              at
                              https //developer.chrome.com/docs/multidevice/user
                              agent/, updated Nov. 9, 2021
 DX      1475                 Chromium Code Search, “time.h,” available at    Psounis                      Identification                                                Relevance; Foundation; 403
                              https //source.chromium.org/chromium/chromium/s                                                                                            (extrinsic evidence, Google's MSJ
                              rc/+/main base/time/time.h;l=16-22?q=TimeTicks                                                                                             took position that contract was
                                                                                                                                                                         unambiguous); 403, 704 (invades
                                                                                                                                                                         province of the trier of fact).

 DX      1476                 Chromium Code Search, “user_action_event.proto,” Psounis                     Identification                                                Relevance; Foundation; 403
                              available at                                                                                                                               (extrinsic evidence, Google's MSJ
                              https //source.chromium.org/chromium/chromium/s                                                                                            took position that contract was
                              rc/+/main third_party/metrics_proto/user_action_ev                                                                                         unambiguous); 403, 704 (invades
                              ent.proto;l=21-27?q=time_sec                                                                                                               province of the trier of fact).

 DX      1477                 D. Plonka and A. Berger, “Temporal and Spatial        Psounis                Identification                                                Relevance; Foundation; 403
                              Classification of Active IPv6 Addresses,”                                                                                                  (extrinsic evidence, Google's MSJ
                              Proceedings of ACM Internet Measurement                                                                                                    took position that contract was
                              Conference (IMC), Oct. 28-30, 2015, available at                                                                                           unambiguous); 403, 704 (invades
                              https //www.akamai.com/site/en/documents/researc                                                                                           province of the trier of fact).
                              h-paper/temporal-and-spatial-classificationof-active-
                              ipv6-addresses-technical-publication.pdf



 DX      1478                 Day One Services, “Maintaining Privacy When You Psounis                      Identification                                                Relevance; Foundation; 403
                              Browse The Internet,” available at                                                                                                         (extrinsic evidence, Google's MSJ
                              http //dayoneservices.org/be-safe/                                                                                                         took position that contract was
                                                                                                                                                                         unambiguous); 403, 704 (invades
                                                                                                                                                                         province of the trier of fact).

 DX      1479                 Declaration of Jonathan E. Hochman, Telebrands         Psounis               Identification                                                Relevance; Foundation; 403
                              Corp., v. Tinnus Enterprises, LLC, Case No.                                                                                                (extrinsic evidence, Google's MSJ
                              PGR2015-00018                                                                                                                              took position that contract was
                                                                                                                                                                         unambiguous); 403, 704 (invades
                                                                                                                                                                         province of the trier of fact); 403,
                                                                                                                                                                         703 (expert reports not admissible)


 DX      1480                 E. Rye, R. Beverly, and K. Claffy, “Follow the         Psounis               Identification                                                Relevance; Foundation; 403
                              Scent Defeating IPv6 Prefix Rotation Privacy,”                                                                                             (extrinsic evidence, Google's MSJ
                              Proceedings of ACM Internet Measurement                                                                                                    took position that contract was
                              Conference (IMC), Nov. 2-4, 2021, available at                                                                                             unambiguous); 403, 704 (invades
                              https //arxiv.org/pdf/2102.00542.pdf                                                                                                       province of the trier of fact).




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 DX      1481                 Eli Yacobson, et al., “De-identification is            Psounis              Identification                                                Relevance; Foundation; 403
                              insufficient to protect student privacy, or What can a                                                                                    (extrinsic evidence, Google's MSJ
                              field trip reveal?,” Journal of Learning Analytics 8,                                                                                     took position that contract was
                              no 2, 2021, available at https //www.learning-                                                                                            unambiguous); 403, 704 (invades
                              analytics.info/index.php/JLA/article/view/7353                                                                                            province of the trier of fact).



 DX      1482                 Expert Report of Jonathan E. Hochman, Rockwood Psounis                      Identification                                                Relevance; Foundation; 403
                              Select Asset Fund XI, (6)-1, LLC v. Devine,                                                                                               (extrinsic evidence, Google's MSJ
                              Millimet & Branch, P.A., Case No. 1 14-cv-00303-                                                                                          took position that contract was
                              LM, 2016 WL 4260622 (D.N.H. Jan. 29, 2016)                                                                                                unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact); 403,
                                                                                                                                                                        703 (expert reports not admissible)


 DX      1483                 Google, Analytics Help Center “About User-ID         Psounis                Identification                                                Relevance; Foundation; 403
                              views,” available at https //perma.cc/9MGV-G8XP                                                                                           (extrinsic evidence, Google's MSJ
                                                                                                                                                                        took position that contract was
                                                                                                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact).

 DX      1484                 Google, Help Center, "Sign out of Chrome,"      Psounis                     Identification                                                Relevance; Foundation; 403
                              available at                                                                                                                              (extrinsic evidence, Google's MSJ
                              https //support.google.com/chrome/answer/915986                                                                                           took position that contract was
                              7?hl=en&co=GENIE.Platform%3DDesktop                                                                                                       unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact).

 DX      1485                 H. Muller, J. Gove, and J. Webb, “Understanding      Psounis                Identification                                                Relevance; Foundation; 403
                              Tablet Use A Multi-Method Exploration,”                                                                                                   (extrinsic evidence, Google's MSJ
                              Proceedings of the 14th international conference on                                                                                       took position that contract was
                              Human-computer interaction with mobile devices                                                                                            unambiguous); 403, 704 (invades
                              and services, 2012, available at                                                                                                          province of the trier of fact).
                              https //static.googleusercontent.com/media/research.
                              google.com/en//pubs/archive/38135.pdf



 DX      1486                 J. Kline, P. Barford, A. Cahn, and G. Sommers, “On Psounis                  Identification                                                Relevance; Foundation; 403
                              the structure and characteristics of user agent                                                                                           (extrinsic evidence, Google's MSJ
                              strings,” ACM Sigcomm, Nov. 1-3, 2017, available                                                                                          took position that contract was
                              at                                                                                                                                        unambiguous); 403, 704 (invades
                              https //conferences.sigcomm.org/imc/2017/papers/i                                                                                         province of the trier of fact).
                              mc17-final253.pdf
 DX      1487                 J.F. Kurose & K.W. Ross, Computer Networking A Psounis                      Identification                                                Relevance; Foundation; 403
                              Top-Down Approach, Ch. 4, 8th ed., 2020                                                                                                   (extrinsic evidence, Google's MSJ
                                                                                                                                                                        took position that contract was
                                                                                                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact).

 DX      1488                 Juliette Garside, “Ofcom six-year-olds understand Psounis                   Identification                                                Relevance; Foundation; 403
                              digital technology better than adults,” The Guardian,                                                                                     (extrinsic evidence, Google's MSJ
                              available at                                                                                                                              took position that contract was
                              https //www.theguardian.com/technology/2014/aug/                                                                                          unambiguous); 403, 704 (invades
                              07/ofcom-children-digital-technology-better-than-                                                                                         province of the trier of fact).
                              adults (Aug. 6, 2014)
 DX      1489                 K. Levy and B. Schneier, “Privacy threats in intimate Psounis               Identification                                                Relevance; 403 (extrinsic evidence,
                              relationships,” Journal of Cybersecurity, available at                                                                                    Google's MSJ took position that
                              https //academic.oup.com/cybersecurity/article/6/1/t                                                                                      contract was unambiguous); 403,
                              yaa006/5849222 (2020)                                                                                                                     704 (invades province of the trier
                                                                                                                                                                        of fact); subject to anticipated MIL



 DX      1490                 Kamala D. Harris, “California Data Breach Report,” Psounis                  Identification                                                Relevance; Foundation; 403
                              Cal. Dept. of Justice, available at                                                                                                       (extrinsic evidence, Google's MSJ
                              https //oag.ca.gov/breachreport2016 (2016)                                                                                                took position that contract was
                                                                                                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact).

 DX      1491                 L. Olejnik, C. Castelluccia and A. Janc, “Why         Psounis               Identification                                                Relevance; Foundation; 403
                              Johnny can t browse in peace On the uniqueness of                                                                                         (extrinsic evidence, Google's MSJ
                              web browsing history patterns,” Annals of                                                                                                 took position that contract was
                              Telecommunications at 13                                                                                                                  unambiguous); 403, 704 (invades
                              https //hal.inria.fr/file/index/docid/747841/filename                                                                                     province of the trier of fact).
                              /johnny2hotpet-finalcam.pdf (June 2013)


 DX      1492                 Laveh Waddel, “Will Today s Kids Be Stumped by Psounis                      Identification                                                Relevance; Foundation; 403
                              the Technology of the Future?,” The Atlantic,                                                                                             (extrinsic evidence, Google's MSJ
                              available at                                                                                                                              took position that contract was
                              https //www.theatlantic.com/technology/archive/20                                                                                         unambiguous); 403, 704 (invades
                              16/01/will-todays-kids-be-stumped-by-the-                                                                                                 province of the trier of fact).
                              technology-of-the-future/425082/ (Jan. 26, 2016)


 DX      1493                 Lawrence Abrams, “How to Switch Back to the Old Psounis                     Identification                                                Relevance; Foundation; 403
                              Twitter Layout,” Bleeping Computer, available at                                                                                          (extrinsic evidence, Google's MSJ
                              https //www.bleepingcomputer.com/news/technolog                                                                                           took position that contract was
                              y/how-to-switch-back-to-the-old-twitter-layout/                                                                                           unambiguous); 403, 704 (invades
                              (July 16, 2019)                                                                                                                           province of the trier of fact).

 DX      1494                 Li, and E. Wijmans, “(Cross-)Browser                 Psounis                Identification                                                Relevance; Foundation; 403
                              Fingerprinting via OS and Hardware Level                                                                                                  (extrinsic evidence, Google's MSJ
                              Features,” NDSS, San Diego CA, available at                                                                                               took position that contract was
                              https //www.ndss-symposium.org/wp-                                                                                                        unambiguous); 403, 704 (invades
                              content/uploads/2017/09/ndss2017_02B-                                                                                                     province of the trier of fact).
                              3_Cao_paper.pdf (2017)
 DX      1495                 M. Fischer, J. Hochman, and D. Boffa, “Privacy-        Psounis              Identification                                                Relevance; Foundation; 403
                              Preserving Data Sharing for Medical Research,”                                                                                            (extrinsic evidence, Google's MSJ
                              International Symposium on Stabilization, Safety,                                                                                         took position that contract was
                              and Security of Distributed Systems, available at                                                                                         unambiguous); 403, 704 (invades
                              https //cpsc.yale.edu/sites/default/files/files/TR1558                                                                                    province of the trier of fact).
                              .pdf




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 DX      1496                 M. Levin and J. Lowitz, “iPhone 13 Models Have     Psounis                 Identification                                                Relevance; Foundation; 403
                              Biggest Share in Years,” Consumer Intelligence                                                                                           (extrinsic evidence, Google's MSJ
                              Research Partners LLC, Apr. 21, 2022, available at                                                                                       took position that contract was
                              https //files.constantcontact.com/150f9af2201/06ed                                                                                       unambiguous); 403, 704 (invades
                              a1e6-cb00-4462-836f-73aa0120e439.pdf?rdr=true                                                                                            province of the trier of fact).



 DX      1497                 Matt Richtel, “Young, in Love and Sharing        Psounis                   Identification                                                Relevance; Foundation; 403
                              Everything, Including a Password,” The New York                                                                                          (extrinsic evidence, Google's MSJ
                              Times, Jan. 17, 2012, available at                                                                                                       took position that contract was
                              https //www.nytimes.com/2012/01/18/us/teenagers-                                                                                         unambiguous); 403, 704 (invades
                              sharing-passwords-as-show-of-affection.html                                                                                              province of the trier of fact).

 DX      1498                 MDN Plus, “User-Agent,” available at          Psounis                      Identification                                                None
                              https //developer.mozilla.org/en-
                              US/docs/Web/HTTP/Headers/User-Agent
 DX      1499                 Merriam-Websters.com Dictionary, ““From (the) Psounis                      Identification                                                Relevance; Foundation; 403
                              cradle to (the) grave,” available at                                                                                                     (extrinsic evidence, Google's MSJ
                              https //www.merriam-                                                                                                                     took position that contract was
                              webster.com/dictionary/from%20%28the%29%20c                                                                                              unambiguous); 403, 704 (invades
                              radle%20to%20%28the%29%20grave                                                                                                           province of the trier of fact).

 DX      1500                 Microsoft, "Dynamic Host Configuration Protocol      Psounis               Identification                                                Relevance; Foundation; 403
                              (DHCP)," available at https //perma.cc/7N5L-                                                                                             (extrinsic evidence, Google's MSJ
                              QKCQ (July 29, 2021)                                                                                                                     took position that contract was
                                                                                                                                                                       unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact).

 DX      1501                 Microsoft, “High Availability,”                      Psounis               Identification                                                Relevance; Foundation; 403
                              https //docs.microsoft.com/en-us/windows-                                                                                                (extrinsic evidence, Google's MSJ
                              server/remote/remote-access/vpn/always-on-                                                                                               took position that contract was
                              vpn/deploy/always-on-vpn-adv-options#high-                                                                                               unambiguous); 403, 704 (invades
                              availability                                                                                                                             province of the trier of fact).

 DX      1502                 National Institute of Health, “NIH Grants Policy      Psounis              Identification                                                Relevance; Foundation; 403
                              Statement,”                                                                                                                              (extrinsic evidence, Google's MSJ
                              https //grants.nih.gov/grants/policy/nihgps/html5/sec                                                                                    took position that contract was
                              tion_2/2.3.12_protecting_sensitive_data_and_infor                                                                                        unambiguous); 403, 704 (invades
                              mation_used_in_research.htm                                                                                                              province of the trier of fact).

 DX      1503                 National Institute of Standards and Technology,       Psounis              Identification                                                Relevance; Foundation; 403
                              “Guide to Protecting the Confidentiality of                                                                                              (extrinsic evidence, Google's MSJ
                              Personally Identifiable Information (PII)”                                                                                               took position that contract was
                              https //nvlpubs.nist.gov/nistpubs/legacy/sp/nistspeci                                                                                    unambiguous); 403, 704 (invades
                              alpublication800-122.pdf (Apr. 2010)                                                                                                     province of the trier of fact).

 DX      1504                 National Science Foundation, “Human Subjects,”       Psounis               Identification                                                Relevance; Foundation; 403
                              https //www.nsf.gov/bfa/dias/policy/human.jsp                                                                                            (extrinsic evidence, Google's MSJ
                                                                                                                                                                       took position that contract was
                                                                                                                                                                       unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact).

 DX      1505                 NordVPN, available at                                Psounis               Identification                                                Relevance; Foundation; 403
                              https //nordvpn.com/features/dedicated-ip/                                                                                               (extrinsic evidence, Google's MSJ
                                                                                                                                                                       took position that contract was
                                                                                                                                                                       unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact).

 DX      1506                 NordVPN, available at                                Psounis               Identification                                                Relevance; Foundation; 403
                              https //nordvpn.com/features/hide-ip/                                                                                                    (extrinsic evidence, Google's MSJ
                                                                                                                                                                       took position that contract was
                                                                                                                                                                       unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact).

 DX      1507                 Office for the Protection of Research Subjects,      Psounis               Identification                                                Relevance; Foundation; 403
                              USC, “Chapter 10 Privacy, Confidentiality and                                                                                            (extrinsic evidence, Google's MSJ
                              HIPAA,” https //oprs.usc.edu/policies/privacy-                                                                                           took position that contract was
                              confidentiality-and-hipaa/                                                                                                               unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact).

 DX      1508                 Osman Husain, “How to watch ESPN anywhere         Psounis                  Identification                                                Relevance; Foundation; 403
                              with a VPN,” Comparitech, available at                                                                                                   (extrinsic evidence, Google's MSJ
                              https //www.comparitech.com/blog/vpn-privacy/best                                                                                        took position that contract was
                              vpn-espn/ (Jan. 19, 2022)                                                                                                                unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact).

 DX      1509                 P. Laperdrix, W. Rudametkin, and B. Baudry,         Psounis                Identification                                                Relevance; Foundation; 403
                              “Beauty and the Beast Diverting Modern Web                                                                                               (extrinsic evidence, Google's MSJ
                              Browsers to Build Unique Browser Fingerprints,”                                                                                          took position that contract was
                              IEEE Symposium on Security and Privacy, San Jose                                                                                         unambiguous); 403, 704 (invades
                              CA, available at                                                                                                                         province of the trier of fact).
                              https //ieeexplore.ieee.org/abstract/document/75465
                              40 (2016)


 DX      1510                 Patrick Billingsley, “Probability and Measure,”    Psounis                 Identification                                                None
                              Wiley, (3rd ed. 1995)
 DX      1511                 Rick Paulus, “The Digital Divide Is About Much     Psounis                 Identification                                                Relevance; Foundation; 403
                              More Than Access,” Pacific Standard, available at                                                                                        (extrinsic evidence, Google's MSJ
                              https //psmag.com/environment/digital-divide-more-                                                                                       took position that contract was
                              complicated-than-access (June 14, 2017)                                                                                                  unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact).

 DX      1512                 Rocher, J. Jendrickx and Y. de Montjoye,             Psounis               Identification                                                Relevance; Foundation; 403
                              “Estimating the success of re-identifications in                                                                                         (extrinsic evidence, Google's MSJ
                              incomplete datasets using generative models,”                                                                                            took position that contract was
                              Nature Communications 10, available at                                                                                                   unambiguous); 403, 704 (invades
                              https //www.nature.com/articles/s41467-019-                                                                                              province of the trier of fact).
                              10933-3 (July 23, 2019)




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         No.                                                                                                                          Admit                                                                of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                 Only)
 DX      1513                 Sahara Cares, “Protect Yourself Online,”             Psounis               Identification                                                Relevance; Foundation; 403
                              https //saharacares.org/protect-yourself-online/                                                                                         (extrinsic evidence, Google's MSJ
                                                                                                                                                                       took position that contract was
                                                                                                                                                                       unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact).

 DX      1514                 Sheldon Ross, “Introduction to Probability Models,” Psounis                Identification                                                None
                              Academic Press, available at
                              https //www.academia.edu/17872355/Introduction_
                              to_Probability_Models_Tenth_Edition (10th ed.
                              2014)
 DX      1515                 Surfshark, "Top 12 VPN Use Cases," available at      Psounis               Identification                                                Relevance; Foundation; 403
                              https //surfshark.com/use-cases                                                                                                          (extrinsic evidence, Google's MSJ
                                                                                                                                                                       took position that contract was
                                                                                                                                                                       unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact).

 DX      1516                 T. Narten, R. Draves, and S. Krishnan, “Privacy    Psounis                 Identification                                                Relevance; Foundation; 403
                              Extensions for Stateless Address Autoconfiguration                                                                                       (extrinsic evidence, Google's MSJ
                              in IPv6,” RFC 4941 (Draft Standard), available at                                                                                        took position that contract was
                              https //www.rfc-                                                                                                                         unambiguous); 403, 704 (invades
                              editor.org/rfc/pdfrfc/rfc4941.txt.pdf                                                                                                    province of the trier of fact).

 DX      1517                 T. Spyropoulos, K. Psounis, and C. Raghavendra,   Psounis                  Identification                                                Relevance; Foundation; 403
                              “Efficient Routing in Intermittently Connected                                                                                           (extrinsic evidence, Google's MSJ
                              Mobile Networks The Multiple-copy Case,”                                                                                                 took position that contract was
                              IEEE/ACM Transactions on Networking, available                                                                                           unambiguous); 403, 704 (invades
                              at https //cpb-us-                                                                                                                       province of the trier of fact).
                              e1.wpmucdn.com/sites.usc.edu/dist/b/364/files/201
                              9/05/multiton.pdf (Feb. 2008)


 DX      1518                 T.M. Cover and J.A. Thomas, “Elements of      Psounis                      Identification                                                Relevance; Foundation; 403
                              Information Theory,” Wiley, available at                                                                                                 (extrinsic evidence, Google's MSJ
                              https //www.academia.edu/25024538/Elements_of                                                                                            took position that contract was
                              _Information_Theory_2nd_ed_T_Cover_J_Thomas                                                                                              unambiguous); 403, 704 (invades
                              _Wiley_2006_WW (2nd ed. 2006)                                                                                                            province of the trier of fact).

 DX      1519                 Tara Matthews, et. al., “‘She ll just grab any device Psounis              Identification                                                Relevance; Foundation; 403
                              that s closer A Study of Everyday Device and                                                                                             (extrinsic evidence, Google's MSJ
                              Account Sharing in Households,” Proceedings of the                                                                                       took position that contract was
                              ACM Conference on Human Factors in Computing                                                                                             unambiguous); 403, 704 (invades
                              Systems, ACM, available at                                                                                                               province of the trier of fact);
                              https //dl.acm.org/doi/pdf/10.1145/2858036.28580                                                                                         subject to anticipated MIL.
                              51 (2016)


 DX      1520                 Tor Project, "The State of IPv6 support on the Tor Psounis                 Identification                                                Relevance; Foundation; 403
                              Network," available at                                                                                                                   (extrinsic evidence, Google's MSJ
                              https //blog.torproject.org/state-of-ipv6-support-tor-                                                                                   took position that contract was
                              network/                                                                                                                                 unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact).

 DX      1521                 Tomek Mrugalski, et al., “Dynamic Host            Psounis                  Identification                                                Relevance; Foundation; 403
                              Configuration Protocol for IPv6 (DHCPv6),” RFC                                                                                           (extrinsic evidence, Google's MSJ
                              8415 (Proposed Standard), Nov. 2018, available at                                                                                        took position that contract was
                              https //www.rfc-                                                                                                                         unambiguous); 403, 704 (invades
                              editor.org/rfc/pdfrfc/rfc8415.txt.pdf                                                                                                    province of the trier of fact).

 DX      1522                 Tor Project, available at                            Psounis               Identification                                                Relevance; Foundation; 403
                              https //www.torproject.org/about/history/                                                                                                (extrinsic evidence, Google's MSJ
                                                                                                                                                                       took position that contract was
                                                                                                                                                                       unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact).

 DX      1523                 Twitter, available at                            Psounis                   Identification                                                None
                              https //twitter.com/Jehochman/status/11532775845
                              42711808
 DX      1524                 WNY Postpartum Connection, Inc., “Domestic       Psounis                   Identification                                                Relevance; Foundation; 403
                              Abuse Support,” available at                                                                                                             (extrinsic evidence, Google's MSJ
                              https //www.wnypostpartum.com/domestic-violence                                                                                          took position that contract was
                              assistance                                                                                                                               unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact).

 DX      1525                 Y. Cao, S. Li, and E. Wijmans, “(Cross-)Browser      Psounis               Identification                                                Relevance; Foundation; 403
                              Fingerprinting via OS and Hardware Level                                                                                                 (extrinsic evidence, Google's MSJ
                              Features,” NDSS, San Diego CA, available at                                                                                              took position that contract was
                              https //www.ndss-symposium.org/wp-                                                                                                       unambiguous); 403, 704 (invades
                              content/uploads/2017/09/ndss2017_02B-                                                                                                    province of the trier of fact).
                              3_Cao_paper.pdf (2017)


 DX      1526                 Survey Data “Consumer Perceptions and                Amir                  Identification                                                Relevance; Foundation; 403
                              Expectations Survey Analysis.do”                                                                                                         (extrinsic evidence, Google's MSJ
                                                                                                                                                                       took position that contract was
                                                                                                                                                                       unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact);
                                                                                                                                                                       subject to anticipated MIL.


 DX      1527                 Survey Data “Interpretation Survey Analysis.do”      Amir                  Identification                                                Relevance; Foundation; 403
                                                                                                                                                                       (extrinsic evidence, Google's MSJ
                                                                                                                                                                       took position that contract was
                                                                                                                                                                       unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact);
                                                                                                                                                                       subject to anticipated MIL.


 DX      1528                 Survey Data “Likelihood of Use Survey                Amir                  Identification                                                Relevance; Foundation; 403
                              Analysis.do”                                                                                                                             (extrinsic evidence, Google's MSJ
                                                                                                                                                                       took position that contract was
                                                                                                                                                                       unambiguous); 403, 704 (invades
                                                                                                                                                                       province of the trier of fact);
                                                                                                                                                                       subject to anticipated MIL.




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                                                                                                                                                                                                                 Only)
 DX      1529                 13A Cal. Jur. 3d Consumer, etc. Protection Laws § Schwartz              Identification                                                Relevance; Foundation; 403
                              549                                                                                                                                   (extrinsic evidence, Google's MSJ
                                                                                                                                                                    took position that contract was
                                                                                                                                                                    unambiguous); 403, 704 (invades
                                                                                                                                                                    province of the trier of fact);
                                                                                                                                                                    Improper in lieu of jury instruction
                                                                                                                                                                    (invades discretion of the Court)


 DX      1530                 15 U.S.C.A. § 1681a                               Schwartz              Identification                                                Relevance; Foundation; 403
                                                                                                                                                                    (extrinsic evidence, Google's MSJ
                                                                                                                                                                    took position that contract was
                                                                                                                                                                    unambiguous); 403, 704 (invades
                                                                                                                                                                    province of the trier of fact);
                                                                                                                                                                    Improper in lieu of jury instruction
                                                                                                                                                                    (invades discretion of the Court)


 DX      1531                 15 U.S.C.A. § 1681f                               Schwartz              Identification                                                Relevance; Foundation; 403
                                                                                                                                                                    (extrinsic evidence, Google's MSJ
                                                                                                                                                                    took position that contract was
                                                                                                                                                                    unambiguous); 403, 704 (invades
                                                                                                                                                                    province of the trier of fact);
                                                                                                                                                                    Improper in lieu of jury instruction
                                                                                                                                                                    (invades discretion of the Court)


 DX      1532                 15 U.S.C.A. § 1681g                               Schwartz              Identification                                                Relevance; Foundation; 403
                                                                                                                                                                    (extrinsic evidence, Google's MSJ
                                                                                                                                                                    took position that contract was
                                                                                                                                                                    unambiguous); 403, 704 (invades
                                                                                                                                                                    province of the trier of fact);
                                                                                                                                                                    Improper in lieu of jury instruction
                                                                                                                                                                    (invades discretion of the Court)


 DX      1533                 15 U.S.C.A. § 1681u                               Schwartz              Identification                                                Relevance; Foundation; 403
                                                                                                                                                                    (extrinsic evidence, Google's MSJ
                                                                                                                                                                    took position that contract was
                                                                                                                                                                    unambiguous); 403, 704 (invades
                                                                                                                                                                    province of the trier of fact);
                                                                                                                                                                    Improper in lieu of jury instruction
                                                                                                                                                                    (invades discretion of the Court)


 DX      1534                 15 U.S.C.A. § 6809                                Schwartz              Identification                                                Relevance; Foundation; 403
                                                                                                                                                                    (extrinsic evidence, Google's MSJ
                                                                                                                                                                    took position that contract was
                                                                                                                                                                    unambiguous); 403, 704 (invades
                                                                                                                                                                    province of the trier of fact);
                                                                                                                                                                    Improper in lieu of jury instruction
                                                                                                                                                                    (invades discretion of the Court)


 DX      1535                 16 C.F.R. § 312.2                                 Schwartz              Identification                                                Relevance; Foundation; 403
                                                                                                                                                                    (extrinsic evidence, Google's MSJ
                                                                                                                                                                    took position that contract was
                                                                                                                                                                    unambiguous); 403, 704 (invades
                                                                                                                                                                    province of the trier of fact);
                                                                                                                                                                    Improper in lieu of jury instruction
                                                                                                                                                                    (invades discretion of the Court)


 DX      1536                 18 U.S.C.A. § 2710                                Schwartz              Identification                                                Relevance; Foundation; 403
                                                                                                                                                                    (extrinsic evidence, Google's MSJ
                                                                                                                                                                    took position that contract was
                                                                                                                                                                    unambiguous); 403, 704 (invades
                                                                                                                                                                    province of the trier of fact);
                                                                                                                                                                    Improper in lieu of jury instruction
                                                                                                                                                                    (invades discretion of the Court)


 DX      1537                 2 C.F.R. § 200.1 (2021)                           Schwartz              Identification                                                Relevance; Foundation; 403
                                                                                                                                                                    (extrinsic evidence, Google's MSJ
                                                                                                                                                                    took position that contract was
                                                                                                                                                                    unambiguous); 403, 704 (invades
                                                                                                                                                                    province of the trier of fact);
                                                                                                                                                                    Improper in lieu of jury instruction
                                                                                                                                                                    (invades discretion of the Court)


 DX      1538                 2 CFR § 200.338, available at                     Schwartz              Identification                                                Relevance; Foundation; 403
                              https //perma.cc/8E4S-2XMY                                                                                                            (extrinsic evidence, Google's MSJ
                                                                                                                                                                    took position that contract was
                                                                                                                                                                    unambiguous); 403, 704 (invades
                                                                                                                                                                    province of the trier of fact);
                                                                                                                                                                    Improper in lieu of jury instruction
                                                                                                                                                                    (invades discretion of the Court)


 DX      1539                 2 CFR § 200.79, available at https //perma.cc/P9HC Schwartz             Identification                                                Relevance; Foundation; 403
                              XF2U                                                                                                                                  (extrinsic evidence, Google's MSJ
                                                                                                                                                                    took position that contract was
                                                                                                                                                                    unambiguous); 403, 704 (invades
                                                                                                                                                                    province of the trier of fact);
                                                                                                                                                                    Improper in lieu of jury instruction
                                                                                                                                                                    (invades discretion of the Court)


 DX      1540                 20 U.S.C. 1232g, available at                     Schwartz              Identification                                                Relevance; Foundation; 403
                              https //www.govinfo.gov/content/pkg/USCODE-                                                                                           (extrinsic evidence, Google's MSJ
                              2019-title20/pdf/USCODE-2019-title20-chap31-                                                                                          took position that contract was
                              subchapIII-part4-sec1232g.pdf                                                                                                         unambiguous); 403, 704 (invades
                                                                                                                                                                    province of the trier of fact);
                                                                                                                                                                    Improper in lieu of jury instruction
                                                                                                                                                                    (invades discretion of the Court)




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         No.                                                                                                                      Admit                                                                   of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                Only)
 DX      1541                 22 U.S.C.A. § 2507a                              Schwartz              Identification                                                Relevance; Foundation; 403
                                                                                                                                                                   (extrinsic evidence, Google's MSJ
                                                                                                                                                                   took position that contract was
                                                                                                                                                                   unambiguous); 403, 704 (invades
                                                                                                                                                                   province of the trier of fact);
                                                                                                                                                                   Improper in lieu of jury instruction
                                                                                                                                                                   (invades discretion of the Court)


 DX      1542                 34 U.S.C.A. § 12291                              Schwartz              Identification                                                Relevance; Foundation; 403
                                                                                                                                                                   (extrinsic evidence, Google's MSJ
                                                                                                                                                                   took position that contract was
                                                                                                                                                                   unambiguous); 403, 704 (invades
                                                                                                                                                                   province of the trier of fact);
                                                                                                                                                                   Improper in lieu of jury instruction
                                                                                                                                                                   (invades discretion of the Court)


 DX      1543                 42 C.F.R. § 426.400                              Schwartz              Identification                                                Relevance; Foundation; 403
                                                                                                                                                                   (extrinsic evidence, Google's MSJ
                                                                                                                                                                   took position that contract was
                                                                                                                                                                   unambiguous); 403, 704 (invades
                                                                                                                                                                   province of the trier of fact);
                                                                                                                                                                   Improper in lieu of jury instruction
                                                                                                                                                                   (invades discretion of the Court)


 DX      1544                 42 U.S.C.A. § 11360                              Schwartz              Identification                                                Relevance; Foundation; 403
                                                                                                                                                                   (extrinsic evidence, Google's MSJ
                                                                                                                                                                   took position that contract was
                                                                                                                                                                   unambiguous); 403, 704 (invades
                                                                                                                                                                   province of the trier of fact);
                                                                                                                                                                   Improper in lieu of jury instruction
                                                                                                                                                                   (invades discretion of the Court)


 DX      1545                 45 C.F.R. § 160.103                              Schwartz              Identification                                                Relevance; Foundation; 403
                                                                                                                                                                   (extrinsic evidence, Google's MSJ
                                                                                                                                                                   took position that contract was
                                                                                                                                                                   unambiguous); 403, 704 (invades
                                                                                                                                                                   province of the trier of fact);
                                                                                                                                                                   Improper in lieu of jury instruction
                                                                                                                                                                   (invades discretion of the Court)


 DX      1546                 45 C.F.R. § 164.502                              Schwartz              Identification                                                Relevance; Foundation; 403
                                                                                                                                                                   (extrinsic evidence, Google's MSJ
                                                                                                                                                                   took position that contract was
                                                                                                                                                                   unambiguous); 403, 704 (invades
                                                                                                                                                                   province of the trier of fact);
                                                                                                                                                                   Improper in lieu of jury instruction
                                                                                                                                                                   (invades discretion of the Court)


 DX      1547                 45 C.F.R. § 164.514                              Schwartz              Identification                                                Relevance; Foundation; 403
                                                                                                                                                                   (extrinsic evidence, Google's MSJ
                                                                                                                                                                   took position that contract was
                                                                                                                                                                   unambiguous); 403, 704 (invades
                                                                                                                                                                   province of the trier of fact);
                                                                                                                                                                   Improper in lieu of jury instruction
                                                                                                                                                                   (invades discretion of the Court)


 DX      1548                 47 U.S.C.A § 551                                 Schwartz              Identification                                                Relevance; Foundation; 403
                                                                                                                                                                   (extrinsic evidence, Google's MSJ
                                                                                                                                                                   took position that contract was
                                                                                                                                                                   unambiguous); 403, 704 (invades
                                                                                                                                                                   province of the trier of fact);
                                                                                                                                                                   Improper in lieu of jury instruction
                                                                                                                                                                   (invades discretion of the Court)


 DX      1549                 5 C.F.R. § 581.203                               Schwartz              Identification                                                Relevance; Foundation; 403
                                                                                                                                                                   (extrinsic evidence, Google's MSJ
                                                                                                                                                                   took position that contract was
                                                                                                                                                                   unambiguous); 403, 704 (invades
                                                                                                                                                                   province of the trier of fact);
                                                                                                                                                                   Improper in lieu of jury instruction
                                                                                                                                                                   (invades discretion of the Court)


 DX      1550                 5 Cal. Transactions Forms--Bus. Transactions §   Schwartz              Identification                                                Relevance; Foundation; 403
                              32 211                                                                                                                               (extrinsic evidence, Google's MSJ
                                                                                                                                                                   took position that contract was
                                                                                                                                                                   unambiguous); 403, 704 (invades
                                                                                                                                                                   province of the trier of fact);
                                                                                                                                                                   Improper in lieu of jury instruction
                                                                                                                                                                   (invades discretion of the Court)


 DX      1551                 5 Cal. Transactions Forms--Bus. Transactions §   Schwartz              Identification                                                Relevance; Foundation; 403
                              32 213                                                                                                                               (extrinsic evidence, Google's MSJ
                                                                                                                                                                   took position that contract was
                                                                                                                                                                   unambiguous); 403, 704 (invades
                                                                                                                                                                   province of the trier of fact);
                                                                                                                                                                   Improper in lieu of jury instruction
                                                                                                                                                                   (invades discretion of the Court)


 DX      1552                 AB-2891 California Consumer Privacy Act          Schwartz              Identification                                                Relevance; Foundation; 403
                                                                                                                                                                   (extrinsic evidence, Google's MSJ
                                                                                                                                                                   took position that contract was
                                                                                                                                                                   unambiguous); 403, 704 (invades
                                                                                                                                                                   province of the trier of fact);
                                                                                                                                                                   Improper in lieu of jury instruction
                                                                                                                                                                   (invades discretion of the Court)




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                                                                                                                                                                                                                     Only)
 DX      1553                 ALI Data Privacy Principles § 1 (Am. L. Inst. 2020) Schwartz                Identification                                                Relevance; Foundation; 403
                                                                                                                                                                        (extrinsic evidence, Google's MSJ
                                                                                                                                                                        took position that contract was
                                                                                                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact);
                                                                                                                                                                        Improper in lieu of jury instruction
                                                                                                                                                                        (invades discretion of the Court)


 DX      1554                 ALI Data Privacy Principles § 2, Comment c            Schwartz              Identification                                                Relevance; Foundation; 403
                                                                                                                                                                        (extrinsic evidence, Google's MSJ
                                                                                                                                                                        took position that contract was
                                                                                                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact);
                                                                                                                                                                        Improper in lieu of jury instruction
                                                                                                                                                                        (invades discretion of the Court)


 DX      1555                 ALI Data Privacy Principles § 2, Definitions (b)(1)   Schwartz              Identification                                                Relevance; Foundation; 403
                                                                                                                                                                        (extrinsic evidence, Google's MSJ
                                                                                                                                                                        took position that contract was
                                                                                                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact);
                                                                                                                                                                        Improper in lieu of jury instruction
                                                                                                                                                                        (invades discretion of the Court)


 DX      1556                 ALI Data Privacy Principles, § 11 Data Security and Schwartz                Identification                                                Relevance; Foundation; 403
                              Data Breach Notification                                                                                                                  (extrinsic evidence, Google's MSJ
                                                                                                                                                                        took position that contract was
                                                                                                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact);
                                                                                                                                                                        Improper in lieu of jury instruction
                                                                                                                                                                        (invades discretion of the Court)


 DX      1557                 ALI Data Privacy Principles, § 9 Data Portability,    Schwartz              Identification                                                Relevance; Foundation; 403
                              Comment (a)                                                                                                                               (extrinsic evidence, Google's MSJ
                                                                                                                                                                        took position that contract was
                                                                                                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact);
                                                                                                                                                                        Improper in lieu of jury instruction
                                                                                                                                                                        (invades discretion of the Court)


 DX      1558                 Beth Anne Killoran, U.S. General Services            Schwartz               Identification                                                Relevance; Foundation; 403
                              Administration, 2180.2 CIO GSA Rules of                                                                                                   (extrinsic evidence, Google's MSJ
                              Behavior for Handling Personally Identifiable                                                                                             took position that contract was
                              Information (PII), (Oct. 8, 2019), available at                                                                                           unambiguous); 403, 704 (invades
                              https //www.gsa.gov/directives-library/gsa-rules-of-                                                                                      province of the trier of fact).
                              behavior-for-handling-personally-identifiable-
                              information-pii-2
 DX      1559                 Cal. Civ. Code § 1798.140                             Schwartz              Identification                                                106; Improper in lieu of jury
                                                                                                                                                                        instruction (invades discretion of
                                                                                                                                                                        the Court)
 DX      1560                 Cal. Civ. Code § 1798.145                             Schwartz              Identification                                                106; Improper in lieu of jury
                                                                                                                                                                        instruction (invades discretion of
                                                                                                                                                                        the Court)
 DX      1561                 Cal. Civ. Code § 1798.150                             Schwartz              Identification                                                106; Improper in lieu of jury
                                                                                                                                                                        instruction (invades discretion of
                                                                                                                                                                        the Court)
 DX      1562                 Cal. Civ. Code § 1798.155                             Schwartz              Identification                                                106; Improper in lieu of jury
                                                                                                                                                                        instruction (invades discretion of
                                                                                                                                                                        the Court)
 DX      1563                 Cal. Civ. Code § 1798.81.5                            Schwartz              Identification                                                106; Improper in lieu of jury
                                                                                                                                                                        instruction (invades discretion of
                                                                                                                                                                        the Court)
 DX      1564                 Cal. Jury Instr.--Crim. 15.61                         Schwartz              Identification                                                No such jury instruction locatable;
                                                                                                                                                                        improper in lieu of jury instruction
                                                                                                                                                                        (invades discretion of the Court)

 DX      1565                 Cal. Penal Code § 530.55                              Schwartz              Identification                                                106; Improper in lieu of jury
                                                                                                                                                                        instruction (invades discretion of
                                                                                                                                                                        the Court)
 DX      1566                 California Business and Professions Code              Schwartz              Identification                                                106; Improper in lieu of jury
                              §22577(a)                                                                                                                                 instruction (invades discretion of
                              https //leginfo.legislature.ca.gov/faces/codes_displa                                                                                     the Court)
                              ySection.xhtml?lawCode=BPC&sectionNum=2257
                              7
 DX      1567                 California Consumer Privacy Act of 2018               Schwartz              Identification                                                106; Improper in lieu of jury
                              Consumer Remedies, CA Sen. Bill. 561 (2019)                                                                                               instruction (invades discretion of
                                                                                                                                                                        the Court)
 DX      1568                 Christina H. Kroll, CCPA The California Senate is Schwartz                  Identification                                                Relevance; Foundation; 403
                              Not Ready to Expand the Consumer Right of Action                                                                                          (extrinsic evidence, Google's MSJ
                              Proskauer Priv. L. Blog (May 17, 2019), available                                                                                         took position that contract was
                              at https //perma.cc/699Z-QENL                                                                                                             unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact).

 DX      1569                 E–GOVERNMENT ACT OF 2002, PL 107–347,                 Schwartz              Identification                                                Relevance; Foundation; 403
                              Dec. 17, 2002, 116 Stat 2899                                                                                                              (extrinsic evidence, Google's MSJ
                                                                                                                                                                        took position that contract was
                                                                                                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact);
                                                                                                                                                                        Improper in lieu of jury instruction
                                                                                                                                                                        (invades discretion of the Court)


 DX      1570                 European Union General Data Protection                Schwartz              Identification                                                Relevance; Foundation; 403
                              Regulation, Article 4.                                                                                                                    (extrinsic evidence, Google's MSJ
                                                                                                                                                                        took position that contract was
                                                                                                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact);
                                                                                                                                                                        Improper in lieu of jury instruction
                                                                                                                                                                        (invades discretion of the Court)




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         No.                                                                                                                           Admit                                                                   of Trial (Plaintiffs   Admitted
                                                                                                                                                                                                                     Only)
 DX      1571                 Federal Trade Commission Report, “Protecting         Schwartz               Identification                                                Relevance; Foundation; 403
                              Consumer Privacy in an Era of Rapid Change                                                                                                (extrinsic evidence, Google's MSJ
                              Recommendations for Businesses and                                                                                                        took position that contract was
                              Policymakers,” Mar. 26, 2012, available at                                                                                                unambiguous); 403, 704 (invades
                              https //perma.cc/L2LX-4LEC                                                                                                                province of the trier of fact).

 DX      1572                 Ferraiolo, et al., "Guidelines for the Authorization Schwartz               Identification                                                Relevance; Foundation; 403
                              of Personal Identity Verification Card Issuers (PCI)                                                                                      (extrinsic evidence, Google's MSJ
                              and Derived PIV Credential Issuers (DPCI)," July                                                                                          took position that contract was
                              2015, available at                                                                                                                        unambiguous); 403, 704 (invades
                              https //nvlpubs.nist.gov/nistpubs/SpecialPublication                                                                                      province of the trier of fact).
                              s/NIST.SP.800-79-2.pdf


 DX      1573                 GAO Report 08-536, Privacy, "Alternatives Exist     Schwartz                Identification                                                Relevance; Foundation; 403
                              for Enhancing Protection of Personally Identifiable                                                                                       (extrinsic evidence, Google's MSJ
                              Information," May 2008, available at                                                                                                      took position that contract was
                              http //www.gao.gov/new.items/d08536.pdf                                                                                                   unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact).

 DX      1574                 H. Privacy of Information Maintained by              Schwartz               Identification                                                Relevance; Foundation; 403
                              California's Health Benefit Exchange, Cal. Prac.                                                                                          (extrinsic evidence, Google's MSJ
                              Guide Privacy Law Ch. 6-H                                                                                                                 took position that contract was
                                                                                                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact);
                                                                                                                                                                        Improper in lieu of jury instruction
                                                                                                                                                                        (invades discretion of the Court)


 DX      1575                 https //www.ecfr.gov/current/title-34/subtitle-A/part Schwartz              Identification                                                Relevance; Foundation; 403
                              99                                                                                                                                        (extrinsic evidence, Google's MSJ
                                                                                                                                                                        took position that contract was
                                                                                                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact);
                                                                                                                                                                        Improper in lieu of jury instruction
                                                                                                                                                                        (invades discretion of the Court)


 DX      1576                 In the Matter of Protecting the Privacy of Customers Schwartz               Identification                                                Relevance; Foundation; 403
                              of Broadband & Other Telecommunications                                                                                                   (extrinsic evidence, Google's MSJ
                              Services, WC Docket No. 16-106, Comment of the                                                                                            took position that contract was
                              Staff of the Bureau of Consumer Protection of the                                                                                         unambiguous); 403, 704 (invades
                              Federal Trade Commission (May 27, 2016),                                                                                                  province of the trier of fact).
                              available at https //perma.cc/2EJZENW8


 DX      1577                 Google, Ad Manager Help Center, "Interoperability Schwartz                  Identification                                                Relevance; Foundation; 403
                              guidance for vendors working with Google via the                                                                                          (extrinsic evidence, Google's MSJ
                              IAB TCFv2.0," 2022, available at                                                                                                          took position that contract was
                              https //perma.cc/EC8S-MVJK                                                                                                                unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact).

 DX      1578                 Justin Schuh, "Building a more private web A path Schwartz                  Identification                                                Relevance; Foundation; 403
                              towards making third party cookies obsolete,"                                                                                             (extrinsic evidence, Google's MSJ
                              Chromium Blog, Jan. 14, 2020, available at                                                                                                took position that contract was
                              https //perma.cc/8LCF-7N4A                                                                                                                unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact).

 DX      1579                 Michael J. Fischer, Jonathon E. Hochman, and       Schwartz                 Identification                                                Relevance; Foundation; 403
                              Daniel Boffa, “Privacy-Preserving Data Sharing for                                                                                        (extrinsic evidence, Google's MSJ
                              Medical Research,” Stabilization, Safety, and                                                                                             took position that contract was
                              Security of Distributed Systems 23rd International                                                                                        unambiguous); 403, 704 (invades
                              Symposium, SSS 2021, Virtual Event, available at                                                                                          province of the trier of fact).
                              https //doi.org/10.1007/978-3-030-91081-5_6
                              (Nov. 17–20, 2021)


 DX      1580                 Minor Changes to Doe O 206.1, Dep t of Energy        Schwartz               Identification                                                Relevance; Foundation; 403
                              Priv. Program, US DOE 206.1 (Nov. 1, 2018),                                                                                               (extrinsic evidence, Google's MSJ
                              available at                                                                                                                              took position that contract was
                              https //www.directives.doe.gov/directives-                                                                                                unambiguous); 403, 704 (invades
                              documents/200-series/0206.1-BOrder-chg1-                                                                                                  province of the trier of fact).
                              minchg/@@images/file
 DX      1581                 Mobile Tech. Mgmt., US DOE 203.2 (May 15,           Schwartz                Identification                                                Relevance; Foundation; 403
                              2014), available at                                                                                                                       (extrinsic evidence, Google's MSJ
                              https //www.energy.gov/sites/default/files/2015/08/                                                                                       took position that contract was
                              f25/o203.2.pdf                                                                                                                            unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact).

 DX      1582                 National Institute of Standards and Technology,        Schwartz             Identification                                                Relevance; Foundation; 403
                              "Glossary Personally Identifiable Information                                                                                             (extrinsic evidence, Google's MSJ
                              (PII)," available at                                                                                                                      took position that contract was
                              https //csrc.nist.gov/glossary/term/personally_identif                                                                                    unambiguous); 403, 704 (invades
                              iable_information                                                                                                                         province of the trier of fact).

 DX      1583                 Paul M. Schwartz & Daniel J. Solove, "The PII     Schwartz                  Identification                                                Relevance; Foundation; 403
                              Problem Privacy and a New Concept of Personally                                                                                           (extrinsic evidence, Google's MSJ
                              Identifiable Information," 86 N.Y.U. L. Rev. 1814                                                                                         took position that contract was
                              (2011).                                                                                                                                   unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact).

 DX      1584                 Paul M. Schwartz & Daniel J. Solove, "Defining       Schwartz               Identification                                                Relevance; Foundation; 403
                              'Personal Data'' in the European Union and U.S.," 13                                                                                      (extrinsic evidence, Google's MSJ
                              Priv. & Sec. L. Rep. 1581 (Sept. 15, 2014)                                                                                                took position that contract was
                                                                                                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact).

 DX      1585                 Paul M. Schwartz & Daniel J. Solove, "Reconciling Schwartz                  Identification                                                Relevance; Foundation; 403
                              Personal Information in the United States and                                                                                             (extrinsic evidence, Google's MSJ
                              European Union," 102 Calif. L. Rev. 887 (2014)                                                                                            took position that contract was
                                                                                                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact).




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         No.                                                                                                                           Admit                                                                   of Trial (Plaintiffs   Admitted
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 DX      1586                 Paul M. Schwartz, “Personenbezogene Daten” aus       Schwartz               Identification                                                Relevance; Foundation; 403
                              internationaler Perspektive, Zeitschrift für                                                                                              (extrinsic evidence, Google's MSJ
                              Datenschutz 97 (Mar. 2011)                                                                                                                took position that contract was
                                                                                                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact).

 DX      1587                 Google Ads & Commerce Blog Post Prabhakar          Schwartz                 Identification                                                Relevance; Foundation; 403
                              Raghavan, "Raising the Bar on Transparency, Choice                                                                                        (extrinsic evidence, Google's MSJ
                              and Control in Digital Advertising," May 7, 2019,                                                                                         took position that contract was
                              available at https //perma.cc/HQH3-PPBE                                                                                                   unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact).

 DX      1588                 U.S. Dept. of Energy, Order 443.1C Protection of     Schwartz               Identification                                                Relevance; Foundation; 403
                              Human Research Subjects (Nov. 26, 2019),                                                                                                  (extrinsic evidence, Google's MSJ
                              available at                                                                                                                              took position that contract was
                              https //www.directives.doe.gov/directives-                                                                                                unambiguous); 403, 704 (invades
                              documents/400-series/0443.1-BOrder-                                                                                                       province of the trier of fact).
                              c/@@images/file
 DX      1589                 Google, Advertising Policies Help Center,            Schwartz               Identification                                                Relevance; Foundation; 403
                              "Requirements for third-party ad serving,"                                                                                                (extrinsic evidence, Google's MSJ
                              https //perma.cc/JP2W-8H7Z                                                                                                                took position that contract was
                                                                                                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact).

 DX      1590                 U.S. Dept. of Commerce, Nat'l Inst. for Standards    Schwartz               Identification                                                Relevance; Foundation; 403
                              and Technology, Risk Management Framework for                                                                                             (extrinsic evidence, Google's MSJ
                              Information Systems and Organizations A System                                                                                            took position that contract was
                              Life Cycle Approach for Security and Privacy, (Dec.                                                                                       unambiguous); 403, 704 (invades
                              2018),                                                                                                                                    province of the trier of fact).
                              https //nvlpubs.nist.gov/nistpubs/SpecialPublication
                              s/NIST.SP.800-37r2.pdf


 DX      1591                 Simson L. Garfinkel, U.S. Dept. of Commerce,        Schwartz                Identification                                                Relevance; Foundation; 403
                              "Nat'l Inst. for Standards and Technology, De-                                                                                            (extrinsic evidence, Google's MSJ
                              Identification of Personal Information," Oct. 2015,                                                                                       took position that contract was
                              available at                                                                                                                              unambiguous); 403, 704 (invades
                              https //nvlpubs.nist.gov/nistpubs/ir/2015/NIST.IR.8                                                                                       province of the trier of fact).
                              053.pdf
 DX      1592                 Song-Beverly Credit Card Act of 1971, Cal. Civ.      Schwartz               Identification                                                Relevance; Foundation; 403
                              Code § 1747.08                                                                                                                            (extrinsic evidence, Google's MSJ
                                                                                                                                                                        took position that contract was
                                                                                                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact);
                                                                                                                                                                        Improper in lieu of jury instruction
                                                                                                                                                                        (invades discretion of the Court)


 DX      1593                 Google, The Chromium Projects, "The Privacy          Schwartz               Identification                                                Relevance; Foundation; 403
                              Sandbox," available at https //perma.cc/7GGQ-                                                                                             (extrinsic evidence, Google's MSJ
                              7YV7                                                                                                                                      took position that contract was
                                                                                                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact).

 DX      1594                 U.S. Department of Labor, "Guidance on the           Schwartz               Identification                                                Relevance; Foundation; 403
                              Protection of Personal Identifiable Information,"                                                                                         (extrinsic evidence, Google's MSJ
                              available at https //www.dol.gov/general/ppii                                                                                             took position that contract was
                                                                                                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact).

 DX      1595                 U.S. Dept. of Commerce, Office of Privacy and      Schwartz                 Identification                                                Relevance; Foundation; 403
                              Open Government, "Safeguarding Information," last                                                                                         (extrinsic evidence, Google's MSJ
                              updated Oct. 1, 2021, available at                                                                                                        took position that contract was
                              https //www.osec.doc.gov/opog/privacy/pii_bii.html                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact).

 DX      1596                 U.S. Dept. of Education, "Protecting Student         Schwartz               Identification                                                Relevance; Foundation; 403
                              Privacy Personally Identifiable Information,"                                                                                             (extrinsic evidence, Google's MSJ
                              available at                                                                                                                              took position that contract was
                              https //studentprivacy.ed.gov/content/personally-                                                                                         unambiguous); 403, 704 (invades
                              identifiable-information-pii                                                                                                              province of the trier of fact).

 DX      1597                 U.S. Dept. of Health and Human Services,          Schwartz                  Identification                                                Relevance; Foundation; 403
                              "Summary of the HIPAA Privacy Rule," available at                                                                                         (extrinsic evidence, Google's MSJ
                              https //www.hhs.gov/hipaa/for-                                                                                                            took position that contract was
                              professionals/privacy/laws-regulations/index.html                                                                                         unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact).

 DX      1598                 U.S. General Services Administration, "Rules and       Schwartz             Identification                                                Relevance; Foundation; 403
                              Policies - Protecting PII - Privacy Act," available at                                                                                    (extrinsic evidence, Google's MSJ
                              https //www.gsa.gov/reference/gsa-privacy-                                                                                                took position that contract was
                              program/rules-and-policies-protecting-pii-privacy-                                                                                        unambiguous); 403, 704 (invades
                              act                                                                                                                                       province of the trier of fact).

 DX      1599                 Google, Analytics Help Center Understanding PII in Schwartz                 Identification                                                Relevance; Foundation; 403
                              Google s Contracts and Policies (2021), available at                                                                                      (extrinsic evidence, Google's MSJ
                              https //support.google.com/analytics/answer/76864                                                                                         took position that contract was
                              80                                                                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact).

 DX      1600                 Excerpts of                                          Psounis                Identification                                                Relevance; Foundation; 403
                                                                                                                                                                        (extrinsic evidence, Google's MSJ
                                                                                                                                                                        took position that contract was
                                                                                                                                                                        unambiguous); 403, 704 (invades
                                                                                                                                                                        province of the trier of fact); not
                                                                                                                                                                        produced in discovery (only for
                                                                                                                                                                        limited purpose of responding to
                                                                                                                                                                        second sanctions motions); subject
                                                                                                                                                                        to anticipated MIL




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                                                                                                                                                                                                                     Only)
 DX      1601 GOOG-BRWN-00858535   Google, Internal Document, MapReduce More         Psounis               Identification                                                Relevance; Foundation; 403
                                   Topics, Last Edited May 14, 2021                                                                                                      (extrinsic evidence, Google's MSJ
                                                                                                                                                                         took position that contract was
                                                                                                                                                                         unambiguous); 403, 704 (invades
                                                                                                                                                                         province of the trier of fact); not
                                                                                                                                                                         produced in discovery (only for
                                                                                                                                                                         limited purpose of responding to
                                                                                                                                                                         second sanctions motions); subject
                                                                                                                                                                         to anticipated MIL


 DX      1602 GOOG-CABR-00058912   Google, Internal Document, "                      Strombom              Identification                                                Relevance; Foundation; 403
                                   Impact to Publisher Revenue (L1)," Last updated                                                                                       (extrinsic evidence, Google's MSJ
                                   11/27/2019                                                                                                                            took position that contract was
                                                                                                                                                                         unambiguous); 403, 704 (invades
                                                                                                                                                                         province of the trier of fact).

 DX      1603                      Morgan & Morgan web page,                         Berntson, Fair, Ganem, Admission                                                    Relevance; Hearsay; Foundation;
                                   https //www.forthepeople.com/practice-areas/mass- Zervas                                                                              403 (extrinsic evidence, Google's
                                   tort-lawyers/google-incognito-lawsuit/                                                                                                MSJ took position that contract was
                                                                                                                                                                         unambiguous); not produced during
                                                                                                                                                                         discovery; not disclosed in Zervas'
                                                                                                                                                                         report; subject to anticipated MIL




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